                       Case 2:21-cv-02038-SB-PVC Document 1 Filed 03/05/21 Page 1 of 231 Page ID #:1



                      1      David J. Dow, Bar No. 179407
                             ddow@littler.com
                      2      Shelley L. Murray, Bar No. 327300
                             smurray@littler.com
                      3      LITTLER MENDELSON, P.C.
                             501 W. Broadway, Suite 900
                      4      San Diego, CA 92101.3577
                             Telephone: 619.232.0441
                      5      Fax No.: 619.232.4302
                      6      Attorneys for Defendants
                             GREYHOUND LINES, INC.
                      7

                      8                            UNITED STATES DISTRICT COURT
                      9                          CENTRAL DISTRICT OF CALIFORNIA
                   10        FERNANDO OCHOA                        Case No. 2:21-cv-02038
                             ASTUDILLO, an individual,
                   11
                                           Plaintiff,
                   12                                              NOTICE TO FEDERAL COURT OF
                                  v.                               REMOVAL OF CIVIL ACTION
                   13                                              FROM STATE COURT PURSUANT
                             GREYHOUND LINES,INC., a               TO 28 U.S.C. SECTIONS 1332, 1441,
                   14        Delaware corporation; CLAUDIO         AND 1446
                             ARRIOLA, an individual; and
                   15        DOES 1 through 20, inclusive,         [Filed concurrently with the, Notice of
                                                                   Interested Parties and Civil Case Cover
                   16                      Defendants.             Sheet]
                   17                                              Complaint Filed:   May 7, 2020
                                                                   Trial Date:    N/A
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LITTLER M ENDELSON, P.C.
      501 W. Broadway                                              1.
          Suite 900
  San Diego, CA 92101.3577
        619.232.0441
                                                            NOTICE OF REMOVAL
                       Case 2:21-cv-02038-SB-PVC Document 1 Filed 03/05/21 Page 2 of 231 Page ID #:2



                      1      TO THE CLERK OF THE ABOVE-ENTITLED COURT AND PLAINITFF
                      2      FERNANDO OCHOA ASTUDILLO AND HIS ATTTORNEYS OF RECORD:
                      3            PLEASE TAKE NOTICE that Defendant Greyhound Lines, Inc. (“Greyhound”
                      4      or “Defendant”) hereby removes the above-entitled action, Case No. 20STCV17492,
                      5      from the Superior Court of the State of California, County of Los Angeles, to the United
                      6      States District Court for the Central District of California, pursuant to 28 U.S.C. §§
                      7      1332, 1441, and 1446.
                      8            This Notice is based upon the original jurisdiction of the federal district court
                      9      over the parties under 28 U.S.C. section 1332 (“Section 1332”) because the parties are
                   10        of diverse citizenship and the matter in controversy exceeds, exclusive of interest and
                   11        costs, the sum specified by 28 U.S.C. section 1332.
                   12              Defendant makes the following allegations in support of its Notice of Removal:
                   13                                JURISDICTION [LOCAL RULE 8-1]
                   14              1.     This Court has original jurisdiction under 28 U.S.C. section 1332(a)(1),
                   15        and this case may be removed pursuant to the provisions of 28 U.S.C. section 1441(a),
                   16        because it is a civil action wherein the amount in controversy exceeds seventy-five
                   17        thousand dollars ($75,000.00), exclusive of interest and costs, and it is between
                   18        “citizens of different states.”
                   19              2.     As set forth below, this case meets all of Section 1332’s requirements for
                   20        removal and is timely and properly removed by the filing of this Notice.
                   21              3.     Venue is proper in this Court pursuant to 28 U.S.C. sections 84(c)(1)(2),
                   22        1391, and 1446.
                   23                              PLEADINGS, PROCESS, AND ORDERS
                   24              4.     This lawsuit arises out of Plaintiff FERNANDO OCHOA ASTUDILLO’s
                   25        (“Plaintiff”) employment with Defendant. On May 7, 2020, Plaintiff filed a Complaint
                   26        in the Superior Court of the State of California, County of Los Angeles, styled
                   27        FERNANDO OCHOA ASTUDILLO v. GREYHOUND LINES, INC., a Delaware
                   28        corporation; Claudio Arriola, an individual; and DOES 1 through 20, inclusive,
LITTLER M ENDELSON, P.C.
      501 W. Broadway                                                  2.
          Suite 900
  San Diego, CA 92101.3577
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                       Case 2:21-cv-02038-SB-PVC Document 1 Filed 03/05/21 Page 3 of 231 Page ID #:3



                      1      bearing Case No. 20STCV17492 (the “Complaint”). The Complaint asserts the
                      2      following thirteen (13) causes of action: (1) Discrimination in violation of Gov’t Code
                      3      §§12940, et seq.; (2) Harassment in violation of Gov’t Code §§12940, et seq.; (3)
                      4      Retaliation in violation of Gov’t Code §§12940, et seq.; (4) Failure to prevent
                      5      discrimination, harassment, and retaliation in violation of Gov’t Code §12940(k); (5)
                      6      Retaliation in violation of Gov’t Code §§12945.2, et seq.; (6) Failure to provide
                      7      reasonable accommodations in violation of Gov’t Code §§12940, et seq.; (7) Failure to
                      8      engage in a good faith interactive process in violation of Gov’t Code §§12940, et seq.;
                      9      (8) Declaratory judgment; (9) Wrongful termination in violation of public policy; (10)
                   10        Failure to provide meal and rest periods (Cal. Labor Code §§226.7, 512); (11) Failure
                   11        to provide itemized wage and hour statements (Cal. Labor Code §§226, et seq.); (12)
                   12        Waiting time penalties (Cal. Labor Code §§201-203); and (13) Unfair competition (Bus.
                   13        & Prof. Code §17200 et seq.). Attached hereto as Exhibit A is a true and correct copy
                   14        of the Complaint.
                   15              5.    Attached hereto as Exhibit B are true and correct copies of the Proof of
                   16        Service, Notice of Acknowledgment and Receipt – Civil, Notice of Case Assignment,
                   17        Summons issued by the Court, the Civil Case Cover Sheet, Notice of Case Assignment,
                   18        Notice of Case Management Conference, First Amended General Order, Stipulation –
                   19        Discovery Resolution, Stipulation – Early Organizational Meeting, Informal Discovery
                   20        Conference, Stipulation and Order – Motions in Limine, Alternative Dispute Resolution
                   21        (ADR) Information Package, Notice to Complainant’s Attorney, Complaint of
                   22        Employment Discrimination, and Statement of Damages, which were mailed to
                   23        Defendant on May 29, 2020, along with a copy of the Complaint.
                   24              6.    On June 17, 2020, Defendant Greyhound signed and returned the Notice
                   25        of Acknowledgment to Plaintiff. Attached hereto as Exhibit C is a true and correct copy
                   26        of the signed Notice of Acknowledgment.
                   27

                   28
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      501 W. Broadway                                                 3.
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                      1            7.     On July 17, 2020, Defendant Greyhound filed its Answer to Plaintiff’s
                      2      Complaint. Attached hereto as Exhibit D is a true and correct copy of Defendant’s
                      3      Answer.
                      4            8.     On September 25, 2020, Defendant Greyhound’s counsel completed a
                      5      notice and acknowledgement of receipt and accepted service for Individual Defendant
                      6      Claudio Arriola. Attached hereto as Exhibit E is a true and correct copy of the signed
                      7      Notice and Acknowledgement form.
                      8            9.     Between September 25, 2020 and November 11, 2020, Defendant’s
                      9      counsel and Plaintiff’s counsel engaged in a meaningful meet and confer process
                   10        regarding Individual Defendant Claudio Arriola and the viability of the causes of action
                   11        alleged against him in the Complaint. On November 11, 2020, Plaintiff’s counsel filed
                   12        a request for dismissal with the Court dismissing all causes of action against Arriola
                   13        with the exception of the second cause of action for Harassment. Attached hereto as
                   14        Exhibit F is a true and correct copy of the Request for Dismissal.
                   15              10.    Between November 11, 2020 and December 4, 2020, Defendant’s counsel
                   16        and Plaintiff’s counsel continued meeting and conferring regarding the sole remaining
                   17        cause of action pled against Arriola.
                   18              11.    On December 11, 2020, Plaintiff’s counsel filed a Request for Dismissal
                   19        as to the sole remaining cause of action against Individual Defendant Claudio Arriola.
                   20        Attached hereto as Exhibit G is a true and correct copy of Request for Dismissal.
                   21              12.    On January 8, 2021, Defendant Greyhound filed in the United States
                   22        District Court Central District of California a Notice to Federal Court of Removal of
                   23        Civil Action from State Court (“Notice of Removal”) on diversity grounds pursuant to
                   24        28 U.S.C. §§ 1332, 1441 and 1446. Attached hereto as Exhibit H are true and correct
                   25        copies of the Notice of Removal and corresponding exhibits. Therein, Defendant
                   26        asserted that it was the only remaining named defendant in the action and that it is a
                   27        citizen of Texas and Delaware for purposes of diversity. Defendant further asserted,
                   28
LITTLER M ENDELSON, P.C.
      501 W. Broadway                                                  4.
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                      1      relying on the allegations in Plaintiff’s Complaint, that Plaintiff was a resident of the
                      2      State of California and thus, for diversity purposes a citizen of California.
                      3            13.    The removed case, Case No. 2:21-cv-00177-PA-PD, was subsequently
                      4      assigned to United States District Court Judge, Percy Anderson and Magistrate Judge
                      5      Patricia Donahue on January 8, 2021. Attached hereto as Exhibit I is a true and correct
                      6      copy of the Notice of Assignment to United States Judges.
                      7            14.    On January 12, 2021, Judge Anderson issued a Civil Minutes Order to
                      8      remand the case to the Superior Court of the State of California on the grounds that
                      9      Defendant had not met the burden of showing that the federal court had subject matter
                   10        jurisdiction over Plaintiff’s claims. Particularly, Judge Anderson ruled that Defendant’s
                   11        assertion that Plaintiff is a resident of California, without more does not adequately
                   12        allege Plaintiff’s citizenship. Attached hereto as Exhibit J is a true and correct copy of
                   13        the Civil Minutes Order.
                   14              15.    On January 13, 2021, the U.S. District Court Clerk remanded the case to
                   15        the Superior Court of the State of California for the County of Los Angeles. Attached
                   16        hereto as Exhibit K is a true and correct copy of the Letter of Transmittal-Remand to
                   17        Superior Court.
                   18              16.    On January 14, 2021, Defendant served Defendant Greyhound Line, Inc.’s
                   19        Requests for Admissions to Plaintiff Fernando Ochoa Astudillo (Set One). Therein,
                   20        Defendant requested that Plaintiff admit his citizenship status. Attached hereto as
                   21        Exhibit L is a true and correct copy of Defendant Greyhound Line, Inc.’s Requests for
                   22        Admissions to Plaintiff Fernando Ochoa Astudillo (Set One) (“Request for
                   23        Admissions”).
                   24              17.     On February 17, 2021, Plaintiff served verified Responses to Request for
                   25        Admissions (Set One) Propounded by Defendant Greyhound Lines, Inc. Therein
                   26        Plaintiff admitted in response to Request No. 1 that he is a citizen of the State of
                   27        California. Attached hereto as Exhibit M is a true and correct copy of Plaintiff Fernando
                   28
LITTLER M ENDELSON, P.C.
      501 W. Broadway                                                   5.
          Suite 900
  San Diego, CA 92101.3577
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                      1      Ochoa Astudillo’s Responses to Request for Admissions (Set One) Propounded by
                      2      Defendant Greyhound Lines, Inc. (“Responses to Request for Admissions”).
                      3            18.    Pursuant to 28 U.S.C. section 1446(a), the documents attached hereto as
                      4      Exhibits A through K constitute all process, pleadings, and orders served upon
                      5      Defendant or filed in this action.
                      6                                  TIMELINESS OF REMOVAL
                      7            19.    Pursuant to 28 U.S.C. section 1446(b)(3), removal is timely when “filed
                      8      within thirty (30) days after receipt by the defendant, through service or otherwise, of a
                      9      copy of an amended pleading, motion, order or other paper from which it may first be
                   10        ascertained that the case is one which is or has become removable.” For the purposes
                   11        of ascertaining removal, “formal discovery,” including “a deposition, interrogatory,
                   12        or request for admission” meets the definition of “other paper.” DeJohn v. AT & T
                   13        Corp., 2011 WL 9105, at *2 (C.D. Cal., Jan. 3, 2011).
                   14              20.    After individual Defendant Claudio Arriola was dismissed from this action
                   15        on December 11, 2020, Defendant Greyhound and Plaintiff became the only relevant
                   16        parties for purposes of ascertaining whether removal based on diversity jurisdiction was
                   17        warranted. However, Defendant Greyhound could not ascertain that diversity existed
                   18        until February 17, 2021, when Plaintiff admitted in his verified Responses to Requests
                   19        for Admissions that he is a citizen of the State of California. (See, Exhibit M.) Prior to
                   20        this admission, Defendant could only ascertain Plaintiff’s residency, which the U.S.
                   21        District Court ruled was not adequate for alleging citizenship for purposes of diversity
                   22        jurisdiction. (See, Exhibit J.) Accordingly, the first time Defendant could ascertain that
                   23        this case is one that could be removed is February 17, 2021, when Plaintiff disclosed
                   24        that he is a citizen of a state different from Defendant.
                   25              21.    Because this removal is being brought within thirty (30) days after service
                   26        of a paper from which Defendant could ascertain that the case is removable, it is
                   27        therefore timely pursuant to 28 U.S.C. section 1446(b)(3).
                   28        ///
LITTLER M ENDELSON, P.C.
      501 W. Broadway                                                    6.
          Suite 900
  San Diego, CA 92101.3577
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                       Case 2:21-cv-02038-SB-PVC Document 1 Filed 03/05/21 Page 7 of 231 Page ID #:7



                      1               DIVERSITY JURISDICTION PURSUANT TO 28 U.S.C. ¶1332
                      2            22.    Section 1332(a) provides: “The district courts shall have original
                      3      jurisdiction of all civil actions where the matter in controversy exceeds the sum or value
                      4      of $75,000, exclusive of interest and costs, and is between…(1) citizens of different
                      5      States[.]” This action is a civil action over which this Court has original jurisdiction
                      6      based on diversity of citizenship pursuant to Section 1332(a), and may be removed to
                      7      this Court by Defendant pursuant to 28 U.S.C. section 1441(b) because it is a civil action
                      8      between citizens of different States and the amount in controversy exceeds $75,000,
                      9      exclusive of interest and costs, as set forth below.
                   10              23.    To establish citizenship for diversity purposes, a natural person must be a
                   11        citizen of the United States and domiciled in a particular state. Bank of N.Y. Mellon v.
                   12        Nersesian, 2013 WL 8284799, at *7 (C.D. Cal. 2013) (citing Kantor v. Wellesley
                   13        Galleries, Ltd., 704 F.2d 1088, 1090 (9th Cir. 1983)). Persons are domiciled in the
                   14        places they reside with the intent to remain or to which they intend to return. Nersesian,
                   15        2013 WL 8284799, at *7 (citing Kanter v. Warner-Lambert Co., 265 F.3d 853, 857 (9th
                   16        Cir. 2001)). Residence is prima facie evidence of one’s domicile. Sadeh v. Safeco Ins.
                   17        Co., 2012 WL 10759737, at *4 (C.D. Cal. 2012) (citing State Farm Mut. Auto. Ins. Co.
                   18        v. Dyer, 19 F.3d 514, 520 (10th Cir. 1994)). Plaintiff admits in his verified Responses
                   19        to Requests for Admissions that he is a citizen of the State of California. (See, Exhibit
                   20        M.) Thus, Plaintiff is a citizen of California.
                   21              24.    For diversity jurisdiction purposes, a corporation is deemed a citizen of its
                   22        state of incorporation and the state or foreign state where it has its principal place of
                   23        business. 28 U.S.C. § 1332(c)(1). A corporation’s principal place of business is “the
                   24        place where the corporation’s high level officers direct, control, and coordinate the
                   25        corporation’s activities,” i.e., its “nerve center,” which is typically a corporation’s
                   26        headquarters. Hertz Corp. v. Friend, 559 U.S.77; 130 S. Ct. 1181, 1186; 175 L. Ed. 2d
                   27        1029, 1034 (2010).
                   28
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      501 W. Broadway                                                   7.
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                      1            25.    At the time this action was commenced in state court, Defendant was, and
                      2      still is, a corporation incorporated under the laws of the state of Delaware. Defendant’s
                      3      corporate headquarters are located in Dallas, Texas. Dallas, Texas is where the majority
                      4      of the Company’s corporate, principal, and executive officers are employed, where the
                      5      majority of the Company’s corporate-wide decisions are made, including decisions
                      6      concerning Defendant’s operations, policies, and procedures, and where its
                      7      administrative functions, including that of marketing, logistics, planning, payroll, and
                      8      accounting are conducted. Dallas, Texas is also where the majority of the key decisions
                      9      are made with respect to the direction of the Company. Thus, Defendant’s principal
                   10        place of business is Dallas, Texas, and Defendant is therefore a citizen of Texas and
                   11        Delaware for purposes of diversity.
                   12              26.    Plaintiff named Defendant Greyhound as a defendant in the Complaint,
                   13        and alleges that Defendant Greyhound was at all times Plaintiff’s employer during the
                   14        relevant time periods referenced in the Complaint. (See, Exhibit A, ¶¶ 5, 6, 18.)
                   15        Defendant is now the only named defendant in the Complaint; Plaintiff has dismissed
                   16        Claudio Arriola, the only individually named defendant to this action.
                   17              27.    The Complaint names as defendants “DOES 1 through 20, inclusive.”
                   18        Pursuant to 28 U.S.C. section 1441(a), however, the citizenship of defendants sued
                   19        under fictitious names must be disregarded for the purpose of determining diversity
                   20        jurisdiction. See Newcombe v. Adolf Coors Co., 157 F.3d 686, 690-691 (9th Cir. 1998).
                   21              28.    As discussed in detail below, the amount in controversy in the Complaint
                   22        exceeds the sum of seventy-five thousand dollars ($75,000.00), exclusive of interest
                   23        and costs, as required by Section 1332(a).
                   24                THE AMOUNT IN CONTROVERSY REQUIREMENT IS MET
                   25              29.    The removal statute requires a defendant seeking to remove a case to
                   26        federal court to file a notice “containing a short and plain statement of the grounds for
                   27        removal.” 28 U.S.C. § 1446(a). In Dart Cherokee Basin Operating Co. v. Owens, 135
                   28        S. Ct. 547, 554 (2014), the Supreme Court recognized that “as specified in § 1446(a), a
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      501 W. Broadway                                                  8.
          Suite 900
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                      1      defendant’s notice of removal need include only a plausible allegation that the amount
                      2      in controversy exceeds the jurisdictional threshold.” Only if the plaintiff contests or the
                      3      court questions the allegations of the notice of removal is supporting evidence required.
                      4      Id. at 554. “[T]he defendant’s amount-in-controversy allegation should be accepted”
                      5      just as a plaintiff’s amount-in-controversy allegation is accepted when a plaintiff
                      6      invokes federal court diversity jurisdiction. Id. at 553.
                      7            30.    Plaintiff’s Statement of Damages alleges that Plaintiff is seeking damages
                      8      “in an amount according to proof but estimated to be no less than $500,000.00, in a
                      9      money judgment representing compensatory damages including lost wages, earnings,
                   10        commissions, retirement benefits, and other employee benefits, and all other sums of
                   11        money, together with interest on these amounts; for other special damages; and for
                   12        general damages for mental pain and anguish and emotional distress and loss of earning
                   13        capacity.” (See, Exhibit B.) The Statement of Damages further alleges that Plaintiff is
                   14        seeking “$1,000,000 in punitive damages.” (See, id.) Thus, according to Plaintiff’s own
                   15        pleadings, the amount in controversy in this case is at least $1,500,000.00, which far
                   16        exceeds the jurisdictional minimum.
                   17              31.    For these reasons, this action is a civil action over which this Court has
                   18        original jurisdiction pursuant to Section 1332, and which may be removed by Defendant
                   19        to this Court pursuant to 28 U.S.C. section 1441 based on diversity jurisdiction.
                   20                          NOTICE TO STATE COURT AND PLAINTIFF
                   21              32.    Concurrently with the filing of this Notice of Removal in the United States
                   22        District Court for the Central District of California, written notice of such filing will be
                   23        given by the undersigned to counsel for Plaintiff, Ramin R. Younessi, Sam Setyan, and
                   24        Samantha Ortiz of Law Offices of Ramin R. Younessi, APC. In addition, a copy of this
                   25        Notice of Removal will be filed with the Clerk of the Superior Court of the State of
                   26        California for the County of Los Angeles.
                   27

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LITTLER M ENDELSON, P.C.
      501 W. Broadway                                                   9.
          Suite 900
  San Diego, CA 92101.3577
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                                                                NOTICE OF REMOVAL
                    Case 2:21-cv-02038-SB-PVC Document 1 Filed 03/05/21 Page 10 of 231 Page ID #:10



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                      3      Dated:            March 5 , 2021           /s/ Shelley L. Murray
                                                                        David J. Dow
                      4                                                 Shelley L. Murray
                                                                        LITTLER MENDELSON, P.C.
                      5                                                 Attorneys for Defendants
                                                                        GREYHOUND LINES, INC.
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LITTLER M ENDELSON, P.C.
      501 W. Broadway                                                 10.
          Suite 900
  San Diego, CA 92101.3577
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                        EXHIBIT A
                                                                           11
Electronically FILED by Superior Court of California, County of Los Angeles on 05/07/2020 02:20 PM Sherri R. Carter, Executive Officer/Clerk of Court, by N. Alvarez,Deputy Clerk
                   Case 2:21-cv-02038-SB-PVC Document 1 Filed 03/05/21 Page 12 of 231 Page ID #:12
                                                   20STCV17492
                                        Assigned for all purposes to: Stanley Mosk Courthouse, Judicial Officer: Daniel Murphy




                    1      Ramin R. Younessi, Esq. (SBN 175020)
                           LAW OFFICES OF RAMIN R. YOUNESSI
                    2      A PROFESSIONAL LAW CORPORATION
                           3435 Wilshire Boulevard, Suite 2200
                    3      Los Angeles, California 90010
                           Telephone: (213) 480-6200
                    4      Facsimile: (213) 480-6201

                    5      Attorney for Plaintiff,
                           FERNANDO OCHOA ASTUDILLO
                    6
                    7
                    8
                                                           SUPERIOR COURT OF THE STATE OF CALIFORNIA
                    9
                                                    FOR THE COUNTY OF LOS ANGELES, CENTRAL DISTRICT
                  10
                           FERNANDO OCHOA ASTUDILLO, an                                                   Case No.
                  11       individual,
                                                                                                          COMPLAINT FOR DAMAGES FOR:
                  12                                                   Plaintiff,
                                                                                                          1. DISCRIMINATION IN VIOLATION OF
                  13                  v.                                                                     GOV’T CODE §§12940 ET SEQ.;

                  14       GREYHOUND LINES, INC., a Delaware                                              2. HARASSMENT IN VIOLATION OF
                           corporation; CLAUDIO ARRIOLA, an                                                  GOV’T CODE §§12940 ET SEQ.;
                  15       individual; and DOES 1 through 20, inclusive,
                                                                                                          3. RETALIATION IN VIOLATION OF
                  16                                                   Defendants.                           GOV’T CODE §§12940 ET SEQ.;

                  17                                                                                      4. FAILURE TO PREVENT
                                                                                                             DISCRIMINATION, HARASSMENT, AND
                  18                                                                                         RETALIATION IN VIOLATION OF
                                                                                                             GOV’T CODE §12940(k);
                  19
                                                                                                          5. RETALIATION IN VIOLATION OF
                  20                                                                                         GOV’T CODE §§12945.2 ET. SEQ.;

                  21                                                                                      6. FAILURE TO PROVIDE REASONABLE
                                                                                                             ACCOMMODATIONS IN VIOLATION OF
                  22                                                                                         GOV’T CODE §§12940 ET SEQ.;

                  23                                                                                      7. FAILURE TO ENGAGE IN A GOOD
                                                                                                             FAITH INTERACTIVE PROCESS IN
                  24                                                                                         VIOLATION OF GOV’T CODE §§12940 ET
                                                                                                             SEQ.;
                  25
                                                                                                          8. FOR DECLARATORY JUDGMENT
                  26
                                                                                                          9. WRONGFUL TERMINATION IN
                  27                                                                                         VIOLATION OF PUBLIC POLICY;

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                                                                                                        -1-
                                                                                                                                                                         12
                                                                                     COMPLAINT FOR DAMAGES
Case 2:21-cv-02038-SB-PVC Document 1 Filed 03/05/21 Page 13 of 231 Page ID #:13



                                                         10. FAILURE TO PROVIDE MEAL AND
 1                                                           REST PERIODS (CAL. LABOR CODE
                                                             §§226.7, 512);
 2
                                                         11. FAILURE TO PROVIDE ITEMIZED
 3                                                           WAGE AND HOUR STATEMENTS (CAL.
                                                             LABOR CODE §§226, ET SEQ.);
 4
                                                         12. WAITING TIME PENALTIES (CAL.
 5                                                           LABOR CODE §§201-203); AND
 6                                                       13. UNFAIR COMPETITION (BUS. & PROF.
                                                             CODE §17200 ET SEQ.)
 7
                                                                      DEMAND OVER $25,000
 8
                                                          [DEMAND FOR JURY TRIAL]
 9
            COMES NOW PLAINTIFF, FERNANDO OCHOA ASTUDILLO, and for causes of action
10
     against the Defendants and each of them, alleges as follows:
11
12
                                                JURISDICTION
13
            1.      This Court is the proper court, and this action is properly filed in Los Angeles County,
14
     because Defendants’ obligations and liability arise therein, because Defendants maintain offices and
15
     transact business within Los Angeles County, and because the work that is the subject of this action was
16
     performed by Plaintiff in Los Angeles County.
17
18
                                                   THE PARTIES
19
            2.      Plaintiff, FERNANDO OCHOA ASTUDILLO, is and at all times relevant hereto was a
20
     resident of the County of Los Angeles, State of California.
21
            3.      Plaintiff is informed and believes, and based thereupon alleges, that at all times relevant
22
     hereto, Defendant GREYHOUND LINES, INC. (hereinafter referred to as “GREYHOUND”) was and is
23
     a California corporation doing business at 1716 E. 7th Street, Los Angeles, California, 90021, in the
24
     County of Los Angeles, State of California.
25
            4.      Plaintiff is informed and believes, and based thereupon alleges, that at all times relevant
26
     hereto, GREYHOUND owned and operated a private transportation company.
27
            5.      At all times relevant herein, GREYHOUND and DOES 1-20 were Plaintiff’s employers,
28
     joint employers and/or special employers within the meaning of the Labor Code and Industrial Welfare


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 1   Commission Order No. 9-2001 and are each any “employer or other person acting on behalf of an
 2   employer” as such term is used in Labor Code section 558, and liable to Plaintiff on that basis.
 3          6.      At all times relevant herein, GREYHOUND and DOES 1-20 were Plaintiff’s employers,
 4   joint employers and/or special employers within the meaning of Government Code §§12926, subdivision
 5   (d), 12940, subdivisions (a), (h), (1), (h)(3)(A), and (i), and 12950, and regularly employ five (5) or more
 6   persons and are therefore subject to the jurisdiction of this Court.
 7          7.      Plaintiff is informed and believes, and based thereupon alleges, that at all times relevant
 8   hereto, Defendant CLAUDIO ARRIOLA, was and is an individual resident of the County of Los Angeles,
 9   State of California, and are hereinafter individually referred to by last name and collectively referred to
10   as the “ARRIOLA.” ARRIOLA was GREYHOUND’s manager, corporate agent, supervisor, and/or
11   employee.
12          8.      The true names and capacities, whether individual, corporate, associate, or otherwise, of

13   the Defendants named herein as DOES 1-20, inclusive, are unknown to Plaintiff at this time and therefore

14   said Defendants are sued by such fictitious names. Plaintiff will seek leave to amend this complaint to

15   insert the true names and capacities of said Defendants when the same become known to Plaintiff.

16   Plaintiff is informed and believes, and based thereupon alleges, that each of the fictitiously named

17   Defendants is responsible for the wrongful acts alleged herein and is therefore liable to Plaintiff as alleged

18   hereinafter.

19          9.      Plaintiff is informed and believes, and based thereupon alleges, that at all times relevant

20   hereto, Defendants, and each of them, were the agents, employees, managing agents, supervisors,

21   coconspirators, parent corporation, joint employers, alter egos, successors, and/or joint ventures of the

22   other Defendants, and each of them, and in doing the things alleged herein, were acting at least in part

23   within the course and scope of said agency, employment, conspiracy, joint employer, alter ego status,

24   successor status and/or joint venture and with the permission and consent of each of the other Defendants.

25          10.     Plaintiff is informed and believes, and based thereupon alleges, that Defendants, and each

26   of them, including those defendants named as DOES 1-20 and ARRIOLA, acted in concert with one

27   another to commit the wrongful acts alleged herein, and aided, abetted, incited, compelled and/or coerced

28   one another in the wrongful acts alleged herein, and/or attempted to do so, including pursuant to



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 1   Government Code §12940(i). Plaintiff is further informed and believes, and based thereupon alleges,
 2   that Defendants, and each of them, including those defendants named as DOES 1-20 and ARRIOLA, and
 3   each of them, formed and executed a conspiracy or common plan pursuant to which they would commit
 4   the unlawful acts alleged herein, with all such acts alleged herein done as part of and pursuant to said
 5   conspiracy, intended to cause and actually causing Plaintiff harm.
 6           11.     Whenever and wherever reference is made in this complaint to any act or failure to act by
 7   a Defendant or co-Defendant, such allegations and references shall also be deemed to mean the acts
 8   and/or failures to act by each Defendant acting individually, jointly and severally.
 9           12.     Plaintiff has filed complaints of discrimination, harassment, retaliation, failure to prevent
10   discrimination or retaliation, and wrongful termination under Government Code §§12940, et seq., the
11   California Fair Employment and Housing Act (“FEHA”) with the California Department of Fair
12   Employment and Housing (“DFEH”) and has satisfied Plaintiff’s administrative prerequisites with

13   respect to these and all related filings.

14
15                    ALTER EGO, AGENCY, SUCCESSOR AND JOINT EMPLOYER

16           13.     Plaintiff is informed and believes, and based thereon alleges, that there exists such a unity

17   of interest and ownership between Greyhound and DOES 1-20 that the individuality and separateness of

18   defendants have ceased to exist.

19           14.     Plaintiff is informed and believes, and based thereon alleges, that despite the formation of

20   purported corporate existence, Greyhound and DOES 1-20 are, in reality, one and the same, including,

21   but not limited to because:

22                   a.       Greyhound is completely dominated and controlled by one another and DOES 1-

23   20, who personally committed the frauds and violated the laws as set forth in this complaint, and who

24   have hidden and currently hide behind Defendants to perpetrate frauds, circumvent statutes, or

25   accomplish some other wrongful or inequitable purpose.

26                   b.       Greyhound and DOES 1-20 derive actual and significant monetary benefits by and

27   through one another’s unlawful conduct, and by using one another as the funding source for their own

28   personal expenditures.



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 1                   c.      Greyhound and DOES 1-20, while really one and the same, were segregated to
 2   appear as though separate and distinct for purposes of perpetrating a fraud, circumventing a statute, or
 3   accomplishing some other wrongful or inequitable purpose.
 4                   d.      Greyhound does not comply with all requisite corporate formalities to maintain a
 5   legal and separate corporate existence.
 6                   e.      The business affairs of Greyhound and DOES 1-20 are, and at all times relevant
 7   were, so mixed and intermingled that the same cannot reasonably be segregated, and the same are in
 8   inextricable confusion. Greyhound is, and at all times relevant hereto was, used by DOES 1-20 as a mere
 9   shell and conduit for the conduct of certain of Defendant’s affairs, and is, and was, the alter ego of DOES
10   1-20. The recognition of the separate existence of Defendants would not promote justice, in that it would
11   permit Defendants to insulate themselves from liability to Plaintiff for violations of the Government Code
12   and other statutory violations. The corporate existence of Greyhound and DOES 1-20 should be

13   disregarded in equity and for the ends of justice because such disregard is necessary to avoid fraud and

14   injustice to Plaintiff herein.

15           15.     Accordingly, Greyhound constitutes the alter ego of DOES 1-20, and the fiction of their

16   separate corporate existence must be disregarded.

17           16.     As a result of the aforementioned facts, Plaintiff is informed and believes, and based

18   thereon alleges that Greyhound and DOES 1-20 are Plaintiff’s joint employers by virtue of a joint

19   enterprise, and that Plaintiff was an employee of Greyhound and DOES 1-20. Plaintiff performed

20   services for each and every one of Defendants, and to the mutual benefit of all Defendants, and all

21   Defendants shared control of Plaintiff as an employee, either directly or indirectly, and the manner in

22   which Defendants’ business was and is conducted.

23           17.     Alternatively, Plaintiff is informed and believes and, based thereupon alleges, that as and

24   between DOES 1-20, Greyhound, or any of them, (1) there is an express or implied agreement of

25   assumption pursuant to which Greyhound and/or DOES 1-20 agreed to be liable for the debts of the other

26   Defendants, (2) the transaction between Greyhound and/or DOES 1-20 and the other Defendants amounts

27   to a consolidation or merger of the two corporations, (3) Greyhound and/or DOES 1-20 are a mere

28   continuation of the other Defendants, or (4) the transfer of assets to Defendant and/or DOES 1-20 is for



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 1   the fraudulent purpose of escaping liability for Defendants’ debts. Accordingly, Greyhound and/or
 2   DOES 1-20 are the successors of one or more of the other Defendants and are liable on that basis.
 3
 4                                         FACTUAL ALLEGATIONS
 5           18.     On or about April 16, 2013, Greyhound hired Plaintiff to work as a driver. Plaintiff was
 6   a full-time, non-exempt employee, and performed all of Plaintiff’s job duties satisfactorily before he was
 7   wrongfully terminated on or about April 15, 2019.
 8           19.     At the time of Plaintiff’s termination, Plaintiff was 71 years old.
 9           20.     Between June 8, 2016 and December 31, 2016, Plaintiff’s hourly wage rate was $21.93.
10   During this time period, Plaintiff’s fixed schedule was five days per week for approximately 9.5 hours
11   per day.
12           21.     Between January 1, 2017 and April 15, 2019, Plaintiff’s hourly wage rate was $22.77.

13   During this time period, Plaintiff’s fixed schedule was five days per week for approximately 9.5 hours

14   per day.

15           22.     Throughout Plaintiff’s employment, Plaintiff was not permitted to, and not advised of

16   Plaintiff’s right to take statutory 10-minute rest breaks for every four hours worked or substantial portion

17   thereof, which was each and every day Plaintiff worked.

18           23.     In or around January 2019, Plaintiff developed pain in his knees due to the repetitive nature

19   of his duties. This pain impaired Mr. Plaintiff’s major life activity of working, thus constituting a

20   disability.

21           24.     Plaintiff reported his disability to his driving manager, ARRIOLA, and asked to be sent

22   for medical treatment. ARRIOLA rejected Plaintiff’s request and required Plaintiff to continue working

23   without accommodation.

24           25.     Plaintiff then informed another supervisor, Terrance Ford, of his disability and requested

25   to be sent for medical treatment. Terrance Ford directed Plaintiff back to ARRIOLA, who again rejected

26   Plaintiff’s request.

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 1          26.     ARRIOLA’s harassing conduct of refusing to send Plaintiff for medical treatment and
 2   requiring Plaintiff to work despite his continued pain and disability was severe and pervasive, creating a
 3   hostile work environment for Plaintiff.
 4          27.     Due to Defendants’ refusal to send Plaintiff for medical treatment, Plaintiff had no choice
 5   but to file a workers’ compensation claim.
 6          28.     In or around early-March 2019, Plaintiff finally obtained medical treatment and was
 7   informed that that he needed surgery to replace both his knees and was placed on disability leave. Plaintiff
 8   promptly informed Defendants of his medical status and requested disability leave.
 9          29.     Shortly thereafter, and while on medical leave, Defendants terminated Plaintiff on or about
10   April 15, 2019.
11          30.     Defendants discriminated and retaliated against Plaintiff by refusing to allow Plaintiff to
12   obtain medical treatment and for Plaintiff’s right to request medical leave as an accommodation of

13   Plaintiff’s disability and/or medical condition.

14          31.     Defendants also subjected the Plaintiff to harassment by refusing to allow Plaintiff to

15   obtain medical treatment upon multiple requests to multiple supervisors.

16          32.     At all relevant times, Defendants failed to properly engage in a good faith interactive

17   process in an effort to properly accommodate Plaintiff’s disability and/or medical condition such that

18   Plaintiff could continue working for Defendants.

19          33.     At all relevant times, Defendants failed to reasonably accommodate Plaintiff even though

20   Plaintiff was able to perform the essential job duties of Plaintiff’s position or another position with or

21   without accommodations.

22          34.     Plaintiff’s termination was substantially motivated by Plaintiff’s age, disability or

23   perceived disability, medical condition or perceived medical condition, request for accommodation,

24   and/or engagement in protected activities, without any discussion of disability accommodations or any

25   good faith attempt to engage in the interactive process with Plaintiff. Defendants’ discriminatory animus

26   is evidenced by the previously mentioned facts.

27          35.     Defendants’ conduct described herein was undertaken, authorized, and/or ratified

28   Defendants’ officers, directors and/or managing agents, including, but not limited to ARRIOLA and those



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 1   identified herein as DOES 1 through 20, who were authorized and empowered to make decisions that
 2   reflect and/or create policy for Defendants. The aforementioned conduct of said managing agents and
 3   individuals was therefore undertaken on behalf of Defendants who further had advanced knowledge of
 4   the actions and conduct of said individuals whose actions and conduct were ratified, authorized, and
 5   approved by managing agents whose precise identities are unknown to Plaintiff at this time and are
 6   therefore identified and designated herein as DOES 1 through 20, inclusive.
 7            36.    As a result of Defendants’ actions, Plaintiff has suffered and will continue to suffer general
 8   and special damages, including severe and profound pain and emotional distress, anxiety, depression,
 9   headaches, tension, and other physical ailments, as well as medical expenses, expenses for psychological
10   counseling and treatment, and past and future lost wages and benefits.
11            37.    As a result of the above, Plaintiff is entitled to past and future lost wages, bonuses,
12   commissions, benefits and loss or diminution of earning capacity.

13            38.    Plaintiff claims general damages for emotional and mental distress and aggravation in a

14   sum in excess of the jurisdictional minimum of this Court.

15            39.    Because the acts taken toward Plaintiff were carried out by officers, directors and/or

16   managing agents acting in a deliberate, cold, callous, cruel and intentional manner, in conscious disregard

17   of Plaintiff’s rights and in order to injure and damage Plaintiff, Plaintiff requests that punitive damages

18   be levied against Defendants and each of them, in sums in excess of the jurisdictional minimum of this

19   Court.

20
21                                         FIRST CAUSE OF ACTION

22             FOR DISCRIMINATION IN VIOLATION OF GOV’T CODE §§12940 ET SEQ.

23                                      AGAINST EMPLOYER DEFENDANTS

24            40.    Plaintiff re-alleges and incorporates by reference Paragraphs 1 through 35, inclusive, as

25   though set forth in full herein.

26            41.    At all times hereto, the FEHA was in full force and effect and was binding upon

27   Defendants and each of them.

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 1          42.      As such term is used under FEHA, “on the bases enumerated in this part” means or refers
 2   to discrimination on the bases of one or more of the protected characteristics under FEHA.
 3          43.      FEHA requires Defendants to refrain from discriminating against an employee on the
 4   basis of age, disability and/or medical condition, real or perceived, and to prevent discrimination on the
 5   basis of age, disability and/or medical condition, real or perceived, use of medical leave, and engagement
 6   in protected activities from occurring.
 7          44.      Plaintiff was a member of multiple protected classes as a result of Plaintiff’s age,
 8   disability, medical condition and/or the perception that Plaintiff was suffering from a disability and/or
 9   medical condition.
10          45.      At all times relevant hereto, Plaintiff was performing competently in the position Plaintiff
11   held with Defendants.
12          46.      Plaintiff suffered the adverse employment actions of unlawful discrimination, failure to

13   investigate, remedy, and/or prevent discrimination, failure to reinstate and/or return to work, and

14   termination, and was harmed thereby.

15          47.      Plaintiff is informed and believes that Plaintiff’s disability and/or medical condition, real

16   and perceived, and/or some combination of these protected characteristics under Government Code

17   §12926(j) were motivating reasons and/or factors in the decisions to subject Plaintiff to the

18   aforementioned adverse employment actions.

19          48.      Said conduct violates the FEHA, and such violations were a proximate cause in Plaintiff’s

20   damage as stated below.

21          49.      The damage allegations of Paragraphs 36 through 39, inclusive, are herein incorporated

22   by reference.

23          50.      The foregoing conduct of Defendants individually, or by and through their officers,

24   directors and/or managing agents, was intended by the Defendants to cause injury to the Plaintiff or was

25   despicable conduct carried on by the Defendants with a willful and conscious disregard of the rights of

26   Plaintiff or subjected Plaintiff to cruel and unjust hardship in conscious disregard of Plaintiff’s rights

27   such as to constitute malice, oppression, or fraud under Civil Code §3294, thereby entitling Plaintiff to

28   punitive damages in an amount appropriate to punish or make an example of Defendants.



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 1           51.     Pursuant to Government Code §12965(b), Plaintiff requests a reasonable award of
 2   attorneys’ fees and costs, including expert fees pursuant to the FEHA.
 3
 4                                      SECOND CAUSE OF ACTION
 5                 FOR HARASSMENT IN VIOLATION OF GOV’T CODE §§12940 ET SEQ.
 6                                      AGAINST ALL DEFENDANTS
 7           52.     Plaintiff re-alleges and incorporates by reference Paragraphs 1 through 35, inclusive, as
 8   though set forth in full herein.
 9           53.     At all times hereto, the FEHA was in full force and effect and was binding upon
10   Defendants and each of them.
11           54.     As such term is used under FEHA, “on the bases enumerated in this part” means or refers
12   to harassment on the bases of one or more of the protected characteristics under FEHA.

13           55.     These laws set forth in the preceding paragraph require Defendants to refrain from

14   harassing, or creating, or maintaining a hostile work environment against an employee based upon the

15   employee’s age, disability and/or medical condition, real or perceived, use of medical leave, and

16   engagement in protected activities, as set forth hereinabove.

17           56.     Defendants’ harassing conduct was severe or pervasive, was unwelcome by Plaintiff, and

18   a reasonable person in Plaintiff’s circumstances would have considered the work environment to be

19   hostile or abusive.

20           57.     Defendants violated the FEHA and the public policy of the State of California which is

21   embodied in the FEHA by creating a hostile work environment and harassing Plaintiff because of

22   Plaintiff’s age, disability and/or medical condition, real or perceived, use of medical leave, engagement

23   in protected activities, and/or some combination of these protected characteristics, as set forth

24   hereinabove.

25           58.     The above said acts were perpetrated upon Plaintiff by a supervisor, and/or Defendants

26   knew or should have known of the conduct but failed to take immediate and appropriate corrective action.

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 1           59.     The above said acts of Defendants constitute violations of the FEHA and violations of the
 2   public policy of the State of California. Such violations were a proximate cause in Plaintiff’s damage as
 3   stated below.
 4           60.     The damage allegations of Paragraphs 36 through 39, inclusive, are herein incorporated
 5   by reference.
 6           61.     The foregoing conduct of Defendants individually, or by and through their officers,
 7   directors and/or managing agents, was intended by the Defendants to cause injury to the Plaintiff or was
 8   despicable conduct carried on by the Defendants with a willful and conscious disregard of the rights of
 9   Plaintiff or subjected Plaintiff to cruel and unjust hardship in conscious disregard of Plaintiff’s rights
10   such as to constitute malice, oppression, or fraud under Civil Code §3294, thereby entitling Plaintiff to
11   punitive damages in an amount appropriate to punish or make an example of Defendants.
12           62.     Pursuant to Government Code §12965(b), Plaintiff requests a reasonable award of

13   attorneys’ fees and costs, including expert fees pursuant to the FEHA.

14
15                                        THIRD CAUSE OF ACTION

16                 FOR RETALIATION IN VIOLATION OF GOV’T CODE §§12940 ET SEQ.

17                                      AGAINST ALL DEFENDANTS

18           63.     Plaintiff re-alleges and incorporates by reference Paragraphs 1 through 35, inclusive, as

19   though set forth in full herein.

20           64.     At all times hereto, the FEHA was in full force and effect and was binding upon

21   Defendants and each of them.

22           65.     These laws set forth in the preceding paragraph require Defendants to refrain from

23   retaliating against an employee for engaging in protected activity.

24           66.     Plaintiff engaged in the protected activities of requesting accommodation, requesting

25   medical leave and/or exercising Plaintiff’s right to medical leave, and complaining about and protesting

26   Defendants’ discriminatory and harassing conduct towards Plaintiff based upon Plaintiff’s age, disability,

27   medical condition, real or perceived, and use of medical leave.

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 1          67.      Plaintiff suffered the adverse employment actions of unlawful harassment, discrimination,
 2   failure to accommodate, failure to investigate, remedy, and/or prevent discrimination, failure to reinstate
 3   and/or return to work, and termination, and was harmed thereby.
 4          68.      Plaintiff is informed and believes that Plaintiff’s conduct of requesting accommodation,
 5   requesting medical leave and/or exercising Plaintiff’s right to medical leave, complaining about and
 6   protesting about Defendants’ discriminatory and harassing conduct, and/or some combination of these
 7   factors, were motivating reasons and/or factors in the decisions to subject Plaintiff to the aforementioned
 8   adverse employment actions.
 9          69.      Defendants violated the FEHA by retaliating against Plaintiff and terminating Plaintiff for
10   attempting to exercise Plaintiff’s protected rights, as set forth hereinabove.
11          70.      Plaintiff is informed and believes, and based thereon alleges, that the above acts of
12   retaliation committed by Defendants were done with the knowledge, consent, and/or ratification of, or at

13   the direction of, each other Defendant and the other Managers.

14          71.      The above said acts of Defendants constitute violations of the FEHA and were a proximate

15   cause in Plaintiff’s damage as stated below.

16          72.      The damage allegations of Paragraphs 36 through 39, inclusive, are herein incorporated

17   by reference.

18          73.      The foregoing conduct of Defendants individually, or by and through their officers,

19   directors and/or managing agents, was intended by the Defendants to cause injury to the Plaintiff or was

20   despicable conduct carried on by the Defendants with a willful and conscious disregard of the rights of

21   Plaintiff or subjected Plaintiff to cruel and unjust hardship in conscious disregard of Plaintiff’s rights

22   such as to constitute malice, oppression, or fraud under Civil Code §3294, thereby entitling Plaintiff to

23   punitive damages in an amount appropriate to punish or make an example of Defendants.

24          74.      Pursuant to Government Code §12965(b), Plaintiff requests a reasonable award of

25   attorneys’ fees and costs, including expert fees pursuant to the FEHA.

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 1                                      FOURTH CAUSE OF ACTION
 2        FAILURE TO PREVENT DISCRIMINATION, HARASSMENT, AND RETALIATION
 3                                IN VIOLATION OF GOV’T CODE §12940(k)
 4                                      AGAINST ALL DEFENDANTS
 5           75.     Plaintiff re-alleges and incorporates by reference Paragraphs 1 through 35, inclusive, as
 6   though set forth in full herein.
 7           76.     At all times hereto, the FEHA, including in particular Government Code §12940(k), was
 8   in full force and effect and was binding upon Defendants. This subsection imposes a duty on Defendants
 9   to take all reasonable steps necessary to prevent discrimination, harassment, and retaliation from
10   occurring. As alleged above, Defendants violated this subsection and breached their duty by failing to
11   take all reasonable steps necessary to prevent discrimination, harassment and retaliation from occurring.
12           77.     The above said acts of Defendants constitute violations of the FEHA and were a proximate

13   cause in Plaintiff’s damage as stated below.

14           78.     The damage allegations of Paragraphs 36 through 39, inclusive, are herein incorporated

15   by reference.

16           79.     The foregoing conduct of Defendants individually, or by and through their officers,

17   directors and/or managing agents, was intended by the Defendants to cause injury to the Plaintiff or was

18   despicable conduct carried on by the Defendants with a willful and conscious disregard of the rights of

19   Plaintiff or subjected Plaintiff to cruel and unjust hardship in conscious disregard of Plaintiff’s rights

20   such as to constitute malice, oppression, or fraud under Civil Code §3294, thereby entitling Plaintiff to

21   punitive damages in an amount appropriate to punish or make an example of Defendants.

22           80.     Pursuant to Government Code §12965(b), Plaintiff requests a reasonable award of

23   attorneys’ fees and costs, including expert fees pursuant to the FEHA.

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 1                                        FIFTH CAUSE OF ACTION
 2             FOR RETALIATION IN VIOLATION OF GOV’T CODE §§12945.2 ET SEQ.
 3                                       AGAINST ALL DEFENDANTS
 4           81.     Plaintiff re-alleges and incorporates by reference Paragraphs 1 through 35, inclusive, as
 5   though set forth in full herein.
 6           82.     At all times hereto, the California Family Rights Act, codified by Government Code
 7   §§12945.2, et al. (“CFRA”) was in full force and effect and was binding upon Defendants and each of
 8   them. Under the CFRA, it shall be an unlawful employment practice for any covered employer to refuse
 9   to grant a request by any qualified employee to take up to a total of 12 workweeks in any 12-month period
10   for family care and medical leave for the employee’s own serious medical condition. Under the CFRA,
11   it is also an unlawful employment practice for a covered employer to refuse to hire, or to discharge, fine,
12   suspend, expel, or discriminate against, any individual because the individual has exercised or attempted

13   to exercise his or her right to take protected family care and medical leave under the CFRA. Under the

14   CFRA, it is also an unlawful employment practice for an employer to interfere with, restrain, or deny the

15   exercise of, or the attempt to exercise, any right provided under the CFRA.

16           83.     At all times hereto, Plaintiff was an employee eligible for CFRA leave. At all times

17   hereto, Plaintiff had been employed by Defendants for more than 12 months and had worked at least

18   1250 hours during the previous 12 months. Further, Defendants employed at least 50 employees within

19   75 miles of the worksite at which Plaintiff worked.

20           84.     Defendants violated the CFRA by failing and/or refusing to provide Plaintiff with the

21   family care and medical leave that Plaintiff requested.

22           85.     Defendants violated the CFRA by retaliating against Plaintiff for exercising or attempting

23   to exercise Plaintiff’s right to protected medical leave under the CFRA.

24           86.     Defendants violated the CFRA by interfering with or restraining Plaintiff from exercising

25   or attempting to exercise Plaintiff’s right to protected medical leave under the CFRA, by failing to give

26   Plaintiff notice of Plaintiff’s rights under the CFRA, including the right to take protected leave.

27           87.     Plaintiff suffered the adverse employment actions of unlawful harassment, discrimination

28   and termination.



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 1           88.      Plaintiff is informed and believes that exercising or attempting to exercise Plaintiff’s right
 2   to medical leave was a motivating reason and/or factor in the decisions to subject Plaintiff to the
 3   aforementioned adverse employment actions.
 4           89.     The above said acts of Defendants constitute violations of the CFRA and were a proximate
 5   cause in Plaintiff’s damage as stated below.
 6           90.     The damage allegations of Paragraphs 36 through 39, inclusive, are herein incorporated
 7   by reference.
 8           91.     The foregoing conduct of Defendants individually, or by and through their officers,
 9   directors and/or managing agents, was intended by the Defendants to cause injury to the Plaintiff or was
10   despicable conduct carried on by the Defendants with a willful and conscious disregard of the rights of
11   Plaintiff or subjected Plaintiff to cruel and unjust hardship in conscious disregard of Plaintiff’s rights
12   such as to constitute malice, oppression, or fraud under Civil Code §3294, thereby entitling Plaintiff to

13   punitive damages in an amount appropriate to punish or make an example of Defendants.

14           92.     Pursuant to Government Code §12965(b), Plaintiff requests a reasonable award of

15   attorneys’ fees and costs, including expert fees pursuant to the FEHA.

16
17                                          SIXTH CAUSE OF ACTION

18                   FOR FAILURE TO PROVIDE REASONABLE ACCOMMODATIONS

19                            IN VIOLATION OF GOV’T CODE§§12940 ET SEQ.

20                                        AGAINST ALL DEFENDANTS

21           93.     Plaintiff re-alleges and incorporates by reference Paragraphs 1 through 35, inclusive, as

22   though set forth in full herein.

23           94.     At all times hereto, the FEHA, including in particular Government Code §12940(m), was

24   in full force and effect and was binding upon Defendants. This subsection imposes an ongoing duty on

25   Defendants to make reasonable accommodation for the known physical disability and/or medical

26   condition of an employee.

27           95.     At all relevant times, Plaintiff was a member of a protected class within the meaning of,

28   in particular, Government Code §§12940(a) & 12986(1) et seq. because Plaintiff had a disability, a



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 1   physical condition that affected Plaintiff’s major life activities, and medical condition of which
 2   Defendants had both actual and constructive knowledge.
 3          96.      At all times herein, Plaintiff was willing and able to perform the duties and functions of
 4   the position in which Plaintiff was employed or could have performed the duties and functions of that
 5   position with reasonable accommodations. At no time would the performance of the functions of the
 6   employment position, with a reasonable accommodation for Plaintiff's disability or medical condition,
 7   actual or as it was perceived by Defendants, have been a danger to Plaintiff's or any other person's health
 8   or safety. Accommodation of Plaintiff's disability or disability or medical condition, real or perceived
 9   by Defendants, would not have imposed an undue hardship on Defendants. Defendants failed and refused
10   to accommodate Plaintiff’s disability, failed to engage in the interactive process with Plaintiff and
11   continue to violate this obligation, up to and including the date of Plaintiff’s termination or, if Defendant
12   contends Plaintiff was never terminated, through the present and ongoing.

13          97.      The above said acts of Defendants constitute violations of the FEHA and were a proximate

14   cause in Plaintiff’s damage as stated below.

15          98.      The damage allegations of Paragraphs 36 through 39, inclusive, are herein incorporated

16   by reference.

17          99.      The foregoing conduct of Defendants individually, and/or by and through their officers,

18   directors, and/or managing agents, was intended by the Defendants to cause injury to the Plaintiff or was

19   despicable conduct carried on by the Defendants with a willful and conscious disregard of the rights of

20   Plaintiff or subjected Plaintiff to cruel and unjust hardship in conscious disregard of Plaintiff’s rights

21   such as to constitute malice, oppression, or fraud under Civil Code §3294, thereby entitling Plaintiff to

22   punitive damages in an amount appropriate to punish or make an example of Defendants.

23          100.     Pursuant to Government Code §12965(b), Plaintiff requests a reasonable award of

24   attorneys’ fees and costs, including expert fees pursuant to the FEHA.

25
26
27
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 1                                      SEVENTH CAUSE OF ACTION
 2            FOR FAILURE TO ENGAGE IN A GOOD FAITH INTERACTIVE PROCESS
 3                           IN VIOLATION OF GOV’T CODE §§12940 ET SEQ.
 4                                      AGAINST ALL DEFENDANTS
 5           101.    Plaintiff re-alleges and incorporates by reference Paragraphs 1 through 35, inclusive, as
 6   though set forth in full herein.
 7           102.    At all times hereto, the FEHA, including in particular Government Code §12940(n), was
 8   in full force and effect and was binding upon Defendants. This subsection imposes an ongoing duty on
 9   Defendants to engage in a timely, good faith, interactive process with the employee to determine effective
10   reasonable accommodations, if any, in response to a request for reasonable accommodation by an
11   employee with a known physical disability or known medical condition and/or becoming aware of the
12   employee’s need for accommodation.

13           103.    At all relevant times, Plaintiff was a member of a protected class within the meaning of,

14   in particular, Government Code §§12940(a) & 12986(1) et seq. because Plaintiff had a physical disability

15   that affected Plaintiff’s major life activities, and medical condition of which Defendants had both actual

16   and constructive knowledge.

17           104.    Plaintiff reported the disability to Defendants and requested accommodation, triggering

18   Defendants’ obligation to engage in the interactive process with Plaintiff, but at all times herein,

19   Defendants failed and refused to do so. Thereafter, despite Defendants continuing obligation to engage

20   in the interactive process with Plaintiff, despite Plaintiff’s submission of a doctors’ notes identifying

21   Plaintiff’s condition, Defendants failed and refused to have any dialogue with Plaintiff whatsoever, on

22   any of these occasions, and Defendants violated, and continued to violate this obligation up to and

23   including the date of Plaintiff’s termination or, if Defendant contends Plaintiff was never terminated,

24   through the present and ongoing.

25           105.    The above said acts of Defendants constitute violations of the FEHA and were a proximate

26   cause in Plaintiff’s damage as stated below.

27           106.    The damage allegations of Paragraphs 36 through 39, inclusive, are herein incorporated

28   by reference.



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 1           107.    The foregoing conduct of Defendants individually, and/or by and through their officers,
 2   directors, and/or managing agents, was intended by the Defendants to cause injury to the Plaintiff or was
 3   despicable conduct carried on by the Defendants with a willful and conscious disregard of the rights of
 4   Plaintiff or subjected Plaintiff to cruel and unjust hardship in conscious disregard of Plaintiff’s rights
 5   such as to constitute malice, oppression, or fraud under Civil Code §3294, thereby entitling Plaintiff to
 6   punitive damages in an amount appropriate to punish or make an example of Defendants.
 7           108.    Pursuant to Government Code §12965(b), Plaintiff requests a reasonable award of
 8   attorneys’ fees and costs, including expert fees pursuant to the FEHA.
 9
10                                        EIGHTH CAUSE OF ACTION
11                                      FOR DECLARATORY JUDGMENT
12                                        AGAINST ALL DEFENDANTS

13           109.    Plaintiff re-alleges and incorporates by reference paragraphs 1 through 108, inclusive, as

14   though set forth in full herein.

15           110.    Government Code §12920 sets forth the public policy of the State of California as follows:

16                   It is hereby declared as the public policy of this state that it is necessary to
                     protect and safeguard the right and opportunity of all persons to seek,
17                   obtain, and hold employment without discrimination or abridgment on
                     account of race, religious creed, color, national origin, ancestry, physical
18                   disability, mental disability, medical condition, genetic information,
                     marital status, sex, gender, gender identity, gender expression, age, or
19                   sexual orientation.
20                   It is recognized that the practice of denying employment opportunity and
                     discriminating in the terms of employment for these reasons foments
21                   domestic strife and unrest, deprives the state of the fullest utilization of its
                     capacities for development and advancement, and substantially and
22                   adversely affects the interests of employees, employers, and the public in
                     general.
23
                     Further, the practice of discrimination because of race, color, religion, sex,
24                   gender, gender identity, gender expression, sexual orientation, marital
                     status, national origin, ancestry, familial status, source of income,
25                   disability, or genetic information in housing accommodations is declared
                     to be against public policy.
26
                     It is the purpose of this part to provide effective remedies that will
27                   eliminate these discriminatory practices.
28                   This part shall be deemed an exercise of the police power of the state for
                     the protection of the welfare, health, and peace of the people of this state.


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 1
 2           111.    Government Code §12920.5 embodies the intent of the California legislature and states:
 3                   In order to eliminate discrimination, it is necessary to provide effective
                     remedies that will both prevent and deter unlawful employment practices
 4                   and redress the adverse effects of those practices on aggrieved persons. To
                     that end, this part shall be deemed an exercise of the Legislature's
 5                   authority pursuant to Section 1 of Article XIV of the California
                     Constitution.
 6
 7           112.    Moreover, Government Code §12921, subdivision (a) says in pertinent part:
 8                   The opportunity to seek, obtain, and hold employment without
                     discrimination because of race, religious creed, color, national origin,
 9                   ancestry, physical disability, mental disability, medical condition, genetic
                     information, marital status, sex, gender, gender identity, gender
10                   expression, age, or sexual orientation is hereby recognized as and declared
                     to be a civil right.
11
12           113.    An actual controversy has arisen and now exists between Plaintiff and Defendants
13   concerning their respective rights and duties as it is believed that Defendants may allege that they did not
14   discriminate and retaliate against Plaintiff; that Plaintiff was not terminated as a result of Plaintiff’s age,
15   disability and/or perceived disability, medical condition or perceived medical condition, engagement in
16   protected activities, and/or some combination of these protected characteristics. Plaintiff contends that
17   Defendants did discriminate and retaliate against Plaintiff on the basis of Plaintiff’s age, disability and/or

18   perceived disability, medical condition or perceived medical condition, engagement in protected

19   activities, and/or some combination of these protected characteristics; and that Plaintiff was retaliated

20   against and, ultimately wrongfully terminated as a result of Plaintiff’s age, medical condition, disability

21   and/or perceived disability, medical condition or perceived medical condition, engagement in protected

22   activities, and/or some combination of these protected characteristics. Plaintiff is informed and believes,

23   and on that basis alleges, that Defendants shall dispute Plaintiff's contentions.

24           114.    Pursuant to Code of Civil Procedure §1060, Plaintiff desires a judicial determination of

25   Plaintiff’s rights and duties, and a declaration that Defendants harassed Plaintiff on the basis of Plaintiff’s

26   age, perceived disability, disability, medical condition, perceived medical condition, engagement in

27   protected activities, and/or some combination of these protected characteristics.

28



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 1           115.    Pursuant to Code of Civil Procedure §1060, Plaintiff seeks a judicial determination of
 2   Plaintiff’s rights and duties, and a declaration that Plaintiff’s age, perceived disability, medical condition,
 3   perceived medical condition, disability, engagement in protected activities, and/or some combination of
 4   these protected characteristics was a substantial motivating factor in the decision to subject Plaintiff to
 5   the aforementioned adverse employment actions.
 6           116.    A judicial declaration is necessary and appropriate at this time under the circumstances in
 7   order that Plaintiff, for Plaintiff and on behalf of employees in the State of California and in conformity
 8   with the public policy of the State, obtain a judicial declaration of the wrongdoing of Defendants and to
 9   condemn such discriminatory employment policies or practices prospectively. Harris v. City of Santa
10   Monica (2013) 56 Cal.4th 203.
11           117.    A judicial declaration is necessary and appropriate at this time such that Defendants may
12   also be aware of their obligations under the law to not engage in discriminatory practices and to not

13   violate the law in the future.

14           118.    Government Code §12965(b) provides that an aggrieved party, such as the Plaintiff herein,

15   may be awarded reasonable attorneys’ fees and costs: “In civil actions brought under this section, the

16   court, in its discretion, may award to the prevailing party, including the department, reasonable attorneys’

17   fees and costs, including expert witness fees.” Such fees and costs expended by an aggrieved party may

18   be awarded for the purpose of redressing, preventing, or deterring discrimination and harassment.

19
20                                         NINTH CAUSE OF ACTION

21                                      FOR WRONGFUL TERMINATION

22             IN VIOLATION THE PUBLIC POLICY OF THE STATE OF CALIFORNIA

23                                        AGAINST ALL DEFENDANTS

24           119.    Plaintiff re-alleges and incorporates by reference Paragraphs 1 through 35, inclusive, as

25   though set forth in full herein.

26           120.    At all relevant times mentioned in this complaint, the FEHA was in full force and effect

27   and was binding on Defendants. This law requires Defendants to refrain, among other things, from

28



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 1   discriminating against any employee on the basis of age, disability, medical condition, real or perceived,
 2   and use of medical leave, and from retaliating against any employee who engages in protected activity.
 3           121.    At all times mentioned in this complaint, it was a fundamental policy of the State of
 4   California that Defendants cannot discriminate and/or retaliate against any employee on the basis of age,
 5   disability, medical condition, real or perceived, use of medical leave and/or engagement in protected
 6   activity.
 7           122.    Plaintiff believes and thereon alleges that Plaintiff’s age, disability and/or medical
 8   condition, real or perceived, use of medical leave, engagement in protected activity with respect to these
 9   protected classes, and/or some combination thereof, were factors in Defendants’ conduct as alleged
10   hereinabove.
11           123.    Such discrimination and retaliation, resulting in the wrongful termination of Plaintiff’s
12   employment on the basis of age, disability, medical condition, real or perceived, or use of medical leave,

13   Plaintiff’s complaining of harassment and discrimination due to these protected classes, Plaintiff’s

14   engagement in protected activity, and/or some combination of these factors, were a proximate cause in

15   Plaintiff’s damages as stated below.

16           124.    The above said acts of Defendants constitute violations of the Government Code and the

17   public policy of the State of California embodied therein as set forth above. Defendants violated these

18   laws by discriminating and retaliating against Plaintiff and terminating Plaintiff’s employment in

19   retaliation for exercise of protected rights.

20           125.    At all times mentioned in this complaint, it was a fundamental policy of the State of

21   California that Defendants cannot discriminate and/or retaliate against any employee on the basis of use

22   of CFRA leave, or in violation of FEHA.

23           126.    Plaintiff is informed and believes, and based thereupon alleges, that Plaintiff’s use of

24   CFRA leave, and/or Plaintiff’s status as a protected member of the class under FEHA was a proximate

25   cause in Plaintiff’s damages as stated below.

26           127.    The damage allegations of Paragraphs 36 through 39, inclusive, are herein incorporated

27   by reference.

28



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                                                                                                   32
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 1           128.    The foregoing conduct of Defendants individually, or by and through their officers,
 2   directors and/or managing agents, was intended by the Defendants to cause injury to the Plaintiff or was
 3   despicable conduct carried on by the Defendants with a willful and conscious disregard of the rights of
 4   Plaintiff or subjected Plaintiff to cruel and unjust hardship in conscious disregard of Plaintiff’s rights
 5   such as to constitute malice, oppression, or fraud under Civil Code §3294, thereby entitling Plaintiff to
 6   punitive damages in an amount appropriate to punish or make an example of Defendants.
 7
 8                                        TENTH CAUSE OF ACTION
 9                        FOR FAILURE TO PROVIDE MEAL AND REST BREAKS
10                                         LABOR CODE §§226.7, 512
11                                       AGAINST ALL DEFENDANTS
12           129.    Plaintiff re-alleges and incorporates by reference each of the foregoing paragraphs as

13   though set forth in full herein.

14           130.    Labor Code §512 requires employers to provide every employee with an uninterrupted

15   meal period of not less than 30 consecutive minutes, for every period of work exceeding five hours.

16           131.    Labor Code §226.7 requires an employer to provide every employee with an uninterrupted

17   rest period of not less than 10 minutes, for every period worked of four hours, or substantial portion

18   thereof.

19           132.    In the four years last past, Plaintiff regularly worked in excess of five hours per day, and

20   was thereby entitled to take uninterrupted 30-minute meal periods and two 10-minute rest periods on each

21   day of work.

22           133.    Defendants failed and refused to provide Plaintiff with meal and rest periods, and failed

23   to compensate Plaintiff for missed meal and rest periods, as required by Labor Code §§226.7 and the

24   applicable sections of 8 Code of Regulations §11090 and Industrial Welfare Commission Order No. 9-

25   2001, as follows:

26                   a.      From approximately June 1, 2016 to December 31, 2016, Plaintiff’s statutory 30-

27   minute meal periods were interrupted and cut short approximately 5 times per week for 30 weeks, or on

28



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 1   approximately 150 days. During this same time period, Plaintiff’s statutory 10-minute rest periods were
 2   interrupted and cut short approximately 5 times per week for 30 weeks, or on approximately 150 days.
 3                  b.      From approximately January 1, 2017 to April 15, 2019, Plaintiff’s statutory 30-
 4   minute meal periods were interrupted and cut short approximately 5 times per week for 119 weeks, or on
 5   approximately 595 days. During this same time period, Plaintiff’s statutory 10-minute rest periods were
 6   interrupted and cut short approximately 5 times per week for 119 weeks, or on approximately 595 days.
 7          134.    As alleged herein, Plaintiff is not exempt from the meal and rest break requirements of 8
 8   Code of Regulations §11090 and Industrial Welfare Commission Order No. 9-2001. Consequently,
 9   Plaintiff is owed one hour of pay at Plaintiff’s then regular hourly rate, or the requisite minimum wage,
10   whichever is greater, for each day that Plaintiff was denied such meal periods, and is owed one hour of
11   pay at Plaintiff’s regular hourly rate, or the requisite minimum wage, whichever is greater, for each day
12   that Plaintiff was denied such rest periods, calculated as follows:

13                  a.      From approximately June 1, 2016 to December 31, 2016, Defendants failed to

14   provide Plaintiff with an uninterrupted statutory meal period on approximately 150 separate days.

15   Consequently, Plaintiff is owed one hour of pay at $21.93 for each day, or $3,289.50, plus interest

16   thereon, for unpaid interrupted meal periods. During this same time period, Defendants failed to provide

17   Plaintiff with the statutory rest period on approximately 150 separate days. Consequently, Plaintiff is

18   owed one hour of pay at $21.93 for each day, or $3,289.50, plus interest thereon, for unpaid rest periods.

19   Thus, Plaintiff is owed a total of $6,579.00, plus interest thereon, for unpaid meal and rest periods for

20   this time period.

21                  b.      From approximately January 1, 2017 to April 15, 2019, Defendants failed to

22   provide Plaintiff with an uninterrupted statutory meal period on approximately 595 separate days.

23   Consequently, Plaintiff is owed one hour of pay at $22.77 for each day, or $13,548.15, plus interest

24   thereon, for unpaid interrupted meal periods. During this same time period, Defendants failed to provide

25   Plaintiff with the statutory rest period on approximately 595 separate days. Consequently, Plaintiff is

26   owed one hour of pay at $22.77 for each day, or $13,548.15, plus interest thereon, for unpaid rest periods.

27   Thus, Plaintiff is owed a total of $27,096.30, plus interest thereon, for unpaid meal and rest periods for

28   this time period.



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 1             135.   Thus, the total missed meal and rest period compensation owing Plaintiff for this time
 2   period is $33,675.30.
 3             136.   Plaintiff has been deprived of Plaintiff’s rightfully earned compensation for meal and rest
 4   breaks as a direct and proximate result of Defendants’ failure and refusal to pay said compensation.
 5             137.   Thus, for the entirety of the time periods set forth above, Plaintiff is entitled to recover
 6   such amounts in the combined amount of $33,675.30, pursuant to Labor Code §226.7(b), plus interest
 7   thereon and costs of suit.
 8
 9                                      ELEVENTH CAUSE OF ACTION
10             FOR FAILURE TO PROVIDE ITEMIZED WAGE AND HOUR STATEMENTS
11                                        LABOR CODE §§226 ET SEQ.
12                                        AGAINST ALL DEFENDANTS

13             138.   Plaintiff re-alleges and incorporates by reference each of the foregoing paragraphs as

14   though set forth in full herein.

15             139.   Pursuant to Labor Code §§226 and 1174, employers have a duty to provide their non-

16   exempt employees with itemized statements showing total hours worked, hourly wages, gross wages,

17   total deductions and net wages earned. An employer who violates these code sections is liable to its

18   employees for the greater of actual damages suffered by the employee, or $50.00 in civil penalties for the

19   initial pay period in which a violation occurred, and $100.00 per employee for each subsequent pay

20   period, up to a statutory maximum of $4,000.00. Pursuant to Labor Code §226(e)(2), an employee is

21   deemed to suffer injury for purposes of this subdivision if the employer fails to provide a wage statement

22   at all.

23             140.   In addition thereto, pursuant to Labor Code §226.3, an employer who willfully violates

24   Labor Code §226 is subject to a $250.00 civil penalty for the initial pay period in which a violation

25   occurred, and $1,000.00 per employee for each subsequent pay period, with no maximum.

26             141.   At all relevant times, Defendants failed to provide the Plaintiff with timely and accurate

27   wage and hour statements showing gross wages earned, total hours worked, all deductions made, net

28   wages earned, the name and address of the legal entity employing Plaintiff, and all applicable hours and



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 1   rates in effect during each pay period and the corresponding number of hours worked at each hourly rate
 2   by Plaintiff. For the majority of the time and as to nearly all of Plaintiff’s wages, Defendants knowingly
 3   and intentionally, not inadvertently, failed to provide Plaintiff with paystubs at all, and instead paying
 4   Plaintiff entirely in cash without any calculations of how Plaintiff’s gross wages were calculated. Not
 5   one of the paystubs that Plaintiff received complied with Labor Code §226, and contained almost none
 6   of the required information, including hours actually worked.
 7           142.    As alleged herein, Plaintiff is not exempt from the requirements of Labor Code §226.
 8           143.    This failure has injured Plaintiff, by misrepresenting and depriving Plaintiff of hour, wage,
 9   and earnings information to which Plaintiff is entitled, causing Plaintiff difficulty and expense in
10   attempting to reconstruct time and pay records, causing Plaintiff not to be paid wages Plaintiff is entitled
11   to, causing Plaintiff to be unable to rely on earnings statements in dealings with third parties, eviscerating
12   Plaintiff’s right under Labor Code §226(b) to review itemized wage statement information by inspecting

13   the employer’s underlying records, and deceiving Plaintiff regarding Plaintiff’s entitlement to overtime,

14   meal period, and rest period wages. For the time periods that Plaintiff was not provided with paystubs at

15   all, Plaintiff’s aforementioned injuries are presumed as a matter of law.

16           144.    Plaintiff was paid on a weekly basis, and therefore Defendants violated Labor Code §226

17   approximately multiple times throughout Plaintiff’s employment. Consequently, Defendants are liable

18   to Plaintiff for Plaintiff’s actual damages, or penalties in the statutory maximum amount of $4,000.00,

19   whichever is greater.

20           145.    Based on Defendants’ conduct as alleged herein, Defendants are liable for damages

21   pursuant to Labor Code §226, and other applicable provisions, as well as attorneys’ fees and costs.

22
23                                       TWELFTH CAUSE OF ACTION

24                                      FOR WAITING TIME PENALTIES

25                                           LABOR CODE §§201-203

26                                       AGAINST ALL DEFENDANTS

27           146.    Plaintiff re-alleges and incorporates by reference each of the foregoing paragraphs as

28   though set forth in full herein.



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 1           147.       At all relevant times, Defendants failed to pay all of the Plaintiff’s accrued wages and
 2   other compensation due immediately upon termination or within 72 hours of resignation, as required.
 3   These wages refer to, at a minimum, unpaid minimum wages, overtime compensation, and meal and rest
 4   period compensation that Defendants should have paid, but did not pay to Plaintiff during the term of
 5   Plaintiff’s employment and which were, at the latest, due within the time restraints of Labor Code §§201-
 6   203.
 7           148.      As alleged herein, Plaintiff is not exempt from the requirements of Labor Code §§201-
 8   203.
 9           149.      As a direct and proximate result of Defendants’ willful failure to pay these wages, Plaintiff
10   is entitled to payment of Plaintiff’s overtime, meal and rest periods as previously pleaded herein, and
11   more than $7,001.70 in wait time penalties, calculated based on 30 days of Plaintiff’s daily wage rate of
12   $233.39, inclusive of overtime.

13           150.      Based on Defendants’ conduct as alleged herein, Defendants are liable for $7,001.70 in

14   statutory penalties pursuant to Labor Code §203 and other applicable provisions, as well as attorneys’

15   fees and costs.

16
17                                      THIRTEENTH CAUSE OF ACTION

18                                         FOR UNFAIR COMPETITION

19                           BUSINESS & PROFESSIONS CODE §§17200, ET SEQ.

20                                         AGAINST ALL DEFENDANTS

21           151.      Plaintiff re-alleges and incorporates by reference each of the foregoing paragraphs as

22   though set forth in full herein.

23           152.      Defendants’ violations of 8 Code of Regulations §11090, Industrial Welfare Commission

24   Order No. 9-2001, Labor Code §§201-203, 226, 226.7, 510, 512, 1182.12, 1194, 1194.2, 1197, 1198.5,

25   2699, and other applicable provisions, as alleged herein, including Defendants’ failure and refusal to pay

26   minimum wages, overtime wages, Defendants’ failure to provide meal and rest breaks, Defendants’

27   failure to provide timely and accurate wage and hour statements, Defendants’ failure to pay compensation

28   due in a timely manner upon termination or resignation, and Defendants’ failure to maintain complete



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 1   and accurate payroll records for the Plaintiff, constitute unfair business practices in violation of Business
 2   & Professions Code §§17200, et seq.
 3           153.   As a result of Defendants’ unfair business practices, Defendants have reaped unfair
 4   benefits and illegal profits at the expense of Plaintiff and members of the public. Defendants should be
 5   made to disgorge their ill-gotten gains and restore such monies to Plaintiff.
 6           154.   Defendants’ unfair business practices entitle Plaintiff to seek preliminary and permanent
 7   injunctive relief, including but not limited to orders that the Defendants account for, disgorge, and restore
 8   to the Plaintiff the overtime compensation and other monies and benefits unlawfully withheld from
 9   Plaintiff.
10
11                                            PRAYER FOR RELIEF
12           WHEREFORE, Plaintiff seeks judgment against Defendants and each of them, in an amount

13   according to proof as follows:

14           1.     For a money judgment representing compensatory damages including lost wages,

15   earnings, commissions, retirement benefits, and other employee benefits, and all other sums of money,

16   together with interest on these amounts; for other special damages; and for general damages for mental

17   pain and anguish and emotional distress and loss of earning capacity;

18           2.     For payment of meal and rest period compensation pursuant to Labor Code §226.7, 512,

19   in the amount of no less than $33,675.30;

20           3.     For damages pursuant to Labor Code §226 in the amount of no less than $4,000.00;

21           4.     For waiting time penalties pursuant to Labor Code §§201-203 in the amount of no less

22   than $7,001.70;

23           5.     For prejudgment interest on each of the foregoing at the legal rate from the date the

24   obligation became due through the date of judgment in this matter.

25           WHEREFORE, Plaintiff further seeks judgment against Defendants, and each of them, in an

26   amount according to proof, as follows:

27           6.     For a declaratory judgment reaffirming Plaintiff’s equal standing under the law and

28   condemning Defendants’ discriminatory practices;



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 1          7.      For injunctive relief barring Defendants’ discriminatory employment policies and
 2   practices in the future, and restoring Plaintiff to Plaintiff’s former position with Defendants;
 3          8.      For punitive damages, pursuant to Civil Code §§3294 in amounts sufficient to punish
 4   Defendants for the wrongful conduct alleged herein and to deter such conduct in the future;
 5          9.      For injunctive relief compelling Defendants to report to federal and state authorities wages
 6   earned by Plaintiff, and other employees, and pay all state and federal taxes owing, employer matching
 7   funds, unemployment premiums, social security, Medicare, and workers’ compensation premiums, all
 8   this in an amount according to the proof;
 9          10.     For restitutionary disgorgement of profits garnered as a result of Defendants’ unlawful
10   conduct, misclassification of Plaintiff as an independent contractor, and failure to pay wages and other
11   compensation in accordance with the law;
12          11.     For costs of suit, attorneys’ fees, and expert witness fees pursuant to the FEHA, Labor

13   Code and/or any other basis;

14          12.     For post-judgment interest; and

15          13.     For any other relief that is just and proper.

16   DATED: May 7, 2020                                      LAW OFFICES OF RAMIN R. YOUNESSI
                                                             A PROFESSIONAL LAW CORPORATION
17
18
                                                             By:
19                                                                 Ramin R. Younessi, Esq.
                                                                   Attorney for Plaintiff
20                                                                 FERNANDO OCHOA ASTUDILLO
21
                                           JURY TRIAL DEMANDED
22
            Plaintiff demands trial of all issues by jury.
23
24   DATED: May 7, 2020                                      LAW OFFICES OF RAMIN R. YOUNESSI
                                                             A PROFESSIONAL LAW CORPORATION
25
26
                                                             By:
27                                                                 Ramin R. Younessi, Esq.
                                                                   Attorney for Plaintiff
28                                                                 FERNANDO OCHOA ASTUDILLO



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                        EXHIBIT B
                                                                           40
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                                  PROOF OF SERVICE AFFIDAVIT
                             CCP 1013(a), CCP 1013(b), and CCP 1013a(3)

                         STATE OF CALIFORNIA, COUNTY OF LOS ANGELES ,


   My name is Rachael Acosta.

   lam over the age of 18 and not a party to the related cause(s).

   i am employed at DocuCents in the county of Los Angeles, State of California, which is where the
   mailing occurred.

   My business address is: 960 S Village Oaks Dr, Covina, CA 91724, which is where I placed the
   correspondence described herein for deposit in the United States Postal Service.

   I am readily familiar with the business' practice for collection and processing of Correspondence
   for mailing with the United States Postal.Service.

   The following correspondence will be deposited with the United Statee Postal Service this same
   day in the ordinary course of business.

   Each envelope was sealed and placed for collection and mailing on 05/29/2020, following
   ordinary business practices.

   The exact TITLE of the document(s) Served and the name(s) and address(s) of the people or
   entities being served are listed on the following attached Service List(s). This affidavit may include
   multiple Service Lists for documents which were mailed to many different parties on unrelated
   causes as part of the ordinary course of services.

   I declare under penalty of perjury under the laws of the State of California that the foregoing and
   all information contained in the attached Service List(s) is true and correct.


   Printed        Rachael Acosta

      ted: 0   • /2020




                         Rachael costa


   Attachments: Service List(s) included as part of this affidavit.




                                                                                                         41
Case 2:21-cv-02038-SB-PVC Document 1 Filed 03/05/21 Page 42 of 231 Page ID #:42
REP. CONTACT : RAMIN YOUNESSI LOS ANGELES
3435 WILSHIRE BLVD STE 2200
LOS ANGELES CA 90010 •



                                         SERVICE LIST
                                          CCP 10130)


This Service List is part of the attached Proof Of Service Affidavit dated 05/29/2020 signed by
Rachael Acosta and describes the documents served for Mailing ID 2149DF80A3OEFE74.

Total Number of Images: 66

The TITLE of the document(s) being served is:

FINAL S&C TO DEF GREYHOUND LINES

The following persons/entities were served by placing a true copy thereof into a sealed envelope
with postage paid in the manner described in the attached affidavit:

CT CORPORATION SYSTEM
818W 7TH ST STE 930
LOS ANGELES CA 90017


END OF SERVICE LIST FOR THE ABOVE TITLED DOCUMENTS




                               VENDOR SUBMITTAL ID: 2149DF80A30EFE74



                                                                                                  42
Case 2:21-cv-02038-SB-PVC Document 1 Filed 03/05/21 Page 43 of 231 Page ID #:43




                                         LAW OFFICES OF
                               RAMIN R. YOUNESSI
                        A PROFESSIONAL LAW CORPORATION
                               3435 WILSHIRE BOULEVARD, SUITE 2200
                                  LOS ANGELES, CALIFORNIA 90010
                                      TELEPHONE (323) 777-7777
                                      FACSIMILE (213) 480-6201

                                          May 28, 2020

    Via U.S First Class Mail

    CT Corporation System
    818 West Seventh Street, Suite 930
    Los Angeles, CA 90017


    RE:    Fernando Ochoa Astudillo vs. Greyhound Lines, Inc
           Court Case No.: 20STCV17492
           Our Case No.: 13534

    Counsel:

    Enclosed please find two copies of the Notice and Acknowledgment of Receipt for
    service of Defendant Greyhound Lines, Inc., as well as Summons; Complaint; Notice of
    Case Assignment, Civil Case Cover Sheets; First Amended General Order; Statement of
    Damages; Notice of Case Management Conference; and Amended Complaint of
    Employment Discrimination before the State of California Department of Fair
    Employment and Housing. Please sign and return the Notice and Acknowledgment of
    Receipt.

    Should you have any questions regarding this matter, please do not hesitate to contact our
    office.


    Very truly yours,

    LAW OFFICES OF RAMIN R. YOUNESSI
    A PROFESSIONAL LAW CORPORATION

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      Wv9,7"
          abe
    Christi. I tiz
    Case M. ager
    Enclosures: As Stated




                                                                                                 43
        Case 2:21-cv-02038-SB-PVC Document 1 Filed 03/05/21 Page 44 of 231 Page ID #:44
                                                                                                                                             POS-015
   ATTORNEY OR PARTY WITHOUT ATTORNEY (Name, State Bar number, and address):                                              FOR COURT USE ONLY

   Ramin R. Younessi, Esq. (SBN 175020)
— Samantha L. Ortiz, Esq. (SBN 312503)
   Law Offices of Ramin R. Younessi, A.P.L.0
   3435 Wilshire Blvd., Suite 2200, Los Angeles, CA 90012
            TELEPHONE NO.: (213) 480-6200                   rAx NO. (c)Pticulaii: (213) 480-6201
   E-MAIL ADDRESS {Optional):
                              so-rlize
                                   -^younessilaw.com
      ATTORNEY FOR (Name):
                              Plaintiff, Fernando Ochoa Astudillo

  SUPERIOR COURT OF CALIFORNIA, COUNTY OF Los Angeles
            STREET ADDRESS: 1 11    North Hill   Street
            MAILING ADDRESS:
           CITY AND ZIP CODE:Los    Angeles 90012
                BRANCH NAME: Central  District

        PLAINTIFF/PETMONER:Fernando Ochoa Astudillo

   DEFENDANT/RESPONDENT:Greyhound tines, Inc., et al.
                                                                                                                  CASE NUMBER:
                      NOTICE AND ACKNOWLEDGMENT OF RECEIPT—CIVIL                                                           20STCV17492


TO (insert name of party being served):GREYHOUND LENES. INC., a Delaware corporation


                                                                               NOTICE
    The summons and other documents identified below are being served pursuant to section 415.30 of the California Code of Civil
    Procedure. Your failure to complete this form and return it within 20 days from the date of mailing shown below may subject you
    (or the party on whose behalf you are being served) to liability for the payment of any expenses incurred in serving a summons
    on you in any other manner permitted by law.
    If you are being served on behalf of a corporation, an unincorporated association (including a partnership), or other entity, this
    form must be signed by you in the name of such entity or by a person authorized to receive service of process on behalf of such
    entity. In all other cases, this form must be signed by you personally or by a person authorized by you to acknowledge receipt of
    summons. If you return this form to the sender, service of a summons is deemed complete on the day you sign the
    acknowledgment of receipt below.

     Date of mailing:May           28, 2020

   Samantha L. Ortiz, Esq.
                                    (TYPE OR PRINT NAME)                                         NATURE OF SEN —MUST NOT BE A PARTY IN THIS CASE)


                                                           ACKNOWLEDGMENT OF RECEIPT
    This acknowledges receipt of (to be completed by sender before mailing):
    1. =I A copy of the summons and of the complaint.
    2. LJ Other (specify):
                    Notice of Case Assignment; Civil Case Cover Sheets; First Amended General Order; Statement of
                    Damages; Notice of Case Management Conference; and Amended Complaint of Employment
                    Discriminationbefore the State of California Department of Fair Employment and Housing

    (To be completed by recipient):

     Date this form is signed:



                 (TYPE OR PRINT YOUR NAME AND NAME OF ENTITY, IF ANY,                      (SI(3NATURE OF PERSON ACKNOWLEDGING RECEIPT, WITH TITLE IF
                        ON WHOSE BEHALF THIS FORM IS SIGNED)                            ACKNOWLEDGMENT IS MADE ON BEHALF OF ANOTHER PERSON OR ENTITY)




                                                                                                                                                   Page 1 of
Form Adopted for Mandatory Use                                                                                                        Code of Civil Procedure,
  Judicial Council of California           NOTICE AND ACKNOWLEDGMENT OF RECEIPT — CIVIL                                                    §§ 415,30, 417.10
POS•015 (Rev. January 1,20051                                                                                                           aww.courrinfo.ca.gov
                                                                                                                                              44
       Case 2:21-cv-02038-SB-PVC Document 1 Filed 03/05/21 Page 45 of 231 Page ID #:45
                                                                                                                                    POS-01 5
  ATTORNEY OR PARTY WITHOUT ATTORNEY (Name, State Oar number, end address):                                     FOR COURT USE ONLY

   Ramin R. Younessi, Esq. (SBN 175020)
— Samantha L. Ortiz, Esq. (SBN 312503)
  Law Offices of Ramin R. Younessi, A.P.L.0
  3435 Wilshire Blvd., Suite 2200, Los Angeles, CA 90012
           TELEPHONE NO.: (213) 480-6200                 FAX NO. (°mei): (213) 480-6201
  E-MAIL ADDRESS (CiPn"81): sortiz@younessilaw.com
     ATTORNEY FOR (Name):
                            Plaintiff, Fernando Ochoa Astudillo


  SUPERIOR COURT OF CALIFORNIA, COUNTY OF Los Angeles
       STREET ADDRESS: 1 11 North Hill Street
           MAILING ADDRESS:
          CITY AND ZIP CODE:Los    Angeles 90012
               BRANCH NAME:      Central District

       PLAINTIFF/PETITIONER:Fernando Ochoa Astudillo

   DEFENDANT/RESPONDENT:Greyhound Lines, Inc., et al.
                                                                                                        CASE NUMBER:
                    NOTICE AND ACKNOWLEDGMENT OF RECEIPT—CIVIL                                                   20STCV17492


TO (insert name of party being serveci):GREYHOUND LINES, INC., a Delaware corporation


                                                                 NOTICE
   The summons and other documents identified below are being served pursuant to section 415.30 of the California Code of Civil
   Procedure. Your failure to complete this form and return it within 20 days from the date of mailing shown below may subject you
   (or the party on whose behalf you are being served) to liability for the payment of any expenses incurred in serving a summons
   on you in any other manner permitted by law.
    If you are being served on behalf of a corporation, an unincorporated association (including a partnership), or other entity, this
    form must be signed by you in the name of such entity or by a person authorized to receive service of process on behalf of such
    entity. In all other cases, this form must be signed by you personally or by a person authorized by you to acknowledge receipt of
    summons. If you return this form to the sender, service of a summons is deemed complete on the day you sign the
    acknowledgment of receipt below.

    Date of mailing:May 28, 2020

   Samantha L. Ortiz. Esq.
                                  (TYPE OR PRINT NAME)                                                 —MUST NOT BE A PARTY IN THIS CASE)


                                                         ACKNOWLEDGMENT OF RECEIPT
    This acknowledges receipt of (to be completed by sender before mailing):
    i.  F-1 A copy of the summons and of the complaint.
    2. I=1 Other (specify):
                  Notice of Case Assignment; Civil Case Cover Sheets; First Amended General Order; Statement of
                  Damages; Notice of Case Management Conference; and Amended Complaint of Employment
                  Discrimination before the State of California Department of Fair Employment and Housing

    (To be completed by recipient):

    Date this form is signed:



                (TYPE OR PRINT YOUR NAME AND NAME OF ENTITY. IF ANY,             (SIGNATURE OF PERSON ACKNOWLEDGING RECEIPT, WITH TITLE IF
                       ON WHOSE BEHALF THIS FORM IS SIGNED)                   ACKNOWLEDGMENT IS MADE ON BEHALF OF ANOTHER PERSON OR ENTITY)




                                                                                                                                       Pa9e 1 of 1
Form Adopted for Mandatory Use                                                                                               Code of CM Procedure.
  Judidal Coundl ol California           NOTICE AND ACKNOWLEDGMENT OF RECEIPT — CIVIL                                             §§ 415.30, 417.10
POS-015 [Rev. January 1,20051                                                                                                  Lw.w.courtinfo.ca.gov
                                                                                                                                    45
         Case 2:21-cv-02038-SB-PVC Document 1 Filed 03/05/21 Page 46 of 231 Page ID #:46
                                                                                                      Reserved ter Clerk's Fife Stamp
                  SUPERIOR COURT OF CALIFORNIA
                     COUNTY OF LOS ANGELES                                                                                               •
  COURTHOUSE ADDRESS:
                                                                                                                FILED
 Stanley Mask Courthouse                                                                            Stvatfor Capet of California
 111 North Hill Street, Los Angeles, CA 90012                                                         County of Los Angeles
                                                                                                           05/07/2020
                                                                                           -iarei   R Csiett,Etibm6,e 015ov j et 6c of Cauli
                   NOTICE OF CASE ASSIGNMENT -
                                                                                                               N. Aivaler               Dap*
                                                                                           SY:
                          UNLIMITED CIVIL CASE

                                                                                  CASE NUMBER:

  Your case is assigned for all purposes to the judicial officer indicated below. 20STCV17492

                           THIS FORM IS TO BE SERVED WITH THE SUMMONS AND COMPLAINT

               ASSIGNED JUDGE                DEPT ROOM                        ASSIGNED JUDGE                           DEPT ROOM
   94/    Daniel S. Murphy                  32




    Given to the Plaintiff/Cross-Complainant/Attorney of Record   Sherri R. Carter, Executive Officer / Clerk of Court
    on   05/07/2020                                                      By   N. Alvarez                                            , Deputy Clerk
                 (Dale)
LACIV 190 (Rev 6/18)       NOTICE OF CASE ASSIGNMENT— UNLIMITED CIVIL CASE                                                               46
LASC Approved 05/06
       Case 2:21-cv-02038-SB-PVC Document 1 Filed 03/05/21 Page 47 of 231 Page ID #:47
                                  INSTRUCTIONS FOR HANDLING UNLIMITED CIVIL CASES

The following critical provisions of the California Rules of Court, Title 3, Division 7, as applicable in the Superior Court, are summarized
for your assistance.

APPLICATION
The Division 7 Rules were effective January 1, 2007. They apply to all general civil cases.

PRIORITY OVER OTHER RULES
The Division 7 Rules shall have priority over all other Local Rules to the extent the others are inconsistent.

CHALLENGE TO ASSIGNED JUDGE
A challenge under Code of Civil Procedure Section 170.6 must be made within 15 days after notice of assignment for all purposes
to a judge, or if a party has not yet appeared, within 15 days of the first appearance.

TIME STANDARDS
Cases assigned to the Independent Calendaring Courts will be subject to processing under the following time standards:

COMPLAINTS
All complaints shall be served within 60 days of filing and proof of service shall be filed within 90 days.

CROSS-COMPLAINTS
Without leave of court first being obtained, no cross-complaint may be filed by any party after their answer is filed. Cross-
complaints shall be served within 30 days of the filing date and a proof of service filed within 60 days of the filing date.

STATUS CONFERENCE
A status conference will be scheduled by the assigned Independent Calendar Judge no later than 270 days after the filing of the
complaint. Counsel must be fully prepared to discuss the following issues: alternative dispute resolution, bifurcation, settlement,
trial date, and expert witnesses.

FINAL STATUS CONFERENCE
The Court will require the parties to attend a final status conference not more than 10 days before the scheduled trial date. All
parties shall have motions in limine, bifurcation motions, statements of major evidentiary issues, dispositive motions, requested
form jury instructions, special jury instructions, and special jury verdicts timely filed and served prior to the conference. These
matters may be heard and resolved at this conference. At least five days before this conference, counsel must also have exchanged
lists of exhibits and witnesses, and have submitted to the court a brief statement of the case to be read to the jury panel as required
by Chapter Three of the Los Angeles Superior Court Rules.

SANCTIONS
The court will impose appropriate sanctions for the failure or refusal to comply with Chapter Three Rules, orders made by the
Court, and time standards or deadlines established by the Court or by the Chapter Three Rules. Such sanctions may be on a party,
or if appropriate, on counsel for a party.

This is not a complete delineation of the Division 7 or Chapter Three Rules, and adherence only to the above provisions is
therefore not a guarantee against the imposition of sanctions under Trial Court Delay Reduction. Careful reading and
compliance with the actual Chapter Rules is imperative.

Class Actions
Pursuant to Local Rule 2.3, all class actions shall be filed at the Stanley Mask Courthouse and are randomly assigned to a complex
judge at the designated complex courthouse. If the case is found not to be a class action it will be returned to an Independent
Calendar Courtroom for all purposes.

*Provisionally Complex Cases
Cases filed as provisionally complex are initially assigned to the Supervising Judge of complex litigation for determination of
complex status. If the case is deemed to be complex within the meaning of California Rules of Court 3.400 et seq., it will be
randomly assigned to a complex judge at the designated complex courthouse. If the case is found not to be complex, it will be
returned to an independent Calendar Courtroom for all purposes.




LAC1V 190 (Rev 6/18)        NOTICE OF CASE ASSIGNMENT UNLIMITED CIVIL CASE                                                    47
LASC Approved 05/06
ctronically FILED by Superior Court of California, County of Los Angeles on 05/07/2056g2krilatrri R. Carter, Executive Officer/Clerk of Court, by N. Alvarez,Deputy Clerk
               Case 2:21-cv-02038-SB-PVC Document 1 Filed 03/05/21 Page 48 of 231 Page ID #:48
                                                                                                                                                                    SUM-100
                                                     SUMMONS                                                                            FOR COURT USE ONLY
                                                                                                                                     (SOLO PAPA USO DE LA CORM
                                            (CITACION JUDICIAL)
        NOTICE TO DEFENDANT:
        (AVISO AL DEMANDADO):
         GREYHOUND LINES, INC., a Delaware corporation; CLAUDIO
         ARRIOLA, an individual; and DOES 1 through 20, inclusive,
        YOU ARE BEING SUED BY PLAINTIFF:
        (LO ESTA DEMANDANDO EL DEMANDANTE):
         FERNANDO OCHOA ASTUDILLO, an individual,

         NOTICE! You have been sued. The court may decide against you without your being heard unless you respond within 30 days. Read the information
         below.
            You have 30 CALENDAR DAYS after this summons and legal papers are served on you to file a written response at this court and have a copy
         served on the plaintiff. A letter or phone call will not protect you. Your written response must be in proper legal form if you want the court to hear your
         case. There may be a court form that you can use for your response. You can find these court forms and more information at the California Courts
         Online Self-Help Center (www.courtinfo.ca.gov/selfhelp), your county law library, or the courthouse nearest you. If you cannot pay the filing fee, ask
         the court clerk for a fee waiver form. If you do not file your response on time, you may lose the case by default, and your wages, money, and property
         may be taken without further warning from the court.
            There are other legal requirements. You may want to call an attorney right away. If you do not know an attorney, you may want to call an attorney
         referral service. If you cannot afford an attorney, you may be eligible for free legal services from a nonprofit legal services program. You can locate
         these nonprofit groups at the California Legal Services Web site (www.lawhetpc,alifomiaorg), the California Courts Online Self-Help Center
         (www.courtinfoca.goviselfhelp), or by contacting your local court or county bar association. NOTE: The court has a statutory lien for waived fees and
         costs on any settlement or arbitration award of $10,000 or more in a civil case. The court's lien must be paid before the court will dismiss the case.
         iAV1SO! La hen demanded°. Si no responde dentro de 30 dias, la code puede deddir en su contra sin escuchar su version. Lea la informed& a
         continuacion.
            Tiene 30 0/AS DE CALENDAR/C) despues de que le entreguen este cif acion y papeles legates pare presenter una respuesta par escrito en este
         carte y hacer que se entregue una copia al demandante. Una carte o una Hamada telefonice no lo protegen. Su respuesta pot escrito tiene que estar
         en form ato legal conecto st desea que proc.esen su caso en la carte. Es posible que haya un formulario que usted puede user pare su respuesta.
         Puede encontrar estos formularios de la carte y mas infortnacion en el Centro de Ayuda de las Cortes de California (www.sucorte.ca.gov), en la
         biblioteca de !eyes de su cortdado o on la carte que le quede mas cerca. Si no puede pager la cuota de presentacion, pea al secretario de la carte
         quo to de un forrnulario de exenciOn de pago de cuotas. Si no presenta su respuesta a (tempo, puede perder el caso par incumpfimiento y la cotta le
         podra guitar su sueldo, diner° y bienes sin mas advertencia.
           Hay otros requisitos legates. Es recomendable que llama a un abogado inmediatamente. Si no conoce a un abogado, puede flamer a un servicio de
         remisiOn a abogados. Si no puede pager a un abogado, as posible que cumpla con los requisitos pare obtener servicios legates gratuitos de un
         programa de sarvidos legates sin fines de lucro. Puede encontrar estos grupos sin fines de lucro on el sitio web de California Legal Services,
         (Wwl.v.lawhelpcalifomia.org), on el Centro de Arida de las Cortes de California, (www.sucone.ca.gov) oponiendose en contact° con /a corte o el
         colegio de abogados locales. AVISO: Par lay. la cotta tiene derecho a to:lamer las cuotas y los costos exentos par imponer un gravamen sobre
         cualquier recuperacidn de .S10,000 0 mas de valor recibicla mediante un acuerdo o aria concesion de arbitraje en un caso de derecho civil. Tiene que
         pager el gravamen de la cotta antes de que la carte puede desechar at caso.

        The name and address of the court is:                                                                           CASE NUMBER:
                                                                                                                        (Ndmero del Casa):
                                               Angeles Superior Court
        (El nombre y direccian de la carte es): Los
         Central District, 111 N. Hill St., Los Angeles, CA 90012
                                                                                                                          2 OST CV 17492

        The name, address, and telephone number of plaintiffs attorney, or plaintiff without an attorney, is:
        (El nombre, la direcciOn ye! nOmero de telefono del abogado del demandante, o del demandante que no tiene abogado, es):
         Ramin R. Younessi, Esq., 3435 Wilshire Blvd. Ste. 2200, Los Angeles, CA 90010, (213)480-6200
                                    Sherri R. Carter Executive Officer/ Clerk of Court
        DATE:             e                                   Cl rk, by                                                                                             ,Deputy
        (Fecha)
                05/07/202
                      0                                       (Secretario)        N. Alvarez                                                                         (Adjunto)
       (For proof of service of this summons, use Proof of Service of Summons (form POS-010).)
       (Para prueba de entrega de este citation use at formulario Proof of Service of Summons, (POS-010)).
                                         NOTICE TO THE PERSON SERVED: You are served
                                         1.      as an individual defendant.
                                         2.      as the person sued under the fictitious name of (specify):


                                                3,         on behalf of (specify):

                                                     under: I= CCP 416.10 (corporation)                 niCCP 416.60 (minor)
                                                             1-7CCP 416.20 (defunct corporation)        ElCCP 416.70 (conservatee)
                                                             1-7CCP 416.40 (association or partnership) ElCCP 416.90 (authorized person)
                                                             I-1 other (specify):
                                                4- El by personal delivery on (date):
                                                                                                                                                                       Pao° 1 of 1
         Form Adopted for Mandatory Lisa                                                                                                      Coda of Civil Procedure §§ 412.20,465
           Judicial Coundli of California
                                                                                   SUMMONS                                                                         48
                                                                                                                                                               www.cowlinfo.ca.gov
           SUrAtao [Rev. July 1, 2009]
ctronicalfy FILED by Superior Court of California, County of Los Angeles on 05/07/2DREatcy911,fgerri R. Carter, Executive Officer/Clerk of Court, by N. Alvarez,Deputy Clerk
                Case 2:21-cv-02038-SB-PVC Document 1 Filed 03/05/21 Page 49 of 231 Page ID #:49                                                                        CM-010
         ATTORNEY OR PARTY VV1THOUT ATTORNEY (Name. State Bar number, and address):                                                       FOR COURT USE ONLY
       — Ramin R. Younessi, Esq. (SBN 175020)
        Law Offices of Ramin R. Younessi A.P.L.C.
        3435 Wilshire Boulevard, Suite 2200
        Los Angeles, California 90010
                           (‘21.3) 480-6200
                 TELEPHONE NO.:                     FAX NO.: (213) 480-6201
                           r lamtiff, Fernando Ochoa Astudillo
         ATTORNEY FOR (Name):
       SUPERiOR COURT OF CALIFORNIA, COUNTY OF Los Angeles
           STREET ADDRESS: 111 North Hill Street
               MAILING ADDRESS:
              CITY ANI) ZIP CODE:   Los Angeles 90012
                  BRANCH NAME:      Central District
          CASE NAME:
          Fernando Ochoa Astudillo v. Greyhound Lines, Inc., et al.
            CIVIL CASE COVER SHEET                                                               cAs5JuilEa•
                                                              Complex Case Designation                    ST                                   CV 1 7 492
          v Unlimited        El Limited
                                                         M Counter           El  Joinder
             (Amount               (Amount                                                         JUDGE:
             demanded              demanded is          Filed with first appearance by defendant •
             exceeds $25,000)      $25,000 or less)          (Cal. Rules of Court, rule 3.402)      DEPT:

                                      !terns 1-6 below must be completed (see instructions on page 2).
           Check one box below for the case type that best describes this case:
              Auto Tort                                            Contract                                      Provisionally Complex Civil Litigation
                                                                   = Breach of contract/warranty (06)            (Cal. Rules of Court, rules 3.400-3.403)
                  I Auto (22)
                 1 Uninsured motorist (46)                         I=1 Rule 3.740 collections (09)               El Antitrust/Trade regulation (03)
            Other PUPD/WD (Personal Injury/Property                = Other collections (09)                      El Construction defect (10)
            Damage/Wrongful Death) Tort                            = Insurance coverage (18)                     El Mass tort (40)
            ni Asbestos (04)                                       n Other contract (37)                         El Securities litigation (28)
              ElProduct liability (24)                             Real Property                                 El EnvironmentaVToxic tort (30)
              riMedical malpractice (45)                                 Eminent domain/Inverse                  El Insurance coverage claims arising from the
              El Other PI/PDM/D (23)                                     condemnation (14)                              above listed provisionally complex case
                                                                                                                        types (41)
              Non-PI/PD/WD (Other) Tort                            = Wrongful eviction (33)
                                                                                                                 Enforcement of Judgment
              n Business tort/unfair business practice (07) n Other real property (26)
              El Civil rights (08)                       Unlawful Detainer                                       El Enforcement of judgment (20)
              CI    Defamation (13)                                El
                                                              Commercial (31)                                    Miscellaneous Civil Complaint
              n Fraud (16)                                         El     Residential (32)                       El RICO (27)
              n Intellectual property (19)                         El     Drugs (38)                             I-I•Other complaint (not specified above) (42)
              = Professional negligence (25)                       Judicial Review                               Miscellaneous CIO Petition
              El Other non-PI/PD/WD tort (35)                      El     Asset forfeiture (05)
                                                                                                                 I-7•Partnership and corporate governance (21)
              Em loyment                                           El     Petition re: arbitration award (11)
                                                                                                                 I-7•Other petition (not specified above) (43)
                    Wrongful termination (36)                      El     Writ of mandate (02)
          I-1   Other employment (15)                          Other judicial review (39)
       2. This case Li is          =I is not       complex under rule 3.400 of the California Rules of Court. If the case is complex, mark the
           factors requiring exceptional judicial management:
           a. (:=1 Large number of separately represented parties           d. ElLarge number of witnesses
           b.[I] Extensive motion practice raising difficult or novel       e. El Coordination with related actions pending in one or more courts
                    issues that will be lime-consuming to resolve                    in other counties, states, or countries, or in a federal court
           c.1=I Substantial amount of documentary evidence                 f. El Substantial postjudgment judicial supervision

       3.     Remedies sought (check all that apply): a= monetary b.1=1 nonmonelary; declaratory or injunctive relief                                         c-I=Ipunitive
       4.     Number of causes of action (specify): Thirteen (13)
       5.     This case El is        I= is not a class action suit.
       6.     If there are any known related cases, file and serve a notice of related case. (You may use form .C,101
       Date: May 7, 2020
       Ramin R. Younessi, Esq. •
                                         (TYPE OR PRINT NAME)                                                   (SIGNATURE OF PARTY OR ATTORNEY FOR PARTY)
                                                                                NOTICE
          •   Plaintiff must file this cover sheet with the first paper filed in the action or proceeding (except small claims cases or cases filed
              under the Probate Code, Family Code, or Welfare and Institutions Code). (Cal. Rules of Court, rule 3.220.) Failure to file may result
              in sanctions.
          •   File this cover sheet in addition to any cover sheet required by local court rule.
          •   If this case is complex under rule 3.400 et seq. of the California Rules of Court, you must serve a copy of this cover sheet on all
              other parties to the action or proceeding.
          •   Unless this is a collections case under rule 3.740 or a complex case, this cover sheet will be used for statistical purposes only.
                                                                                                                                                                           Page I of 2
        Form Adapted tor Mandatory Use                                                                                      Cal. Rules of Court, rules 2.30, 3.220, 3.400-3.403, 3.740;
          JudIdal Council of Callomla
                                                                   CIVIL CASE COVER SHEET                                                                              49
                                                                                                                                    Cal. Standards of Judicial Administration, std. 3.10
           CM-010 (Rev. duly 1, 2067]                                                                                                                             wimcourtint.ca.gov
       Case 2:21-cv-02038-SB-PVC Document 1 Filed 03/05/21 Page 50 of 231 Page ID #:50
                                                                                                                                     CM-010
                                  INSTRUCTIONS ON HOW TO COMPLETE THE COVER SHEET
To Plaintiffs and Others Filing First Papers. If you are tiling a first paper (for example, a complaint) in a civil case, you must
complete and file, along with your first paper, the Civil Case Cover Sheet contained on page 1. This information will be used to compile
statistics about the types and numbers of cases filed. You must complete items 1 through 6 on the sheet. In item 1, you must check
one box for the case type that best describes the case. If the case fits both a general and a more specific type of case listed in item 1,
check the more specific one. lithe case has multiple causes of action, check the box that best indicates the primary cause of action.
To assist you in completing the sheet, examples of the cases that belong under each case type in item 1 are provided below. A cover
sheet must be filed only with your initial paper. Failure to file a cover sheet with the first paper filed in a civil case may subject a party,
its counsel, or both to sanctions under rules 2.30 and 3.220 of the California Rules of Court.
To Parties In Rule 3.740 Collections Cases. A "collections case" under rule 3.740 is defined as an action for recovery of money
owed in a sum stated to be certain that is not more than $25,000, exclusive of interest and attorney's fees, arising from a transaction in
which property, services, or money was acquired on credit. A collections case does not include an action seeking the following: (1) tort
damages, (2) punitive damages, (3) recovery of real property, (4) recovery of personal property, or (5) a prejudgment writ of
attachment. The identification of a case as a rule 3.740 collections case on this form means that it will be exempt from the general
time-for-service requirements and case management rules, unless a defendant files a responsive pleading. A rule 3.740 collections
case will be subject to the requirements for service and obtaining a judgment in rule 3.740.
To Parties in Complex Cases. In complex cases only, parties must also use the Civil Case Cover Sheet to designate whether the
case is complex. If a plaintiff believes the case is complex under rule 3.400 of the California Rules of Court, this must be indicated by
completing the appropriate boxes in items 1 and 2. If a plaintiff designates a case as complex, the cover sheet must be served with the
complaint on all parties to the action. A defendant may file and serve no later than the time of its first appearance a joinder in the
plaintiffs designation, a counter-designation that the case is not complex, or, if the plaintiff has made no designation, a designation that
the case is complex.                                      CASE TYPES AND EXAMPLES
Auto Tort                                       Contract                                           Provisionally Complex Civil Litigation (Cal.
     Auto (22)—Personal Injury/Property            Breach of Contract/Warranty (06)                Rules of Court Rules 3.400-3.403)
          Damage/Wrongful Death                         Breach of Rental/Lease                          Antitrust/Trade Regulation (03)
     Uninsured Motorist (46) (if the                         Contract (not unlawful detainer            Construction Defect (10)
          case involves an uninsured                            or wrongful eviction)                   Claims Involving Mass Tort (40)
          motorist claim subject to                     Contract/Warranty Breach—Seller                 Securities Litigation (28)
          arbitration, check this item                       Plaintiff (not fraud or negligence)        Environmental/Toxic Tort (30)
          instead of Auto)                              Negligent Breach of Contract/                   Insurance Coverage Claims
Other PI/PDAND (Personal Injury/                             Warranty                                       (arising from provisionally complex
Property DamageNVrongful Death)                         Other Breach of Contract/Warranty                   case type listed above) (41)
Tort                                               Collections (e.g., money owed, open              Enforcement of Judgment
     Asbestos (04)                                      book accounts) (09)                             Enforcement of Judgment (20)
          Asbestos Property Damage                      Collection Case—Seller Plaintiff                    Abstract of Judgment (Out of
                                                        Other Promissory Note/Collections                         County)
          Asbestos Personal Injury/
                                                             Case                                            Confession of Judgment (non-
                Wrongful Death
     Product Liability (not asbestos or            Insurance Coverage (not provisionally                          domestic relations)
                                                        complex) (18)                                        Sister State Judgment
          toxic/environmental) (24)
     Medical Malpractice (45)                           Auto Subrogation                                    Administrative Agency Award
          Medical Malpractice—                          Other Coverage                                          (not unpaid taxes)
                Physicians & Surgeons              Other Contract (37)                                      Petition/Certification of Entry of
                                                        Contractual Fraud                                       Judgment on Unpaid Taxes
          Other Professional Health Care
                Malpractice                             Other Contract Dispute                               Other Enforcement of Judgment
                                                Real Property                                                     Case
     Other Pl/PDAND (23)
                                                   Eminent Domain/Inverse                           Miscellaneous Civil Complaint
          Premises Liability (e.g., slip
                                                        Condemnation (14)                               RICO (27)
                and fall)
          Intentional Bodily Injury/PD/WD          Wrongful Eviction (33)                               Other Complaint (not specified
                                                                                                             above) (42)
                (e.g., assault, vandalism)         Other Real Property (e.g., quiet title) (26)
                                                                                                            Declaratory Relief Only
          Intentional Infliction of                     Writ of Possession of Real Property                 Injunctive Relief Only (non-
                Emotional Distress                      Mortgage Foreclosure                                      harassment)
          Negligent Infliction of                       Quiet Title                                          Mechanics Lien
                Emotional Distress                      Other Real Property (not eminent
                                                                                                             Other Commercial Complaint
          Other PI/PD/WD                                domain, land:on:I/tenant or
                                                                                                                  Case (non-tort/non-complex)
Non-PUPDAND (Other) Tort                                foreclosure)
                                                                                                             Other Civil Complaint
     Business Tort/Unfair Business              Unlawful Detainer                                                (non-tort/non-complex)
        Practice (07)                              Commercial (31)                                  Miscellaneous Civil Petition
     Civil Rights (e.g., discrimination,           Residential (32)                                     Partnership and Corporate
         false arrest) (not civil                  Drugs (38) (if the case involves illegal                  Governance (21)
          harassment) (08)                              drugs, check this item: otherwise,              Other Petition (not specified
     Defamation (e.g., slander, libel)                  report as Commercial or Residential)                above) (43)
           (13)                                 Judicial Review                                              Civil Harassment
     Fraud (16)                                    Asset Forfeiture (05)                                    Workplace Violence
     Intellectual Property (19)                    Petition Re: Arbitration Award (11)                      Elder/Dependent Adult
     Professional Negligence (25)                  Writ of Mandate (02)                                           Abuse
         Legal Malpractice                              Writ—Administrative Mandamus                        Election Contest
         Other Professional Malpractice                 Writ—Mandamus on Limited Court                      Petition for Name Change
              (not medical or legal)                        Case Matter                                     Petition for Relief From Late
      Other Non-PI/PONVD Tort (35)                      Writ—Other Limited Court Case                             Claim
Employment                                                  Review                                           Other Civil Petition
     Wrongful Termination (36)                     Other Judicial Review (39)
     Other Employment (15)                              Review of Health Officer Order
                                                        Notice of Appeal—Labor
                                                            Commissioner Appeals
CM-010 Rim July 1,20071                                                                                                                 Page 2 all 2
                                                    CIVIL CASE COVER SHEET                                                         50
           Case 2:21-cv-02038-SB-PVC Document 1 Filed 03/05/21 Page 51 of 231 Page ID #:51
 SHORT TrILE•F                                                                                                           CASE NUMBER
                ernando Ochoa Astudillo v. Greyhound Lines, Inc., et al.



                                CIVIL CASE COVER SHEET ADDENDUM AND
                                        STATEMENT OF LOCATION
                 (CERTIFICATE OF GROUNDS FOR ASSIGNMENT TO COURTHOUSE LOCATION)

               This form is required pursuant to Local Rule 2.3 in all new civil case filings in the Los Angeles Superior Court.



      Step 1: After completing the Civil Case Cover Sheet (Judicial Council form CM-010), find the exact case type in
                Column A that corresponds to the case type indicated in the Civil Case Cover Sheet.


        Step 2: In Column B, check the box for the type of action that best describes the nature of the case.


      Step 3: In Column C, circle the number which explains the reason for the court filing location you have
                chosen.

                                             Applicable Reasons for Choosing Court Filing Location (Column C)

1.Class actions must be filed in the Stanley Mosk Courthouse, Central District.                       7. Location where petitioner resides.
2. Permissive filing in central district.                                                             8. Location wherein defendant/respondent functions wholly.
3. Location where cause of action arose.                                                              9. Location where one or more of the parties reside.
4. Mandatory personal injury filing in North District.                                               10. Location of Labor Commissioner Office.
                                                                                                     11. Mandatory filing location (Hub Cases — unlawful detainer, limited
5. Location where performance required or defendant resides.
                                                                                                     non-collection, limited collection, or personal injury).
6. Location of property or permanently garaged vehicle.



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                               Auto (22)                   0 A7100 Motor Vehicle - Personal Injury/Property Damage/Wrongful Death                                    1, 4, 11
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      0
   < /—               Uninsured Motorist (46)              0 A7110 Personal Injury/Property DamageNVrongful Death — Uninsured Motorist                               1, 4, 11


                                                           0 A6070 Asbestos Property Damage                                                                          1, 11
                            Asbestos (04)
                                                           CI A7221 Asbestos - Personal Injury/Wrongful Death                                                        1, 11

                        Product Liability (24)             0 A7260 Product Liability (not asbestos or toxic/environmental)                                           1, 4, 11

                                                           El A7210 Medical Malpractice- Physicians & Surgeons                                                        1,4. 11
                      Medical Malpractice (45)
                                                           0 A7240 Other Professional Health Care Malpractice                         -

                                                           0 A7250 Premises Liability (e.g., slip and fall)
                                                                                                                                                                     1, 4, 11
                           Other Personal
                           Injury Property                 0 A7230 Intentional Bodily Injury/Property Damage/Wrongful Death (e.g.,                                   1, 4, 11
                          Damage Wrongful                           assault, vandalism, etc.)
                             Death (23)                                                                                                                              1, 4, 11
                                                           0 A7270 Intentional Infliction of Emotional Distress
                                                                                                                                                                     1, 4,11
                                                           CI A7220 Other Personal Injury/Properly DamageNVrongful Death




   LACIV 109 (Rev 2/16)                                  CIVIL CASE COVER SHEET ADDENDUM                                                                         Local Rule 2.3
                                                                                                                                                                              51
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SHORT TITLE:                                                                                                                                  CASE NUMBER
                           Fernando Ochoa Astudillo v. Greyhound Lines, Inc., et al.

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                                    Business Tort (07)                   El A6029 Other Commercial/Business Tort (not fraud/breach of contract)                                                1, 2, 3

                                      Civil Rights (08)                  0 A6005 Civil Rights/Discrimination                                                                                   1, 2, 3

                                      Defamation (13)                    0 A6010 Defamation (slander/libel)                                                                                    1, 2, 3

                                          Fraud (16)                     D A6013 Fraud (no contract)                                                                                           1, 2, 3

                                                                         D A6017 Legal Malpractice                                                                                             1, 2, 3
                             Professional Negligence (25)
                                                                         CI A6050 Other Professional Malpractice (not medical or legal)                                                        1,2, 3

                                          Other (35)                     0 A6025 Other Non-Personal Injury/Property Damage tort                                                                1, 2, 3

                               Wrongful Termination (36)                 12 A6037 Wrongful Terrnination                                                                                        1,2, 3

                                                                         0 A6024 Other Employment Complaint Case                                                                               1,2, 3
                                 Other Employment (15)
                                                                         0 A6109 Labor Commissioner Appeals                                                                                    10

                                                                         0 A6004 Breach of Rental/Lease Contract (not unlawful detainer or wrongful                                            2, 5
                                                                                  eviction)
                             Breach of ContracV Warranty                                                                                                                                       2, 5
                                         (06)                            0 A6008 Contract/Warranty Breach -Seller Plaintiff (no fraud/negligence)
                                   (not insurance)                                                                                                                                             1.2, 5
                                                                         0 A6019 Negligent Breach of Contract/Warranty (no fraud)
                                                                                                                                                                                               1. 2, 5
                                                                         CI A6028 Other Breach of Contract/Warranty (not fraud or negligence)

                                                                         0 A6002 Collections Case-Seller Plaintiff                                                                             5, 6, 11
                                      Collections (09)
                                                                         0 A6012 Other Promissory Note/Collections Case                                                                        5, 11
                                                                         CI A6034 Collections Case-Purchased Debt (Charged Off Consumer Debt                                                   5, 6, 11
                                                                                   Purchased on or after January 1, 2014)
                                Insurance Coverage (18)                  0 A6015 Insurance Coverage (not complex)                                                                              1, 2, 5, 8

                                                                         0 A6009 Contractual Fraud                                                                                             1, 2, 3, 5
                                    Other Contract (37)                  0 A6031 Tortious Interference                                                                                         1, 2, 3, 5
                                                                         0 A6027 Other Contract Dispute(not breach/insurance/fraud/negligence)                                                 1,2, 3, 8.9

                                Eminent Domain/Inverse
                                                                       -0 A7300 Eminent Domain/Condemnation                                      Number of parcels                             2,6
                                  Condemnation (14)

     o.                           Wrongful Eviction (33)                 0 A6023 Wrongful Eviction Case                                                                                        2, 6
     2
                                                                         0 A6018 Mortgage Foreclosure                                                                                          2, 6
                                Other Real Property (26)                 0 A6032 Quiet Title                                                                                                   2, 6
                                                                         0 A6060 Other Real Property (not eminent domain, landlord/tenant, foreclosure)                                        2, 6

                            Unlawful Detainer-Commercial                                                                                                                                      6, 11
                                                                         0 A6021 Unlawful Detainer-Commercial (not drugs or wrongful eviction)
                                        (31)
     Unlawful Detalner




                                                                                                                                                                                             _
                             Unlawful Detainer-Residential                                                                                                                                     6, 11
                                                                         0 A6020 Unlawful Detainer-Residential (not drugs or wrongful eviction)
                                         (32)
                                   Unlawful Detainer-
                                                                         ID A6020F Unlawful Detainer-Post-Foredosure                                                                           2, 6, 11
                                  Post-Foreclosure (34)
                             Unlawful Detainer-Drugs (38)                0 A6022 Unlawful Detainer-Drugs                                                                                       2, 6, 11



 LACIV 109 (Rev 2/16)                                                  CIVIL CASE COVER SHEET ADDENDUM                                                                                     Local Rule 2.3
                                                                                                                                                                                                         52
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                                               Case 2:21-cv-02038-SB-PVC Document 1 Filed 03/05/21 Page 53 of 231 Page ID #:53
SHORT TITLE:                                                                                                                                                 CASE NUMBER
                                                          Fernando Ochoa Astudillo v. Greyhound Lines, Inc., et al.

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                                                                    Asset Forfeiture (05)         0 A6108 Asset Forfeiture Case                                                                         2, 3, 6

                                                                 Petition re Arbitration (11)     0 A6115 Petition to Compel/ConfirmNacate Arbitration                                                  2, 5
          Jud icialRev iew




                                                                                                                                                                                                                                 _
                                                                                                  0 A6151 Writ - Administrative Mandamus                                                                2, 8
                                                                    Writ of Mandate (02)          0 A6152 Writ - Mandamus on Limited Court Case Matter                                                  2
                                                                                                  0 A6153 Writ - Other Limited Court Case Review                                                        2

                                                                 Other Judicial Review (39)       0 A6150 Other Writ /Judicial Review                                                                   2, 8

                                                               Antitrust/Trade Regulation (03)    0 A6003 Antitrust/Trade Regulation                                                                    1, 2, 8
          Provisiona lly Complex Litigation




                                                                  Construction Defect (10)        0 A6007 Construction Defect                                                                           1, 2, 3

                                                                 Claims Involving Mass Tort                                                                                                             1, 2, 8
                                                                                                  0 A6006 Claims Involving Mass Tort
                                                                            (40)

                                                                  Securities Litigation (28)      0 A6035 Securities Litigation Case                                                                    1, 2, 8

                                                                         Toxic Tort
                                                                                                  0 A6036 Toxic Tort/Environmental                                                                      1, 2, 3, 8
                                                                     Environmental (30)

                                                                Insurance Coverage Claims                                                                                                               1,2, 5, 8
                                                                                                  0 A6014 Insurance Coverage/Subrogation (complex case only)
                                                                  from Complex Case (41)
                                                          pr                                                                                                                                                                      ,
                                                                                                  0 A6141 Sister State Judgment                                                                         2, 5, 11
                                                                                                  0 A6160 Abstract of Judgment                                                                          2,6
      Enforcement




                                         a)
                                                                        Enforcement               0 A6107 Confession of Judgment (non-domestic relations)                                               2, 9
                                                                      of Judgment (20)            0 A6140 Administrative Agency Award (not unpaid taxes)                                                2, 8
                                                                                                  0 A6114 Petition/Certificate for Entry of Judgment on Unpaid Tax                                      2, 8
                                                                                                  0 A6112 Other Enforcement of Judgment Case                                                            2, 8, 9

                                                                         RICO (27)                0 A6033 Racketeering (RICO) Case                                                                      1, 2, 8
                                        CivilComplaints
  Misce llaneous




                                                                                                  0 A6030 Declaratory Relief Only                                                                       1, 2, 8

                                                                     Other Complaints             0 A6040 Injunctive Relief Only (not domestic/harassment)                                              2, 8
                                                                 (Not Specified Above) (42)       0 A6011 Other Commercial Complaint Case (non-tort/non-complex)                                        1, 2, 8
                                                                                                  0 A6000 Other Civil Complaint (non-tort/non-complex)                                                  1, 2, 8

                                                                  Partnership Corporation                                                                                                               2, 8
                                                                                                  0 A6113 Partnership and Corporate Governance Case
                                                                     Governance (21)

                                                                                                  0 A6121 Civil Harassment                                                                              2, 3, 9
      Miscellaneous
                                        Civil Petitions




                                                                                                  0 A6123 Workplace Harassment                                                                          2, 3, 9
                                                                                                  0 A6124 Elder/Dependent Adult Abuse Case                                                              2, 3, 9
                                                                    Other Petitions (Not
                                                                   Specified Above) (43)          0 A6190 Election Contest                                                                              2
                                                                                                  0 A6110 Petition for Change of Name/Change of Gender                                                  2, 7
                                                                                                  0 A6170 Petition for Relief from Late Claim Law                                                       2, 3, 8
                                                                                                  0 A6100 Other Civil Petition                                                                          2, 9




 LACIV 109 (Rev 2/16)                                                                            CIVIL CASE COVER SHEET ADDENDUM                                                                    Local Rule 2.3
                                                                                                                                                                                                                  53
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 SHORT TITLE:                                                                            CASE NUMBER
                Fernando Ochoa Astudillo v. Greyhound Lines, Inc., et al.
                                                                                     1


Step 4: Statement of Reason and Address: Check the appropriate boxes for the numbers shown under Column C for the
            type of action that you have selected. Enter the address which is the basis for the filing location, including zip code.
            (No address required for class action cases).

                                                                   ADDRESS:
   REASON:                                                         1716 E. 7th Street
    fl I. P2. 13. f14.115. 16. fl7. 1 8.11 9. f110. 111.



   CITY:                                  STATE:      ZIP CODE:

  Los Angeles                             CA         90021


Step 5: Certification of Assignment: I certify that this case is properly filed in the Stanley Mosk Central           District of
         the Superior Court of California, County of Los Angeles [Code Civ. Proc., §392 et seq., and Local Rule 2.3(a)(1)(E)].




  Dated: May 7, 2020
                                                                                   (SIGNATURE OF ATTORNEY/FILING PARTY)




  PLEASE HAVE THE FOLLOWING ITEMS COMPLETED AND READY TO BE FILED IN ORDER TO PROPERLY
  COMMENCE YOUR NEW COURT CASE:
       1. Original Complaint or Petition.
       2. If filing a Complaint, a completed Summons form for issuance by the Clerk.
       3. Civil Case Cover Sheet, Judicial Council form CM-010.

       4. Civil Case Cover Sheet Addendum and Statement of Location form, LACIV 109, LASC Approved 03-04 (Rev.
          02/16).
       5. Payment in full of the filing fee, unless there is court order for waiver,, partial or scheduled payments.
       6. A signed order appointing the Guardian ad Litem, Judicial Council form CIV-010, if the plaintiff or petitioner is a
          minor under 18 years of age will be required by Court in order to issue a summons.

       7. Additional copies of documents to be conformed by the Clerk. Copies of the cover sheet and this addendum
          must be served along with the summons and complaint, or other initiating pleading in the case.




  LACIV 109 (Rev 2/16)                   CIVIL CASE COVER SHEET ADDENDUM                                               Local Rule 2..3
                                                                                                                                54
  LASC Approved 03-04                       AND STATEMENT OF LOCATION                                                    Page 4 of 4
    Case 2:21-cv-02038-SB-PVC Document 1 Filed 03/05/21 Page 55 of 231 Page ID #:55
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                SUPERIOR COURT OF CALIFORNIA
                   COUNTY OF LOS ANGELES                                                                      FILED
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  Stanley Mosk Courthouse
  111 North Hill Street, Los Angeles, CA 90012                                                           05/14/2020'
   PLAINTIFF:                                                                              5161i R Co.1.1.T; Extcui.tt
   Fernando Ochoa Astudillo                                                                                  N. 'min                 C64v,
   DEFENDANT:
                                                                                           SY.
  Greyhound Lines, Inc., a Dalawara,corporation et al
                NOTICE OF CASE MANAGEMENT CONFERENCE                                           20ST.CV
                                                                                                   1   17492
                                                                                                         •

•• - TOTHEPLAINTIFF(S)/ATTORNEY(S) FOR PLAINTIFF(S) OF RECORD:

 You pie ordered to serve this notice Of hearing on all parties/attorneys of regard forthwith, arid:Meet-0d confer with
 partlestaitomeys of record about the matters to be discussed no later than 30 days before.iheCate Managernent CohferienCe::
 `Our Case Management Conference has been scheduled at the coudhouse address shown above on;

                                     Date:                      Time:                 Dept,:
                                             10/19/2020                 9:00 AM                32

 NOTICE TO DEFENDANT: THE SETTING OF THE CASE MANAGEMENT CONFERENCE DOES NOT EXEMPT THE
                        DEFENDANT FROM FILING A RESPONSIVE PLEADING AS REQUIRED BY LAW.

 Pursuant to California Rules of Court, rutes,3.720-3.730, a completed Case Management Statement (Judicial. Council form .# .
 CM-110) must be filed at least 15 calendar days prior to the Case Management Conference, The Case Management Statement .•
 may be filed jointly by all partiesiattomeys.Of:reaord or individually by each party/attorney of record. You must belamiliar with the ,
 case and be fully prepared to participate effectively in the Case Management Conference.

   At the Case Management Conference, the Court may make pretrial orders including the, following,,but .noLlimiteetti,-am.Or*r.;;
  establishing a discovery schedUle; an order referring the cese to Alternative Dispute Resolutioh.'(ADR);.ati.didkredaiifYing'tfiC',:
  case: an order setting subsequent conference and the that date; or other orders to achievelhe:goals,',oftlie•iirialCciiid!petiy,;.?,.
  Reduction Ad (Gov. Code, § 68600 at seq.)
                                                                                       - .
• Notice is hereby .given that if you do not file the Case Management Statement_ oi-,.4-pear: atid.feffeetNe.
';.Milinegement..Conference, the Court maY                                          SPAOC.aF,F.1.114'
  sections 477.5, 575:2.; 581150 583.360 and 5831410, Government-Codk% „oft. •8, su
  Court, rule 2.2 et seq.                                                     VO? N
                                                                              1:4

 Dated:     05/14/2020

                                                     CERTIFICATE OF SERVICE

 I, the below named Executive Officer/Clerk of the above-entitled court, do hereby certify that I am not a party to the cause
 herein, and that on this date I served the Notice of Case Management Conference upon each party or counsel named below:

 2    by depositing in the United States mail at the courthouse in Los Angeles               , California, one copy of the original
      filed herein in a separate sealed envelope to each address as shown below with the postage thereon fully prepaid.

 P   by personally giving the party notice upon filing of the complaint.
      Ramin R. Younessi
      .3435 Wilshire Blvd Ste 2200
      Los Angeles, CA 90010
                                                                            Sherri R. Carter, Executive Officer / Clerk of Court


 Dated: 05/14/2020.                                                                                 By N. d!kvalos
                                                                                                     „..         Deputy
 LAGEy 132 (Rev. 07/131                                                                                    Cal. Rules of Court, rules 3.720-3.730
 LASC Approved 10-03
                                            NOTICE OF                                                      LASC Local•Rules, Ctiapler Three
 For Optional Use                'CASE MANAGEMENT CONFERENCE
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                         SUPERIOR COURT OF THE STATE OF CALIFORNIA

                                 FOR THE COUNTY OF LOS ANGELES


   IN RE LOS ANGELES SUPERIOR COURT) FIRST AMENDED GENERAL ORDER
   — MANDATORY ELECTRONIC FILING )
   FOR CIVIL                      )
                                  )
                                  )
                                  )

          On December 3, 2018, the Los Angeles County Superior Court mandated electronic filing of all

   documents in Limited Civil cases by litigants represented by attorneys. On January 2, 2019, the Los

   Angeles County Superior Court mandated electronic filing of all documents filed in Non-Complex

   Unlimited Civil cases by litigants represented by attorneys. (California Rules of Court, rule 2.253(b).)
   All electronically filed documents in Limited and Non-Complex Unlimited cases are subject to the
   following:

   1) DEFINITIONS

      a) "Bookmark" A bookmark is a PDF document navigational tool that allows the reader to

          quickly locate and navigate to a designated paint of interest within a document.

      b) `Tilling Portal" The official court website includes a webpage, referred to as the efiling

          portal, that gives litigants access to the approved Electronic Filing Service Providers.

      c) "Electronic Envelope" A transaction through the electronic service provider for submission
          of documents to the Court for processing which may contain one or more PDF documents

          attached.

      d) "Electronic Filing" Electronic Filing (eFiling) is the electronic transmission to a Court of a
          document in electronic form. (California Rules of Court, rule 2.250(13)(7))



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                      FIRST AMENDED GENERAL ORDER RE MANDATORY ELECTRONIC FILING FOR CIVIL

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                                                                                             2019-GEN-014.00



      e) "Electronic Filing Service Provider" An Electronic Filing Service Provider (EFSP) is a

         person or entity that receives an electronic filing from a party for retransmission to the Court.

         In the submission of filings, the EFSP does so on behalf of the electronic filer and not as an
         agent of the Court. (California Rules of Court, rule 2.250(b)(8).)
      f) "Electronic Signature" For purposes of these local rules and in conformity with Code of

         Civil Procedure section 17, subdivision (b)(3), section 34, and section l010.6, subdivision
         (b)(2), Government Code section 68150, subdivision (g), and California Rules of Court, rule

         2.257, the term "Electronic Signature" is generally defined as an electronic sound, symbol, or
         process attached to or logically associated with an electronic record and executed or adopted
         by a person with the intent to sign the electronic record.
      g) "Hyperlink" An electronic link providing direct access from one distinctively marked place

         in a hypertext or hypermedia document to another in the same or different document.
      h) "Portable Document Format" A digital document format that preserves all fonts,

         formatting, colors and graphics of the original source document, regardless of the application
         platform used.

   2) MANDATORY ELECTRONIC FILING
      a) Trial Court Records

         Pursuant to Government Code section 68150, trial court records may be created, maintained,

         and preserved in electronic format. Any document that the Court receives electronically must

         be clerically processed and must satisfy all legal filing requirements in order to be filed as an

         official court record (California Rules of Court, rules 2.100, et seq. and 2.253(b)(6)).
      b) Represented Litigants

         Pursuant to California Rules of Court, rule 2.253(b), represented litigants are required to
         electronically file documents with the Court through-an approved EFSP.
      c) Public Notice

         The Court has issued a Public Notice with effective dates the Court required parties to

         electronically file documents through one or more approved EFSPs. Public Notices containing

         effective dates and the list of EFSPs are available on the Court's website, at www.lacourt.org.

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                   FIRST AMENDED GENERAL ORDER RE MANDATORY ELECTRONIC FILING FOR CIVIL
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        d) Documents in Related Cases

           Documents in related cases must be electronically filed in the eFiling portal for that case type if

           electronic filing has been implemented in that case type, regardless of whether the case has
           been related to a Civil case.
   3) EXEMPT LITIGANTS
        a) Pursuant to California Rules of Court, rule 2.253(b)(2), self-represented litigants are exempt

           from mandatory electronic filing requirements.
        b) Pursuant to Code of Civil Procedure section 1010.6, subdivision (d)(3) and California Rules of

           Court, rule 2.253(b)(4). any party may make application to the Court requesting to be excused
           from filing documents electronically and be permitted to file documents by conventional
           means if the party shows undue hardship or significant prejudice.
   4) EXEMPT FILINGS

        a) The following documents shall not be filed electronically:
           i)    Peremptory Challenges or Challenges for Cause of a Judicial Officer pursuant to Code of
                 Civil Procedure sections 170.6 or 1703;
           ii)   Bonds/Undertaking documents;
           iii) Trial and Evidentiary Hearing Exhibits
           iv)   Any ex parte application that is filed concurrently with a new complaint including those
                 that will be handled by a Writs and Receivers department in the Mask courthouse; and
           v)    Documents submitted conditionally under seal. The actual motion or application shall be
                 electronically filed. A courtesy copy of the electronically filed motion or application to

                 submit documents conditionally under seal must be provided with the documents

                 submitted conditionally under seal.
        b) Lodgments

           Documents attached to a Notice of Lodgment shall be lodged and/or served conventionally in

   paper form. The actual document entitled, "Notice of Lodgment," shall be filed electronically. "
   //



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                      FIRST AMENDED GENERAL ORDER RE MANDATORY ELECTRONIC FILING FOR CIVIL
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 1   5) ELECTRONIC FILING SYSTEM WORKING PROCEDURES
 2     Electronic filing service providers must obtain and manage registration information for persons
 3     and entities electronically filing with the court.
 4 6) TECHNICAL REQUIREMENTS
 5     a) Electronic documents must be electronically filed in PDF, text searchable format when
 6         technologically feasible without impairment of the document's image.
 7     b) The table of contents for any filing must be bookrnarked.
 8     c) Electronic documents, including but not limited to, declarations, proofs of service, and
 9        exhibits, must be bookmarked within the document pursuant to California Rules of Court, rule
10         3.1110(0(4). Electronic bookmarks must include links to the first page of each bookmarked
11         item (e.g. exhibits, declarations, deposition excerpts) and with bookmark titles that identify the
12        bookedmarked item and briefly describe the item.
13     d) Attachments to primary documents must be bookmarked. Examples include, but are riot
14         limited to, the following:
15         i) Depositions;
16         ii) Declarations;
17        iii) Exhibits (including exhibits to declarations);
18         iv) Transcripts (including excerpts within transcripts);
19         v) Points and Authorities;
20         vi) Citations; and
21         vii) Supporting Briefs.
22     e) Use of hyperlinks within documents (including attachments and exhibits) is strongly
23         encouraged.
24     f) Accompanying Documents
25        Each document acompanying a single pleading must be electronically filed as a separate
26         digital PDF document.
27     g) Multiple Documents
28        Multiple documents relating to one case can be uploaded in one envelope transaction.

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                     FIRST AMENDED GENERAL ORDER RE MANDATORY ELECTRONIC FILING FOR CIVIL
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 1     h) Writs and Abstracts
2         Writs and Abstracts must be submitted as a separate electronic envelope.
3      i) Sealed Documents
4         If and when a judicial officer orders documents to be filed under seal, those documents must be
5         filed electronically (unless exempted under paragraph 4); the burden of accurately designating
6         the documents as sealed at the time of electronic submission is the submitting party's
7         responsibility.
 8     j) Redaction
9         Pursuant to California Rules of Court, rule 1.201, it is the submitting party's responsibility to
10        redact confidential information (such as using initials for names of minors, using the last four
11        digits of a social security number, and using the year for date of birth) so that the information
12        shall not be publicly displayed.
13   7) ELECTRONIC FILING SCHEDULE
14     a) Filed Date
15        i) Any document received electronically by the court between 12:00 am and 11:59:59 pm
16            shall be deemed to have been effectively filed on that court day if accepted for filing. Any
17            document received electronically on a non-court day, is deemed to have been effectively
18            Wed on the next court day if accepted. (California Rules of Court, rule 2.253(b)(6); Code
19            Civ. Proc. § 1010.6(b)(3).)
20        ii) Notwithstanding any other provision of this order, if a digital document is not filed in due
21            course because of: (1) an interruption in service; (2) a transmission error that is not the
22            fault of the transmitter, or (3) a processing failure that occurs after receipt, the Court may
23            order, either on its own motion or by noticed motion submitted with a declaration for Court
24            consideration, that the document be deemed filed and/or that the document's filing date
25            conform to the attempted transmission date.

26 8) EX PARTE APPLICATIONS
27     a) Ex parte applications and all documents in support thereof must be electronically filed no later
28        than 10:00 a.m. the court day before the ex parte hearing.

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                      FIRST AMENDED GENERAL ORDER RE MANDATORY ELECTRONIC FILING FOR CIVIL
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      b) Any written opposition to an ex parte application must be electronically filed by 8:30 a.m. the

             day of the ex parte hearing. A printed courtesy copy of any opposition to an ex parte

             application must be provided to the court the day of the ex parte hearing.

   9) PRINTED COURTESY COPIES
      a) For any filing electronically filed two or fewer days before the hearing, a courtesy copy must
             be delivered to the courtroom by 4:30 p.m. the same business day the document is efiled. If

             the efiling is submitted after 4:30 p.m., the courtesy copy must be delivered to the courtroom

             by 10:00 a.m. the next business day.

      b) Regardless of the time of electronic filing, a printed courtesy copy (along with proof of
             electronic submission) is required for the following documents:

             i)    Any printed document required pursuant to a Standing or General Order;

             ii)   Pleadings and motions (including attachments such as declarations and exhibits) of 26
                   pages or more;

            iii)   Pleadings and motions that include points and authorities;
            iv)    Demurrers;

             v)    Anti-SLAPP filings, pursuant to Code of Civil Procedure section 425.16;
            vi)    Motions for Summary Judgment/Adjudication; and
            vii)   Motions to Compel Further Discovery.

      c) Nothing in this General Order precludes a Judicial Officer from requesting a courtesy copy of
             additional documents. Courtroom specific courtesy copy guidelines can be found at
             1.vww.lacourt.org on the Civil webpage under "Courtroom Information."

    0) WAIVER OF FEES AND COSTS FOR ELECTRONICALLY FILED DOCUMENTS

          a) Fees and costs associated with electronic filing must be waived for any litigant who has

             received a fee waiver. (California Rules of Court, rules 2.253(b)(), 2.258(b), Code Civ. Proc.

      .      1010.6(d)(2).)

          b) Fee waiver applications for waiver of court fees and costs pursuant to Code of Civil Procedure

             section 1010.6, subdivision (b)(6), and California Rules of Court, rule 2.252(f), may be

             electronically filed in any authorized action or proceeding.

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                        FIRST AMENDED GENERAL ORDER RE MANDATORY ELECTRONIC FILING FOR CIVIL
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     I) SIGNATURES ON ELECTRONIC FILING
2       For purposes of this General Order, all electronic filings must be in compliance with California
3       Rules of Court, rule 2.257. This General Order applies to documents filed within the Civil
4       Division of the Los Angeles County Superior Court.
 5

6           This First Amended General Order supersedes any previous order related to electronic filing,
7    and is effective immediately, and is to remain in effect until otherwise ordered by the Civil
8    Supervising Judge and/or Presiding Judge.
9
10   DATED: May 3, 2019                                                    Ce
                                                          KEVIN C. BRAZILE
11
12
                                                          Presiding Judge             477h/
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                       FIRST AMENDED GENERAL ORDER RE MANDATORY ELECTRONIC FILING FOR CIVIL
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                                   V11; LUNTARY EFFICIENT LITIGATION STIPULATIONS


                                      The Early Organizational Meeting Stipulation, Discovery
                                   Resolution Stipulation, and Motions in Limine Stipulation are
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                                   voluntary stipulations entered into by the parties. The parties
                                   may enter into one, two, or all three of the stipulations;
                                   however, they may not alter the stipulations as written,
                                   because the Court wants to ensure uniformity of application.
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      Bar Aeceetatten              These sliptdations are meant to encourage cooperation
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      Les loping County            between the parties and to assist in resolving issues in a
      ear Aasock0on Law and
      atrolopment Loa Section      manner that promotes economic case resolution and judicial
                                   efficiency.

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                                       The    following organizations endorse the goal of
      Aaaestalort ot Lao Angeles   promoting efficiency in litigation and ask that counsel
                                   consider using these stipulations as a voluntary way to
                                   promote communications and procedures among counsel
                                   and with the court to fairly resolve issues in their cases.

                                   ,Los Angeles County Bar Association Litigation Section*
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                                              • Los Angeles County Bar Association
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      asr .                                   Labor and Employment Law Section.

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     Bootee= Trial Larriots            *Consumer Attorneys Association of Los Angeles.

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                      STIPULATION — DISCOVERY RESOLUTION
           •

         This stipulation is intended to provide a last and Informat resolution of discovery issues
         through limited paperwork and an Informal conference with the Court to aid In the
         resolution of the Issues.

         The parties agree that:

         1. Prior to the discovery cut-off in this action, no discovery motion shall be filed or heard unless
            the moving party first makes a written request for an Informal Discovery Conference pursuant
            to the terms of this stipulation.

         2. At the Memel Discovery Conference the Court will consider the dispute presented by parties
            and determine whether it can be resolved Informally. Nothing set forth herein will preclude a
            party from making a record at the conclusion of an Informal Discovery Conference, either
            orally or In writing.

         3. Following a reasonable and good faith attempt at an informal resolution of each Issue to be
            presented, a party may request an Informal Discovery Conference pursuant to the following
            procedures:

                   a. The party requesting the Informal Discovery Conference will:

                       I.     File a Request for Informal Discovery Conference with the clerk's office on the
                              approved form (copy attached) and deliver a courtesy, conformed copy to the
                              assigned department;

                      IL      Include a brief summary of the dispute and specify the relief requested; and

                              Serve the opposing party pursuant to any authorized or agreed method of service
                              that ensures that the opposing party receives the Request for informal Discovery
                              Conference no later than the next court day following the filing.

                   b. Any Answer to a Request for Informal Discovery Conference must:

                       I.     Also be filed on the approved form (copy attached);

                              Include a brief summary of why the requested relief should be denied;
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                  ut.   Be filed within two (2) court days of receipt of the Request; and

                  iv. Be served on the opposing party pursuant to any authorized or agreed upon
                        method of service that ensures that the opposing party receives the Answer no
                        later than the next court day following the filing.

           c. No other pleadings, including but not limited to exhibits, declarations, or attachments, will
              be accepted.

           d. If the Court has not granted or denied the Request for Informal Discovery Conference
              within ten (10) days following the Ming of the Request, then It shall be deemed to have
              been denied. If the Court acts on the Request, the parties will be notified whether the
              Request for informal Discovery Conference has been granted or denied and, if granted,
              the date and time of the Informal Discovery Conference, which must be within twenty (20)
              days of the filing of the Request for Informal Discovery Conference.

           e. If the conference Is not held within twenty (20) days of the filing of the Request for
              Infoneal Discovery Conference, unless extended by agreement of the parties and the
              Court. then the Request for the informal Discovery Conference shall be deemed to have
              been denied at that time.

      4. If (a) the Court has denied a conference or (b) one of the time deadlines above has expired
         without the Court having acted or (c) the Informal Discovery Conference is concluded without
         resolving the dispute, then a party may file a discovery motion to address unresolved issues.

      5. The parties hereby further agree that the time for making a motion to compel or other
         discovery motion is toiled from the date of filing of the Request for Informal Discovery
         Conference until (a) the request Is denied or deemed denied or (b) twenty (20) days after the
         filing of the Request for informal Discovery Conference, whichever is earlier, unless extended
         by Order of the Court.

          It Is the understanding and intent of the parties that this stipulation shall, for each discovery
          dispute to which it applies, constitute a writing memorializing a "specific later date to which
          the propounding for demanding or requesting) party and the responding party have agreed in
          writing," within the meaning of Code Civil Procedure sections 2030.300(c), 2031.320(c), and
          2033.290(c).

      6. Nothing herein will preclude any party from applying ex parte for appropriate relief. including
         an order shortening time for a motion to be heard concerning discovery.

      7. Any party may terminate this stipulation by giving twenty-one (21) days notice of intent to
         terminate the stipulation.

      8. References to 'days mean calendar days, unless otherwise noted. If the dale for performing
         any act pursuant to this stipulation falls on a Saturday, Sunday or Court holiday, then the lime
         for performing that act shall be extended to the next Court day.



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Case 2:21-cv-02038-SB-PVC Document 1 Filed 03/05/21 Page 66 of 231 Page ID #:66




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       The following parties stipulate:

       Date:
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       Date:

                     (TYPE OR PRINT NAME)                               !ATTORNEY FOR OEFERDANI
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    SUPERIOR COURT OF CALIFORNIA, COUNTY OF LOS ANGELES
   ccuRTHousE AolIRE9S:

   PulampF:

   .-CIEFENDUNT:

                                                                                                  exik ricasSER:
               STIPULATION — EARLY ORGANIZATIONAL MEETING

          ThIS stipulation is Intended to encourage cooperation among the parties at an early stage in
          the litigation and to aselst the partiee in efficient case resolution.
          The parties agree that:

          1. The parties commit to conduct an Initial conference (ireperson or via teleconference or via
              videozonference) within 15 days from the dale this stipulation is signed, to discuss end consider
                whether there can be agreement on the following:

                a Are motions to challenge the pleadings necessary? if the issue can be resolved by
                   amendment as of right, or if the Court would allow leave to amend, could an amended
                   complaint resolve most or all of the Issues a demurrer might otherwise raise? If so, the parties
                   agree to work Ituough pleading issues so that a demurrer need only raise issues they cannot
                   resolve. Is the issue that the defendant seeks to raise amenable to resolution on demurrer. or
                   would some other type of motion be preferable? Could a voluntary targeted exchange of
                   documents or information by any party cure an uncertatnty in the pleadings?
                b. Initial mutual eechanges of documents at the -core of the litigation, (For seample, in an
                    employment case, the employment records, personnel Me and documents relating to the
                    conduct in question could be considered 'core.' In a personal Injury case, an incident or
                    police report, medical records, and repair or maintenance records could be considered


                c Exchange of names and contact information of witnesses;

                d. Any insurance agreement that may be available to satisfy pall or all of a judgment, or to
                      Indemnify or reimburse for payments made to satisfy a judgment

                e. Exchange of any other information that might be helpful to facilitate understanding, handing,
                   or resofetion of the case in a manner that preserves objections or privileges by agreement

                I. Controlling Issues of law that, if resolved early, will promote efficiency and economy In other
                    phases of the case. Also, when and how such issues can be presented to the Court

                g. Whether or when the case should be scheduled with a settlement officer, what discovery or
                   court neng on legal issues Is reasonably required to make settlement discussions meaningful,
                   and whether the parties wish to use a sitting judge or a private mediator or other options as
         tACIv 229 (Rey 02115)
         IASC APPMCii 041/ 1 S71PULATION                          — EARLY ORGANIZATIONAL MEETING
         Far Opllenal Use                                                                                                      Page I of 2




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               discussed in the "Atternalive Dispute Resolution (ADR) Information Package" served with the
               complaint:

               Computation of damages, including documents, not privileged or protected from disclostme, on
               which such computation is based;

               Whether the case is suitable for the Expedited Jury Trial procedures (see information at
               WWWISCOUrt,Orq/ under °C(Vir and then under "General Information").

               The time for a defending party to respond to a complaint or cross-complaint will be extended
               to                           for the complaint, and                               for the en:im-
                         prison DATE)                                       (MEM DATE)
               complaint, which is comprised of the 30 days to respond under Government Code 5 688161b),
               and the 30 days permitted by Code of Civil Procedure section 1054(a), good cause having
               been found by the Civil Supervising Judge due to the case management benefits provided by
               this Stipulation. A copy of the General Order can be found at www.lecourt.org under "Civil.
               click on "General information°, then dick on "Voluntary Efficient Litigation Stipulations'.

       3.      The parties will prepare a Joint report tilled "Joint Status Report Pursuant to Initial Conference
               and Early Organizational Meeting Stipulation, and if desired, a proposed order summarizing
               mulls of their meet and confer and advising the Court of any way it may assist the parties'
               efficient conduct or resolution of the case. The parties shall attach the Joint Status Report to
               the Case Management Conference statement, and file the documents when the CMG
               statement is due.

      4.       References to 'days" mean calendar days, unless otherwise noted. if the date for performing
               any act pursuant to this stipulation falls on a Saturday, Sunday or Court holiday, then the time
               For performing that act shall be extended to the next Court day

      The following parties stipulate:
      Data:


                   (TYPE OR PRINT NAME)                                      (ATTORNEY FOR RAN-TIFF)
      Dalex


                   (TYPE OR PRINT NAME)                                     (ATTORNEY FOR DEFENDANT)
      Dale:


                   (TYPE OR PRINT NAME)                                     (ATTORNEY FOR DEFENDANT)
      Date:


                   (TYPE OR PRINT NAME)                                     (ATTORNEY FOR DEFENDANT)
      Dale:


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      LASC Aserenai   04/11)   STIPULATION — EARLY ORGANIZATIONAL MEETING                               Page 2 012




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Case 2:21-cv-02038-SB-PVC Document 1 Filed 03/05/21 Page 69 of 231 Page ID #:69




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        .   TraPtiONE NO                                 12$ul t: 0 (0Fdect0):
    Eau&d.,p0DRESS Mem*:
      terroRsete Ryli Own*
   SUPERIOR COURT OF CALIFORNUk, COUNTY OF LOS ANGELES
   autirK&Fst nnvc-c.

   Pumoir :

    OSFEHOhar.

                                                                                                   CAM uumet_Ft
                       INFORMAL DISCOVERY CONFERENCE
                 (pursuant to the Discovery Resolution Stipulation of the Parties)
         1. This document relates to:
                      Request for informal Discovery Conference
                      Answer to Request for informal Discovery Conference
         2. Deadline for Court to decide on Request:                   onzwi up to calixdar days fellorAng Ming of
              146 ReeLsasil

         3. Deadline for Court to hold informal Discovery Conference:                                          (Insert dale TO cdendar
              days l'azudag rang of ihe Request).
         4. For a Request for Informal Discovery Conference, briefly describe the nature of the
            discovery dispute, Including the facts and legal arguments at issue. For an Answer to
            Request for Informal Discovery Conference, briefly describe why the Court should deny
            the requested discovery, Including the facts and legal arguments at 1554110.




        LAMY OSLI (rtm)
                                                INFORMAL DISCOVERY CONFERENCE
        LASC Approved 04/11
        For OpUenal Use                 (pursuant to the Discovery Resolution Stipulation of the parties)




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Case 2:21-cv-02038-SB-PVC Document 1 Filed 03/05/21 Page 70 of 231 Page ID #:70




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                TELEINME ND.:                               FAN NO (Opaegad):
        EALAJL ACORES (OFENral):
          ATTCRNET FOR (N2nk31:
       SUPERIOR COURT OF CALIFORNIA, COUNTY OF LOS ANGELES
       cinikritouse A00gE15:

       PLAINTIFF:

       OGFENDAOT:

   V
                                                                                            CASE Nulii:CA
                     STIPULATION AND ORDER — EMOTIONS IN IMMUNE


             This stipulation Is intended to provide as and informal resolution of evidentiary
             issues through diligent efforts Go define and discuss such Issues and limit paperwork.


             The parties agree that:

             1. At least       days before the final status conference, each party wM provide all other
                parties with a list containing a one paragraph explanation of each proposed motion In
                limine. Each one paragraph explanation must identify the substance of a single proposed
                motion in limine and the grounds for the proposed motion.

             2. The parties thereafter will Meat and confer, either in person or via teleconference or
                 videoconference, concerning al/ proposed motions in limine. In that meet and confer, the
                 parties will determine:

                    a. Whether the parties can stipulate to any of the proposed motions. If the parties so
                       stipulate, they may file a stipulation and proposed order with the Court.

                    b. Whether any of the proposed motions can be briefed and submitted by means of a
                       short joint statement of issues. For each motion which can be addressed by a short
                       Joint statement of issues, a short joint statement of issues must be filed with the Court
                       10 days prior to the final status conference. Each side's portion of the short joint
                       statement of issues may not exceed three pages. The parties will meet and confer to
                       agree on a dale and manner for exchanging the parties' respective portions of the
                       short joint statement of issues and the process for tiling the short joint statement of
                       Issues.

             3. All proposed motions in limine that are not either the subject of a stipulation or briefed via
                 a short joint statement of issues will be briefed and filed in accordance with the California
                 Rules of Court and the Los Angeles Superior Court Rules.



             LAM 075 Own)
             tASC Approveil atin t          STIPULATION AND ORDER — MOTIONS IN LIIMINE
             Far OpOonaf Usa                                                                                   Page I oi 2




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Case 2:21-cv-02038-SB-PVC Document 1 Filed 03/05/21 Page 71 of 231 Page ID #:71




                                                                   CAM ICLIVCIA




       The following partles stipulate:
       Data:

                (TYPE OR PRINT NAME)                           (ATTORNEY FOR PLAINTIFF)
       Dale:
                                                     p.

                (TYPE OR PRINT NAME)                          (ATTORNEY FOR DEFENDANT)
       Date:
                                                     p.

                (TYPE OR PRINT NAME)                          (ATTORNEY FOR DEFENDANT)
       Date:

                (TYPE    an PRINT NAME)                      711ORNEY FOR DEFENOASsIT)
       Dale:
                                                     I.
                (TYPE OR PRINT NAME)                      (ATTORNEY FOR
       Date:
                                                     F.
                 (TYPE OR PRINT NAME)                     (ATTORNEY FOR
       Dale

                (TYPE OR PRINT NAME)                      (ATTORNEY FOR



       THE COURT SO ORDERS.

        Date:
                                                                    JULICAL OFFICER




       LACN 075 010w)
       LASC Amami I4hg       STIPULATION AND ORDER — MOTIONS IN LIMINE                Patio 2   Di   2




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   Case 2:21-cv-02038-SB-PVC Document 1 Filed 03/05/21 Page 72 of 231 Page ID #:72


                      Superior Court of California, County of Los Angeles



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What is ADR?
ADR helps people find solutions to their legal disputes without going to trial. The main types of ADR are negotiation,
mediation, arbitration, and settlement conferences. When ADR is done by phone, videoconference or computer, it may
be called Online Dispute Resolution (ODR). These alternatives to litigation and trial are described below.


Advantages of ADR
    •   Saves Time: ADR is faster than going to trial.
    •   Saves Money: Parties can save on court costs, attorney's fees, and witness fees.
    •   Keeps Control (with the parties): Parties choose their ADR process and provider for voluntary ADR.
    •   Reduces Stress/Protects Privacy: ADR is done outside the courtroom, in private offices, by phone or online.


Disadvantages of ADR
    •   Costs: If the parties do not resolve their dispute, they may have to pay for ADR and litigation and trial.
    •   No Public Trial: ADR does not provide a public trial or a decision by a judge or jury.


Main Types of ADR:

    1. Negotiation: Parties often talk with each other in person, or by phone or online about resolving their case with a
       settlement agreement instead of a trial. If the parties have lawyers, they will negotiate for their clients.

    2. Mediation: In mediation, a neutral mediator listens to each person's concerns, helps them evaluate the
       strengths and weaknesses of their case, and works with them to try to create a settlement agreement that is
       acceptable to all. Mediators do not decide the outcome. Parties may go to trial if they decide not to settle.

                  Mediation may be appropriate when the parties
                     • want to work out a solution but need help from a neutral person.
                     • have communication problems or strong emotions that interfere with resolution.
                  Mediation may not be appropriate when the parties
                     • want a public trial and want a judge or jury to decide the outcome.
                     • lack equal bargaining power or have a history of physical/emotional abuse.




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    For Mandatory Use



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                   Mediators and APR and Bar organizations that provide niediatibn may be found on the Internet.
                    •




    3. Arbitration: Arbitration is less formal than trial, but like trial, the parties present evidence and arguments to the
       person who decides the outcome. In "binding" arbitration, the arbitrator's decision is final; there is no right to
       trial. In "nonbinding" arbitration, any party can request a trial after the arbitrator's decision. For more
       information about arbitration, visit http://www.courts.ca.Rov/programs-adr.htm

    4. Mandatory Settlement Conferences (MSC}: MSCs are ordered by the Court and are often held close to the trial
       date or on the day of trial. The parties and their attorneys meet with a judge or settlement officer who does not
       make a decision but assists the parties in evaluating the strengths and weaknesses of the case and in negotiating
       a settlement. For information about the Court's MSC programs for civil cases, visit
       httpl/www.lacourt.oredivision/civil/C10047.aspx



Los Angeles Superior Court ADR website: http://www.lacourtorg/divisionicivil/C10109.aspx
For general information and videos about ADR, visit http://www.courts.ca.gov/programs-adr.htm




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Case 2:21-cv-02038-SB-PVC Document 1 Filed 03/05/21 Page 74 of 231 Page ID #:74
       RTATE OF CAI IFORNIA I EktsInfrk.a Cannamer Sal-Oral and MrnmInn Aunnev             GAVIN NEWSOM GOVERN0a
                                                                                               KEVIN KISH, DIRECTOR
        DEPARTMENT OF FAIR EMPLOYMENT & HOUSING
        2218 Kausen Drive, Suite 100 I Elk Grove I CA I 95758
        (BOO) 684-1684 (Voice) 1(800) 700-2320 (ITY) I California's Relay Service at 711
        http://www.dieh.ca.gov I Email: contaacenter©cfleh,ca.gov
                     •
 May 7, 2020

 Ramin R. Younessi
 3435 Wilshire Blvd, Suite 2200
 Los Angeles, California 90010

 RE:   Notice to Complainant's Attorney
       DFEH Matter Number: 202004-09869509
       Right to Sue: Ochoa Astudillo / GREYHOUND LINES, INC.

 Dear Ramin R. Younessi:

 Attached is a copy of your amended complaint of discrimination filed with the
 Department of Fair Employment and Housing (DFEH) pursuant to the California Fair
 Employment and Housing Act, Government Code section 12900 et seq.

 Pursuant to Government Code section 12962, DFEH will not serve these documents on
 the employer. You or your client must serve the complaint.

 The amended complaint is deemed to have the same filing date of the original
 complaint. This is not a new Right to Sue letter. The original Notice of Case Closure
 and Right to Sue issued in this case remains the only such notice provided by the
 DFEH. (Cal. Code Regs., tit. 2, § 10022.)

 Be advised that the DFEH does not review or edit the complaint form to ensure that it
 meets procedural or statutory requirements.

 Sincerely,


 Department of Fair Employment and Housing -




                                                                                                      74
     Case 2:21-cv-02038-SB-PVC Document 1 Filed 03/05/21 Page 75 of 231 Page ID #:75



 1                     COMPLAINT OF EMPLOYMENT DISCRIMINATION
                             BEFORE THE STATE OF CALIFORNIA
 2                   DEPARTMENT OF FAIR EMPLOYMENT AND HOUSING
                     Under the California Fair Employment and Housing Act
 3
                                  (Gov. Code, § 12900 et seq.)
 4
      In the Matter of the Complaint of
 5     Fernando Alfonso Ochoa Astudillo                          DFEH No. 202004-09869509
 6                                Cornplainant,
 7 VS.

 8     GREYHOUND LINES, INC.
       600 VINE STREET, SUITE 1400
 9     CINCINNATI OH 45202, Ohio 45202
10
       Claudio Arriola
11     1716 E. 7th Street
       Los Angeles, California 90021
12
                           Respondents
13

14
   1. Respondent GREYHOUND LINES, INC. is an employer subject to suit under the
15 California Fair Employment and Housing Act (FEHA) (Gov. Code, § 12900 et seq.).
16 2. Complainant Fernando Alfonso Ochoa Astudillo, resides in the City of Los
   Angeles State of California.
17

18 3. Complainant alleges that on or about April 15, 2019, respondent took the
   following adverse actions:
19
   Complainant was harassed because of complainant's disability (physical or
20 mental), medical condition (cancer or genetic characteristic), age (40 and over),
   other.
21
22 Complainant was discriminated against because of complainant's disability
   (physical or mental), medical condition (cancer or genetic characteristic), age (40
23 and over), other and as a result of the discrimination was terminated, laid off, denied
   hire or promotion, reprimanded, demoted, asked impermissible non-job-related
24 questions, denied any employment benefit or privilege, denied reasonable
   accommodation for a disability, other, denied work opportunities or assignments.
25

26

27                                                -1-
                                  Complaint — DFEH No. 202004-09869509
28 Date Filed: April 9, 2020
      Date Amended: May 7, 2020
                                                                                             75
     Case 2:21-cv-02038-SB-PVC Document 1 Filed 03/05/21 Page 76 of 231 Page ID #:76



 1 Complainant experienced retaliation because complainant reported or resisted
   any form of discrimination or harassment, requested or used a disability-related
 2 accommodation and as a result was terminated, denied hire or promotion,
 3 reprimanded, suspended, demoted, asked impermissible non-job-related questions,
   denied any employment benefit or privilege, denied reasonable accommodation for a
 4 disability, other, denied or forced to transfer.

 5
   Additional Complaint Details: Fernando Alfonso Ochoa Astudillo ("Mr. Ochoa")
 6 was hired by Greyhound Lines, Inc. (hereinafter "Employer") as a driver on or about

 7 April 16, 2013. Mr. Ochoa performed his job duties satisfactorily until the date of his
   wrongful termination of April 15, 2019. Mr. Ochoa was 71 years old at the time of his
 8 termination.
   In or around January 2019, Mr. Ochoa developed pain in his knees due to the
 9 repetitive nature of his duties. This pain impaired Mr. Ochoa's major life activity of
   working, thus constituting a disability. Mr. Ochoa reported his disability to his driving
10
   manager, Claudio Arriola (hereinafter "Mr. Arriola") (together with Employer,
11 "Respondents"), and asked to be sent to the clinic. Mr. Arriola rejected Mr. Ochoa's
   request. Mr. Ochoa then informed another supervisor, Terrance Ford, of his
12 disability and requested to be sent to the clinic. Mr. Ford directed Mr. Ochoa back to
   Mr. Arriola, who again rejected Mr. Ochoa's request. Due to Respondent's refusal to
13 send Mr. Ochoa to a clinic, Mr. Ochoa had no choice but to file a workers'
   compensation claim.
14
   In or around early-March 2019, Mr. Ochoa finally obtained medical treatment and
15 was   informed that that he needed surgery to replace both his knees and was placed
   on medical leave. Mr. Ochoa promptly informed Defendant of his medical leave.
16 Shortly thereafter, and while on medical leave, Employer terminated Mr. Ochoa on
   or about April 15, 2019.
17 In the event that Employer claims that Mr. Ochoa was not terminated, then it has
18 failed and continued to fail to engage in a good faith interactive process to provide
   reasonable accommodations and return Mr. Ochoa to his employment.
19 Respondents discriminated, harassed, retaliated against, and terminated Mr. Ochoa
   because of his age, disability, perceived disability, medical condition, perceived
20 medical condition, engagement in protected activities and request for a good faith,
   genuine interactive process and accommodations. Respondents failed and refused
21 to engage in any good faith interactive process to discuss and/or arrange for
22 accommodations. Respondents and refused to stop and prevent discrimination and
   retaliation and return Mr. Ochoa to his employment.
23

24

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27                                                -2-
                                  Complaint — DFEH No. 202004-09869509
28 Date Filed: April 9, 2020
      Date Amended: May 7, 2020
                                                                                               76
     Case 2:21-cv-02038-SB-PVC Document 1 Filed 03/05/21 Page 77 of 231 Page ID #:77



1 VERIFICATION

2 I, Ramin Younessi, am the Attorney in the above-entitled complaint. I have read the
  foregoing complaint and know the contents thereof. The matters alleged are based
3
  on information and belief, which I believe to be true.
4
  On May 7, 2020, I declare under penalty of perjury under the laws of the State of
5 California that the foregoing is true and correct.

6                                                                        Los Angeles, CA
7

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27
                                  Complaint — DFEH No. 202004-09869509
28
      Date Filed: April 9, 2020
      Date Amended: May 7, 2020
                                                                                           77
Case 2:21-cv-02038-SB-PVC Document 1 Filed 03/05/21 Page 78 of 231 Page ID #:78




   Ramin R. Younessi, Esq. (SBN 175020)
   Samantha L. Ortiz, Esq. (SBN 312503)
   LAW OFFICES OF RAMIN R. YOUNESSI
   A PROFESSIONAL LAW CORPORATION
   3435 Wilshire Boulevard, Suite 2200
   Los Angeles, California 90010
   Telephone: (213) 480-6200
   Facsimile: (213) 480-6201

   Attorney for Plaintiff,
   FERNANDO OCHOA ASTUDILLO




                         SUPERIOR COURT OF THE STATE OF CALIFORNIA
                     FOR THE COUNTY OF LOS ANGELES, CENTRAL DISTRICT

    FERNANDO OCHOA ASTUDILLO, an                        Case No.: 20STCV17492
    individual.
                                                        Assigned to the Honorable Judge Daniel S. Murphy,
                                 Plaintiff,             Dept. 32
           V.                                           STATEMENT OF DAMAGES
    GREYHOUND LINES, INC., a Delaware
    corporation; CLAUDIO ARRIOLA, an                    [Code Civ. Proc. § 425A15]
    individual; and DOES 1 through 20, inclusive,
                                 Defendants.

                                                       Action Filed: May 7, 2020
                                                       Trial Date: None Set Yet

           NOTICE TO DEFENDANT GREYHOUND LINES, INC.:
           PLEASE TAKE NOTICE that Plaintiff FERNANDO OCHOA ASTUDILLO seeks judgment
    against you, in an amount according to proof but estimated to be no less than $500,000.00, in a money

   judgment representing compensatory damages including lost wages, earnings, commissions, retirement
    benefits, and other employee benefits, and all other sums of money, together with interest on these
    amounts; for other special damages; and for general damages for mental pain and anguish and

    emotional distress and loss of earning capacity;
           PLEASE TAKE FURTHER NOTICE that Plaintiff FERNANDO OCHOA ASTUDILLO
    reserves the right to seek $1,000,000 in punitive damages when Plaintiff seeks a judgment in the suit

    filed against you.


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                                                                                                78
                                              STATEMENT OF DAMAGES
Case 2:21-cv-02038-SB-PVC Document 1 Filed 03/05/21 Page 79 of 231 Page ID #:79



    DATED: May 28, 2020                    LAW OFFICES OF RAIVIIN R. YOUNESSI
                                           A PROFESSIONAL LAW CORPORATION


                                                         IP
                                           By:
                                                     in R. You si, Esq.
                                                 S. antha L. Ortiz, Esq.
                                                 Attorney for Plaintiff
                                                 FERNANDO OCHOA ASTUDILLO




                                           -2-
                                                                           79
                                  STATEMENT OF DAMAGES
Case 2:21-cv-02038-SB-PVC Document 1 Filed 03/05/21 Page 80 of 231 Page ID #:80




                        EXHIBIT C
                                                                           80
           Case 2:21-cv-02038-SB-PVC Document 1 Filed 03/05/21 Page 81 of 231 Page ID #:81
                                                                                                                                                     POS-015
   ATTORNEY OR PARTY WITHOUT ATTORNEY (Name, Safe Bar number, and edtkess):                                                      FOR COURT USE ONLY

   Ramin R. Younessi, Esq. (SBN 175020)
   Samamha L. Ortiz, Esq. (SBN 312503)
   Law Offices of Ramin R. Younessi, A.P.L.C
    3435 Wiishire Blvd., Suite 2200, Los Angeles, CA 90012
                TELEPHONE NO.: (213) 480-6200                        FAX NO. (Optional): (213) 480-620 1

    e-mail address (Optional): sortiz@younessiIaw.eom

        ATTORNEY FOR (Name):
                                   Plaintiff, Fernando Ochoa Astudillo

   SUPERIOR COURT OF CALIFORNIA COUNTY OfLos Angeles
              stoeet address: 1 1 1 North Hill Street
             MAILING ADDRESS;

            city AND ZIP CODE: Los Angeles 90012
                  branch           Central District




         PLAINTIFF/PETITIONER: Fernando Ochoa Astudillo

    DEFENDANT/RESPONDENT: Greyhound Lines, Tnc., et al.

                                                                                                                        CASE NUMBER;
                        NOTICE AND ACKNOWLEDGMENT OF RECEIPT—CIVIL                                                                20STCV 17492



TO (insert name of party being sen/ed)-GRBYHOUND LINES. INC., a Delaware corporation



                                                                              NOTICE
    The summons and other documents identified below are being served pursuant to section 41 5.30 of the California Code of Civil
    Procedure. Your failure to complete this form and return it within 20 days from the date of mailing shown below may subject you
    (or the party on whose behalf you are being served) to liability for the payment of any expenses incurred in serving a summons
    on you in any other manner permitted by law.

    If you are being served on behalf of a corporation, an unincorporated association (including a partnership), or other entity, this
    form must be signed by you in the name of such entity or by a person authorized to receive service of process on behalf of such
    entity. In all other cases, this form must be signed by you personally or by a person authorized by you to acknowledge receipt of
    summons. If you return this form to the sender, service of a summons is deemed complete on the day you sign the
    acknowledgment of receipt below.

     Date of mailing:May 28, 2020

   Samantha L. Ortiz, Esq.
                                         CTYPE OR PRINT NAME)                                                          i-MUST NOT BE A PARTY IN THIS CASE)


                                                                ACKNOWLEDGMENT OF RECEIPT

    This acknowledges receipt of (to be completed by sender before mailing):
     1 . I <r l      A copy of the summons and of the complaint
     2. I * I         Other (specify):
                     Notice of Case Assignment; Civil Case Cover Sheets; First Amended General Order; Statement of
                     Damages; Notice of Case Management Conference; and Amended Complaint of Employment
                      Discrimination before the State of California Department of Fair Employment and Housing

    (To be completed by recipient):


     Date this form is signed: £=>//"?/2TD
           \3ol v/T                Cj   CjvJO



           GreyVvo^cX Lines
                  (TYPE OR PRINT YOUR NAME AND NAME OF ENTITY. IF ANY,                          (SIGNATURE OF PERSON ACKNOWLEDGING RECEIPT, WITH TITLE IF
                            ON WHOSE BEHALF THIS FORM IS SIGNED)                             ACKNOWLEDGMENT IS MADE ON BEHALF OF ANOTHER PERSON OR ENTITY)




                                                                                                                                                        Pago 1 of 1
Foim Adopted for Mandatory Use                                                                                                               Code of Civil Procedure.
  Judicial Council of California                NOTICE AND ACKNOWLEDGMENT OF RECEIPT — CIVIL                                                      §§4*5,30. 4*7.10
POS-01 5 (Rev. January 1 . 2005)                                                                                                               www. cam1inh.es. gov
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                        EXHIBIT D
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Electronically FILED by Superior Court of California, County of Los Angeles on 07/17/2020 11:47 AM Sherri R. Carter, Executive Officer/Clerk of Court, by R. Yanez,Deputy Clerk


                        1      DAVID J. DOW, Bar No. 179407
                               LITTLER MENDELSON, P.C.
                        2      501 W. Broadway
                               Suite 900
                        3      San Diego, CA 92101.3577
                               Telephone: 619.232.0441
                        4      Fax No.:     619.232.4302
                               ddow@littler.com
                        5
                               JOHN A. (DREW) SCHAFFER, Bar No. 320905
                        6      LITTLER MENDELSON, P.C.
                               18565 Jamboree Rd.
                        7      Suite 800
                               Irvine, CA 92612
                        8      Telephone: 949-705-3000
                               Fax No.:     949-724.1201
                        9      dschaffer@littler.com

                     10        Attorneys for Defendant
                               GREYHOUND LINES, INC.
                     11
                                                         SUPERIOR COURT OF THE STATE OF CALIFORNIA
                     12
                                                                              COUNTY OF LOS ANGELES
                     13

                     14        FERNANDO OCHOA ASTUDILLO, an                                        Case No. 20STCV17492
                               individual,                                                         ASSIGNED FOR ALL PURPOSES TO
                     15                                                                            THE HON. DANIEL MURPHY,
                                                     Plaintiff,                                    DEPT. 32
                     16
                                     v.                                                            DEFENDANT GREYHOUND LINES,
                     17                                                                            INC.’S ANSWER TO PLAINTIFF’S
                               GREYHOUND LINES,INC., a Delaware                                    COMPLAINT
                     18        corporation; CLAUDIO ARRIOLA, an
                               individual; and DOES 1 through 20,                                  Complaint Filed: May 7, 2020
                     19        inclusive,                                                          Trial Date:      N/A
                     20                              Defendants.
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LITTLE R MEND ELSO N, P .C .
                                                                                                  1.
       501 W. Broadway
           Suite 900
   San Diego, CA 92101. 3577                                  DEFENDANT GREYHOUND LINES, INC.’S ANSWER
         619.232.0441
                                                                     TO PLAINTIFF’S COMPLAINT                                                                        83
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                        1                Defendant Greyhound Lines, Inc. (“Defendant”) hereby answers the unverified Complaint

                        2      (“Complaint”) of Plaintiff Fernando Ochoa Astudillo (“Plaintiff”) as follows:

                        3                                             GENERAL DENIAL

                        4                Defendant Greyhound Lines, Inc. generally denies each and every allegation contained in

                        5      Plaintiff’s Complaint pursuant to section 431.30 of the California Code of Civil Procedure, and

                        6      further denies that Plaintiff is entitled to equitable or injunctive relief, compensatory damages,

                        7      restitution, attorneys’ fees, prejudgment interest, costs of suit, or any other relief of any kind

                        8      whatsoever.

                        9                                         AFFIRMATIVE DEFENSES

                     10               Defendant Greyhound Lines, Inc. asserts the following affirmative defenses. In so doing,

                     11        Defendant does not concede that Defendant has the burden of production or proof as to any

                     12        affirmative defense asserted below.     Further, Defendant does not presently know all the facts

                     13        concerning the conduct of Plaintiff in order to be able to state all affirmative defenses at this time.

                     14        Accordingly, Defendant will seek leave of this Court to amend this Answer should it later discover

                     15        facts demonstrating the existence of additional affirmative defenses.

                     16                                        FIRST AFFIRMATIVE DEFENSE

                     17                                        (FAILURE TO STATE A CLAIM)

                     18                  1.    As a separate and distinct affirmative defense, Defendant Greyhound Lines, Inc.

                     19        alleges that the Complaint and each cause of action set forth therein fail to state facts sufficient to

                     20        constitute a cause of action upon which relief may be granted.

                     21                                      SECOND AFFIRMATIVE DEFENSE

                     22                                                     (WAIVER)

                     23                  2.    As a separate and distinct affirmative defense, Defendant Greyhound Lines, Inc. is

                     24        informed and believes that further investigation and discovery will reveal and, on that basis allege,

                     25        that the Complaint and each cause of action set forth therein are barred by the equitable doctrine of

                     26        waiver.

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LITTLE R MEND ELSO N, P .C .
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           Suite 900
   San Diego, CA 92101. 3577                            DEFENDANT GREYHOUND LINES, INC.’S ANSWER
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                        1                                      THIRD AFFIRMATIVE DEFENSE

                        2                                                  (ESTOPPEL)

                        3             3.        As a separate and distinct affirmative defense, Defendant Greyhound Lines, Inc. is

                        4      informed and believes that further investigation and discovery will reveal and, on that basis allege,

                        5      that the Complaint and each cause of action set forth therein are barred by the equitable doctrine of

                        6      estoppel.

                        7                                     FOURTH AFFIRMATIVE DEFENSE

                        8                                              (UNCLEAN HANDS)

                        9             4.        As a separate and distinct affirmative defense, Defendant Greyhound Lines, Inc. is

                     10        informed and believes that further investigation and discovery will reveal and, on that basis allege,

                     11        that the Complaint and each cause of action set forth therein are barred by the equitable doctrine of

                     12        unclean hands.

                     13                                        FIFTH AFFIRMATIVE DEFENSE

                     14                                                     (CONSENT)

                     15               5.        As a separate and distinct affirmative defense, Defendant Greyhound Lines, Inc. is

                     16        informed and believes that further investigation and discovery will reveal and, on that basis allege,

                     17        that the Complaint and each cause of action set forth therein, or some of them, are barred, in whole

                     18        or in part, by Plaintiff’s express or implied consent to the conduct attributed to Defendant.

                     19                                        SIXTH AFFIRMATIVE DEFENSE

                     20                                          (STATUTE OF LIMITATIONS)

                     21               6.        As a separate and distinct affirmative defense, Defendant Greyhound Lines, Inc.

                     22        alleges that the Complaint and each cause of action alleged therein are barred by the applicable

                     23        statute of limitations, including but not limited to those under California Government Code sections

                     24        12960(d) & 12965(b), California Code of Civil Procedure sections 335.1, 338, & 340, California

                     25        Labor Code Section 203, and/or California Business and Professions Code section 17208.

                     26                                          SEVENTH AFFIRMATIVE DEFENSE

                     27                           (FAILURE TO EXHAUST ADMINISTRATIVE REMEDIES)

                     28               7.        As a separate and distinct affirmative defense, Defendant Greyhound Lines, Inc.
LITTLE R MEND ELSO N, P .C .
                                                                                3.
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                        1      alleges that Plaintiff failed to exhaust administrative remedies. Insofar as Plaintiff seeks to recover

                        2      under the California Fair Employment and Housing Act (“FEHA”) for any alleged incident not

                        3      contained in any charge filed with the Department of Fair Employment and Housing (“DFEH”), for

                        4      any incident that allegedly occurred more than one year prior to filing the DFEH charge, or for any

                        5      conduct against a party not named in the DFEH charge, Plaintiff is not entitled to relief for such

                        6      incident.

                        7                                     EIGHTH AFFIRMATIVE DEFENSE

                        8                                    (PLAINTIFF’S BREACH OF DUTIES)

                        9             8.      As a separate and distinct affirmative defense, Defendant Greyhound Lines, Inc. is

                     10        informed and believes that further investigation and discovery will reveal and, on that basis allege,

                     11        that Plaintiff’s claims are barred by his own breach of the duties owed to Defendant Greyhound

                     12        Lines, Inc. pursuant to California Labor Code sections 2854-2859.

                     13                                        NINTH AFFIRMATIVE DEFENSE

                     14                                            (FAILURE TO MITIGATE)

                     15               9.      As a separate and distinct affirmative defense, Defendant Greyhound Lines, Inc. is

                     16        informed and believes that further investigation and discovery will reveal and, on that basis allege,

                     17        that Plaintiff failed to take reasonable actions to mitigate his damages, if any, and any recovery to

                     18        which Plaintiff might be entitled must be reduced by reason of his failure to mitigate his damages, if

                     19        any.

                     20                                       TENTH AFFIRMATIVE DEFENSE

                     21                                                (OFFSET/SET OFF)

                     22               10.     As a separate and distinct affirmative defense, Defendant Greyhound Lines, Inc.

                     23        asserts that the Complaint and each cause of action set forth therein is subject to the doctrines of set

                     24        off, offset and/or recoupment on the part of Defendant.

                     25                                     ELEVENTH AFFIRMATIVE DEFENSE

                     26                                 (AVOIDABLE CONSEQUENCES DOCTRINE)

                     27               11.     As a separate and distinct affirmative defense, Defendant Greyhound Lines, Inc.

                     28        alleges that all or portions of Plaintiff’s claims are barred by the doctrine of avoidable consequences
LITTLE R MEND ELSO N, P .C .
                                                                                  4.
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           Suite 900
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                        1      because it took reasonable steps to comply with the law, but Plaintiff unreasonably failed to follow

                        2      his employer’s policies and practices and failed to use the preventative and corrective opportunities

                        3      provided to his, and the reasonable adherence to or use of such procedures would have prevented at

                        4      least some, if not all, of the harm Plaintiff allegedly suffered.

                        5                                    TWELFTH AFFIRMATIVE DEFENSE

                        6                                       (AFTER-ACQUIRED EVIDENCE)

                        7             12.     As a separate and affirmative defense, Defendant Greyhound Lines, Inc. is informed

                        8      and believes that further investigation and discovery will reveal and, on that basis allege, that any

                        9      recovery on Plaintiff’s Complaint or any cause of action alleged therein is barred due to after-

                     10        acquired evidence, which independently justified the termination of Plaintiff’s employment.

                     11                                    THIRTEENTH AFFIRMATIVE DEFENSE

                     12                                                  (MIXED MOTIVE)

                     13               13.     As a separate and distinct affirmative defense, Plaintiff’s Complaint and each

                     14        purported cause of action therein, or some of them, cannot be maintained against Defendant because,

                     15        if any unlawful motive existed in connection with any employment decision involving Plaintiff,

                     16        which Defendant denies, any and all claims are nevertheless barred because such employment

                     17        decision would have been the same without such alleged unlawful motive.

                     18                                    FOURTEENTH AFFIRMATIVE DEFENSE

                     19               (FAILURE TO EXERCISE REASONABLE PREVENTIVE OR CORRECTIVE

                     20                                                  OPPORTUNITIES)

                     21               14.     As a separate and distinct affirmative defense, Defendant Greyhound Lines, Inc.

                     22        alleges that t exercised reasonable care to prevent any unlawfully harassing, discriminatory,

                     23        retaliatory, and/or otherwise unlawful workplace conduct allegedly experienced by Plaintiff.

                     24        Plaintiff unreasonably failed to take advantage of any preventive or corrective opportunities

                     25        provided by Defendant or to otherwise notify Defendant or take any other steps to avoid the harms

                     26        alleged in his Complaint, and thus Plaintiff’s claims are barred.

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LITTLE R MEND ELSO N, P .C .
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                        1                                   FIFTEENTH AFFIRMATIVE DEFENSE

                        2        (LACK OF PROXIMATE CAUSE AND FAILURE TO EXERCISE ORDINARY CARE)

                        3             15.     As a separate and distinct affirmative defense, if any loss, injury, damage or detriment

                        4      occurred as alleged in the Complaint, the loss, injury, damage or detriment was caused and

                        5      contributed to by the actions of Plaintiff, and, as Plaintiff did not exercise ordinary care, his own acts

                        6      and omissions proximately caused and contributed to the loss, injury, damage or detriment alleged

                        7      by Plaintiff. Plaintiff’s recovery from Defendant, if any, should be barred entirely or, at a minimum,

                        8      reduced in proportion to the percentage of Plaintiff’s negligence or fault.

                        9                                   SIXTEENTH AFFIRMATIVE DEFENSE

                     10                  (LEGITIMATE BUSINESS REASONS FOR EMPLOYMENT DECISION)

                     11               16.     As a separate and distinct affirmative defense, Defendant Greyhound Lines, Inc.

                     12        alleges that the Complaint and each cause of action set forth therein are barred, in whole or in part,

                     13        because the employment decisions about which Plaintiff complains were based upon legitimate, non-

                     14        discriminatory, and non-retaliatory business reasons.

                     15                                   SEVENTEENTH AFFIRMATIVE DEFENSE

                     16                           (NO KNOWLEDGE JUSTIFYING PUNITIVE DAMAGES)

                     17               17.     As a separate and distinct affirmative defense, Defendant Greyhound Lines, Inc.

                     18        alleges that without admitting to any of the acts, conduct or statements attributed to Defendant by

                     19        Plaintiff’s Complaint, Plaintiff’s claims for punitive damages are barred because the acts, conduct or

                     20        statements contained in Plaintiff’s Complaint were not taken with the advance knowledge, conscious

                     21        disregard, authorization, ratification or act of oppression, fraud or malice on the part of an officer,

                     22        director or managing agent of Defendant.

                     23                                    EIGHTEENTH AFFIRMATIVE DEFENSE

                     24                                        (PUNITIVE DAMAGES BARRED)

                     25               18.     As a separate and affirmative defense, Defendant Greyhound Lines, Inc. alleges that

                     26        its good faith efforts to prevent discrimination, retaliation, and any other unlawful acts bars any

                     27        award for punitive damages or exemplary damages as set forth in Kolstad v. Am. Dental Assn., 527

                     28        U.S. 526 (1999).
LITTLE R MEND ELSO N, P .C .
                                                                                 6.
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           Suite 900
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                        1                                 NINETEENTH AFFIRMATIVE DEFENSE

                        2                (FAILURE TO STATE A CLAIM UPON WHICH PUNITIVE DAMAGES

                        3                                             CAN BE AWARDED)

                        4             19.     Plaintiff’s Complaint, and each purported cause of action alleged against Defendant

                        5      Greyhound Lines, Inc. therein, fails to state a claim upon which an award of punitive and exemplary

                        6      damages can be granted.

                        7                                  TWENTIETH AFFIRMATIVE DEFENSE

                        8                                             (ACTS OF OTHERS)

                        9             20.     Any damages allegedly incurred by Plaintiff are the results of acts, omissions,

                     10        conduct, negligence, or fraud by Plaintiff and/or persons other than Defendant.

                     11                                  TWENTY-FIRST AFFIRMATIVE DEFENSE

                     12                                                   (NO INJURY)

                     13               21.     As a separate and distinct affirmative defense, Defendant Greyhound Lines, Inc.

                     14        alleges that Plaintiff sustained no injury, as defined in Labor Code section 226(e)(2), from any

                     15        alleged failure to provide wage statements in conformity with Labor Code section 226(a) or from

                     16        any other alleged violation of the California Labor Code.

                     17                                TWENTY-SECOND AFFIRMATIVE DEFENSE

                     18                       (ALTERNATIVE CAUSATION FOR EMOTIONAL DISTRESS)

                     19               22.     As a separate and distinct affirmative defense, Defendant Greyhound Lines, Inc.

                     20        alleges that if Plaintiff suffered any emotional distress, his emotional distress was caused by factors

                     21        other than Plaintiff’s employment, the actions of Defendant, or anyone acting on its behalf.

                     22                                  TWENTY-THIRD AFFIRMATIVE DEFENSE

                     23                                  (COLLATERAL ESTOPPEL/RES JUDICATA)

                     24               23.     Plaintiff’s claims are barred, in whole or in part, by the doctrines of res judicata

                     25        and/or collateral estoppel, including based on the settlement and Judgment entered in Scott v.

                     26        Greyhound Lines, Inc., Sacramento County Superior Court Case No. Case No. 34-2017-00219188.

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LITTLE R MEND ELSO N, P .C .
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       501 W. Broadway
           Suite 900
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                        1                              TWENTY-FOURTH AFFIRMATIVE DEFENSE

                        2                                                (GOOD FAITH)

                        3             24.     Defendant Greyhound Lines, Inc. acted reasonably, lawfully, and in good faith at all

                        4      times material herein based on all relevant facts and circumstances known to it.

                        5                                TWENTY-FIFTH AFFIRMATIVE DEFENSE

                        6                            (MEAL PERIODS AND REST PERIODS– WAIVER)

                        7             25.     Defendant Greyhound Lines, Inc. alleges that it reasonably and in good faith provided

                        8      Plaintiff with meal and rest periods, and that any failure by Plaintiff to take meal and/or rest breaks

                        9      constituted a waiver by Plaintiff to take such meal and/or rest periods, including by an intentional

                     10        decision not to take a meal or rest period and/or to the extent that Plaintiff’s failure to take meal

                     11        and/or rest breaks was the result of a failure by Plaintiff to follow Defendant Greyhound Lines,

                     12        Inc.’s reasonable instructions.

                     13                                 TWENTY-SIXTH AFFIRMATIVE DEFENSE

                     14                        (MEAL PERIODS AND REST PERIODS – NO HINDRANCE)

                     15               26.     Plaintiff’s meal and rest period-related claims are barred, in whole or in part, because

                     16        Defendant Greyhound Lines, Inc. did not prevent Plaintiff from taking such breaks.

                     17                                TWENTY-SEVENTH AFFIRMATIVE DEFENSE

                     18                                          (MEAL PERIODS – WAIVER)

                     19               27.     The meal period claims fail to the extent that Plaintiff waived his meal period on days

                     20        in which the total work period was no more than six hours and waived his meal periods on days in

                     21        which the total work period was between ten and twelve hours and in which he waived his second

                     22        meal period and did not waive his first meal period.

                     23                                 TWENTY-EIGHTH AFFIRMATIVE DEFENSE

                     24                                (MEAL PERIODS – ON-DUTY MEAL PERIOD)

                     25               28.     Plaintiff’s meal period-related claims are barred, in whole or in part, to the extent that

                     26        he has entered into on-duty meal period agreement.

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LITTLE R MEND ELSO N, P .C .
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       501 W. Broadway
           Suite 900
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                        1                               TWENTY-NINTH AFFIRMATIVE DEFENSE

                        2             (WAGE STATEMENTS – NO “KNOWING AND INTENTIONAL FAILURE”)

                        3             29.     Any alleged non-compliance with California Labor Code section 226 was not

                        4      “knowing and intentional.”

                        5                                   THIRTIETH AFFIRMATIVE DEFENSE

                        6                                           (BONA FIDE DISPUTE)

                        7             30.     Plaintiff’s claims for penalties are barred, in whole or in part, because there is a bona

                        8      fide good faith dispute as to whether and in what amount any compensation is due to Plaintiff.

                        9                                THIRTY-FIRST AFFIRMATIVE DEFENSE

                     10                          (MEAL AND REST BREAK PROVISIONS PREEMPTED)

                     11               31.     Defendant Greyhound Lines, Inc. alleges that California’s meal and rest break

                     12        statutes and provisions are preempted as to passenger-carrying bus drivers pursuant to 49 U.S.C.

                     13        31141 as applied by the Department of Transportation Federal Motor Carrier Safety Administration

                     14        in Docket No. FMCSA-2019-0048.

                     15                                 THIRTY-SECOND AFFIRMATIVE DEFENSE

                     16                      (CAL. BUS. & PROF. § 17200 ET SEQ. – UNCONSTITUTIONAL)

                     17               32.     California Business and Professions Code section 17200 et seq. is vague and

                     18        overbroad, such that prosecution of a representative action under this statute, as applied to the facts

                     19        and circumstances of this case, would constitute a denial of Defendant Greyhound Lines, Inc.’s

                     20        substantive and procedural due process rights in violation of the Fourteenth Amendment to the

                     21        United States Constitution and the California Constitution, and right to equal protection.

                     22                                  THIRTY-THIRD AFFIRMATIVE DEFENSE

                     23                                     (PENALTIES UNCONSTITUTIONAL)

                     24               33.     Defendant Greyhound Lines, Inc. alleges that to the extent Plaintiff seeks civil or

                     25        statutory penalties, such claims violate the Fifth, Eighth and Fourteenth Amendments of the United

                     26        States Constitution and also violate Article 1, sections 7 and 8 of the California Constitution,

                     27        including the prohibition against excessive fines and State Farm Mutual Insurance Company v.

                     28        Campbell, 538 U.S. 408 (2003).
LITTLE R MEND ELSO N, P .C .
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           Suite 900
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                        1                                 THIRTY-FOURTH AFFIRMATIVE DEFENSE

                        2                             (CAL. BUS. & PROF. § 17200 ET SEQ. – NO INJURY)

                        3             34.       Defendant Greyhound Lines, Inc. provided Plaintiff with proper compensation,

                        4      California-compliant meal periods, and California-compliant wage statements. Accordingly, because

                        5      no injury resulted, Plaintiff lacks standing to bring a cause of action under California Business and

                        6      Professions Code section 17200 et seq.

                        7                                  THIRTY-FIFTH AFFIRMATIVE DEFENSE

                        8           (ADEQUATE REMEDY AT LAW – NO DECLARATORY/INJUNCTIVE RELIEF)

                        9             35.       Plaintiff is not entitled to equitable relief insofar as he has an adequate remedy at law.

                     10                                    THIRTY-SIXTH AFFIRMATIVE DEFENSE

                     11                                             (AT WILL EMPLOYMENT)

                     12                   36.   As a separate and distinct affirmative defense, Defendant Greyhound Lines, Inc.

                     13        alleges that the Complaint and each cause of action set forth therein are barred to the extent that

                     14        Plaintiff’s employment was at-will and terminable with or without cause, at any time, by Plaintiff

                     15        and/or Defendant.

                     16                                  THIRTY-SEVENTH AFFIRMATIVE DEFENSE

                     17                     (FAILURE TO ENGAGE IN GOOD FAITH INTERACTIVE PROCESS)

                     18                   37.   As a separate and affirmative defense, Defendant Greyhound Lines, Inc. alleges,

                     19        without admitting that Defendant had a duty to initiate an interactive process, that Plaintiff failed to

                     20        engage in a good faith interactive process and/or was responsible for a breakdown in the interactive

                     21        process.

                     22                                   THIRTY-EIGHTH AFFIRMATIVE DEFENSE

                     23                                 (WORKERS’ COMPENSATION EXCLUSIVITY)

                     24               38.       As a separate and distinct affirmative defense, to the extent that Plaintiff is seeking

                     25        damages for emotional and/or physical injury, his claims are preempted and barred by the exclusive

                     26        remedy provisions of the California Workers’ Compensation Act, California Labor Code section

                     27        3600, et seq., in that: (1) the injuries complained of allegedly occurred when both Plaintiff and

                     28        Defendant were subject to California Labor Code sections 3600 to 3601; (2) at the time of the
LITTLE R MEND ELSO N, P .C .
                                                                          10.
       501 W. Broadway
           Suite 900
   San Diego, CA 92101. 3577                              DEFENDANT GREYHOUND LINES, INC.’S ANSWER
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                        1      alleged injuries, Plaintiff was performing services in the course and scope of his employment; (3)

                        2      Plaintiff allege that the injuries were caused by his employment; (4) Plaintiff’s employment was

                        3      covered by workers’ compensation; and (5) Defendant paid the entire costs for that coverage.

                        4      Accordingly, this Court lacks subject matter jurisdiction over said claims.

                        5                                THIRTY-NINTH AFFIRMATIVE DEFENSE

                        6                                               (SAME RESULT)

                        7             39.     As a separate and distinct affirmative defense, Defendant Greyhound Lines, Inc.

                        8      alleges that the Complaint and each cause of action set forth therein cannot be maintained against

                        9      Defendant because, if any unlawful discriminatory or retaliatory motive existed in connection with

                     10        any employment decision involving Plaintiff, which Defendant denies, any and all claims for

                     11        damages are nevertheless barred because such employment decision would have been the same even

                     12        without any such unlawful discriminatory motive.

                     13                                       FORTIETH AFFIRMATIVE DEFENSE

                     14                                      (NO VIOLATION OF PUBLIC POLICY)

                     15                40.    As a separate and distinct affirmative defense, Defendant Greyhound Lines, Inc.

                     16        alleges that the Complaint and each cause of action set forth therein cannot be maintained as Plaintiff

                     17        never experienced any wrongful employment action by Defendant, and Defendant committed no

                     18        violation of public policy.

                     19                                      FORTY-FIRST AFFIRMATIVE DEFENSE

                     20                                       (REQUISITE CAUSAL CONNECTION)

                     21                41.    As a separate and distinct affirmative defense, Defendant Greyhound Lines, Inc.

                     22        alleges that the Complaint and each cause of action set forth therein cannot be maintained against

                     23        Defendant because Plaintiff has failed to allege the requisite causal connection between alleged

                     24        protected activities and the alleged adverse employment action.

                     25                                  FORTY-SECOND AFFIRMATIVE DEFENSE

                     26                                            (VOLUNTARY RELEASE)

                     27                42.    As a separate and distinct affirmative defense, Defendant Greyhound Lines, Inc.

                     28        alleges that Plaintiff has voluntarily settled and/or released some or all of his purported claims set
LITTLE R MEND ELSO N, P .C .
                                                                                11.
       501 W. Broadway
           Suite 900
   San Diego, CA 92101. 3577                            DEFENDANT GREYHOUND LINES, INC.’S ANSWER
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                        1      forth in his Complaint, specifically as a class member in Scott v. Greyhound Lines, Inc., Sacramento

                        2      County Superior Court Case No. Case No. 34-2017-00219188, a class from which Plaintiff did not

                        3      opt out. Therefore, Plaintiff is, under the terms of the settlement and/or release, barred from

                        4      pursuing some or all of his purported causes of action for some or all of his employment.

                        5                                FORTY-THIRD AFFIRMATIVE DEFENSE

                        6                             (FAILURE TO REQUEST ACCOMMODATION)

                        7              43.    Defendant Greyhound Lines, Inc. alleges that Plaintiff’s claims are barred because

                        8      Plaintiff failed to request any reasonable accommodation for his avowed disability.

                        9                               FORTY-FOURTH AFFIRMATIVE DEFENSE

                     10                                               (UNDUE HARDSHIP)

                     11                44.    Plaintiff’s claims are barred because any alleged accommodations that Plaintiff

                     12        purportedly sought or now claims should have been offered are above and beyond what Defendant

                     13        was reasonably able to provide, and would have caused Defendant an undue hardship.

                     14                                   FORTY-FIFTH AFFIRMATIVE DEFENSE

                     15                                   (NO REASONABLE ACCOMMODATION)

                     16                45.    Plaintiff’s claims are barred because no reasonable accommodation existed which

                     17        would have permitted Plaintiff to perform the essential functions of his position.

                     18                                   FORTY-SIXTH AFFIRMATIVE DEFENSE

                     19                                  (ADDITIONAL AFFIRMATIVE DEFENSES)

                     20                46.    As a separate and distinct affirmative defense, Defendant Greyhound Lines, Inc.

                     21        alleges that the Complaint does not describe the claims or facts being alleged with sufficient

                     22        particularity to permit Defendant to ascertain what other defenses may exist. Defendant will rely on

                     23        any and all further defenses that become available or appear during discovery in this action and

                     24        specifically reserve the right to amend this Answer for purposes of asserting such additional

                     25        defenses.

                     26                                              PRAYER FOR RELIEF

                     27                       WHEREFORE, Defendant prays that:

                     28               1.      Plaintiff’s Complaint be dismissed in its entirety with prejudice;
LITTLE R MEND ELSO N, P .C .
                                                                              12.
       501 W. Broadway
           Suite 900
   San Diego, CA 92101. 3577                            DEFENDANT GREYHOUND LINES, INC.’S ANSWER
         619.232.0441
                                                               TO PLAINTIFF’S COMPLAINT                                    94
                      Case 2:21-cv-02038-SB-PVC Document 1 Filed 03/05/21 Page 95 of 231 Page ID #:95



                        1                2.    Plaintiff takes nothing by his action against Defendant;

                        2                3.    Defendant be awarded its attorneys’ fees and costs; and

                        3                4.    Defendant be awarded such other and further relief as this Court deems just and

                        4      proper.

                        5

                        6      Dated:         July 17, 2020
                        7

                        8
                                                                                  DAVID J. DOW
                        9                                                         JOHN A. (DREW) SCHAFFER
                                                                                  LITTLER MENDELSON, P.C.
                     10                                                           Attorneys for Defendant
                                                                                  GREYHOUND LINES, INC.
                     11

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LITTLE R MEND ELSO N, P .C .
                                                                                13.
       501 W. Broadway
           Suite 900
   San Diego, CA 92101. 3577                            DEFENDANT GREYHOUND LINES, INC.’S ANSWER
         619.232.0441
                                                               TO PLAINTIFF’S COMPLAINT                              95
                      Case 2:21-cv-02038-SB-PVC Document 1 Filed 03/05/21 Page 96 of 231 Page ID #:96



                        1                                                  PROOF OF SERVICE
                                                              Fernando Ochoa Astudillo v. Greyhound Lines, Inc.
                        2                                     Los Angeles Superior Court Case No 20STCV17492
                        3                     I am employed in the County of Orange, State of California. I am over the age of 18,
                               and not a party to the within action. My business address is 18565 Jamboree Rd., Suite 800, Irvine,
                        4      California 92612.
                        5                         On July 17, 2020, I served the within documents described as:

                        6                         DEFENDANT GREYHOUND LINES, INC.’S ANSWER TO PLAINTIFF’S
                                                  COMPLAINT
                        7      on the interested parties by placing a true and correct original/copy thereof in a sealed envelope(s)
                        8      addressed as follows:
                               LAW OFFICES OF                                     ATTORNEYS FOR PLAINITIFF
                        9      RAMIN R. YOUNESSI
                               A Professional Law Corporation                     Telephone     (323) 777-7777
                     10        3435 Wilshire Boulevard. Suite 2200                Facsimile:     (213) 480-6201
                               Los Angeles, California 90010
                     11                                                           Email:        Ryounessi@lyounessilaw.com

                     12        as follows:
                     13
                                                 BY ELECTRONIC SERVICE. Based on a court order (California Rules of
                     14                           Court, Rule 12) or an agreement of the parties to accept electronic service, I
                                                  caused the documents to be sent to the persons at the electronic service
                     15                           addresses listed above.
                     16

                     17                       I declare under penalty of perjury under the laws of the State of California that the
                               above is true and correct.
                     18
                                                  Executed on July 17, 2020, at Irvine, California.
                     19

                     20

                     21

                     22                                                              Valerie Moreno

                     23

                     24        4833-5385-8754.2 070992.1089

                     25

                     26

                     27

                     28
LITTLE R MEND ELSO N, P .C .
                                                                                   14.
       501 W. Broadway
           Suite 900
   San Diego, CA 92101. 3577                                  DEFENDANT GREYHOUND LINES, INC.’S ANSWER
         619.232.0441
                                                                     TO PLAINTIFF’S COMPLAINT                                96
-PVC Document   1 Filed 03/05/21 Page
         Superior Court of California
                 County of Los Angeles
                            ,


   Receipt       EFM-2020-2187564.1

   Date:         7/20/20 1:44 PM
   Time:         7/20/20 1:44 PM
   CASE # 20STCV17492
   FERNANDO OCHOA ASTUDILLO vs

     Unlimited Civil- Ans.non-Plaintiff        435.00
     incl. UD-
     GC70612,70602.5,70602.6
     Court Transaction Fee                       2.25
                        Case Total:            437.25




                         Total Paid:           437.25

    20LA02349846




                                          97
Case 2:21-cv-02038-SB-PVC Document 1 Filed 03/05/21 Page 98 of 231 Page ID #:98




                        EXHIBIT E
                                                                           98
         Case 2:21-cv-02038-SB-PVC Document 1 Filed 03/05/21 Page 99 of 231 Page ID #:99

                                                                                                                                                POS-015
   ATTORNEY OR PARTY WITHOUT ATTORNEY (Name, State Bar number, and address):                                                FOR
                                                                                                                              ForCOURT   USEOnly
                                                                                                                                  Court Use  ONLY




                                                                                                                                   Draft 1
              TELEPHONE NO.:                                      FAX NO. (Optional):
                                                                                                                                  DRAFT !
   E-MAIL ADDRESS (Optional):
       ATTORNEY FOR (Name):

                                                                                                                                  01/29/04
  SUPERIOR COURT OF CALIFORNIA, COUNTY OF
            STREET ADDRESS:
            MAILING ADDRESS:
           CITY AND ZIP CODE:
                BRANCH NAME:



         PLAINTIFF/PETITIONER:

   DEFENDANT/RESPONDENT:
                                                                                                                   CASE NUMBER:
                      NOTICE AND ACKNOWLEDGMENT OF RECEIPT—CIVIL


TO (insert name of party being served):


                                                                               NOTICE
    The summons and other documents identified below are being served pursuant to section 415.30 of the California Code of Civil
    Procedure. Your failure to complete this form and return it within 20 days from the date of mailing shown below may subject you
    (or the party on whose behalf you are being served) to liability for the payment of any expenses incurred in serving a summons
    on you in any other manner permitted by law.
    If you are being served on behalf of a corporation, an unincorporated association (including a partnership), or other entity, this
    form must be signed by you in the name of such entity or by a person authorized to receive service of process on behalf of such
    entity. In all other cases, this form must be signed by you personally or by a person authorized by you to acknowledge receipt of
    summons. If you return this form to the sender, service of a summons is deemed complete on the day you sign the
    acknowledgment of receipt below.

     Date of mailing:                  7

                                   (TYPE OR PRINT NAME)                                       (SIGNATURE OF SENDER—MUST NOT BE A PARTY IN THIS CASE)


                                                          ACKNOWLEDGMENT OF RECEIPT
    This acknowledges receipt of (to be completed by sender before mailing):
    1.        A copy of the summons and of the complaint.
    2.              Other (specify):




    (To be completed by recipient):

    Date this form is signed: 9/25/20
                          John (Drew) Schaffer
                          Counsel for Greyhound Lines
                 (TYPE OR PRINT YOUR NAME AND NAME OF ENTITY, IF ANY,                      (SIGNATURE OF PERSON ACKNOWLEDGING RECEIPT, WITH TITLE IF
                        ON WHOSE BEHALF THIS FORM IS SIGNED)                            ACKNOWLEDGMENT IS MADE ON BEHALF OF ANOTHER PERSON OR ENTITY)




                                                                                                                                                     Page 1 of 1
Form Adopted for Mandatory Use                                                                                                           Code of Civil Procedure,
  Judicial Council of California           NOTICE AND ACKNOWLEDGMENT OF RECEIPT — CIVIL                                                       §§ 415.30, 417.10
POS-015 [Rev. January 1, 2005]                                                                                                             www.courtinfo.ca.gov
                                                                                                                                                    99
Case 2:21-cv-02038-SB-PVC Document 1 Filed 03/05/21 Page 100 of 231 Page ID #:100




                         EXHIBIT F
                                                                            100
      Case 2:21-cv-02038-SB-PVC Document 1 Filed 03/05/21 Page 101 of 231 Page ID #:101
                                                                                                                                                            CIV-110
ATTORNEY OR PARTY WITHOUT ATTORNEY:                            STATE BAR NO:                                                  FOR COURT USE ONLY
NAME:  Ramin R. Younessi, Esq. (SBN 175020); Samantha L. Ortiz, Esq. (SBN 312503)
FIRM NAME: Law Offices of Ramin R. Younessi, A.P.L.C.
STREET ADDRESS: 3435 Wilshire Boulevard, Suite 2200
CITY: Los Angeles                                   STATE: CA       ZIP CODE: 90010
TELEPHONE NO.: (213) 480-6200                      FAX NO. : (213) 480-6201

E-MAIL ADDRESS: sortiz@younessilaw.com

ATTORNEY FOR (Name): Plaintiff, Fernando Ochoa Astudillo

SUPERIOR COURT OF CALIFORNIA, COUNTY OF Los Angeles
 STREET ADDRESS: 111 North Hill Street
 MAILING ADDRESS:
CITY AND ZIP CODE:   Los Angeles 90012
     BRANCH NAME:    Central District
     Plaintiff/Petitioner: Fernando Ochoa Astudillo
Defendant/Respondent: Greyhound Lines, Inc., et al.
                                                                                                              CASE NUMBER:
                                       REQUEST FOR DISMISSAL                                                 20STCV17492

 A conformed copy will not be returned by the clerk unless a method of return is provided with the document.
 This form may not be used for dismissal of a derivative action or a class action or of any party or cause of action in a class
 action. (Cal. Rules of Court, rules 3.760 and 3.770.)
1. TO THE CLERK: Please dismiss this action as follows:
   a. (1)     With prejudice    (2)        Without prejudice
   b. (1)     Complaint         (2)        Petition
          (3)           Cross-complaint filed by (name):                                                         on (date):
          (4)           Cross-complaint filed by (name):                                                         on (date):
          (5)           Entire action of all parties and all causes of action
       (6)          Other (specify):* only as to cause of actions 1, 3-13 as to Defendant Claudio Arriola only.
2. (Complete in all cases except family law cases.)
   The court          did        did not waive court fees and costs for a party in this case. (This information may be obtained from the
   clerk. If court fees and costs were waived, the declaration on the back of this form must be completed).
Date: November 11, 2020
Samantha L. Ortiz
(TYPE OR PRINT NAME OF              ATTORNEY             PARTY WITHOUT ATTORNEY)                                     (SIGNATURE)
*If dismissal requested is of specified parties only of specified causes of action only,   Attorney or party without attorney for:
or of specified cross-complaints only, so state and identify the parties, causes of
                                                                                                 Plaintiff/Petitioner         Defendant/Respondent
action, or cross-complaints to be dismissed.
                                                                                                 Cross Complainant
3. TO THE CLERK: Consent to the above dismissal is hereby given.**
Date:

(TYPE OR PRINT NAME OF             ATTORNEY               PARTY WITHOUT ATTORNEY)                                    (SIGNATURE)

** If a cross-complaint – or Response (Family Law) seeking affirmative                     Attorney or party without attorney for:
relief – is on file, the attorney for cross-complainant (respondent) must sign
this consent if required by Code of Civil Procedure section 581 (i) or (j).
                                                                                                 Plaintiff/Petitioner         Defendant/Respondent
                                                                                                 Cross Complainant

(To be completed by clerk)
4.       Dismissal entered as requested on (date):
5            Dismissal entered on (date):                             as to only (name):
6.           Dismissal not entered as requested for the following reasons (specify):


7. a.            Attorney or party without attorney notified on (date):
   b.            Attorney or party without attorney not notified. Filing party failed to provide
                       a copy to be conformed               means to return conformed copy
Date:                                               Clerk, by                                                                           , Deputy              Page 1 of 2

Form Adopted for Mandatory Use                                                                                          Code of Civil Procedure, § 581 et seq.; Gov. Code,
Judicial Council of California                                       REQUEST FOR DISMISSAL                                    § 68637(c); Cal. Rules of Court, rule 3.1390
CIV-110 [Rev. Jan. 1, 2013]                                                                                                                            www.courts.ca.gov
                                                                                                                                                        101
      Case 2:21-cv-02038-SB-PVC Document 1 Filed 03/05/21 Page 102 of 231 Page ID #:102
                                                                                                                                     CIV-110
                                                                                                 CASE NUMBER:
     Plaintiff/Petitioner: Fernando Ochoa Astudillo
Defendant/Respondent: Greyhound Lines, Inc., et al.                                              RIC1905551




                                     COURT'S RECOVERY OF WAIVED COURT FEES AND COSTS
                    If a party whose court fees and costs were initially waived has recovered or will recover $10,000 or more in
                    value by way of settlement, compromise, arbitration award, mediation settlement, or other means, the
                    court has a statutory lien on that recovery. The court may refuse to dismiss the case until the lien is
                    satisfied. (Gov. Code, § 68637.)


                                             Declaration Concerning Waived Court Fees
1. The court waived court fees and costs in this action for (name): Not Applicable. No fees waived.

2. The person named in item 1 is (check one below):
     a.            not recovering anything of value by this action.
     b.            recovering less than $10,000 in value by this action.
     c.            recovering $10,000 or more in value by this action. (If item 2c is checked, item 3 must be completed.)
3.           All court fees and court costs that were waived in this action have been paid to the court (check one):         Yes            No

I declare under penalty of perjury under the laws of the State of California that the information above is true and correct.

Date:


(TYPE OR PRINT NAME OF           ATTORNEY        PARTY MAKING DECLARATION)                              (SIGNATURE)




CIV-110 [Rev. January 1, 2013]                            REQUEST FOR DISMISSAL                                                          Page 2 of 2

                                                                                                                                   102
Case 2:21-cv-02038-SB-PVC Document 1 Filed 03/05/21 Page 103 of 231 Page ID #:103




 1                                               PROOF OF SERVICE
 2           STATE OF CALIFORNIA, COUNTY OF LOS ANGELES
             I am employed in the County of Los Angeles, State of California. I am over the age of 18 and
 3   not a party to the within action. My business address is 3435 Wilshire Boulevard, Suite 2200, Los
     Angeles, California 90010.
 4
              On November 11, 2020, I served the foregoing document described as REQUEST FOR
 5   DISMISSAL on the interested parties in this action as follows:
 6                     By emailing true copies addressed to each addressee as follows:
 7
 8      Drew Schaffer, Esq.                                       Attorney for Defendant
        David J. Dow, Esq.                                        GREYHOUND LINES, INC.
 9      LITTLER MENDELON PC.
        DSchaffer@littler.com
10
        DDow@littler.com
11
12
                     ONLY BY ELECTRONIC TRANSMISSION. Only by e-mailing the document(s) to the
13   persons at the e-mail address(es) listed based on notice provided on March 18, 2020 that, during the
     Coronavirus (COVID-19) pandemic, this office will be working remotely, not able to send physical mail
14   as usual, and is therefore using only electronic mail. No electronic message or other indication that the
     transmission was unsuccessful was received within a reasonable time after the transmission.
15
16
            Executed on November 11, 2020, at Los Angeles, California.
17
                       STATE           I declare under penalty of perjury under the laws of the State of California
18                     that the foregoing is true and correct.

19                     FEDERAL       I declare that I am employed in the office of a member of the bar of this
                       Court at whose direction the service was made.
20
21   Christian Ortiz
22
23
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                                                            -1-
                                                                                                      103
                                                   PROOF OF SERVICE
Case 2:21-cv-02038-SB-PVC Document 1 Filed 03/05/21 Page 104 of 231 Page ID #:104




                         EXHIBIT G
                                                                            104
      Case 2:21-cv-02038-SB-PVC Document 1 Filed 03/05/21 Page 105 of 231 Page ID #:105
                                                                                                                                                            CIV-110
ATTORNEY OR PARTY WITHOUT ATTORNEY:                            STATE BAR NO:                                                  FOR COURT USE ONLY
NAME:  Ramin R. Younessi, Esq. (SBN 175020); Samantha L. Ortiz, Esq. (SBN 312503)
FIRM NAME: Law Offices of Ramin R. Younessi, A.P.L.C.
STREET ADDRESS: 3435 Wilshire Boulevard, Suite 2200
CITY: Los Angeles                                   STATE: CA       ZIP CODE: 90010
TELEPHONE NO.: (213) 480-6200                      FAX NO. : (213) 480-6201

E-MAIL ADDRESS: sortiz@younessilaw.com

ATTORNEY FOR (Name): Plaintiff, Fernando Ochoa Astudillo

SUPERIOR COURT OF CALIFORNIA, COUNTY OF Los Angeles
 STREET ADDRESS: 111 North Hill Street
 MAILING ADDRESS:
CITY AND ZIP CODE:   Los Angeles 90012
     BRANCH NAME:    Central District
     Plaintiff/Petitioner: Fernando Ochoa Astudillo
Defendant/Respondent: Greyhound Lines, Inc., et al.
                                                                                                              CASE NUMBER:
                                       REQUEST FOR DISMISSAL                                                 20STCV17492

 A conformed copy will not be returned by the clerk unless a method of return is provided with the document.
 This form may not be used for dismissal of a derivative action or a class action or of any party or cause of action in a class
 action. (Cal. Rules of Court, rules 3.760 and 3.770.)
1. TO THE CLERK: Please dismiss this action as follows:
   a. (1)     With prejudice    (2)        Without prejudice
   b. (1)     Complaint         (2)        Petition
          (3)           Cross-complaint filed by (name):                                                         on (date):
          (4)           Cross-complaint filed by (name):                                                         on (date):
          (5)           Entire action of all parties and all causes of action
       (6)          Other (specify):* only as to cause of action 2, as to Defendant Claudio Arriola only.
2. (Complete in all cases except family law cases.)
   The court          did        did not waive court fees and costs for a party in this case. (This information may be obtained from the
   clerk. If court fees and costs were waived, the declaration on the back of this form must be completed).
Date: December 11, 2020
Samantha L. Ortiz
(TYPE OR PRINT NAME OF              ATTORNEY             PARTY WITHOUT ATTORNEY)                                     (SIGNATURE)
*If dismissal requested is of specified parties only of specified causes of action only,   Attorney or party without attorney for:
or of specified cross-complaints only, so state and identify the parties, causes of
                                                                                                 Plaintiff/Petitioner         Defendant/Respondent
action, or cross-complaints to be dismissed.
                                                                                                 Cross Complainant
3. TO THE CLERK: Consent to the above dismissal is hereby given.**
Date:

(TYPE OR PRINT NAME OF             ATTORNEY               PARTY WITHOUT ATTORNEY)                                    (SIGNATURE)

** If a cross-complaint – or Response (Family Law) seeking affirmative                     Attorney or party without attorney for:
relief – is on file, the attorney for cross-complainant (respondent) must sign
this consent if required by Code of Civil Procedure section 581 (i) or (j).
                                                                                                 Plaintiff/Petitioner         Defendant/Respondent
                                                                                                 Cross Complainant

(To be completed by clerk)
4.       Dismissal entered as requested on (date):
5            Dismissal entered on (date):                             as to only (name):
6.           Dismissal not entered as requested for the following reasons (specify):


7. a.            Attorney or party without attorney notified on (date):
   b.            Attorney or party without attorney not notified. Filing party failed to provide
                       a copy to be conformed               means to return conformed copy
Date:                                               Clerk, by                                                                           , Deputy              Page 1 of 2

Form Adopted for Mandatory Use                                                                                          Code of Civil Procedure, § 581 et seq.; Gov. Code,
Judicial Council of California                                       REQUEST FOR DISMISSAL                                    § 68637(c); Cal. Rules of Court, rule 3.1390
CIV-110 [Rev. Jan. 1, 2013]                                                                                                                            www.courts.ca.gov
                                                                                                                                                        105
      Case 2:21-cv-02038-SB-PVC Document 1 Filed 03/05/21 Page 106 of 231 Page ID #:106
                                                                                                                                     CIV-110
                                                                                                 CASE NUMBER:
     Plaintiff/Petitioner: Fernando Ochoa Astudillo
Defendant/Respondent: Greyhound Lines, Inc., et al.                                              20STCV17492




                                     COURT'S RECOVERY OF WAIVED COURT FEES AND COSTS
                    If a party whose court fees and costs were initially waived has recovered or will recover $10,000 or more in
                    value by way of settlement, compromise, arbitration award, mediation settlement, or other means, the
                    court has a statutory lien on that recovery. The court may refuse to dismiss the case until the lien is
                    satisfied. (Gov. Code, § 68637.)


                                             Declaration Concerning Waived Court Fees
1. The court waived court fees and costs in this action for (name): Not Applicable. No fees waived.

2. The person named in item 1 is (check one below):
     a.            not recovering anything of value by this action.
     b.            recovering less than $10,000 in value by this action.
     c.            recovering $10,000 or more in value by this action. (If item 2c is checked, item 3 must be completed.)
3.           All court fees and court costs that were waived in this action have been paid to the court (check one):         Yes            No

I declare under penalty of perjury under the laws of the State of California that the information above is true and correct.

Date:


(TYPE OR PRINT NAME OF           ATTORNEY        PARTY MAKING DECLARATION)                              (SIGNATURE)




CIV-110 [Rev. January 1, 2013]                            REQUEST FOR DISMISSAL                                                          Page 2 of 2

                                                                                                                                   106
Case 2:21-cv-02038-SB-PVC Document 1 Filed 03/05/21 Page 107 of 231 Page ID #:107




 1                                               PROOF OF SERVICE
 2           STATE OF CALIFORNIA, COUNTY OF LOS ANGELES
             I am employed in the County of Los Angeles, State of California. I am over the age of 18 and
 3   not a party to the within action. My business address is 3435 Wilshire Boulevard, Suite 2200, Los
     Angeles, California 90010.
 4
              On December 11, 2020, I served the foregoing document described as REQUEST FOR
 5   DISMISSAL on the interested parties in this action as follows:
 6                     By emailing true copies addressed to each addressee as follows:
 7
 8      Drew Schaffer, Esq.                                       Attorney for Defendant
        David J. Dow, Esq.                                        GREYHOUND LINES, INC.
 9      LITTLER MENDELON PC.
        DSchaffer@littler.com
10
        DDow@littler.com
11
12
                     ONLY BY ELECTRONIC TRANSMISSION. Only by e-mailing the document(s) to the
13   persons at the e-mail address(es) listed based on notice provided on March 18, 2020 that, during the
     Coronavirus (COVID-19) pandemic, this office will be working remotely, not able to send physical mail
14   as usual, and is therefore using only electronic mail. No electronic message or other indication that the
     transmission was unsuccessful was received within a reasonable time after the transmission.
15
16
            Executed on December 11, 2020, at Los Angeles, California.
17
                       STATE           I declare under penalty of perjury under the laws of the State of California
18                     that the foregoing is true and correct.

19                     FEDERAL       I declare that I am employed in the office of a member of the bar of this
                       Court at whose direction the service was made.
20
21   Christian Ortiz
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                                                                                                      107
                                                   PROOF OF SERVICE
Case 2:21-cv-02038-SB-PVC Document 1 Filed 03/05/21 Page 108 of 231 Page ID #:108




                         EXHIBIT H
                                                                            108
                 CaseCase
                      2:21-cv-02038-SB-PVC
                          2:21-cv-00177-PA-PD
                                            Document
                                              Document
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                                                                        Page
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                                                                             1091 of
                                                                                  of 231
                                                                                     8 Page
                                                                                         Page
                                                                                            IDID
                                                                                               #:1#:109



                      1      DAVID J. DOW, Bar No. 179407
                             ddow@littler.com
                      2      LITTLER MENDELSON, P.C.
                             501 W. Broadway
                      3      Suite 900
                             San Diego, CA 92101.3577
                      4      Telephone: 619.232.0441
                             Fax No.: 619.232.4302
                      5
                             Attorneys for Defendants
                      6      GREYHOUND LINES, INC.
                      7

                      8                           UNITED STATES DISTRICT COURT
                      9                         CENTRAL DISTRICT OF CALIFORNIA
                   10        FERNANDO OCHOA                     Case No. 2:21-cv-177
                             ASTUDILLO, an individual,
                   11                                           NOTICE TO FEDERAL COURT OF
                                          Plaintiff,            REMOVAL OF CIVIL ACTION
                   12                                           FROM STATE COURT PURSUANT
                                  v.                            TO 28 U.S.C. SECTIONS 1332, 1441,
                   13                                           AND 1446
                             GREYHOUND LINES,INC., a
                   14        Delaware corporation; CLAUDIO      [Filed concurrently with the, Notice of
                             ARRIOLA, an individual; and        Interested Parties and Civil Case Cover
                   15        DOES 1 through 20, inclusive,      Sheet]
                   16                     Defendants.           Complaint Filed:   May 7, 2020
                                                                Trial Date:    N/A
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LITTLER MENDELSON, P.C.
      501 W. Broadway
          Suite 900
                                                                1.
  San Diego, CA 92101.3577
        619.232.0441
                                                         NOTICE OF REMOVAL                         109
                 CaseCase
                      2:21-cv-02038-SB-PVC
                          2:21-cv-00177-PA-PD
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                                                                        Page
                                                                          Page
                                                                             1102 of
                                                                                  of 231
                                                                                     8 Page
                                                                                         Page
                                                                                            IDID
                                                                                               #:2#:110



                      1      TO THE CLERK OF THE ABOVE-ENTITLED COURT AND PLAINITFF
                      2      FERNANDO OCHOA ASTUDILLO AND HIS ATTTORNEYS OF RECORD:
                      3              PLEASE TAKE NOTICE that Defendant Greyhound Lines, Inc. (“Defendant”)
                      4      hereby removes the above-entitled action, Case No. 20STCV17492, from the Superior
                      5      Court of the State of California, County of Los Angeles, to the United States District
                      6      Court for the Central District of California, pursuant to 28 U.S.C. §§ 1332, 1441, and
                      7      1446.
                      8              This Notice is based upon the original jurisdiction of the federal district court
                      9      over the parties under 28 U.S.C. section 1332 (“Section 1332”) because the parties are
                   10        of diverse citizenship and the matter in controversy exceeds, exclusive of interest and
                   11        costs, the sum specified by 28 U.S.C. section 1332.
                   12                Defendant makes the following allegations in support of its Notice of Removal:
                   13                                 JURISDICTION [LOCAL RULE 8-1]
                   14                1.    This Court has original jurisdiction under 28 U.S.C. section 1332(a)(1),
                   15        and this case may be removed pursuant to the provisions of 28 U.S.C. section 1441(a),
                   16        because it is a civil action wherein the amount in controversy exceeds seventy-five
                   17        thousand dollars ($75,000.00), exclusive of interest and costs, and it is between
                   18        “citizens of different states.”
                   19                2.    As set forth below, this case meets all of Section 1332’s requirements for
                   20        removal and is timely and properly removed by the filing of this Notice.
                   21                3.    Venue is proper in this Court pursuant to 28 U.S.C. sections 84(c)(1)(2),
                   22        1391, and 1446.
                   23                               PLEADINGS, PROCESS, AND ORDERS
                   24                4.    This lawsuit arises out of Plaintiff FERNANDO OCHOA
                   25        ASTUDILLO’s (“Plaintiff”) employment with Defendant. On May 7, 2020, Plaintiff
                   26        filed a Complaint in the Superior Court of the State of California, County of Los
                   27        Angeles, styled FERNANDO OCHOA ASTUDILLO v. GREYHOUND LINES, INC., a
                   28        Delaware corporation; Claudio Arriola, an individual; and DOES 1 through 20,
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      501 W. Broadway
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                      1      inclusive, bearing Case No. 20STCV17492 (the “Complaint”). The Complaint asserts
                      2      the following thirteen (13) causes of action: (1) Discrimination in violation of Gov’t
                      3      Code §§12940, et seq.; (2) Harassment in violation of Gov’t Code §§12940, et seq.;
                      4      (3) Retaliation in violation of Gov’t Code §§12940, et seq.; (4) Failure to prevent
                      5      discrimination, harassment, and retaliation in violation of Gov’t Code §12940(k); (5)
                      6      Retaliation in violation of Gov’t Code §§12945.2, et seq.; (6) Failure to provide
                      7      reasonable accommodations in violation of Gov’t Code §§12940, et seq.; (7) Failure
                      8      to engage in a good faith interactive process in violation of Gov’t Code §§12940, et
                      9      seq.; (8) Declaratory judgment; (9) Wrongful termination in violation of public policy;
                   10        (10) Failure to provide meal and rest periods (Cal. Labor Code §§226.7, 512); (11)
                   11        Failure to provide itemized wage and hour statements (Cal. Labor Code §§226, et
                   12        seq.); (12) Waiting time penalties (Cal. Labor Code §§201-203); and (13) Unfair
                   13        competition (Bus. & Prof. Code §17200 et seq.). Attached hereto as Exhibit A is a
                   14        true and correct copy of the Complaint.
                   15              5.     Attached hereto as Exhibit B are true and correct copies of the Proof of
                   16        Service, Notice of Acknowledgment and Receipt – Civil, Notice of Case Assignment,
                   17        Summons issued by the Court, the Civil Case Cover Sheet, Notice of Case
                   18        Assignment, Notice of Case Management Conference, First Amended General Order,
                   19        Stipulation –Discovery Resolution, Stipulation – Early Organizational Meeting,
                   20        Informal Discovery Conference, Stipulation and Order – Motions in Limine,
                   21        Alternative Dispute Resolution (ADR) Information Package, Notice to Complainant’s
                   22        Attorney, Complaint of Employment Discrimination, and Statement of Damages,
                   23        which were mailed to Defendant on May 29, 2020, along with a copy of the
                   24        Complaint.
                   25              6.     On June 17, 2020, Defendant signed and returned the Notice of
                   26        Acknowledgment to Plaintiff. Attached hereto as Exhibit C is a true and correct copy
                   27        of the signed Notice of Acknowledgment.
                   28              7.     On July 17, 2020, Defendant filed its Answer to Plaintiff’s Complaint.
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                      1      Attached hereto as Exhibit D is a true and correct copy of Defendant’s Answer.
                      2            8.     On September 25, 2020, Defendant’s counsel completed a notice and
                      3      acknowledgement of receipt and accepted service for Individual Defendant Claudio
                      4      Arriola. Attached hereto as Exhibit E is a true and correct copy of the signed Notice
                      5      and Acknowledgement form.
                      6            9.     Between September 25, 2020 and November 11, 2020, Defendant’s
                      7      counsel and Plaintiff’s counsel engaged in a meaningful meet and confer process
                      8      regarding Individual Defendant Claudio Arriola and the viability of the causes of
                      9      action alleged against him in the Complaint. On November 11, 2020, Plaintiff’s
                   10        counsel filed a request for dismissal with the Court dismissing all causes of action
                   11        against Arriola with the exception of the second cause of action for Harassment.
                   12        Attached hereto as Exhibit F is a true and correct copy of the Request for Dismissal.
                   13              10.    Between November 11, 2020 and December 4, 2020, Defendant’s
                   14        counsel and Plaintiff’s counsel continued meeting and conferring regarding the sole
                   15        remaining cause of action pled against Arriola.
                   16              11.    On December 11, 2020, Plaintiff’s counsel filed a Request for Dismissal
                   17        as to the sole remaining cause of action against Individual Defendant Claudio Arriola.
                   18        Attached hereto as Exhibit G is a true and correct copy of Request for Dismissal.
                   19              12.    Pursuant to 28 U.S.C. section 1446(a), the documents attached hereto as
                   20        Exhibits A through G constitute all process, pleadings, and orders served upon
                   21        Defendant or filed in this action.
                   22                                   TIMELINESS OF REMOVAL
                   23              13.    Plaintiff caused the Request for Dismissal as to the sole remaining cause
                   24        of action against Individual Defendant Claudio Arriola to be served on Defendant
                   25        through its attorney on December 11, 2020. Because Arriola is a citizen of California,
                   26        the inclusion of Arriola as a Defendant had precluded removal of this case to federal
                   27        court based on diversity of citizenship jurisdiction. However, the case became
                   28        removable upon the dismissal of Arriola. Pursuant to 28 U.S.C. section 1446(b)(3),
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                      1      this Notice of Removal is therefore timely filed as it was “filed within thirty (30) days
                      2      after receipt by the defendant, through service or otherwise, of a copy of an amended
                      3      pleading, motion, order or other paper from which it may first be ascertained that the
                      4      case is one which is or has become removable.”
                      5               DIVERSITY JURISDICTION PURSUANT TO 28 U.S.C. ¶1332
                      6            14.    Section 1332(a) provides: “The district courts shall have original
                      7      jurisdiction of all civil actions where the matter in controversy exceeds the sum or
                      8      value of $75,000, exclusive of interest and costs, and is between…(1) citizens of
                      9      different States[.]” This action is a civil action over which this Court has original
                   10        jurisdiction based on diversity of citizenship pursuant to Section 1332(a), and may be
                   11        removed to this Court by Defendant pursuant to 28 U.S.C. section 1441(b) because it
                   12        is a civil action between citizens of different States and the amount in controversy
                   13        exceeds $75,000, exclusive of interest and costs, as set forth below.
                   14              15.    To establish citizenship for diversity purposes, a natural person must be a
                   15        citizen of the United States and domiciled in a particular state. Bank of N.Y. Mellon v.
                   16        Nersesian, 2013 WL 8284799, at *7 (C.D. Cal. 2013) (citing Kantor v. Wellesley
                   17        Galleries, Ltd., 704 F.2d 1088, 1090 (9th Cir. 1983)). Persons are domiciled in the
                   18        places they reside with the intent to remain or to which they intend to return.
                   19        Nersesian, 2013 WL 8284799, at *7 (citing Kanter v. Warner-Lambert Co., 265 F.3d
                   20        853, 857 (9th Cir. 2001)). Residence is prima facie evidence of one’s
                   21        domicile. Sadeh v. Safeco Ins. Co., 2012 WL 10759737, at *4 (C.D. Cal. 2012)
                   22        (citing State Farm Mut. Auto. Ins. Co. v. Dyer, 19 F.3d 514, 520 (10th Cir.
                   23        1994)). Plaintiff alleges that he is a resident of the County of Los Angeles, State of
                   24        California. (Complaint ¶ 2.) Thus, Plaintiff is a citizen of California.
                   25              16.    For diversity jurisdiction purposes, a corporation is deemed a citizen of
                   26        its state of incorporation and the state or foreign state where it has its principal place
                   27        of business. 28 U.S.C. § 1332(c)(1). A corporation’s principal place of business is
                   28        “the place where the corporation’s high level officers direct, control, and coordinate
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                      1      the corporation’s activities,” i.e., its “nerve center,” which is typically a corporation’s
                      2      headquarters. Hertz Corp. v. Friend, 559 U.S.77; 130 S. Ct. 1181, 1186; 175 L. Ed.
                      3      2d 1029, 1034 (2010).
                      4            17.    At the time this action was commenced in state court, Defendant was,
                      5      and still is, a corporation incorporated under the laws of the state of Delaware.
                      6      Defendant’s corporate headquarters are located in Dallas, Texas. Dallas, Texas is
                      7      where the majority of the Company’s corporate, principal, and executive officers are
                      8      employed, where the majority of the Company’s corporate-wide decisions are made,
                      9      including decisions concerning Defendant’s operations, policies, and procedures, and
                   10        where its administrative functions, including that of marketing, logistics, planning,
                   11        payroll, and accounting are conducted. Dallas, Texas is also where the majority of the
                   12        key decisions are made with respect to the direction of the Company. Thus,
                   13        Defendant’s principal place of business is Dallas, Texas, and Defendant is therefore a
                   14        citizen of Texas and Delaware for purposes of diversity.
                   15              18.    Plaintiff named Defendant Greyhound as a defendant in the Complaint,
                   16        and alleges that Defendant Greyhound was at all times Plaintiff’s employer during the
                   17        relevant time periods referenced in the Complaint. (Complaint, ¶¶ 5, 6, 18.)
                   18        Defendant Greyhound is now the only named defendant in the Complaint; Plaintiff
                   19        has dismissed Claudio Arriola, the only individually named defendant to this action.
                   20              19.    The Complaint names as defendants “DOES 1 through 20, inclusive.”
                   21        Pursuant to 28 U.S.C. section 1441(a), however, the citizenship of defendants sued
                   22        under fictitious names must be disregarded for the purpose of determining diversity
                   23        jurisdiction. See Newcombe v. Adolf Coors Co., 157 F.3d 686, 690-691 (9th Cir.
                   24        1998).
                   25              20.    As discussed in detail below, the amount in controversy in the Complaint
                   26        exceeds the sum of seventy-five thousand dollars ($75,000.00), exclusive of interest
                   27        and costs, as required by Section 1332(a).
                   28
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                      1               THE AMOUNT IN CONTROVERSY REQUIREMENT IS MET
                      2            21.       The removal statute requires a defendant seeking to remove a case to
                      3      federal court to file a notice “containing a short and plain statement of the grounds for
                      4      removal.” 28 U.S.C. § 1446(a). In Dart Cherokee Basin Operating Co. v. Owens,
                      5      135 S. Ct. 547, 554 (2014), the Supreme Court recognized that “as specified in
                      6      § 1446(a), a defendant’s notice of removal need include only a plausible allegation
                      7      that the amount in controversy exceeds the jurisdictional threshold.” Only if the
                      8      plaintiff contests or the court questions the allegations of the notice of removal is
                      9      supporting evidence required. Id. at 554. “[T]he defendant’s amount-in-controversy
                   10        allegation should be accepted” just as a plaintiff’s amount-in-controversy allegation is
                   11        accepted when a plaintiff invokes federal court diversity jurisdiction. Id. at 553.
                   12              22.       Plaintiff’s Statement of Damages (Exhibit B) alleges that Plaintiff is
                   13        seeking damages “in an amount according to proof but estimated to be no less than
                   14        $500,000.00, in a money judgment representing compensatory damages including lost
                   15        wages, earnings, commissions, retirement benefits, and other employee benefits, and
                   16        all other sums of money, together with interest on these amounts; for other special
                   17        damages; and for general damages for mental pain and anguish and emotional distress
                   18        and loss of earning capacity.” The Statement of Damages further alleges that Plaintiff
                   19        is seeking “$1,000,000 in punitive damages.” Thus, according to Plaintiff’s own
                   20        pleadings, the amount in controversy in this case is at least $1,500,000, which far
                   21        exceeds the jurisdictional minimum.
                   22              23.       For these reasons, this action is a civil action over which this Court has
                   23        original jurisdiction pursuant to Section 1332, and which may be removed by
                   24        Defendant to this Court pursuant to 28 U.S.C. section 1441 based on diversity
                   25        jurisdiction.
                   26                            NOTICE TO STATE COURT AND PLAINTIFF
                   27              24.       Concurrently with the filing of this Notice of Removal in the United
                   28        States District Court for the Central District of California, written notice of such filing
LITTLER MENDELSON, P.C.
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                      1      will be given by the undersigned to counsel for Plaintiff, Ramin R. Younessi, Sam
                      2      Setyan, and Samantha Ortiz of Law Offices of Ramin R. Younessi, APC. In addition,
                      3      a copy of this Notice of Removal will be filed with the Clerk of the Superior Court of
                      4      the State of California for the County of Los Angeles.
                      5
                             Dated:            January 8, 2021
                      6

                      7
                                                                         /s/ David J. Dow
                      8                                                  DAVID J. DOW
                                                                         LITTLER MENDELSON, P.C.
                      9                                                  Attorneys for Defendants
                                                                         GREYHOUND LINES, INC.
                   10

                   11        4834-0848-2260.3 070992.1089


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                      Exhibit “A”
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                                        Assigned for all purposes to: Stanley Mosk Courthouse, Judicial Officer: Daniel Murphy




                    1      Ramin R. Younessi, Esq. (SBN 175020)
                           LAW OFFICES OF RAMIN R. YOUNESSI
                    2      A PROFESSIONAL LAW CORPORATION
                           3435 Wilshire Boulevard, Suite 2200
                    3      Los Angeles, California 90010
                           Telephone: (213) 480-6200
                    4      Facsimile: (213) 480-6201

                    5      Attorney for Plaintiff,
                           FERNANDO OCHOA ASTUDILLO
                    6
                    7
                    8
                                                           SUPERIOR COURT OF THE STATE OF CALIFORNIA
                    9
                                                    FOR THE COUNTY OF LOS ANGELES, CENTRAL DISTRICT
                  10
                           FERNANDO OCHOA ASTUDILLO, an                                                   Case No.
                  11       individual,
                                                                                                          COMPLAINT FOR DAMAGES FOR:
                  12                                                   Plaintiff,
                                                                                                          1. DISCRIMINATION IN VIOLATION OF
                  13                  v.                                                                     GOV’T CODE §§12940 ET SEQ.;

                  14       GREYHOUND LINES, INC., a Delaware                                              2. HARASSMENT IN VIOLATION OF
                           corporation; CLAUDIO ARRIOLA, an                                                  GOV’T CODE §§12940 ET SEQ.;
                  15       individual; and DOES 1 through 20, inclusive,
                                                                                                          3. RETALIATION IN VIOLATION OF
                  16                                                   Defendants.                           GOV’T CODE §§12940 ET SEQ.;

                  17                                                                                      4. FAILURE TO PREVENT
                                                                                                             DISCRIMINATION, HARASSMENT, AND
                  18                                                                                         RETALIATION IN VIOLATION OF
                                                                                                             GOV’T CODE §12940(k);
                  19
                                                                                                          5. RETALIATION IN VIOLATION OF
                  20                                                                                         GOV’T CODE §§12945.2 ET. SEQ.;

                  21                                                                                      6. FAILURE TO PROVIDE REASONABLE
                                                                                                             ACCOMMODATIONS IN VIOLATION OF
                  22                                                                                         GOV’T CODE §§12940 ET SEQ.;

                  23                                                                                      7. FAILURE TO ENGAGE IN A GOOD
                                                                                                             FAITH INTERACTIVE PROCESS IN
                  24                                                                                         VIOLATION OF GOV’T CODE §§12940 ET
                                                                                                             SEQ.;
                  25
                                                                                                          8. FOR DECLARATORY JUDGMENT
                  26
                                                                                                          9. WRONGFUL TERMINATION IN
                  27                                                                                         VIOLATION OF PUBLIC POLICY;

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                                                         10. FAILURE TO PROVIDE MEAL AND
 1                                                           REST PERIODS (CAL. LABOR CODE
                                                             §§226.7, 512);
 2
                                                         11. FAILURE TO PROVIDE ITEMIZED
 3                                                           WAGE AND HOUR STATEMENTS (CAL.
                                                             LABOR CODE §§226, ET SEQ.);
 4
                                                         12. WAITING TIME PENALTIES (CAL.
 5                                                           LABOR CODE §§201-203); AND
 6                                                       13. UNFAIR COMPETITION (BUS. & PROF.
                                                             CODE §17200 ET SEQ.)
 7
                                                                      DEMAND OVER $25,000
 8
                                                          [DEMAND FOR JURY TRIAL]
 9
            COMES NOW PLAINTIFF, FERNANDO OCHOA ASTUDILLO, and for causes of action
10
     against the Defendants and each of them, alleges as follows:
11
12
                                                JURISDICTION
13
            1.      This Court is the proper court, and this action is properly filed in Los Angeles County,
14
     because Defendants’ obligations and liability arise therein, because Defendants maintain offices and
15
     transact business within Los Angeles County, and because the work that is the subject of this action was
16
     performed by Plaintiff in Los Angeles County.
17
18
                                                   THE PARTIES
19
            2.      Plaintiff, FERNANDO OCHOA ASTUDILLO, is and at all times relevant hereto was a
20
     resident of the County of Los Angeles, State of California.
21
            3.      Plaintiff is informed and believes, and based thereupon alleges, that at all times relevant
22
     hereto, Defendant GREYHOUND LINES, INC. (hereinafter referred to as “GREYHOUND”) was and is
23
     a California corporation doing business at 1716 E. 7th Street, Los Angeles, California, 90021, in the
24
     County of Los Angeles, State of California.
25
            4.      Plaintiff is informed and believes, and based thereupon alleges, that at all times relevant
26
     hereto, GREYHOUND owned and operated a private transportation company.
27
            5.      At all times relevant herein, GREYHOUND and DOES 1-20 were Plaintiff’s employers,
28
     joint employers and/or special employers within the meaning of the Labor Code and Industrial Welfare


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 1   Commission Order No. 9-2001 and are each any “employer or other person acting on behalf of an
 2   employer” as such term is used in Labor Code section 558, and liable to Plaintiff on that basis.
 3          6.      At all times relevant herein, GREYHOUND and DOES 1-20 were Plaintiff’s employers,
 4   joint employers and/or special employers within the meaning of Government Code §§12926, subdivision
 5   (d), 12940, subdivisions (a), (h), (1), (h)(3)(A), and (i), and 12950, and regularly employ five (5) or more
 6   persons and are therefore subject to the jurisdiction of this Court.
 7          7.      Plaintiff is informed and believes, and based thereupon alleges, that at all times relevant
 8   hereto, Defendant CLAUDIO ARRIOLA, was and is an individual resident of the County of Los Angeles,
 9   State of California, and are hereinafter individually referred to by last name and collectively referred to
10   as the “ARRIOLA.” ARRIOLA was GREYHOUND’s manager, corporate agent, supervisor, and/or
11   employee.
12          8.      The true names and capacities, whether individual, corporate, associate, or otherwise, of

13   the Defendants named herein as DOES 1-20, inclusive, are unknown to Plaintiff at this time and therefore

14   said Defendants are sued by such fictitious names. Plaintiff will seek leave to amend this complaint to

15   insert the true names and capacities of said Defendants when the same become known to Plaintiff.

16   Plaintiff is informed and believes, and based thereupon alleges, that each of the fictitiously named

17   Defendants is responsible for the wrongful acts alleged herein and is therefore liable to Plaintiff as alleged

18   hereinafter.

19          9.      Plaintiff is informed and believes, and based thereupon alleges, that at all times relevant

20   hereto, Defendants, and each of them, were the agents, employees, managing agents, supervisors,

21   coconspirators, parent corporation, joint employers, alter egos, successors, and/or joint ventures of the

22   other Defendants, and each of them, and in doing the things alleged herein, were acting at least in part

23   within the course and scope of said agency, employment, conspiracy, joint employer, alter ego status,

24   successor status and/or joint venture and with the permission and consent of each of the other Defendants.

25          10.     Plaintiff is informed and believes, and based thereupon alleges, that Defendants, and each

26   of them, including those defendants named as DOES 1-20 and ARRIOLA, acted in concert with one

27   another to commit the wrongful acts alleged herein, and aided, abetted, incited, compelled and/or coerced

28   one another in the wrongful acts alleged herein, and/or attempted to do so, including pursuant to



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 1   Government Code §12940(i). Plaintiff is further informed and believes, and based thereupon alleges,
 2   that Defendants, and each of them, including those defendants named as DOES 1-20 and ARRIOLA, and
 3   each of them, formed and executed a conspiracy or common plan pursuant to which they would commit
 4   the unlawful acts alleged herein, with all such acts alleged herein done as part of and pursuant to said
 5   conspiracy, intended to cause and actually causing Plaintiff harm.
 6           11.     Whenever and wherever reference is made in this complaint to any act or failure to act by
 7   a Defendant or co-Defendant, such allegations and references shall also be deemed to mean the acts
 8   and/or failures to act by each Defendant acting individually, jointly and severally.
 9           12.     Plaintiff has filed complaints of discrimination, harassment, retaliation, failure to prevent
10   discrimination or retaliation, and wrongful termination under Government Code §§12940, et seq., the
11   California Fair Employment and Housing Act (“FEHA”) with the California Department of Fair
12   Employment and Housing (“DFEH”) and has satisfied Plaintiff’s administrative prerequisites with

13   respect to these and all related filings.

14
15                    ALTER EGO, AGENCY, SUCCESSOR AND JOINT EMPLOYER

16           13.     Plaintiff is informed and believes, and based thereon alleges, that there exists such a unity

17   of interest and ownership between Greyhound and DOES 1-20 that the individuality and separateness of

18   defendants have ceased to exist.

19           14.     Plaintiff is informed and believes, and based thereon alleges, that despite the formation of

20   purported corporate existence, Greyhound and DOES 1-20 are, in reality, one and the same, including,

21   but not limited to because:

22                   a.       Greyhound is completely dominated and controlled by one another and DOES 1-

23   20, who personally committed the frauds and violated the laws as set forth in this complaint, and who

24   have hidden and currently hide behind Defendants to perpetrate frauds, circumvent statutes, or

25   accomplish some other wrongful or inequitable purpose.

26                   b.       Greyhound and DOES 1-20 derive actual and significant monetary benefits by and

27   through one another’s unlawful conduct, and by using one another as the funding source for their own

28   personal expenditures.



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 1                   c.      Greyhound and DOES 1-20, while really one and the same, were segregated to
 2   appear as though separate and distinct for purposes of perpetrating a fraud, circumventing a statute, or
 3   accomplishing some other wrongful or inequitable purpose.
 4                   d.      Greyhound does not comply with all requisite corporate formalities to maintain a
 5   legal and separate corporate existence.
 6                   e.      The business affairs of Greyhound and DOES 1-20 are, and at all times relevant
 7   were, so mixed and intermingled that the same cannot reasonably be segregated, and the same are in
 8   inextricable confusion. Greyhound is, and at all times relevant hereto was, used by DOES 1-20 as a mere
 9   shell and conduit for the conduct of certain of Defendant’s affairs, and is, and was, the alter ego of DOES
10   1-20. The recognition of the separate existence of Defendants would not promote justice, in that it would
11   permit Defendants to insulate themselves from liability to Plaintiff for violations of the Government Code
12   and other statutory violations. The corporate existence of Greyhound and DOES 1-20 should be

13   disregarded in equity and for the ends of justice because such disregard is necessary to avoid fraud and

14   injustice to Plaintiff herein.

15           15.     Accordingly, Greyhound constitutes the alter ego of DOES 1-20, and the fiction of their

16   separate corporate existence must be disregarded.

17           16.     As a result of the aforementioned facts, Plaintiff is informed and believes, and based

18   thereon alleges that Greyhound and DOES 1-20 are Plaintiff’s joint employers by virtue of a joint

19   enterprise, and that Plaintiff was an employee of Greyhound and DOES 1-20. Plaintiff performed

20   services for each and every one of Defendants, and to the mutual benefit of all Defendants, and all

21   Defendants shared control of Plaintiff as an employee, either directly or indirectly, and the manner in

22   which Defendants’ business was and is conducted.

23           17.     Alternatively, Plaintiff is informed and believes and, based thereupon alleges, that as and

24   between DOES 1-20, Greyhound, or any of them, (1) there is an express or implied agreement of

25   assumption pursuant to which Greyhound and/or DOES 1-20 agreed to be liable for the debts of the other

26   Defendants, (2) the transaction between Greyhound and/or DOES 1-20 and the other Defendants amounts

27   to a consolidation or merger of the two corporations, (3) Greyhound and/or DOES 1-20 are a mere

28   continuation of the other Defendants, or (4) the transfer of assets to Defendant and/or DOES 1-20 is for



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 1   the fraudulent purpose of escaping liability for Defendants’ debts. Accordingly, Greyhound and/or
 2   DOES 1-20 are the successors of one or more of the other Defendants and are liable on that basis.
 3
 4                                         FACTUAL ALLEGATIONS
 5           18.     On or about April 16, 2013, Greyhound hired Plaintiff to work as a driver. Plaintiff was
 6   a full-time, non-exempt employee, and performed all of Plaintiff’s job duties satisfactorily before he was
 7   wrongfully terminated on or about April 15, 2019.
 8           19.     At the time of Plaintiff’s termination, Plaintiff was 71 years old.
 9           20.     Between June 8, 2016 and December 31, 2016, Plaintiff’s hourly wage rate was $21.93.
10   During this time period, Plaintiff’s fixed schedule was five days per week for approximately 9.5 hours
11   per day.
12           21.     Between January 1, 2017 and April 15, 2019, Plaintiff’s hourly wage rate was $22.77.

13   During this time period, Plaintiff’s fixed schedule was five days per week for approximately 9.5 hours

14   per day.

15           22.     Throughout Plaintiff’s employment, Plaintiff was not permitted to, and not advised of

16   Plaintiff’s right to take statutory 10-minute rest breaks for every four hours worked or substantial portion

17   thereof, which was each and every day Plaintiff worked.

18           23.     In or around January 2019, Plaintiff developed pain in his knees due to the repetitive nature

19   of his duties. This pain impaired Mr. Plaintiff’s major life activity of working, thus constituting a

20   disability.

21           24.     Plaintiff reported his disability to his driving manager, ARRIOLA, and asked to be sent

22   for medical treatment. ARRIOLA rejected Plaintiff’s request and required Plaintiff to continue working

23   without accommodation.

24           25.     Plaintiff then informed another supervisor, Terrance Ford, of his disability and requested

25   to be sent for medical treatment. Terrance Ford directed Plaintiff back to ARRIOLA, who again rejected

26   Plaintiff’s request.

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 1          26.     ARRIOLA’s harassing conduct of refusing to send Plaintiff for medical treatment and
 2   requiring Plaintiff to work despite his continued pain and disability was severe and pervasive, creating a
 3   hostile work environment for Plaintiff.
 4          27.     Due to Defendants’ refusal to send Plaintiff for medical treatment, Plaintiff had no choice
 5   but to file a workers’ compensation claim.
 6          28.     In or around early-March 2019, Plaintiff finally obtained medical treatment and was
 7   informed that that he needed surgery to replace both his knees and was placed on disability leave. Plaintiff
 8   promptly informed Defendants of his medical status and requested disability leave.
 9          29.     Shortly thereafter, and while on medical leave, Defendants terminated Plaintiff on or about
10   April 15, 2019.
11          30.     Defendants discriminated and retaliated against Plaintiff by refusing to allow Plaintiff to
12   obtain medical treatment and for Plaintiff’s right to request medical leave as an accommodation of

13   Plaintiff’s disability and/or medical condition.

14          31.     Defendants also subjected the Plaintiff to harassment by refusing to allow Plaintiff to

15   obtain medical treatment upon multiple requests to multiple supervisors.

16          32.     At all relevant times, Defendants failed to properly engage in a good faith interactive

17   process in an effort to properly accommodate Plaintiff’s disability and/or medical condition such that

18   Plaintiff could continue working for Defendants.

19          33.     At all relevant times, Defendants failed to reasonably accommodate Plaintiff even though

20   Plaintiff was able to perform the essential job duties of Plaintiff’s position or another position with or

21   without accommodations.

22          34.     Plaintiff’s termination was substantially motivated by Plaintiff’s age, disability or

23   perceived disability, medical condition or perceived medical condition, request for accommodation,

24   and/or engagement in protected activities, without any discussion of disability accommodations or any

25   good faith attempt to engage in the interactive process with Plaintiff. Defendants’ discriminatory animus

26   is evidenced by the previously mentioned facts.

27          35.     Defendants’ conduct described herein was undertaken, authorized, and/or ratified

28   Defendants’ officers, directors and/or managing agents, including, but not limited to ARRIOLA and those



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 1   identified herein as DOES 1 through 20, who were authorized and empowered to make decisions that
 2   reflect and/or create policy for Defendants. The aforementioned conduct of said managing agents and
 3   individuals was therefore undertaken on behalf of Defendants who further had advanced knowledge of
 4   the actions and conduct of said individuals whose actions and conduct were ratified, authorized, and
 5   approved by managing agents whose precise identities are unknown to Plaintiff at this time and are
 6   therefore identified and designated herein as DOES 1 through 20, inclusive.
 7            36.    As a result of Defendants’ actions, Plaintiff has suffered and will continue to suffer general
 8   and special damages, including severe and profound pain and emotional distress, anxiety, depression,
 9   headaches, tension, and other physical ailments, as well as medical expenses, expenses for psychological
10   counseling and treatment, and past and future lost wages and benefits.
11            37.    As a result of the above, Plaintiff is entitled to past and future lost wages, bonuses,
12   commissions, benefits and loss or diminution of earning capacity.

13            38.    Plaintiff claims general damages for emotional and mental distress and aggravation in a

14   sum in excess of the jurisdictional minimum of this Court.

15            39.    Because the acts taken toward Plaintiff were carried out by officers, directors and/or

16   managing agents acting in a deliberate, cold, callous, cruel and intentional manner, in conscious disregard

17   of Plaintiff’s rights and in order to injure and damage Plaintiff, Plaintiff requests that punitive damages

18   be levied against Defendants and each of them, in sums in excess of the jurisdictional minimum of this

19   Court.

20
21                                         FIRST CAUSE OF ACTION

22             FOR DISCRIMINATION IN VIOLATION OF GOV’T CODE §§12940 ET SEQ.

23                                      AGAINST EMPLOYER DEFENDANTS

24            40.    Plaintiff re-alleges and incorporates by reference Paragraphs 1 through 35, inclusive, as

25   though set forth in full herein.

26            41.    At all times hereto, the FEHA was in full force and effect and was binding upon

27   Defendants and each of them.

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 1          42.      As such term is used under FEHA, “on the bases enumerated in this part” means or refers
 2   to discrimination on the bases of one or more of the protected characteristics under FEHA.
 3          43.      FEHA requires Defendants to refrain from discriminating against an employee on the
 4   basis of age, disability and/or medical condition, real or perceived, and to prevent discrimination on the
 5   basis of age, disability and/or medical condition, real or perceived, use of medical leave, and engagement
 6   in protected activities from occurring.
 7          44.      Plaintiff was a member of multiple protected classes as a result of Plaintiff’s age,
 8   disability, medical condition and/or the perception that Plaintiff was suffering from a disability and/or
 9   medical condition.
10          45.      At all times relevant hereto, Plaintiff was performing competently in the position Plaintiff
11   held with Defendants.
12          46.      Plaintiff suffered the adverse employment actions of unlawful discrimination, failure to

13   investigate, remedy, and/or prevent discrimination, failure to reinstate and/or return to work, and

14   termination, and was harmed thereby.

15          47.      Plaintiff is informed and believes that Plaintiff’s disability and/or medical condition, real

16   and perceived, and/or some combination of these protected characteristics under Government Code

17   §12926(j) were motivating reasons and/or factors in the decisions to subject Plaintiff to the

18   aforementioned adverse employment actions.

19          48.      Said conduct violates the FEHA, and such violations were a proximate cause in Plaintiff’s

20   damage as stated below.

21          49.      The damage allegations of Paragraphs 36 through 39, inclusive, are herein incorporated

22   by reference.

23          50.      The foregoing conduct of Defendants individually, or by and through their officers,

24   directors and/or managing agents, was intended by the Defendants to cause injury to the Plaintiff or was

25   despicable conduct carried on by the Defendants with a willful and conscious disregard of the rights of

26   Plaintiff or subjected Plaintiff to cruel and unjust hardship in conscious disregard of Plaintiff’s rights

27   such as to constitute malice, oppression, or fraud under Civil Code §3294, thereby entitling Plaintiff to

28   punitive damages in an amount appropriate to punish or make an example of Defendants.



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 1           51.     Pursuant to Government Code §12965(b), Plaintiff requests a reasonable award of
 2   attorneys’ fees and costs, including expert fees pursuant to the FEHA.
 3
 4                                      SECOND CAUSE OF ACTION
 5                 FOR HARASSMENT IN VIOLATION OF GOV’T CODE §§12940 ET SEQ.
 6                                      AGAINST ALL DEFENDANTS
 7           52.     Plaintiff re-alleges and incorporates by reference Paragraphs 1 through 35, inclusive, as
 8   though set forth in full herein.
 9           53.     At all times hereto, the FEHA was in full force and effect and was binding upon
10   Defendants and each of them.
11           54.     As such term is used under FEHA, “on the bases enumerated in this part” means or refers
12   to harassment on the bases of one or more of the protected characteristics under FEHA.

13           55.     These laws set forth in the preceding paragraph require Defendants to refrain from

14   harassing, or creating, or maintaining a hostile work environment against an employee based upon the

15   employee’s age, disability and/or medical condition, real or perceived, use of medical leave, and

16   engagement in protected activities, as set forth hereinabove.

17           56.     Defendants’ harassing conduct was severe or pervasive, was unwelcome by Plaintiff, and

18   a reasonable person in Plaintiff’s circumstances would have considered the work environment to be

19   hostile or abusive.

20           57.     Defendants violated the FEHA and the public policy of the State of California which is

21   embodied in the FEHA by creating a hostile work environment and harassing Plaintiff because of

22   Plaintiff’s age, disability and/or medical condition, real or perceived, use of medical leave, engagement

23   in protected activities, and/or some combination of these protected characteristics, as set forth

24   hereinabove.

25           58.     The above said acts were perpetrated upon Plaintiff by a supervisor, and/or Defendants

26   knew or should have known of the conduct but failed to take immediate and appropriate corrective action.

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 1           59.     The above said acts of Defendants constitute violations of the FEHA and violations of the
 2   public policy of the State of California. Such violations were a proximate cause in Plaintiff’s damage as
 3   stated below.
 4           60.     The damage allegations of Paragraphs 36 through 39, inclusive, are herein incorporated
 5   by reference.
 6           61.     The foregoing conduct of Defendants individually, or by and through their officers,
 7   directors and/or managing agents, was intended by the Defendants to cause injury to the Plaintiff or was
 8   despicable conduct carried on by the Defendants with a willful and conscious disregard of the rights of
 9   Plaintiff or subjected Plaintiff to cruel and unjust hardship in conscious disregard of Plaintiff’s rights
10   such as to constitute malice, oppression, or fraud under Civil Code §3294, thereby entitling Plaintiff to
11   punitive damages in an amount appropriate to punish or make an example of Defendants.
12           62.     Pursuant to Government Code §12965(b), Plaintiff requests a reasonable award of

13   attorneys’ fees and costs, including expert fees pursuant to the FEHA.

14
15                                        THIRD CAUSE OF ACTION

16                 FOR RETALIATION IN VIOLATION OF GOV’T CODE §§12940 ET SEQ.

17                                      AGAINST ALL DEFENDANTS

18           63.     Plaintiff re-alleges and incorporates by reference Paragraphs 1 through 35, inclusive, as

19   though set forth in full herein.

20           64.     At all times hereto, the FEHA was in full force and effect and was binding upon

21   Defendants and each of them.

22           65.     These laws set forth in the preceding paragraph require Defendants to refrain from

23   retaliating against an employee for engaging in protected activity.

24           66.     Plaintiff engaged in the protected activities of requesting accommodation, requesting

25   medical leave and/or exercising Plaintiff’s right to medical leave, and complaining about and protesting

26   Defendants’ discriminatory and harassing conduct towards Plaintiff based upon Plaintiff’s age, disability,

27   medical condition, real or perceived, and use of medical leave.

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 1          67.      Plaintiff suffered the adverse employment actions of unlawful harassment, discrimination,
 2   failure to accommodate, failure to investigate, remedy, and/or prevent discrimination, failure to reinstate
 3   and/or return to work, and termination, and was harmed thereby.
 4          68.      Plaintiff is informed and believes that Plaintiff’s conduct of requesting accommodation,
 5   requesting medical leave and/or exercising Plaintiff’s right to medical leave, complaining about and
 6   protesting about Defendants’ discriminatory and harassing conduct, and/or some combination of these
 7   factors, were motivating reasons and/or factors in the decisions to subject Plaintiff to the aforementioned
 8   adverse employment actions.
 9          69.      Defendants violated the FEHA by retaliating against Plaintiff and terminating Plaintiff for
10   attempting to exercise Plaintiff’s protected rights, as set forth hereinabove.
11          70.      Plaintiff is informed and believes, and based thereon alleges, that the above acts of
12   retaliation committed by Defendants were done with the knowledge, consent, and/or ratification of, or at

13   the direction of, each other Defendant and the other Managers.

14          71.      The above said acts of Defendants constitute violations of the FEHA and were a proximate

15   cause in Plaintiff’s damage as stated below.

16          72.      The damage allegations of Paragraphs 36 through 39, inclusive, are herein incorporated

17   by reference.

18          73.      The foregoing conduct of Defendants individually, or by and through their officers,

19   directors and/or managing agents, was intended by the Defendants to cause injury to the Plaintiff or was

20   despicable conduct carried on by the Defendants with a willful and conscious disregard of the rights of

21   Plaintiff or subjected Plaintiff to cruel and unjust hardship in conscious disregard of Plaintiff’s rights

22   such as to constitute malice, oppression, or fraud under Civil Code §3294, thereby entitling Plaintiff to

23   punitive damages in an amount appropriate to punish or make an example of Defendants.

24          74.      Pursuant to Government Code §12965(b), Plaintiff requests a reasonable award of

25   attorneys’ fees and costs, including expert fees pursuant to the FEHA.

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 1                                      FOURTH CAUSE OF ACTION
 2        FAILURE TO PREVENT DISCRIMINATION, HARASSMENT, AND RETALIATION
 3                                IN VIOLATION OF GOV’T CODE §12940(k)
 4                                      AGAINST ALL DEFENDANTS
 5           75.     Plaintiff re-alleges and incorporates by reference Paragraphs 1 through 35, inclusive, as
 6   though set forth in full herein.
 7           76.     At all times hereto, the FEHA, including in particular Government Code §12940(k), was
 8   in full force and effect and was binding upon Defendants. This subsection imposes a duty on Defendants
 9   to take all reasonable steps necessary to prevent discrimination, harassment, and retaliation from
10   occurring. As alleged above, Defendants violated this subsection and breached their duty by failing to
11   take all reasonable steps necessary to prevent discrimination, harassment and retaliation from occurring.
12           77.     The above said acts of Defendants constitute violations of the FEHA and were a proximate

13   cause in Plaintiff’s damage as stated below.

14           78.     The damage allegations of Paragraphs 36 through 39, inclusive, are herein incorporated

15   by reference.

16           79.     The foregoing conduct of Defendants individually, or by and through their officers,

17   directors and/or managing agents, was intended by the Defendants to cause injury to the Plaintiff or was

18   despicable conduct carried on by the Defendants with a willful and conscious disregard of the rights of

19   Plaintiff or subjected Plaintiff to cruel and unjust hardship in conscious disregard of Plaintiff’s rights

20   such as to constitute malice, oppression, or fraud under Civil Code §3294, thereby entitling Plaintiff to

21   punitive damages in an amount appropriate to punish or make an example of Defendants.

22           80.     Pursuant to Government Code §12965(b), Plaintiff requests a reasonable award of

23   attorneys’ fees and costs, including expert fees pursuant to the FEHA.

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 1                                        FIFTH CAUSE OF ACTION
 2             FOR RETALIATION IN VIOLATION OF GOV’T CODE §§12945.2 ET SEQ.
 3                                       AGAINST ALL DEFENDANTS
 4           81.     Plaintiff re-alleges and incorporates by reference Paragraphs 1 through 35, inclusive, as
 5   though set forth in full herein.
 6           82.     At all times hereto, the California Family Rights Act, codified by Government Code
 7   §§12945.2, et al. (“CFRA”) was in full force and effect and was binding upon Defendants and each of
 8   them. Under the CFRA, it shall be an unlawful employment practice for any covered employer to refuse
 9   to grant a request by any qualified employee to take up to a total of 12 workweeks in any 12-month period
10   for family care and medical leave for the employee’s own serious medical condition. Under the CFRA,
11   it is also an unlawful employment practice for a covered employer to refuse to hire, or to discharge, fine,
12   suspend, expel, or discriminate against, any individual because the individual has exercised or attempted

13   to exercise his or her right to take protected family care and medical leave under the CFRA. Under the

14   CFRA, it is also an unlawful employment practice for an employer to interfere with, restrain, or deny the

15   exercise of, or the attempt to exercise, any right provided under the CFRA.

16           83.     At all times hereto, Plaintiff was an employee eligible for CFRA leave. At all times

17   hereto, Plaintiff had been employed by Defendants for more than 12 months and had worked at least

18   1250 hours during the previous 12 months. Further, Defendants employed at least 50 employees within

19   75 miles of the worksite at which Plaintiff worked.

20           84.     Defendants violated the CFRA by failing and/or refusing to provide Plaintiff with the

21   family care and medical leave that Plaintiff requested.

22           85.     Defendants violated the CFRA by retaliating against Plaintiff for exercising or attempting

23   to exercise Plaintiff’s right to protected medical leave under the CFRA.

24           86.     Defendants violated the CFRA by interfering with or restraining Plaintiff from exercising

25   or attempting to exercise Plaintiff’s right to protected medical leave under the CFRA, by failing to give

26   Plaintiff notice of Plaintiff’s rights under the CFRA, including the right to take protected leave.

27           87.     Plaintiff suffered the adverse employment actions of unlawful harassment, discrimination

28   and termination.



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 1           88.      Plaintiff is informed and believes that exercising or attempting to exercise Plaintiff’s right
 2   to medical leave was a motivating reason and/or factor in the decisions to subject Plaintiff to the
 3   aforementioned adverse employment actions.
 4           89.     The above said acts of Defendants constitute violations of the CFRA and were a proximate
 5   cause in Plaintiff’s damage as stated below.
 6           90.     The damage allegations of Paragraphs 36 through 39, inclusive, are herein incorporated
 7   by reference.
 8           91.     The foregoing conduct of Defendants individually, or by and through their officers,
 9   directors and/or managing agents, was intended by the Defendants to cause injury to the Plaintiff or was
10   despicable conduct carried on by the Defendants with a willful and conscious disregard of the rights of
11   Plaintiff or subjected Plaintiff to cruel and unjust hardship in conscious disregard of Plaintiff’s rights
12   such as to constitute malice, oppression, or fraud under Civil Code §3294, thereby entitling Plaintiff to

13   punitive damages in an amount appropriate to punish or make an example of Defendants.

14           92.     Pursuant to Government Code §12965(b), Plaintiff requests a reasonable award of

15   attorneys’ fees and costs, including expert fees pursuant to the FEHA.

16
17                                          SIXTH CAUSE OF ACTION

18                   FOR FAILURE TO PROVIDE REASONABLE ACCOMMODATIONS

19                            IN VIOLATION OF GOV’T CODE§§12940 ET SEQ.

20                                        AGAINST ALL DEFENDANTS

21           93.     Plaintiff re-alleges and incorporates by reference Paragraphs 1 through 35, inclusive, as

22   though set forth in full herein.

23           94.     At all times hereto, the FEHA, including in particular Government Code §12940(m), was

24   in full force and effect and was binding upon Defendants. This subsection imposes an ongoing duty on

25   Defendants to make reasonable accommodation for the known physical disability and/or medical

26   condition of an employee.

27           95.     At all relevant times, Plaintiff was a member of a protected class within the meaning of,

28   in particular, Government Code §§12940(a) & 12986(1) et seq. because Plaintiff had a disability, a



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 1   physical condition that affected Plaintiff’s major life activities, and medical condition of which
 2   Defendants had both actual and constructive knowledge.
 3          96.      At all times herein, Plaintiff was willing and able to perform the duties and functions of
 4   the position in which Plaintiff was employed or could have performed the duties and functions of that
 5   position with reasonable accommodations. At no time would the performance of the functions of the
 6   employment position, with a reasonable accommodation for Plaintiff's disability or medical condition,
 7   actual or as it was perceived by Defendants, have been a danger to Plaintiff's or any other person's health
 8   or safety. Accommodation of Plaintiff's disability or disability or medical condition, real or perceived
 9   by Defendants, would not have imposed an undue hardship on Defendants. Defendants failed and refused
10   to accommodate Plaintiff’s disability, failed to engage in the interactive process with Plaintiff and
11   continue to violate this obligation, up to and including the date of Plaintiff’s termination or, if Defendant
12   contends Plaintiff was never terminated, through the present and ongoing.

13          97.      The above said acts of Defendants constitute violations of the FEHA and were a proximate

14   cause in Plaintiff’s damage as stated below.

15          98.      The damage allegations of Paragraphs 36 through 39, inclusive, are herein incorporated

16   by reference.

17          99.      The foregoing conduct of Defendants individually, and/or by and through their officers,

18   directors, and/or managing agents, was intended by the Defendants to cause injury to the Plaintiff or was

19   despicable conduct carried on by the Defendants with a willful and conscious disregard of the rights of

20   Plaintiff or subjected Plaintiff to cruel and unjust hardship in conscious disregard of Plaintiff’s rights

21   such as to constitute malice, oppression, or fraud under Civil Code §3294, thereby entitling Plaintiff to

22   punitive damages in an amount appropriate to punish or make an example of Defendants.

23          100.     Pursuant to Government Code §12965(b), Plaintiff requests a reasonable award of

24   attorneys’ fees and costs, including expert fees pursuant to the FEHA.

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 1                                      SEVENTH CAUSE OF ACTION
 2            FOR FAILURE TO ENGAGE IN A GOOD FAITH INTERACTIVE PROCESS
 3                           IN VIOLATION OF GOV’T CODE §§12940 ET SEQ.
 4                                      AGAINST ALL DEFENDANTS
 5           101.    Plaintiff re-alleges and incorporates by reference Paragraphs 1 through 35, inclusive, as
 6   though set forth in full herein.
 7           102.    At all times hereto, the FEHA, including in particular Government Code §12940(n), was
 8   in full force and effect and was binding upon Defendants. This subsection imposes an ongoing duty on
 9   Defendants to engage in a timely, good faith, interactive process with the employee to determine effective
10   reasonable accommodations, if any, in response to a request for reasonable accommodation by an
11   employee with a known physical disability or known medical condition and/or becoming aware of the
12   employee’s need for accommodation.

13           103.    At all relevant times, Plaintiff was a member of a protected class within the meaning of,

14   in particular, Government Code §§12940(a) & 12986(1) et seq. because Plaintiff had a physical disability

15   that affected Plaintiff’s major life activities, and medical condition of which Defendants had both actual

16   and constructive knowledge.

17           104.    Plaintiff reported the disability to Defendants and requested accommodation, triggering

18   Defendants’ obligation to engage in the interactive process with Plaintiff, but at all times herein,

19   Defendants failed and refused to do so. Thereafter, despite Defendants continuing obligation to engage

20   in the interactive process with Plaintiff, despite Plaintiff’s submission of a doctors’ notes identifying

21   Plaintiff’s condition, Defendants failed and refused to have any dialogue with Plaintiff whatsoever, on

22   any of these occasions, and Defendants violated, and continued to violate this obligation up to and

23   including the date of Plaintiff’s termination or, if Defendant contends Plaintiff was never terminated,

24   through the present and ongoing.

25           105.    The above said acts of Defendants constitute violations of the FEHA and were a proximate

26   cause in Plaintiff’s damage as stated below.

27           106.    The damage allegations of Paragraphs 36 through 39, inclusive, are herein incorporated

28   by reference.



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 1           107.    The foregoing conduct of Defendants individually, and/or by and through their officers,
 2   directors, and/or managing agents, was intended by the Defendants to cause injury to the Plaintiff or was
 3   despicable conduct carried on by the Defendants with a willful and conscious disregard of the rights of
 4   Plaintiff or subjected Plaintiff to cruel and unjust hardship in conscious disregard of Plaintiff’s rights
 5   such as to constitute malice, oppression, or fraud under Civil Code §3294, thereby entitling Plaintiff to
 6   punitive damages in an amount appropriate to punish or make an example of Defendants.
 7           108.    Pursuant to Government Code §12965(b), Plaintiff requests a reasonable award of
 8   attorneys’ fees and costs, including expert fees pursuant to the FEHA.
 9
10                                        EIGHTH CAUSE OF ACTION
11                                      FOR DECLARATORY JUDGMENT
12                                        AGAINST ALL DEFENDANTS

13           109.    Plaintiff re-alleges and incorporates by reference paragraphs 1 through 108, inclusive, as

14   though set forth in full herein.

15           110.    Government Code §12920 sets forth the public policy of the State of California as follows:

16                   It is hereby declared as the public policy of this state that it is necessary to
                     protect and safeguard the right and opportunity of all persons to seek,
17                   obtain, and hold employment without discrimination or abridgment on
                     account of race, religious creed, color, national origin, ancestry, physical
18                   disability, mental disability, medical condition, genetic information,
                     marital status, sex, gender, gender identity, gender expression, age, or
19                   sexual orientation.
20                   It is recognized that the practice of denying employment opportunity and
                     discriminating in the terms of employment for these reasons foments
21                   domestic strife and unrest, deprives the state of the fullest utilization of its
                     capacities for development and advancement, and substantially and
22                   adversely affects the interests of employees, employers, and the public in
                     general.
23
                     Further, the practice of discrimination because of race, color, religion, sex,
24                   gender, gender identity, gender expression, sexual orientation, marital
                     status, national origin, ancestry, familial status, source of income,
25                   disability, or genetic information in housing accommodations is declared
                     to be against public policy.
26
                     It is the purpose of this part to provide effective remedies that will
27                   eliminate these discriminatory practices.
28                   This part shall be deemed an exercise of the police power of the state for
                     the protection of the welfare, health, and peace of the people of this state.


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 1
 2           111.    Government Code §12920.5 embodies the intent of the California legislature and states:
 3                   In order to eliminate discrimination, it is necessary to provide effective
                     remedies that will both prevent and deter unlawful employment practices
 4                   and redress the adverse effects of those practices on aggrieved persons. To
                     that end, this part shall be deemed an exercise of the Legislature's
 5                   authority pursuant to Section 1 of Article XIV of the California
                     Constitution.
 6
 7           112.    Moreover, Government Code §12921, subdivision (a) says in pertinent part:
 8                   The opportunity to seek, obtain, and hold employment without
                     discrimination because of race, religious creed, color, national origin,
 9                   ancestry, physical disability, mental disability, medical condition, genetic
                     information, marital status, sex, gender, gender identity, gender
10                   expression, age, or sexual orientation is hereby recognized as and declared
                     to be a civil right.
11
12           113.    An actual controversy has arisen and now exists between Plaintiff and Defendants
13   concerning their respective rights and duties as it is believed that Defendants may allege that they did not
14   discriminate and retaliate against Plaintiff; that Plaintiff was not terminated as a result of Plaintiff’s age,
15   disability and/or perceived disability, medical condition or perceived medical condition, engagement in
16   protected activities, and/or some combination of these protected characteristics. Plaintiff contends that
17   Defendants did discriminate and retaliate against Plaintiff on the basis of Plaintiff’s age, disability and/or

18   perceived disability, medical condition or perceived medical condition, engagement in protected

19   activities, and/or some combination of these protected characteristics; and that Plaintiff was retaliated

20   against and, ultimately wrongfully terminated as a result of Plaintiff’s age, medical condition, disability

21   and/or perceived disability, medical condition or perceived medical condition, engagement in protected

22   activities, and/or some combination of these protected characteristics. Plaintiff is informed and believes,

23   and on that basis alleges, that Defendants shall dispute Plaintiff's contentions.

24           114.    Pursuant to Code of Civil Procedure §1060, Plaintiff desires a judicial determination of

25   Plaintiff’s rights and duties, and a declaration that Defendants harassed Plaintiff on the basis of Plaintiff’s

26   age, perceived disability, disability, medical condition, perceived medical condition, engagement in

27   protected activities, and/or some combination of these protected characteristics.

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 1           115.    Pursuant to Code of Civil Procedure §1060, Plaintiff seeks a judicial determination of
 2   Plaintiff’s rights and duties, and a declaration that Plaintiff’s age, perceived disability, medical condition,
 3   perceived medical condition, disability, engagement in protected activities, and/or some combination of
 4   these protected characteristics was a substantial motivating factor in the decision to subject Plaintiff to
 5   the aforementioned adverse employment actions.
 6           116.    A judicial declaration is necessary and appropriate at this time under the circumstances in
 7   order that Plaintiff, for Plaintiff and on behalf of employees in the State of California and in conformity
 8   with the public policy of the State, obtain a judicial declaration of the wrongdoing of Defendants and to
 9   condemn such discriminatory employment policies or practices prospectively. Harris v. City of Santa
10   Monica (2013) 56 Cal.4th 203.
11           117.    A judicial declaration is necessary and appropriate at this time such that Defendants may
12   also be aware of their obligations under the law to not engage in discriminatory practices and to not

13   violate the law in the future.

14           118.    Government Code §12965(b) provides that an aggrieved party, such as the Plaintiff herein,

15   may be awarded reasonable attorneys’ fees and costs: “In civil actions brought under this section, the

16   court, in its discretion, may award to the prevailing party, including the department, reasonable attorneys’

17   fees and costs, including expert witness fees.” Such fees and costs expended by an aggrieved party may

18   be awarded for the purpose of redressing, preventing, or deterring discrimination and harassment.

19
20                                         NINTH CAUSE OF ACTION

21                                      FOR WRONGFUL TERMINATION

22             IN VIOLATION THE PUBLIC POLICY OF THE STATE OF CALIFORNIA

23                                        AGAINST ALL DEFENDANTS

24           119.    Plaintiff re-alleges and incorporates by reference Paragraphs 1 through 35, inclusive, as

25   though set forth in full herein.

26           120.    At all relevant times mentioned in this complaint, the FEHA was in full force and effect

27   and was binding on Defendants. This law requires Defendants to refrain, among other things, from

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 1   discriminating against any employee on the basis of age, disability, medical condition, real or perceived,
 2   and use of medical leave, and from retaliating against any employee who engages in protected activity.
 3           121.    At all times mentioned in this complaint, it was a fundamental policy of the State of
 4   California that Defendants cannot discriminate and/or retaliate against any employee on the basis of age,
 5   disability, medical condition, real or perceived, use of medical leave and/or engagement in protected
 6   activity.
 7           122.    Plaintiff believes and thereon alleges that Plaintiff’s age, disability and/or medical
 8   condition, real or perceived, use of medical leave, engagement in protected activity with respect to these
 9   protected classes, and/or some combination thereof, were factors in Defendants’ conduct as alleged
10   hereinabove.
11           123.    Such discrimination and retaliation, resulting in the wrongful termination of Plaintiff’s
12   employment on the basis of age, disability, medical condition, real or perceived, or use of medical leave,

13   Plaintiff’s complaining of harassment and discrimination due to these protected classes, Plaintiff’s

14   engagement in protected activity, and/or some combination of these factors, were a proximate cause in

15   Plaintiff’s damages as stated below.

16           124.    The above said acts of Defendants constitute violations of the Government Code and the

17   public policy of the State of California embodied therein as set forth above. Defendants violated these

18   laws by discriminating and retaliating against Plaintiff and terminating Plaintiff’s employment in

19   retaliation for exercise of protected rights.

20           125.    At all times mentioned in this complaint, it was a fundamental policy of the State of

21   California that Defendants cannot discriminate and/or retaliate against any employee on the basis of use

22   of CFRA leave, or in violation of FEHA.

23           126.    Plaintiff is informed and believes, and based thereupon alleges, that Plaintiff’s use of

24   CFRA leave, and/or Plaintiff’s status as a protected member of the class under FEHA was a proximate

25   cause in Plaintiff’s damages as stated below.

26           127.    The damage allegations of Paragraphs 36 through 39, inclusive, are herein incorporated

27   by reference.

28



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 1           128.    The foregoing conduct of Defendants individually, or by and through their officers,
 2   directors and/or managing agents, was intended by the Defendants to cause injury to the Plaintiff or was
 3   despicable conduct carried on by the Defendants with a willful and conscious disregard of the rights of
 4   Plaintiff or subjected Plaintiff to cruel and unjust hardship in conscious disregard of Plaintiff’s rights
 5   such as to constitute malice, oppression, or fraud under Civil Code §3294, thereby entitling Plaintiff to
 6   punitive damages in an amount appropriate to punish or make an example of Defendants.
 7
 8                                        TENTH CAUSE OF ACTION
 9                        FOR FAILURE TO PROVIDE MEAL AND REST BREAKS
10                                         LABOR CODE §§226.7, 512
11                                       AGAINST ALL DEFENDANTS
12           129.    Plaintiff re-alleges and incorporates by reference each of the foregoing paragraphs as

13   though set forth in full herein.

14           130.    Labor Code §512 requires employers to provide every employee with an uninterrupted

15   meal period of not less than 30 consecutive minutes, for every period of work exceeding five hours.

16           131.    Labor Code §226.7 requires an employer to provide every employee with an uninterrupted

17   rest period of not less than 10 minutes, for every period worked of four hours, or substantial portion

18   thereof.

19           132.    In the four years last past, Plaintiff regularly worked in excess of five hours per day, and

20   was thereby entitled to take uninterrupted 30-minute meal periods and two 10-minute rest periods on each

21   day of work.

22           133.    Defendants failed and refused to provide Plaintiff with meal and rest periods, and failed

23   to compensate Plaintiff for missed meal and rest periods, as required by Labor Code §§226.7 and the

24   applicable sections of 8 Code of Regulations §11090 and Industrial Welfare Commission Order No. 9-

25   2001, as follows:

26                   a.      From approximately June 1, 2016 to December 31, 2016, Plaintiff’s statutory 30-

27   minute meal periods were interrupted and cut short approximately 5 times per week for 30 weeks, or on

28



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 1   approximately 150 days. During this same time period, Plaintiff’s statutory 10-minute rest periods were
 2   interrupted and cut short approximately 5 times per week for 30 weeks, or on approximately 150 days.
 3                  b.      From approximately January 1, 2017 to April 15, 2019, Plaintiff’s statutory 30-
 4   minute meal periods were interrupted and cut short approximately 5 times per week for 119 weeks, or on
 5   approximately 595 days. During this same time period, Plaintiff’s statutory 10-minute rest periods were
 6   interrupted and cut short approximately 5 times per week for 119 weeks, or on approximately 595 days.
 7          134.    As alleged herein, Plaintiff is not exempt from the meal and rest break requirements of 8
 8   Code of Regulations §11090 and Industrial Welfare Commission Order No. 9-2001. Consequently,
 9   Plaintiff is owed one hour of pay at Plaintiff’s then regular hourly rate, or the requisite minimum wage,
10   whichever is greater, for each day that Plaintiff was denied such meal periods, and is owed one hour of
11   pay at Plaintiff’s regular hourly rate, or the requisite minimum wage, whichever is greater, for each day
12   that Plaintiff was denied such rest periods, calculated as follows:

13                  a.      From approximately June 1, 2016 to December 31, 2016, Defendants failed to

14   provide Plaintiff with an uninterrupted statutory meal period on approximately 150 separate days.

15   Consequently, Plaintiff is owed one hour of pay at $21.93 for each day, or $3,289.50, plus interest

16   thereon, for unpaid interrupted meal periods. During this same time period, Defendants failed to provide

17   Plaintiff with the statutory rest period on approximately 150 separate days. Consequently, Plaintiff is

18   owed one hour of pay at $21.93 for each day, or $3,289.50, plus interest thereon, for unpaid rest periods.

19   Thus, Plaintiff is owed a total of $6,579.00, plus interest thereon, for unpaid meal and rest periods for

20   this time period.

21                  b.      From approximately January 1, 2017 to April 15, 2019, Defendants failed to

22   provide Plaintiff with an uninterrupted statutory meal period on approximately 595 separate days.

23   Consequently, Plaintiff is owed one hour of pay at $22.77 for each day, or $13,548.15, plus interest

24   thereon, for unpaid interrupted meal periods. During this same time period, Defendants failed to provide

25   Plaintiff with the statutory rest period on approximately 595 separate days. Consequently, Plaintiff is

26   owed one hour of pay at $22.77 for each day, or $13,548.15, plus interest thereon, for unpaid rest periods.

27   Thus, Plaintiff is owed a total of $27,096.30, plus interest thereon, for unpaid meal and rest periods for

28   this time period.



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 1             135.   Thus, the total missed meal and rest period compensation owing Plaintiff for this time
 2   period is $33,675.30.
 3             136.   Plaintiff has been deprived of Plaintiff’s rightfully earned compensation for meal and rest
 4   breaks as a direct and proximate result of Defendants’ failure and refusal to pay said compensation.
 5             137.   Thus, for the entirety of the time periods set forth above, Plaintiff is entitled to recover
 6   such amounts in the combined amount of $33,675.30, pursuant to Labor Code §226.7(b), plus interest
 7   thereon and costs of suit.
 8
 9                                      ELEVENTH CAUSE OF ACTION
10             FOR FAILURE TO PROVIDE ITEMIZED WAGE AND HOUR STATEMENTS
11                                        LABOR CODE §§226 ET SEQ.
12                                        AGAINST ALL DEFENDANTS

13             138.   Plaintiff re-alleges and incorporates by reference each of the foregoing paragraphs as

14   though set forth in full herein.

15             139.   Pursuant to Labor Code §§226 and 1174, employers have a duty to provide their non-

16   exempt employees with itemized statements showing total hours worked, hourly wages, gross wages,

17   total deductions and net wages earned. An employer who violates these code sections is liable to its

18   employees for the greater of actual damages suffered by the employee, or $50.00 in civil penalties for the

19   initial pay period in which a violation occurred, and $100.00 per employee for each subsequent pay

20   period, up to a statutory maximum of $4,000.00. Pursuant to Labor Code §226(e)(2), an employee is

21   deemed to suffer injury for purposes of this subdivision if the employer fails to provide a wage statement

22   at all.

23             140.   In addition thereto, pursuant to Labor Code §226.3, an employer who willfully violates

24   Labor Code §226 is subject to a $250.00 civil penalty for the initial pay period in which a violation

25   occurred, and $1,000.00 per employee for each subsequent pay period, with no maximum.

26             141.   At all relevant times, Defendants failed to provide the Plaintiff with timely and accurate

27   wage and hour statements showing gross wages earned, total hours worked, all deductions made, net

28   wages earned, the name and address of the legal entity employing Plaintiff, and all applicable hours and



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 1   rates in effect during each pay period and the corresponding number of hours worked at each hourly rate
 2   by Plaintiff. For the majority of the time and as to nearly all of Plaintiff’s wages, Defendants knowingly
 3   and intentionally, not inadvertently, failed to provide Plaintiff with paystubs at all, and instead paying
 4   Plaintiff entirely in cash without any calculations of how Plaintiff’s gross wages were calculated. Not
 5   one of the paystubs that Plaintiff received complied with Labor Code §226, and contained almost none
 6   of the required information, including hours actually worked.
 7           142.    As alleged herein, Plaintiff is not exempt from the requirements of Labor Code §226.
 8           143.    This failure has injured Plaintiff, by misrepresenting and depriving Plaintiff of hour, wage,
 9   and earnings information to which Plaintiff is entitled, causing Plaintiff difficulty and expense in
10   attempting to reconstruct time and pay records, causing Plaintiff not to be paid wages Plaintiff is entitled
11   to, causing Plaintiff to be unable to rely on earnings statements in dealings with third parties, eviscerating
12   Plaintiff’s right under Labor Code §226(b) to review itemized wage statement information by inspecting

13   the employer’s underlying records, and deceiving Plaintiff regarding Plaintiff’s entitlement to overtime,

14   meal period, and rest period wages. For the time periods that Plaintiff was not provided with paystubs at

15   all, Plaintiff’s aforementioned injuries are presumed as a matter of law.

16           144.    Plaintiff was paid on a weekly basis, and therefore Defendants violated Labor Code §226

17   approximately multiple times throughout Plaintiff’s employment. Consequently, Defendants are liable

18   to Plaintiff for Plaintiff’s actual damages, or penalties in the statutory maximum amount of $4,000.00,

19   whichever is greater.

20           145.    Based on Defendants’ conduct as alleged herein, Defendants are liable for damages

21   pursuant to Labor Code §226, and other applicable provisions, as well as attorneys’ fees and costs.

22
23                                       TWELFTH CAUSE OF ACTION

24                                      FOR WAITING TIME PENALTIES

25                                           LABOR CODE §§201-203

26                                       AGAINST ALL DEFENDANTS

27           146.    Plaintiff re-alleges and incorporates by reference each of the foregoing paragraphs as

28   though set forth in full herein.



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 1           147.       At all relevant times, Defendants failed to pay all of the Plaintiff’s accrued wages and
 2   other compensation due immediately upon termination or within 72 hours of resignation, as required.
 3   These wages refer to, at a minimum, unpaid minimum wages, overtime compensation, and meal and rest
 4   period compensation that Defendants should have paid, but did not pay to Plaintiff during the term of
 5   Plaintiff’s employment and which were, at the latest, due within the time restraints of Labor Code §§201-
 6   203.
 7           148.      As alleged herein, Plaintiff is not exempt from the requirements of Labor Code §§201-
 8   203.
 9           149.      As a direct and proximate result of Defendants’ willful failure to pay these wages, Plaintiff
10   is entitled to payment of Plaintiff’s overtime, meal and rest periods as previously pleaded herein, and
11   more than $7,001.70 in wait time penalties, calculated based on 30 days of Plaintiff’s daily wage rate of
12   $233.39, inclusive of overtime.

13           150.      Based on Defendants’ conduct as alleged herein, Defendants are liable for $7,001.70 in

14   statutory penalties pursuant to Labor Code §203 and other applicable provisions, as well as attorneys’

15   fees and costs.

16
17                                      THIRTEENTH CAUSE OF ACTION

18                                         FOR UNFAIR COMPETITION

19                           BUSINESS & PROFESSIONS CODE §§17200, ET SEQ.

20                                         AGAINST ALL DEFENDANTS

21           151.      Plaintiff re-alleges and incorporates by reference each of the foregoing paragraphs as

22   though set forth in full herein.

23           152.      Defendants’ violations of 8 Code of Regulations §11090, Industrial Welfare Commission

24   Order No. 9-2001, Labor Code §§201-203, 226, 226.7, 510, 512, 1182.12, 1194, 1194.2, 1197, 1198.5,

25   2699, and other applicable provisions, as alleged herein, including Defendants’ failure and refusal to pay

26   minimum wages, overtime wages, Defendants’ failure to provide meal and rest breaks, Defendants’

27   failure to provide timely and accurate wage and hour statements, Defendants’ failure to pay compensation

28   due in a timely manner upon termination or resignation, and Defendants’ failure to maintain complete



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 1   and accurate payroll records for the Plaintiff, constitute unfair business practices in violation of Business
 2   & Professions Code §§17200, et seq.
 3           153.   As a result of Defendants’ unfair business practices, Defendants have reaped unfair
 4   benefits and illegal profits at the expense of Plaintiff and members of the public. Defendants should be
 5   made to disgorge their ill-gotten gains and restore such monies to Plaintiff.
 6           154.   Defendants’ unfair business practices entitle Plaintiff to seek preliminary and permanent
 7   injunctive relief, including but not limited to orders that the Defendants account for, disgorge, and restore
 8   to the Plaintiff the overtime compensation and other monies and benefits unlawfully withheld from
 9   Plaintiff.
10
11                                            PRAYER FOR RELIEF
12           WHEREFORE, Plaintiff seeks judgment against Defendants and each of them, in an amount

13   according to proof as follows:

14           1.     For a money judgment representing compensatory damages including lost wages,

15   earnings, commissions, retirement benefits, and other employee benefits, and all other sums of money,

16   together with interest on these amounts; for other special damages; and for general damages for mental

17   pain and anguish and emotional distress and loss of earning capacity;

18           2.     For payment of meal and rest period compensation pursuant to Labor Code §226.7, 512,

19   in the amount of no less than $33,675.30;

20           3.     For damages pursuant to Labor Code §226 in the amount of no less than $4,000.00;

21           4.     For waiting time penalties pursuant to Labor Code §§201-203 in the amount of no less

22   than $7,001.70;

23           5.     For prejudgment interest on each of the foregoing at the legal rate from the date the

24   obligation became due through the date of judgment in this matter.

25           WHEREFORE, Plaintiff further seeks judgment against Defendants, and each of them, in an

26   amount according to proof, as follows:

27           6.     For a declaratory judgment reaffirming Plaintiff’s equal standing under the law and

28   condemning Defendants’ discriminatory practices;



                                                         -27-
                                                                                                     144
                                             COMPLAINT FOR DAMAGES
Case
 Case2:21-cv-02038-SB-PVC
       2:21-cv-00177-PA-PD Document 11-1Filed
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 1          7.      For injunctive relief barring Defendants’ discriminatory employment policies and
 2   practices in the future, and restoring Plaintiff to Plaintiff’s former position with Defendants;
 3          8.      For punitive damages, pursuant to Civil Code §§3294 in amounts sufficient to punish
 4   Defendants for the wrongful conduct alleged herein and to deter such conduct in the future;
 5          9.      For injunctive relief compelling Defendants to report to federal and state authorities wages
 6   earned by Plaintiff, and other employees, and pay all state and federal taxes owing, employer matching
 7   funds, unemployment premiums, social security, Medicare, and workers’ compensation premiums, all
 8   this in an amount according to the proof;
 9          10.     For restitutionary disgorgement of profits garnered as a result of Defendants’ unlawful
10   conduct, misclassification of Plaintiff as an independent contractor, and failure to pay wages and other
11   compensation in accordance with the law;
12          11.     For costs of suit, attorneys’ fees, and expert witness fees pursuant to the FEHA, Labor

13   Code and/or any other basis;

14          12.     For post-judgment interest; and

15          13.     For any other relief that is just and proper.

16   DATED: May 7, 2020                                      LAW OFFICES OF RAMIN R. YOUNESSI
                                                             A PROFESSIONAL LAW CORPORATION
17
18
                                                             By:
19                                                                 Ramin R. Younessi, Esq.
                                                                   Attorney for Plaintiff
20                                                                 FERNANDO OCHOA ASTUDILLO
21
                                           JURY TRIAL DEMANDED
22
            Plaintiff demands trial of all issues by jury.
23
24   DATED: May 7, 2020                                      LAW OFFICES OF RAMIN R. YOUNESSI
                                                             A PROFESSIONAL LAW CORPORATION
25
26
                                                             By:
27                                                                 Ramin R. Younessi, Esq.
                                                                   Attorney for Plaintiff
28                                                                 FERNANDO OCHOA ASTUDILLO



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                                             COMPLAINT FOR DAMAGES
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                      Exhibit “B”
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                                   PROOF OF SERVICE AFFIDAVIT
                              CCP 1013(a), CCP 1013(b), and CCP 1013a(3)

                          STATE OF CALIFORNIA, COUNTY OF LOS ANGELES ,


    My name is Rachael Acosta.

    lam over the age of 18 and not a party to the related cause(s).

    i am employed at DocuCents in the county of Los Angeles, State of California, which is where the
    mailing occurred.

    My business address is: 960 S Village Oaks Dr, Covina, CA 91724, which is where I placed the
    correspondence described herein for deposit in the United States Postal Service.

    I am readily familiar with the business' practice for collection and processing of Correspondence
    for mailing with the United States Postal.Service.

    The following correspondence will be deposited with the United Statee Postal Service this same
    day in the ordinary course of business.

    Each envelope was sealed and placed for collection and mailing on 05/29/2020, following
    ordinary business practices.

    The exact TITLE of the document(s) Served and the name(s) and address(s) of the people or
    entities being served are listed on the following attached Service List(s). This affidavit may include
    multiple Service Lists for documents which were mailed to many different parties on unrelated
    causes as part of the ordinary course of services.

    I declare under penalty of perjury under the laws of the State of California that the foregoing and
    all information contained in the attached Service List(s) is true and correct.


    Printed        Rachael Acosta

       ted: 0   • /2020




                          Rachael costa


    Attachments: Service List(s) included as part of this affidavit.




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Case
 Case2:21-cv-02038-SB-PVC
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                                                                                ID #:40
                                                                                   #:148
 REP. CONTACT : RAMIN YOUNESSI LOS ANGELES
 3435 WILSHIRE BLVD STE 2200
 LOS ANGELES CA 90010 •



                                          SERVICE LIST
                                           CCP 10130)


 This Service List is part of the attached Proof Of Service Affidavit dated 05/29/2020 signed by
 Rachael Acosta and describes the documents served for Mailing ID 2149DF80A3OEFE74.

 Total Number of Images: 66

 The TITLE of the document(s) being served is:

 FINAL S&C TO DEF GREYHOUND LINES

The following persons/entities were served by placing a true copy thereof into a sealed envelope
with postage paid in the manner described in the attached affidavit:

 CT CORPORATION SYSTEM
 818W 7TH ST STE 930
 LOS ANGELES CA 90017


 END OF SERVICE LIST FOR THE ABOVE TITLED DOCUMENTS




                                VENDOR SUBMITTAL ID: 2149DF80A30EFE74



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                                           LAW OFFICES OF
                                 RAMIN R. YOUNESSI
                          A PROFESSIONAL LAW CORPORATION
                                 3435 WILSHIRE BOULEVARD, SUITE 2200
                                    LOS ANGELES, CALIFORNIA 90010
                                        TELEPHONE (323) 777-7777
                                        FACSIMILE (213) 480-6201

                                            May 28, 2020

      Via U.S First Class Mail

      CT Corporation System
      818 West Seventh Street, Suite 930
      Los Angeles, CA 90017


      RE:    Fernando Ochoa Astudillo vs. Greyhound Lines, Inc
             Court Case No.: 20STCV17492
             Our Case No.: 13534

      Counsel:

      Enclosed please find two copies of the Notice and Acknowledgment of Receipt for
      service of Defendant Greyhound Lines, Inc., as well as Summons; Complaint; Notice of
      Case Assignment, Civil Case Cover Sheets; First Amended General Order; Statement of
      Damages; Notice of Case Management Conference; and Amended Complaint of
      Employment Discrimination before the State of California Department of Fair
      Employment and Housing. Please sign and return the Notice and Acknowledgment of
      Receipt.

      Should you have any questions regarding this matter, please do not hesitate to contact our
      office.


      Very truly yours,

      LAW OFFICES OF RAMIN R. YOUNESSI
      A PROFESSIONAL LAW CORPORATION

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                                                                                                                                             POS-015
   ATTORNEY OR PARTY WITHOUT ATTORNEY (Name, State Bar number, and address):                                              FOR COURT USE ONLY

   Ramin R. Younessi, Esq. (SBN 175020)
— Samantha L. Ortiz, Esq. (SBN 312503)
   Law Offices of Ramin R. Younessi, A.P.L.0
   3435 Wilshire Blvd., Suite 2200, Los Angeles, CA 90012
            TELEPHONE NO.: (213) 480-6200                   rAx NO. (c)Pticulaii: (213) 480-6201
   E-MAIL ADDRESS {Optional):
                              so-rlize
                                   -^younessilaw.com
      ATTORNEY FOR (Name):
                              Plaintiff, Fernando Ochoa Astudillo

  SUPERIOR COURT OF CALIFORNIA, COUNTY OF Los Angeles
            STREET ADDRESS: 1 11    North Hill   Street
            MAILING ADDRESS:
           CITY AND ZIP CODE:Los    Angeles 90012
                BRANCH NAME: Central  District

        PLAINTIFF/PETMONER:Fernando Ochoa Astudillo

   DEFENDANT/RESPONDENT:Greyhound tines, Inc., et al.
                                                                                                                  CASE NUMBER:
                      NOTICE AND ACKNOWLEDGMENT OF RECEIPT—CIVIL                                                           20STCV17492


TO (insert name of party being served):GREYHOUND LENES. INC., a Delaware corporation


                                                                               NOTICE
    The summons and other documents identified below are being served pursuant to section 415.30 of the California Code of Civil
    Procedure. Your failure to complete this form and return it within 20 days from the date of mailing shown below may subject you
    (or the party on whose behalf you are being served) to liability for the payment of any expenses incurred in serving a summons
    on you in any other manner permitted by law.
    If you are being served on behalf of a corporation, an unincorporated association (including a partnership), or other entity, this
    form must be signed by you in the name of such entity or by a person authorized to receive service of process on behalf of such
    entity. In all other cases, this form must be signed by you personally or by a person authorized by you to acknowledge receipt of
    summons. If you return this form to the sender, service of a summons is deemed complete on the day you sign the
    acknowledgment of receipt below.

     Date of mailing:May           28, 2020

   Samantha L. Ortiz, Esq.
                                    (TYPE OR PRINT NAME)                                         NATURE OF SEN —MUST NOT BE A PARTY IN THIS CASE)


                                                           ACKNOWLEDGMENT OF RECEIPT
    This acknowledges receipt of (to be completed by sender before mailing):
    1. =I A copy of the summons and of the complaint.
    2. LJ Other (specify):
                    Notice of Case Assignment; Civil Case Cover Sheets; First Amended General Order; Statement of
                    Damages; Notice of Case Management Conference; and Amended Complaint of Employment
                    Discriminationbefore the State of California Department of Fair Employment and Housing

    (To be completed by recipient):

     Date this form is signed:



                 (TYPE OR PRINT YOUR NAME AND NAME OF ENTITY, IF ANY,                      (SI(3NATURE OF PERSON ACKNOWLEDGING RECEIPT, WITH TITLE IF
                        ON WHOSE BEHALF THIS FORM IS SIGNED)                            ACKNOWLEDGMENT IS MADE ON BEHALF OF ANOTHER PERSON OR ENTITY)




                                                                                                                                                  Page 1 of
Form Adopted for Mandatory Use                                                                                                        Code of Civil Procedure,
  Judicial Council of California           NOTICE AND ACKNOWLEDGMENT OF RECEIPT — CIVIL                                                    §§ 415,30, 417.10
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  ATTORNEY OR PARTY WITHOUT ATTORNEY (Name, State Oar number, end address):                                     FOR COURT USE ONLY

   Ramin R. Younessi, Esq. (SBN 175020)
— Samantha L. Ortiz, Esq. (SBN 312503)
  Law Offices of Ramin R. Younessi, A.P.L.0
  3435 Wilshire Blvd., Suite 2200, Los Angeles, CA 90012
           TELEPHONE NO.: (213) 480-6200                 FAX NO. (°mei): (213) 480-6201
  E-MAIL ADDRESS (CiPn"81): sortiz@younessilaw.com
     ATTORNEY FOR (Name):
                            Plaintiff, Fernando Ochoa Astudillo


  SUPERIOR COURT OF CALIFORNIA, COUNTY OF Los Angeles
       STREET ADDRESS: 1 11 North Hill Street
           MAILING ADDRESS:
          CITY AND ZIP CODE:Los    Angeles 90012
               BRANCH NAME:      Central District

       PLAINTIFF/PETITIONER:Fernando Ochoa Astudillo

   DEFENDANT/RESPONDENT:Greyhound Lines, Inc., et al.
                                                                                                        CASE NUMBER:
                    NOTICE AND ACKNOWLEDGMENT OF RECEIPT—CIVIL                                                   20STCV17492


TO (insert name of party being serveci):GREYHOUND LINES, INC., a Delaware corporation


                                                                 NOTICE
   The summons and other documents identified below are being served pursuant to section 415.30 of the California Code of Civil
   Procedure. Your failure to complete this form and return it within 20 days from the date of mailing shown below may subject you
   (or the party on whose behalf you are being served) to liability for the payment of any expenses incurred in serving a summons
   on you in any other manner permitted by law.
    If you are being served on behalf of a corporation, an unincorporated association (including a partnership), or other entity, this
    form must be signed by you in the name of such entity or by a person authorized to receive service of process on behalf of such
    entity. In all other cases, this form must be signed by you personally or by a person authorized by you to acknowledge receipt of
    summons. If you return this form to the sender, service of a summons is deemed complete on the day you sign the
    acknowledgment of receipt below.

    Date of mailing:May 28, 2020

   Samantha L. Ortiz. Esq.
                                  (TYPE OR PRINT NAME)                                                 —MUST NOT BE A PARTY IN THIS CASE)


                                                         ACKNOWLEDGMENT OF RECEIPT
    This acknowledges receipt of (to be completed by sender before mailing):
    i.  F-1 A copy of the summons and of the complaint.
    2. I=1 Other (specify):
                  Notice of Case Assignment; Civil Case Cover Sheets; First Amended General Order; Statement of
                  Damages; Notice of Case Management Conference; and Amended Complaint of Employment
                  Discrimination before the State of California Department of Fair Employment and Housing

    (To be completed by recipient):

    Date this form is signed:



                (TYPE OR PRINT YOUR NAME AND NAME OF ENTITY. IF ANY,             (SIGNATURE OF PERSON ACKNOWLEDGING RECEIPT, WITH TITLE IF
                       ON WHOSE BEHALF THIS FORM IS SIGNED)                   ACKNOWLEDGMENT IS MADE ON BEHALF OF ANOTHER PERSON OR ENTITY)




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Form Adopted for Mandatory Use                                                                                               Code of CM Procedure.
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                  SUPERIOR COURT OF CALIFORNIA
                     COUNTY OF LOS ANGELES                                                                                               •
  COURTHOUSE ADDRESS:
                                                                                                                FILED
 Stanley Mask Courthouse                                                                            Stvatfor Capet of California
 111 North Hill Street, Los Angeles, CA 90012                                                         County of Los Angeles
                                                                                                           05/07/2020
                                                                                           -iarei   R Csiett,Etibm6,e 015ov j et 6c of Cauli
                   NOTICE OF CASE ASSIGNMENT -
                                                                                                               N. Aivaler               Dap*
                                                                                           SY:
                          UNLIMITED CIVIL CASE

                                                                                  CASE NUMBER:

  Your case is assigned for all purposes to the judicial officer indicated below. 20STCV17492

                           THIS FORM IS TO BE SERVED WITH THE SUMMONS AND COMPLAINT

               ASSIGNED JUDGE                DEPT ROOM                        ASSIGNED JUDGE                           DEPT ROOM
   94/    Daniel S. Murphy                  32




    Given to the Plaintiff/Cross-Complainant/Attorney of Record   Sherri R. Carter, Executive Officer / Clerk of Court
    on   05/07/2020                                                      By   N. Alvarez                                            , Deputy Clerk
                 (Dale)
LACIV 190 (Rev 6/18)       NOTICE OF CASE ASSIGNMENT— UNLIMITED CIVIL CASE                                                              152
LASC Approved 05/06
     Case
      Case2:21-cv-02038-SB-PVC
            2:21-cv-00177-PA-PD Document 11-1Filed
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                                                                                        #:153
                                  INSTRUCTIONS FOR HANDLING UNLIMITED CIVIL CASES

The following critical provisions of the California Rules of Court, Title 3, Division 7, as applicable in the Superior Court, are summarized
for your assistance.

APPLICATION
The Division 7 Rules were effective January 1, 2007. They apply to all general civil cases.

PRIORITY OVER OTHER RULES
The Division 7 Rules shall have priority over all other Local Rules to the extent the others are inconsistent.

CHALLENGE TO ASSIGNED JUDGE
A challenge under Code of Civil Procedure Section 170.6 must be made within 15 days after notice of assignment for all purposes
to a judge, or if a party has not yet appeared, within 15 days of the first appearance.

TIME STANDARDS
Cases assigned to the Independent Calendaring Courts will be subject to processing under the following time standards:

COMPLAINTS
All complaints shall be served within 60 days of filing and proof of service shall be filed within 90 days.

CROSS-COMPLAINTS
Without leave of court first being obtained, no cross-complaint may be filed by any party after their answer is filed. Cross-
complaints shall be served within 30 days of the filing date and a proof of service filed within 60 days of the filing date.

STATUS CONFERENCE
A status conference will be scheduled by the assigned Independent Calendar Judge no later than 270 days after the filing of the
complaint. Counsel must be fully prepared to discuss the following issues: alternative dispute resolution, bifurcation, settlement,
trial date, and expert witnesses.

FINAL STATUS CONFERENCE
The Court will require the parties to attend a final status conference not more than 10 days before the scheduled trial date. All
parties shall have motions in limine, bifurcation motions, statements of major evidentiary issues, dispositive motions, requested
form jury instructions, special jury instructions, and special jury verdicts timely filed and served prior to the conference. These
matters may be heard and resolved at this conference. At least five days before this conference, counsel must also have exchanged
lists of exhibits and witnesses, and have submitted to the court a brief statement of the case to be read to the jury panel as required
by Chapter Three of the Los Angeles Superior Court Rules.

SANCTIONS
The court will impose appropriate sanctions for the failure or refusal to comply with Chapter Three Rules, orders made by the
Court, and time standards or deadlines established by the Court or by the Chapter Three Rules. Such sanctions may be on a party,
or if appropriate, on counsel for a party.

This is not a complete delineation of the Division 7 or Chapter Three Rules, and adherence only to the above provisions is
therefore not a guarantee against the imposition of sanctions under Trial Court Delay Reduction. Careful reading and
compliance with the actual Chapter Rules is imperative.

Class Actions
Pursuant to Local Rule 2.3, all class actions shall be filed at the Stanley Mask Courthouse and are randomly assigned to a complex
judge at the designated complex courthouse. If the case is found not to be a class action it will be returned to an Independent
Calendar Courtroom for all purposes.

*Provisionally Complex Cases
Cases filed as provisionally complex are initially assigned to the Supervising Judge of complex litigation for determination of
complex status. If the case is deemed to be complex within the meaning of California Rules of Court 3.400 et seq., it will be
randomly assigned to a complex judge at the designated complex courthouse. If the case is found not to be complex, it will be
returned to an independent Calendar Courtroom for all purposes.




LAC1V 190 (Rev 6/18)        NOTICE OF CASE ASSIGNMENT UNLIMITED CIVIL CASE                                                   153
LASC Approved 05/06
ctronically FILED by Superior Court of California, County of Los Angeles on 05/07/2056g2krilatrri R. Carter, Executive Officer/Clerk of Court, by N. Alvarez,Deputy Clerk
             Case
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                                                                                                                                                                    SUM-100
                                                     SUMMONS                                                                            FOR COURT USE ONLY
                                                                                                                                     (SOLO PAPA USO DE LA CORM
                                            (CITACION JUDICIAL)
        NOTICE TO DEFENDANT:
        (AVISO AL DEMANDADO):
         GREYHOUND LINES, INC., a Delaware corporation; CLAUDIO
         ARRIOLA, an individual; and DOES 1 through 20, inclusive,
        YOU ARE BEING SUED BY PLAINTIFF:
        (LO ESTA DEMANDANDO EL DEMANDANTE):
         FERNANDO OCHOA ASTUDILLO, an individual,

         NOTICE! You have been sued. The court may decide against you without your being heard unless you respond within 30 days. Read the information
         below.
            You have 30 CALENDAR DAYS after this summons and legal papers are served on you to file a written response at this court and have a copy
         served on the plaintiff. A letter or phone call will not protect you. Your written response must be in proper legal form if you want the court to hear your
         case. There may be a court form that you can use for your response. You can find these court forms and more information at the California Courts
         Online Self-Help Center (www.courtinfo.ca.gov/selfhelp), your county law library, or the courthouse nearest you. If you cannot pay the filing fee, ask
         the court clerk for a fee waiver form. If you do not file your response on time, you may lose the case by default, and your wages, money, and property
         may be taken without further warning from the court.
            There are other legal requirements. You may want to call an attorney right away. If you do not know an attorney, you may want to call an attorney
         referral service. If you cannot afford an attorney, you may be eligible for free legal services from a nonprofit legal services program. You can locate
         these nonprofit groups at the California Legal Services Web site (www.lawhetpc,alifomiaorg), the California Courts Online Self-Help Center
         (www.courtinfoca.goviselfhelp), or by contacting your local court or county bar association. NOTE: The court has a statutory lien for waived fees and
         costs on any settlement or arbitration award of $10,000 or more in a civil case. The court's lien must be paid before the court will dismiss the case.
         iAV1SO! La hen demanded°. Si no responde dentro de 30 dias, la code puede deddir en su contra sin escuchar su version. Lea la informed& a
         continuacion.
            Tiene 30 0/AS DE CALENDAR/C) despues de que le entreguen este cif acion y papeles legates pare presenter una respuesta par escrito en este
         carte y hacer que se entregue una copia al demandante. Una carte o una Hamada telefonice no lo protegen. Su respuesta pot escrito tiene que estar
         en form ato legal conecto st desea que proc.esen su caso en la carte. Es posible que haya un formulario que usted puede user pare su respuesta.
         Puede encontrar estos formularios de la carte y mas infortnacion en el Centro de Ayuda de las Cortes de California (www.sucorte.ca.gov), en la
         biblioteca de !eyes de su cortdado o on la carte que le quede mas cerca. Si no puede pager la cuota de presentacion, pea al secretario de la carte
         quo to de un forrnulario de exenciOn de pago de cuotas. Si no presenta su respuesta a (tempo, puede perder el caso par incumpfimiento y la cotta le
         podra guitar su sueldo, diner° y bienes sin mas advertencia.
           Hay otros requisitos legates. Es recomendable que llama a un abogado inmediatamente. Si no conoce a un abogado, puede flamer a un servicio de
         remisiOn a abogados. Si no puede pager a un abogado, as posible que cumpla con los requisitos pare obtener servicios legates gratuitos de un
         programa de sarvidos legates sin fines de lucro. Puede encontrar estos grupos sin fines de lucro on el sitio web de California Legal Services,
         (Wwl.v.lawhelpcalifomia.org), on el Centro de Arida de las Cortes de California, (www.sucone.ca.gov) oponiendose en contact° con /a corte o el
         colegio de abogados locales. AVISO: Par lay. la cotta tiene derecho a to:lamer las cuotas y los costos exentos par imponer un gravamen sobre
         cualquier recuperacidn de .S10,000 0 mas de valor recibicla mediante un acuerdo o aria concesion de arbitraje en un caso de derecho civil. Tiene que
         pager el gravamen de la cotta antes de que la carte puede desechar at caso.

        The name and address of the court is:                                                                           CASE NUMBER:
                                                                                                                        (Ndmero del Casa):
                                               Angeles Superior Court
        (El nombre y direccian de la carte es): Los
         Central District, 111 N. Hill St., Los Angeles, CA 90012
                                                                                                                          2 OST CV 17492

        The name, address, and telephone number of plaintiffs attorney, or plaintiff without an attorney, is:
        (El nombre, la direcciOn ye! nOmero de telefono del abogado del demandante, o del demandante que no tiene abogado, es):
         Ramin R. Younessi, Esq., 3435 Wilshire Blvd. Ste. 2200, Los Angeles, CA 90010, (213)480-6200
                                    Sherri R. Carter Executive Officer/ Clerk of Court
        DATE:             e                                   Cl rk, by                                                                                             ,Deputy
        (Fecha)
                05/07/202
                      0                                       (Secretario)        N. Alvarez                                                                         (Adjunto)
       (For proof of service of this summons, use Proof of Service of Summons (form POS-010).)
       (Para prueba de entrega de este citation use at formulario Proof of Service of Summons, (POS-010)).
                                         NOTICE TO THE PERSON SERVED: You are served
                                         1.      as an individual defendant.
                                         2.      as the person sued under the fictitious name of (specify):


                                                3,         on behalf of (specify):

                                                     under: I= CCP 416.10 (corporation)                 niCCP 416.60 (minor)
                                                             1-7CCP 416.20 (defunct corporation)        ElCCP 416.70 (conservatee)
                                                             1-7CCP 416.40 (association or partnership) ElCCP 416.90 (authorized person)
                                                             I-1 other (specify):
                                                4- El by personal delivery on (date):
                                                                                                                                                                       Pao° 1 of 1
         Form Adopted for Mandatory Lisa                                                                                                      Coda of Civil Procedure §§ 412.20,465
           Judicial Coundli of California
                                                                                   SUMMONS                                                                       154
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           SUrAtao [Rev. July 1, 2009]
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              Case
                Case2:21-cv-02038-SB-PVC
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                                                                                                     01/08/21Page       Page   15539ofof231 97 Page  Page ID   ID #:47
                                                                                                                                                                   #:155
                                                                                                                                                                       CM-010
         ATTORNEY OR PARTY VV1THOUT ATTORNEY (Name. State Bar number, and address):                                                       FOR COURT USE ONLY
       — Ramin R. Younessi, Esq. (SBN 175020)
        Law Offices of Ramin R. Younessi A.P.L.C.
        3435 Wilshire Boulevard, Suite 2200
        Los Angeles, California 90010
                           (‘21.3) 480-6200
                 TELEPHONE NO.:                     FAX NO.: (213) 480-6201
                           r lamtiff, Fernando Ochoa Astudillo
         ATTORNEY FOR (Name):
       SUPERiOR COURT OF CALIFORNIA, COUNTY OF Los Angeles
           STREET ADDRESS: 111 North Hill Street
               MAILING ADDRESS:
              CITY ANI) ZIP CODE:   Los Angeles 90012
                  BRANCH NAME:      Central District
          CASE NAME:
          Fernando Ochoa Astudillo v. Greyhound Lines, Inc., et al.
            CIVIL CASE COVER SHEET                                                               cAs5JuilEa•
                                                              Complex Case Designation                    ST                                   CV 1 7 492
          v Unlimited        El Limited
                                                         M Counter           El  Joinder
             (Amount               (Amount                                                         JUDGE:
             demanded              demanded is          Filed with first appearance by defendant •
             exceeds $25,000)      $25,000 or less)          (Cal. Rules of Court, rule 3.402)      DEPT:

                                      !terns 1-6 below must be completed (see instructions on page 2).
           Check one box below for the case type that best describes this case:
              Auto Tort                                            Contract                                      Provisionally Complex Civil Litigation
                                                                   = Breach of contract/warranty (06)            (Cal. Rules of Court, rules 3.400-3.403)
                  I Auto (22)
                 1 Uninsured motorist (46)                         I=1 Rule 3.740 collections (09)               El Antitrust/Trade regulation (03)
            Other PUPD/WD (Personal Injury/Property                = Other collections (09)                      El Construction defect (10)
            Damage/Wrongful Death) Tort                            = Insurance coverage (18)                     El Mass tort (40)
            ni Asbestos (04)                                       n Other contract (37)                         El Securities litigation (28)
              ElProduct liability (24)                             Real Property                                 El EnvironmentaVToxic tort (30)
              riMedical malpractice (45)                                 Eminent domain/Inverse                  El Insurance coverage claims arising from the
              El Other PI/PDM/D (23)                                     condemnation (14)                              above listed provisionally complex case
                                                                                                                        types (41)
              Non-PI/PD/WD (Other) Tort                            = Wrongful eviction (33)
                                                                                                                 Enforcement of Judgment
              n Business tort/unfair business practice (07) n Other real property (26)
              El Civil rights (08)                       Unlawful Detainer                                       El Enforcement of judgment (20)
              CI    Defamation (13)                                El
                                                              Commercial (31)                                    Miscellaneous Civil Complaint
              n Fraud (16)                                         El     Residential (32)                       El RICO (27)
              n Intellectual property (19)                         El     Drugs (38)                             I-I•Other complaint (not specified above) (42)
              = Professional negligence (25)                       Judicial Review                               Miscellaneous CIO Petition
              El Other non-PI/PD/WD tort (35)                      El     Asset forfeiture (05)
                                                                                                                 I-7•Partnership and corporate governance (21)
              Em loyment                                           El     Petition re: arbitration award (11)
                                                                                                                 I-7•Other petition (not specified above) (43)
                    Wrongful termination (36)                      El     Writ of mandate (02)
          I-1   Other employment (15)                          Other judicial review (39)
       2. This case Li is          =I is not       complex under rule 3.400 of the California Rules of Court. If the case is complex, mark the
           factors requiring exceptional judicial management:
           a. (:=1 Large number of separately represented parties           d. ElLarge number of witnesses
           b.[I] Extensive motion practice raising difficult or novel       e. El Coordination with related actions pending in one or more courts
                    issues that will be lime-consuming to resolve                    in other counties, states, or countries, or in a federal court
           c.1=I Substantial amount of documentary evidence                 f. El Substantial postjudgment judicial supervision

       3.     Remedies sought (check all that apply): a= monetary b.1=1 nonmonelary; declaratory or injunctive relief                                         c-I=Ipunitive
       4.     Number of causes of action (specify): Thirteen (13)
       5.     This case El is        I= is not a class action suit.
       6.     If there are any known related cases, file and serve a notice of related case. (You may use form .C,101
       Date: May 7, 2020
       Ramin R. Younessi, Esq. •
                                         (TYPE OR PRINT NAME)                                                   (SIGNATURE OF PARTY OR ATTORNEY FOR PARTY)
                                                                                NOTICE
          •   Plaintiff must file this cover sheet with the first paper filed in the action or proceeding (except small claims cases or cases filed
              under the Probate Code, Family Code, or Welfare and Institutions Code). (Cal. Rules of Court, rule 3.220.) Failure to file may result
              in sanctions.
          •   File this cover sheet in addition to any cover sheet required by local court rule.
          •   If this case is complex under rule 3.400 et seq. of the California Rules of Court, you must serve a copy of this cover sheet on all
              other parties to the action or proceeding.
          •   Unless this is a collections case under rule 3.740 or a complex case, this cover sheet will be used for statistical purposes only.
                                                                                                                                                                           Page I of 2
        Form Adapted tor Mandatory Use                                                                                      Cal. Rules of Court, rules 2.30, 3.220, 3.400-3.403, 3.740;
          JudIdal Council of Callomla
                                                                   CIVIL CASE COVER SHEET                                                                            155
                                                                                                                                    Cal. Standards of Judicial Administration, std. 3.10
           CM-010 (Rev. duly 1, 2067]                                                                                                                             wimcourtint.ca.gov
     Case
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            2:21-cv-00177-PA-PD Document 11-1Filed
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                                                                                                                                     CM-010
                                  INSTRUCTIONS ON HOW TO COMPLETE THE COVER SHEET
To Plaintiffs and Others Filing First Papers. If you are tiling a first paper (for example, a complaint) in a civil case, you must
complete and file, along with your first paper, the Civil Case Cover Sheet contained on page 1. This information will be used to compile
statistics about the types and numbers of cases filed. You must complete items 1 through 6 on the sheet. In item 1, you must check
one box for the case type that best describes the case. If the case fits both a general and a more specific type of case listed in item 1,
check the more specific one. lithe case has multiple causes of action, check the box that best indicates the primary cause of action.
To assist you in completing the sheet, examples of the cases that belong under each case type in item 1 are provided below. A cover
sheet must be filed only with your initial paper. Failure to file a cover sheet with the first paper filed in a civil case may subject a party,
its counsel, or both to sanctions under rules 2.30 and 3.220 of the California Rules of Court.
To Parties In Rule 3.740 Collections Cases. A "collections case" under rule 3.740 is defined as an action for recovery of money
owed in a sum stated to be certain that is not more than $25,000, exclusive of interest and attorney's fees, arising from a transaction in
which property, services, or money was acquired on credit. A collections case does not include an action seeking the following: (1) tort
damages, (2) punitive damages, (3) recovery of real property, (4) recovery of personal property, or (5) a prejudgment writ of
attachment. The identification of a case as a rule 3.740 collections case on this form means that it will be exempt from the general
time-for-service requirements and case management rules, unless a defendant files a responsive pleading. A rule 3.740 collections
case will be subject to the requirements for service and obtaining a judgment in rule 3.740.
To Parties in Complex Cases. In complex cases only, parties must also use the Civil Case Cover Sheet to designate whether the
case is complex. If a plaintiff believes the case is complex under rule 3.400 of the California Rules of Court, this must be indicated by
completing the appropriate boxes in items 1 and 2. If a plaintiff designates a case as complex, the cover sheet must be served with the
complaint on all parties to the action. A defendant may file and serve no later than the time of its first appearance a joinder in the
plaintiffs designation, a counter-designation that the case is not complex, or, if the plaintiff has made no designation, a designation that
the case is complex.                                      CASE TYPES AND EXAMPLES
Auto Tort                                       Contract                                           Provisionally Complex Civil Litigation (Cal.
     Auto (22)—Personal Injury/Property            Breach of Contract/Warranty (06)                Rules of Court Rules 3.400-3.403)
          Damage/Wrongful Death                         Breach of Rental/Lease                          Antitrust/Trade Regulation (03)
     Uninsured Motorist (46) (if the                         Contract (not unlawful detainer            Construction Defect (10)
          case involves an uninsured                            or wrongful eviction)                   Claims Involving Mass Tort (40)
          motorist claim subject to                     Contract/Warranty Breach—Seller                 Securities Litigation (28)
          arbitration, check this item                       Plaintiff (not fraud or negligence)        Environmental/Toxic Tort (30)
          instead of Auto)                              Negligent Breach of Contract/                   Insurance Coverage Claims
Other PI/PDAND (Personal Injury/                             Warranty                                       (arising from provisionally complex
Property DamageNVrongful Death)                         Other Breach of Contract/Warranty                   case type listed above) (41)
Tort                                               Collections (e.g., money owed, open              Enforcement of Judgment
     Asbestos (04)                                      book accounts) (09)                             Enforcement of Judgment (20)
          Asbestos Property Damage                      Collection Case—Seller Plaintiff                    Abstract of Judgment (Out of
                                                        Other Promissory Note/Collections                         County)
          Asbestos Personal Injury/
                                                             Case                                            Confession of Judgment (non-
                Wrongful Death
     Product Liability (not asbestos or            Insurance Coverage (not provisionally                          domestic relations)
                                                        complex) (18)                                        Sister State Judgment
          toxic/environmental) (24)
     Medical Malpractice (45)                           Auto Subrogation                                    Administrative Agency Award
          Medical Malpractice—                          Other Coverage                                          (not unpaid taxes)
                Physicians & Surgeons              Other Contract (37)                                      Petition/Certification of Entry of
                                                        Contractual Fraud                                       Judgment on Unpaid Taxes
          Other Professional Health Care
                Malpractice                             Other Contract Dispute                               Other Enforcement of Judgment
                                                Real Property                                                     Case
     Other Pl/PDAND (23)
                                                   Eminent Domain/Inverse                           Miscellaneous Civil Complaint
          Premises Liability (e.g., slip
                                                        Condemnation (14)                               RICO (27)
                and fall)
          Intentional Bodily Injury/PD/WD          Wrongful Eviction (33)                               Other Complaint (not specified
                                                                                                             above) (42)
                (e.g., assault, vandalism)         Other Real Property (e.g., quiet title) (26)
                                                                                                            Declaratory Relief Only
          Intentional Infliction of                     Writ of Possession of Real Property                 Injunctive Relief Only (non-
                Emotional Distress                      Mortgage Foreclosure                                      harassment)
          Negligent Infliction of                       Quiet Title                                          Mechanics Lien
                Emotional Distress                      Other Real Property (not eminent
                                                                                                             Other Commercial Complaint
          Other PI/PD/WD                                domain, land:on:I/tenant or
                                                                                                                  Case (non-tort/non-complex)
Non-PUPDAND (Other) Tort                                foreclosure)
                                                                                                             Other Civil Complaint
     Business Tort/Unfair Business              Unlawful Detainer                                                (non-tort/non-complex)
        Practice (07)                              Commercial (31)                                  Miscellaneous Civil Petition
     Civil Rights (e.g., discrimination,           Residential (32)                                     Partnership and Corporate
         false arrest) (not civil                  Drugs (38) (if the case involves illegal                  Governance (21)
          harassment) (08)                              drugs, check this item: otherwise,              Other Petition (not specified
     Defamation (e.g., slander, libel)                  report as Commercial or Residential)                above) (43)
           (13)                                 Judicial Review                                              Civil Harassment
     Fraud (16)                                    Asset Forfeiture (05)                                    Workplace Violence
     Intellectual Property (19)                    Petition Re: Arbitration Award (11)                      Elder/Dependent Adult
     Professional Negligence (25)                  Writ of Mandate (02)                                           Abuse
         Legal Malpractice                              Writ—Administrative Mandamus                        Election Contest
         Other Professional Malpractice                 Writ—Mandamus on Limited Court                      Petition for Name Change
              (not medical or legal)                        Case Matter                                     Petition for Relief From Late
      Other Non-PI/PONVD Tort (35)                      Writ—Other Limited Court Case                             Claim
Employment                                                  Review                                           Other Civil Petition
     Wrongful Termination (36)                     Other Judicial Review (39)
     Other Employment (15)                              Review of Health Officer Order
                                                        Notice of Appeal—Labor
                                                            Commissioner Appeals
CM-010 Rim July 1,20071                                                                                                                 Page 2 all 2
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 SHORT TrILE•F                                                                                                           CASE NUMBER
                ernando Ochoa Astudillo v. Greyhound Lines, Inc., et al.



                                CIVIL CASE COVER SHEET ADDENDUM AND
                                        STATEMENT OF LOCATION
                 (CERTIFICATE OF GROUNDS FOR ASSIGNMENT TO COURTHOUSE LOCATION)

               This form is required pursuant to Local Rule 2.3 in all new civil case filings in the Los Angeles Superior Court.



      Step 1: After completing the Civil Case Cover Sheet (Judicial Council form CM-010), find the exact case type in
                Column A that corresponds to the case type indicated in the Civil Case Cover Sheet.


        Step 2: In Column B, check the box for the type of action that best describes the nature of the case.


      Step 3: In Column C, circle the number which explains the reason for the court filing location you have
                chosen.

                                             Applicable Reasons for Choosing Court Filing Location (Column C)

1.Class actions must be filed in the Stanley Mosk Courthouse, Central District.                       7. Location where petitioner resides.
2. Permissive filing in central district.                                                             8. Location wherein defendant/respondent functions wholly.
3. Location where cause of action arose.                                                              9. Location where one or more of the parties reside.
4. Mandatory personal injury filing in North District.                                               10. Location of Labor Commissioner Office.
                                                                                                     11. Mandatory filing location (Hub Cases — unlawful detainer, limited
5. Location where performance required or defendant resides.
                                                                                                     non-collection, limited collection, or personal injury).
6. Location of property or permanently garaged vehicle.



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                               Auto (22)                   0 A7100 Motor Vehicle - Personal Injury/Property Damage/Wrongful Death                                    1, 4, 11
    0
      0
   < /—               Uninsured Motorist (46)              0 A7110 Personal Injury/Property DamageNVrongful Death — Uninsured Motorist                               1, 4, 11


                                                           0 A6070 Asbestos Property Damage                                                                          1, 11
                            Asbestos (04)
                                                           CI A7221 Asbestos - Personal Injury/Wrongful Death                                                        1, 11

                        Product Liability (24)             0 A7260 Product Liability (not asbestos or toxic/environmental)                                           1, 4, 11

                                                           El A7210 Medical Malpractice- Physicians & Surgeons                                                        1,4. 11
                      Medical Malpractice (45)
                                                           0 A7240 Other Professional Health Care Malpractice                         -

                                                           0 A7250 Premises Liability (e.g., slip and fall)
                                                                                                                                                                     1, 4, 11
                           Other Personal
                           Injury Property                 0 A7230 Intentional Bodily Injury/Property Damage/Wrongful Death (e.g.,                                   1, 4, 11
                          Damage Wrongful                           assault, vandalism, etc.)
                             Death (23)                                                                                                                              1, 4, 11
                                                           0 A7270 Intentional Infliction of Emotional Distress
                                                                                                                                                                     1, 4,11
                                                           CI A7220 Other Personal Injury/Properly DamageNVrongful Death




   LACIV 109 (Rev 2/16)                                  CIVIL CASE COVER SHEET ADDENDUM                                                                         Local Rule 2.3
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                         Fernando Ochoa Astudillo v. Greyhound Lines, Inc., et al.

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                                  Business Tort (07)                   El A6029 Other Commercial/Business Tort (not fraud/breach of contract)                                                1, 2, 3

                                    Civil Rights (08)                  0 A6005 Civil Rights/Discrimination                                                                                   1, 2, 3

                                    Defamation (13)                    0 A6010 Defamation (slander/libel)                                                                                    1, 2, 3

                                        Fraud (16)                     D A6013 Fraud (no contract)                                                                                           1, 2, 3

                                                                       D A6017 Legal Malpractice                                                                                             1, 2, 3
                           Professional Negligence (25)
                                                                       CI A6050 Other Professional Malpractice (not medical or legal)                                                        1,2, 3

                                        Other (35)                     0 A6025 Other Non-Personal Injury/Property Damage tort                                                                1, 2, 3

                             Wrongful Termination (36)                 12 A6037 Wrongful Terrnination                                                                                        1,2, 3

                                                                       0 A6024 Other Employment Complaint Case                                                                               1,2, 3
                               Other Employment (15)
                                                                       0 A6109 Labor Commissioner Appeals                                                                                    10

                                                                       0 A6004 Breach of Rental/Lease Contract (not unlawful detainer or wrongful                                            2, 5
                                                                                eviction)
                           Breach of ContracV Warranty                                                                                                                                       2, 5
                                       (06)                            0 A6008 Contract/Warranty Breach -Seller Plaintiff (no fraud/negligence)
                                 (not insurance)                                                                                                                                             1.2, 5
                                                                       0 A6019 Negligent Breach of Contract/Warranty (no fraud)
                                                                                                                                                                                             1. 2, 5
                                                                       CI A6028 Other Breach of Contract/Warranty (not fraud or negligence)

                                                                       0 A6002 Collections Case-Seller Plaintiff                                                                             5, 6, 11
                                    Collections (09)
                                                                       0 A6012 Other Promissory Note/Collections Case                                                                        5, 11
                                                                       CI A6034 Collections Case-Purchased Debt (Charged Off Consumer Debt                                                   5, 6, 11
                                                                                 Purchased on or after January 1, 2014)
                              Insurance Coverage (18)                  0 A6015 Insurance Coverage (not complex)                                                                              1, 2, 5, 8

                                                                       0 A6009 Contractual Fraud                                                                                             1, 2, 3, 5
                                  Other Contract (37)                  0 A6031 Tortious Interference                                                                                         1, 2, 3, 5
                                                                       0 A6027 Other Contract Dispute(not breach/insurance/fraud/negligence)                                                 1,2, 3, 8.9

                              Eminent Domain/Inverse
                                                                     -0 A7300 Eminent Domain/Condemnation                                      Number of parcels                             2,6
                                Condemnation (14)

     o.                         Wrongful Eviction (33)                 0 A6023 Wrongful Eviction Case                                                                                        2, 6
     2
                                                                       0 A6018 Mortgage Foreclosure                                                                                          2, 6
                              Other Real Property (26)                 0 A6032 Quiet Title                                                                                                   2, 6
                                                                       0 A6060 Other Real Property (not eminent domain, landlord/tenant, foreclosure)                                        2, 6

                          Unlawful Detainer-Commercial                                                                                                                                      6, 11
                                                                       0 A6021 Unlawful Detainer-Commercial (not drugs or wrongful eviction)
                                      (31)
     Unlawful Detalner




                                                                                                                                                                                           _
                           Unlawful Detainer-Residential                                                                                                                                     6, 11
                                                                       0 A6020 Unlawful Detainer-Residential (not drugs or wrongful eviction)
                                       (32)
                                 Unlawful Detainer-
                                                                       ID A6020F Unlawful Detainer-Post-Foredosure                                                                           2, 6, 11
                                Post-Foreclosure (34)
                           Unlawful Detainer-Drugs (38)                0 A6022 Unlawful Detainer-Drugs                                                                                       2, 6, 11



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                                                                    Asset Forfeiture (05)         0 A6108 Asset Forfeiture Case                                                                         2, 3, 6

                                                                 Petition re Arbitration (11)     0 A6115 Petition to Compel/ConfirmNacate Arbitration                                                  2, 5
          Jud icialRev iew




                                                                                                                                                                                                                                 _
                                                                                                  0 A6151 Writ - Administrative Mandamus                                                                2, 8
                                                                    Writ of Mandate (02)          0 A6152 Writ - Mandamus on Limited Court Case Matter                                                  2
                                                                                                  0 A6153 Writ - Other Limited Court Case Review                                                        2

                                                                 Other Judicial Review (39)       0 A6150 Other Writ /Judicial Review                                                                   2, 8

                                                               Antitrust/Trade Regulation (03)    0 A6003 Antitrust/Trade Regulation                                                                    1, 2, 8
          Provisiona lly Complex Litigation




                                                                  Construction Defect (10)        0 A6007 Construction Defect                                                                           1, 2, 3

                                                                 Claims Involving Mass Tort                                                                                                             1, 2, 8
                                                                                                  0 A6006 Claims Involving Mass Tort
                                                                            (40)

                                                                  Securities Litigation (28)      0 A6035 Securities Litigation Case                                                                    1, 2, 8

                                                                         Toxic Tort
                                                                                                  0 A6036 Toxic Tort/Environmental                                                                      1, 2, 3, 8
                                                                     Environmental (30)

                                                                Insurance Coverage Claims                                                                                                               1,2, 5, 8
                                                                                                  0 A6014 Insurance Coverage/Subrogation (complex case only)
                                                                  from Complex Case (41)
                                                          pr                                                                                                                                                                      ,
                                                                                                  0 A6141 Sister State Judgment                                                                         2, 5, 11
                                                                                                  0 A6160 Abstract of Judgment                                                                          2,6
      Enforcement




                                         a)
                                                                        Enforcement               0 A6107 Confession of Judgment (non-domestic relations)                                               2, 9
                                                                      of Judgment (20)            0 A6140 Administrative Agency Award (not unpaid taxes)                                                2, 8
                                                                                                  0 A6114 Petition/Certificate for Entry of Judgment on Unpaid Tax                                      2, 8
                                                                                                  0 A6112 Other Enforcement of Judgment Case                                                            2, 8, 9

                                                                         RICO (27)                0 A6033 Racketeering (RICO) Case                                                                      1, 2, 8
                                        CivilComplaints
  Misce llaneous




                                                                                                  0 A6030 Declaratory Relief Only                                                                       1, 2, 8

                                                                     Other Complaints             0 A6040 Injunctive Relief Only (not domestic/harassment)                                              2, 8
                                                                 (Not Specified Above) (42)       0 A6011 Other Commercial Complaint Case (non-tort/non-complex)                                        1, 2, 8
                                                                                                  0 A6000 Other Civil Complaint (non-tort/non-complex)                                                  1, 2, 8

                                                                  Partnership Corporation                                                                                                               2, 8
                                                                                                  0 A6113 Partnership and Corporate Governance Case
                                                                     Governance (21)

                                                                                                  0 A6121 Civil Harassment                                                                              2, 3, 9
      Miscellaneous
                                        Civil Petitions




                                                                                                  0 A6123 Workplace Harassment                                                                          2, 3, 9
                                                                                                  0 A6124 Elder/Dependent Adult Abuse Case                                                              2, 3, 9
                                                                    Other Petitions (Not
                                                                   Specified Above) (43)          0 A6190 Election Contest                                                                              2
                                                                                                  0 A6110 Petition for Change of Name/Change of Gender                                                  2, 7
                                                                                                  0 A6170 Petition for Relief from Late Claim Law                                                       2, 3, 8
                                                                                                  0 A6100 Other Civil Petition                                                                          2, 9




 LACIV 109 (Rev 2/16)                                                                            CIVIL CASE COVER SHEET ADDENDUM                                                                    Local Rule 2.3
                                                                                                                                                                                                               159
 LASC Approved 03-04                                                                                AND STATEMENT OF LOCATION                                                                           Page 3 of 4
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Step 4: Statement of Reason and Address: Check the appropriate boxes for the numbers shown under Column C for the
           type of action that you have selected. Enter the address which is the basis for the filing location, including zip code.
           (No address required for class action cases).

                                                                   ADDRESS:
   REASON:                                                         1716 E. 7th Street
    fl I. P2. 13. f14.115. 16. fl7. 1 8.11 9. f110. 111.



   CITY:                                  STATE:      ZIP CODE:

  Los Angeles                             CA         90021


Step 5: Certification of Assignment: I certify that this case is properly filed in the Stanley Mosk Central           District of
         the Superior Court of California, County of Los Angeles [Code Civ. Proc., §392 et seq., and Local Rule 2.3(a)(1)(E)].




  Dated: May 7, 2020
                                                                                   (SIGNATURE OF ATTORNEY/FILING PARTY)




  PLEASE HAVE THE FOLLOWING ITEMS COMPLETED AND READY TO BE FILED IN ORDER TO PROPERLY
  COMMENCE YOUR NEW COURT CASE:
       1. Original Complaint or Petition.
       2. If filing a Complaint, a completed Summons form for issuance by the Clerk.
       3. Civil Case Cover Sheet, Judicial Council form CM-010.

       4. Civil Case Cover Sheet Addendum and Statement of Location form, LACIV 109, LASC Approved 03-04 (Rev.
          02/16).
       5. Payment in full of the filing fee, unless there is court order for waiver,, partial or scheduled payments.
       6. A signed order appointing the Guardian ad Litem, Judicial Council form CIV-010, if the plaintiff or petitioner is a
          minor under 18 years of age will be required by Court in order to issue a summons.

       7. Additional copies of documents to be conformed by the Clerk. Copies of the cover sheet and this addendum
          must be served along with the summons and complaint, or other initiating pleading in the case.




  LACIV 109 (Rev 2/16)                   CIVIL CASE COVER SHEET ADDENDUM                                               Local Rule 2..3
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                   COUNTY OF LOS ANGELES                                                                      FILED
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  Stanley Mosk Courthouse
  111 North Hill Street, Los Angeles, CA 90012                                                           05/14/2020'
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   Fernando Ochoa Astudillo                                                                                  N. 'min                 C64v,
   DEFENDANT:
                                                                                           SY.
  Greyhound Lines, Inc., a Dalawara,corporation et al
                NOTICE OF CASE MANAGEMENT CONFERENCE                                           20ST.CV
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                                                                                                         •

•• - TOTHEPLAINTIFF(S)/ATTORNEY(S) FOR PLAINTIFF(S) OF RECORD:

 You pie ordered to serve this notice Of hearing on all parties/attorneys of regard forthwith, arid:Meet-0d confer with
 partlestaitomeys of record about the matters to be discussed no later than 30 days before.iheCate Managernent CohferienCe::
 `Our Case Management Conference has been scheduled at the coudhouse address shown above on;

                                     Date:                      Time:                 Dept,:
                                             10/19/2020                 9:00 AM                32

 NOTICE TO DEFENDANT: THE SETTING OF THE CASE MANAGEMENT CONFERENCE DOES NOT EXEMPT THE
                        DEFENDANT FROM FILING A RESPONSIVE PLEADING AS REQUIRED BY LAW.

 Pursuant to California Rules of Court, rutes,3.720-3.730, a completed Case Management Statement (Judicial. Council form .# .
 CM-110) must be filed at least 15 calendar days prior to the Case Management Conference, The Case Management Statement .•
 may be filed jointly by all partiesiattomeys.Of:reaord or individually by each party/attorney of record. You must belamiliar with the ,
 case and be fully prepared to participate effectively in the Case Management Conference.

   At the Case Management Conference, the Court may make pretrial orders including the, following,,but .noLlimiteetti,-am.Or*r.;;
  establishing a discovery schedUle; an order referring the cese to Alternative Dispute Resolutioh.'(ADR);.ati.didkredaiifYing'tfiC',:
  case: an order setting subsequent conference and the that date; or other orders to achievelhe:goals,',oftlie•iirialCciiid!petiy,;.?,.
  Reduction Ad (Gov. Code, § 68600 at seq.)
                                                                                       - .
• Notice is hereby .given that if you do not file the Case Management Statement_ oi-,.4-pear: atid.feffeetNe.
';.Milinegement..Conference, the Court maY                                          SPAOC.aF,F.1.114'
  sections 477.5, 575:2.; 581150 583.360 and 5831410, Government-Codk% „oft. •8, su
  Court, rule 2.2 et seq.                                                     VO? N
                                                                              1:4

 Dated:     05/14/2020

                                                     CERTIFICATE OF SERVICE

 I, the below named Executive Officer/Clerk of the above-entitled court, do hereby certify that I am not a party to the cause
 herein, and that on this date I served the Notice of Case Management Conference upon each party or counsel named below:

 2    by depositing in the United States mail at the courthouse in Los Angeles               , California, one copy of the original
      filed herein in a separate sealed envelope to each address as shown below with the postage thereon fully prepaid.

 P   by personally giving the party notice upon filing of the complaint.
      Ramin R. Younessi
      .3435 Wilshire Blvd Ste 2200
      Los Angeles, CA 90010
                                                                            Sherri R. Carter, Executive Officer / Clerk of Court


 Dated: 05/14/2020.                                                                                 By N. d!kvalos
                                                                                                     „..         Deputy
 LAGEy 132 (Rev. 07/131                                                                                    Cal. Rules of Court, rules 3.720-3.730
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                           SUPERIOR COURT OF THE STATE OF CALIFORNIA

                                   FOR THE COUNTY OF LOS ANGELES


     IN RE LOS ANGELES SUPERIOR COURT) FIRST AMENDED GENERAL ORDER
     — MANDATORY ELECTRONIC FILING )
     FOR CIVIL                      )
                                    )
                                    )
                                    )

            On December 3, 2018, the Los Angeles County Superior Court mandated electronic filing of all

     documents in Limited Civil cases by litigants represented by attorneys. On January 2, 2019, the Los

     Angeles County Superior Court mandated electronic filing of all documents filed in Non-Complex

     Unlimited Civil cases by litigants represented by attorneys. (California Rules of Court, rule 2.253(b).)
     All electronically filed documents in Limited and Non-Complex Unlimited cases are subject to the
     following:

     1) DEFINITIONS

        a) "Bookmark" A bookmark is a PDF document navigational tool that allows the reader to

            quickly locate and navigate to a designated paint of interest within a document.

        b) `Tilling Portal" The official court website includes a webpage, referred to as the efiling

            portal, that gives litigants access to the approved Electronic Filing Service Providers.

        c) "Electronic Envelope" A transaction through the electronic service provider for submission
            of documents to the Court for processing which may contain one or more PDF documents

            attached.

        d) "Electronic Filing" Electronic Filing (eFiling) is the electronic transmission to a Court of a
            document in electronic form. (California Rules of Court, rule 2.250(13)(7))



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                        FIRST AMENDED GENERAL ORDER RE MANDATORY ELECTRONIC FILING FOR CIVIL

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       e) "Electronic Filing Service Provider" An Electronic Filing Service Provider (EFSP) is a

          person or entity that receives an electronic filing from a party for retransmission to the Court.

          In the submission of filings, the EFSP does so on behalf of the electronic filer and not as an
          agent of the Court. (California Rules of Court, rule 2.250(b)(8).)
       f) "Electronic Signature" For purposes of these local rules and in conformity with Code of

          Civil Procedure section 17, subdivision (b)(3), section 34, and section l010.6, subdivision
          (b)(2), Government Code section 68150, subdivision (g), and California Rules of Court, rule

          2.257, the term "Electronic Signature" is generally defined as an electronic sound, symbol, or
          process attached to or logically associated with an electronic record and executed or adopted
          by a person with the intent to sign the electronic record.
       g) "Hyperlink" An electronic link providing direct access from one distinctively marked place

          in a hypertext or hypermedia document to another in the same or different document.
       h) "Portable Document Format" A digital document format that preserves all fonts,

          formatting, colors and graphics of the original source document, regardless of the application
          platform used.

    2) MANDATORY ELECTRONIC FILING
       a) Trial Court Records

          Pursuant to Government Code section 68150, trial court records may be created, maintained,

          and preserved in electronic format. Any document that the Court receives electronically must

          be clerically processed and must satisfy all legal filing requirements in order to be filed as an

          official court record (California Rules of Court, rules 2.100, et seq. and 2.253(b)(6)).
       b) Represented Litigants

          Pursuant to California Rules of Court, rule 2.253(b), represented litigants are required to
          electronically file documents with the Court through-an approved EFSP.
       c) Public Notice

          The Court has issued a Public Notice with effective dates the Court required parties to

          electronically file documents through one or more approved EFSPs. Public Notices containing

          effective dates and the list of EFSPs are available on the Court's website, at www.lacourt.org.

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         d) Documents in Related Cases

            Documents in related cases must be electronically filed in the eFiling portal for that case type if

            electronic filing has been implemented in that case type, regardless of whether the case has
            been related to a Civil case.
    3) EXEMPT LITIGANTS
         a) Pursuant to California Rules of Court, rule 2.253(b)(2), self-represented litigants are exempt

            from mandatory electronic filing requirements.
         b) Pursuant to Code of Civil Procedure section 1010.6, subdivision (d)(3) and California Rules of

            Court, rule 2.253(b)(4). any party may make application to the Court requesting to be excused
            from filing documents electronically and be permitted to file documents by conventional
            means if the party shows undue hardship or significant prejudice.
    4) EXEMPT FILINGS

         a) The following documents shall not be filed electronically:
            i)    Peremptory Challenges or Challenges for Cause of a Judicial Officer pursuant to Code of
                  Civil Procedure sections 170.6 or 1703;
            ii)   Bonds/Undertaking documents;
            iii) Trial and Evidentiary Hearing Exhibits
            iv)   Any ex parte application that is filed concurrently with a new complaint including those
                  that will be handled by a Writs and Receivers department in the Mask courthouse; and
            v)    Documents submitted conditionally under seal. The actual motion or application shall be
                  electronically filed. A courtesy copy of the electronically filed motion or application to

                  submit documents conditionally under seal must be provided with the documents

                  submitted conditionally under seal.
         b) Lodgments

            Documents attached to a Notice of Lodgment shall be lodged and/or served conventionally in

    paper form. The actual document entitled, "Notice of Lodgment," shall be filed electronically. "
    //



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 1   5) ELECTRONIC FILING SYSTEM WORKING PROCEDURES
 2     Electronic filing service providers must obtain and manage registration information for persons
 3     and entities electronically filing with the court.
 4 6) TECHNICAL REQUIREMENTS
 5     a) Electronic documents must be electronically filed in PDF, text searchable format when
 6         technologically feasible without impairment of the document's image.
 7     b) The table of contents for any filing must be bookrnarked.
 8     c) Electronic documents, including but not limited to, declarations, proofs of service, and
 9        exhibits, must be bookmarked within the document pursuant to California Rules of Court, rule
10         3.1110(0(4). Electronic bookmarks must include links to the first page of each bookmarked
11         item (e.g. exhibits, declarations, deposition excerpts) and with bookmark titles that identify the
12        bookedmarked item and briefly describe the item.
13     d) Attachments to primary documents must be bookmarked. Examples include, but are riot
14         limited to, the following:
15         i) Depositions;
16         ii) Declarations;
17        iii) Exhibits (including exhibits to declarations);
18         iv) Transcripts (including excerpts within transcripts);
19         v) Points and Authorities;
20         vi) Citations; and
21         vii) Supporting Briefs.
22     e) Use of hyperlinks within documents (including attachments and exhibits) is strongly
23         encouraged.
24     f) Accompanying Documents
25        Each document acompanying a single pleading must be electronically filed as a separate
26         digital PDF document.
27     g) Multiple Documents
28        Multiple documents relating to one case can be uploaded in one envelope transaction.

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 1     h) Writs and Abstracts
 2         Writs and Abstracts must be submitted as a separate electronic envelope.
 3     i) Sealed Documents
 4         If and when a judicial officer orders documents to be filed under seal, those documents must be
 5         filed electronically (unless exempted under paragraph 4); the burden of accurately designating
 6         the documents as sealed at the time of electronic submission is the submitting party's
 7         responsibility.
 8     j) Redaction
 9         Pursuant to California Rules of Court, rule 1.201, it is the submitting party's responsibility to
10         redact confidential information (such as using initials for names of minors, using the last four
11         digits of a social security number, and using the year for date of birth) so that the information
12         shall not be publicly displayed.
13   7) ELECTRONIC FILING SCHEDULE
14      a) Filed Date
15         i) Any document received electronically by the court between 12:00 am and 11:59:59 pm
16             shall be deemed to have been effectively filed on that court day if accepted for filing. Any
17             document received electronically on a non-court day, is deemed to have been effectively
18             Wed on the next court day if accepted. (California Rules of Court, rule 2.253(b)(6); Code
19             Civ. Proc. § 1010.6(b)(3).)
20         ii) Notwithstanding any other provision of this order, if a digital document is not filed in due
21             course because of: (1) an interruption in service; (2) a transmission error that is not the
22             fault of the transmitter, or (3) a processing failure that occurs after receipt, the Court may
23             order, either on its own motion or by noticed motion submitted with a declaration for Court
24             consideration, that the document be deemed filed and/or that the document's filing date
25             conform to the attempted transmission date.

26 8) EX PARTE APPLICATIONS
27      a) Ex parte applications and all documents in support thereof must be electronically filed no later
28         than 10:00 a.m. the court day before the ex parte hearing.

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       b) Any written opposition to an ex parte application must be electronically filed by 8:30 a.m. the

              day of the ex parte hearing. A printed courtesy copy of any opposition to an ex parte

              application must be provided to the court the day of the ex parte hearing.

     9) PRINTED COURTESY COPIES
        a) For any filing electronically filed two or fewer days before the hearing, a courtesy copy must
              be delivered to the courtroom by 4:30 p.m. the same business day the document is efiled. If

              the efiling is submitted after 4:30 p.m., the courtesy copy must be delivered to the courtroom

              by 10:00 a.m. the next business day.

        b) Regardless of the time of electronic filing, a printed courtesy copy (along with proof of
              electronic submission) is required for the following documents:

              i)    Any printed document required pursuant to a Standing or General Order;

              ii)   Pleadings and motions (including attachments such as declarations and exhibits) of 26
                    pages or more;

             iii)   Pleadings and motions that include points and authorities;
             iv)    Demurrers;

              v)    Anti-SLAPP filings, pursuant to Code of Civil Procedure section 425.16;
             vi)    Motions for Summary Judgment/Adjudication; and
             vii)   Motions to Compel Further Discovery.

        c) Nothing in this General Order precludes a Judicial Officer from requesting a courtesy copy of
              additional documents. Courtroom specific courtesy copy guidelines can be found at
              1.vww.lacourt.org on the Civil webpage under "Courtroom Information."

     0) WAIVER OF FEES AND COSTS FOR ELECTRONICALLY FILED DOCUMENTS

           a) Fees and costs associated with electronic filing must be waived for any litigant who has

              received a fee waiver. (California Rules of Court, rules 2.253(b)(), 2.258(b), Code Civ. Proc.

       .      1010.6(d)(2).)

           b) Fee waiver applications for waiver of court fees and costs pursuant to Code of Civil Procedure

              section 1010.6, subdivision (b)(6), and California Rules of Court, rule 2.252(f), may be

              electronically filed in any authorized action or proceeding.

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     I) SIGNATURES ON ELECTRONIC FILING
 2      For purposes of this General Order, all electronic filings must be in compliance with California
 3      Rules of Court, rule 2.257. This General Order applies to documents filed within the Civil
 4      Division of the Los Angeles County Superior Court.
 5

 6          This First Amended General Order supersedes any previous order related to electronic filing,
 7   and is effective immediately, and is to remain in effect until otherwise ordered by the Civil
 8   Supervising Judge and/or Presiding Judge.
 9
10   DATED: May 3, 2019                                                    Ce
                                                          KEVIN C. BRAZILE
11
12
                                                          Presiding Judge             477h/
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                                    V11; LUNTARY EFFICIENT LITIGATION STIPULATIONS


                                       The Early Organizational Meeting Stipulation, Discovery
                                    Resolution Stipulation, and Motions in Limine Stipulation are
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                                    voluntary stipulations entered into by the parties. The parties
                                    may enter into one, two, or all three of the stipulations;
                                    however, they may not alter the stipulations as written,
                                    because the Court wants to ensure uniformity of application.
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       ear Aasock0on Law and
       atrolopment Loa Section      manner that promotes economic case resolution and judicial
                                    efficiency.

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                                        The    following organizations endorse the goal of
       Aaaestalort ot Lao Angeles   promoting efficiency in litigation and ask that counsel
                                    consider using these stipulations as a voluntary way to
                                    promote communications and procedures among counsel
                                    and with the court to fairly resolve issues in their cases.

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       Dame Comet
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                                              *Southern California Defense Counsel0

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                       STIPULATION — DISCOVERY RESOLUTION
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          This stipulation is intended to provide a last and Informat resolution of discovery issues
          through limited paperwork and an Informal conference with the Court to aid In the
          resolution of the Issues.

          The parties agree that:

          1. Prior to the discovery cut-off in this action, no discovery motion shall be filed or heard unless
             the moving party first makes a written request for an Informal Discovery Conference pursuant
             to the terms of this stipulation.

          2. At the Memel Discovery Conference the Court will consider the dispute presented by parties
             and determine whether it can be resolved Informally. Nothing set forth herein will preclude a
             party from making a record at the conclusion of an Informal Discovery Conference, either
             orally or In writing.

          3. Following a reasonable and good faith attempt at an informal resolution of each Issue to be
             presented, a party may request an Informal Discovery Conference pursuant to the following
             procedures:

                    a. The party requesting the Informal Discovery Conference will:

                        I.     File a Request for Informal Discovery Conference with the clerk's office on the
                               approved form (copy attached) and deliver a courtesy, conformed copy to the
                               assigned department;

                       IL      Include a brief summary of the dispute and specify the relief requested; and

                               Serve the opposing party pursuant to any authorized or agreed method of service
                               that ensures that the opposing party receives the Request for informal Discovery
                               Conference no later than the next court day following the filing.

                    b. Any Answer to a Request for Informal Discovery Conference must:

                        I.     Also be filed on the approved form (copy attached);

                               Include a brief summary of why the requested relief should be denied;
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                    ut.   Be filed within two (2) court days of receipt of the Request; and

                    iv. Be served on the opposing party pursuant to any authorized or agreed upon
                          method of service that ensures that the opposing party receives the Answer no
                          later than the next court day following the filing.

             c. No other pleadings, including but not limited to exhibits, declarations, or attachments, will
                be accepted.

             d. If the Court has not granted or denied the Request for Informal Discovery Conference
                within ten (10) days following the Ming of the Request, then It shall be deemed to have
                been denied. If the Court acts on the Request, the parties will be notified whether the
                Request for informal Discovery Conference has been granted or denied and, if granted,
                the date and time of the Informal Discovery Conference, which must be within twenty (20)
                days of the filing of the Request for Informal Discovery Conference.

             e. If the conference Is not held within twenty (20) days of the filing of the Request for
                Infoneal Discovery Conference, unless extended by agreement of the parties and the
                Court. then the Request for the informal Discovery Conference shall be deemed to have
                been denied at that time.

        4. If (a) the Court has denied a conference or (b) one of the time deadlines above has expired
           without the Court having acted or (c) the Informal Discovery Conference is concluded without
           resolving the dispute, then a party may file a discovery motion to address unresolved issues.

        5. The parties hereby further agree that the time for making a motion to compel or other
           discovery motion is toiled from the date of filing of the Request for Informal Discovery
           Conference until (a) the request Is denied or deemed denied or (b) twenty (20) days after the
           filing of the Request for informal Discovery Conference, whichever is earlier, unless extended
           by Order of the Court.

            It Is the understanding and intent of the parties that this stipulation shall, for each discovery
            dispute to which it applies, constitute a writing memorializing a "specific later date to which
            the propounding for demanding or requesting) party and the responding party have agreed in
            writing," within the meaning of Code Civil Procedure sections 2030.300(c), 2031.320(c), and
            2033.290(c).

        6. Nothing herein will preclude any party from applying ex parte for appropriate relief. including
           an order shortening time for a motion to be heard concerning discovery.

        7. Any party may terminate this stipulation by giving twenty-one (21) days notice of intent to
           terminate the stipulation.

        8. References to 'days mean calendar days, unless otherwise noted. If the dale for performing
           any act pursuant to this stipulation falls on a Saturday, Sunday or Court holiday, then the lime
           for performing that act shall be extended to the next Court day.



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                       (TYPE OR PRINT NAME)                               !ATTORNEY FOR OEFERDANI
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     SUPERIOR COURT OF CALIFORNIA, COUNTY OF LOS ANGELES
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    .-CIEFENDUNT:

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                 STIPULATION — EARLY ORGANIZATIONAL MEETING

            ThIS stipulation is Intended to encourage cooperation among the parties at an early stage in
            the litigation and to aselst the partiee in efficient case resolution.
            The parties agree that:

            1. The parties commit to conduct an Initial conference (ireperson or via teleconference or via
                videozonference) within 15 days from the dale this stipulation is signed, to discuss end consider
                  whether there can be agreement on the following:

                  a Are motions to challenge the pleadings necessary? if the issue can be resolved by
                     amendment as of right, or if the Court would allow leave to amend, could an amended
                     complaint resolve most or all of the Issues a demurrer might otherwise raise? If so, the parties
                     agree to work Ituough pleading issues so that a demurrer need only raise issues they cannot
                     resolve. Is the issue that the defendant seeks to raise amenable to resolution on demurrer. or
                     would some other type of motion be preferable? Could a voluntary targeted exchange of
                     documents or information by any party cure an uncertatnty in the pleadings?
                  b. Initial mutual eechanges of documents at the -core of the litigation, (For seample, in an
                      employment case, the employment records, personnel Me and documents relating to the
                      conduct in question could be considered 'core.' In a personal Injury case, an incident or
                      police report, medical records, and repair or maintenance records could be considered


                  c Exchange of names and contact information of witnesses;

                  d. Any insurance agreement that may be available to satisfy pall or all of a judgment, or to
                        Indemnify or reimburse for payments made to satisfy a judgment

                  e. Exchange of any other information that might be helpful to facilitate understanding, handing,
                     or resofetion of the case in a manner that preserves objections or privileges by agreement

                  I. Controlling Issues of law that, if resolved early, will promote efficiency and economy In other
                      phases of the case. Also, when and how such issues can be presented to the Court

                  g. Whether or when the case should be scheduled with a settlement officer, what discovery or
                     court neng on legal issues Is reasonably required to make settlement discussions meaningful,
                     and whether the parties wish to use a sitting judge or a private mediator or other options as
           tACIv 229 (Rey 02115)
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                 discussed in the "Atternalive Dispute Resolution (ADR) Information Package" served with the
                 complaint:

                 Computation of damages, including documents, not privileged or protected from disclostme, on
                 which such computation is based;

                 Whether the case is suitable for the Expedited Jury Trial procedures (see information at
                 WWWISCOUrt,Orq/ under °C(Vir and then under "General Information").

                 The time for a defending party to respond to a complaint or cross-complaint will be extended
                 to                           for the complaint, and                               for the en:im-
                           prison DATE)                                       (MEM DATE)
                 complaint, which is comprised of the 30 days to respond under Government Code 5 688161b),
                 and the 30 days permitted by Code of Civil Procedure section 1054(a), good cause having
                 been found by the Civil Supervising Judge due to the case management benefits provided by
                 this Stipulation. A copy of the General Order can be found at www.lecourt.org under "Civil.
                 click on "General information°, then dick on "Voluntary Efficient Litigation Stipulations'.

        3.       The parties will prepare a Joint report tilled "Joint Status Report Pursuant to Initial Conference
                 and Early Organizational Meeting Stipulation, and if desired, a proposed order summarizing
                 mulls of their meet and confer and advising the Court of any way it may assist the parties'
                 efficient conduct or resolution of the case. The parties shall attach the Joint Status Report to
                 the Case Management Conference statement, and file the documents when the CMG
                 statement is due.

        4.       References to 'days" mean calendar days, unless otherwise noted. if the date for performing
                 any act pursuant to this stipulation falls on a Saturday, Sunday or Court holiday, then the time
                 For performing that act shall be extended to the next Court day

        The following parties stipulate:
        Data:


                     (TYPE OR PRINT NAME)                                      (ATTORNEY FOR RAN-TIFF)
        Dalex


                     (TYPE OR PRINT NAME)                                     (ATTORNEY FOR DEFENDANT)
        Dale:


                     (TYPE OR PRINT NAME)                                     (ATTORNEY FOR DEFENDANT)
        Date:


                     (TYPE OR PRINT NAME)                                     (ATTORNEY FOR DEFENDANT)
        Dale:


                     (TYPE OR PRINT NAME)                               (ATTORNEY FOR
        Date:


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                        INFORMAL DISCOVERY CONFERENCE
                  (pursuant to the Discovery Resolution Stipulation of the Parties)
           1. This document relates to:
                        Request for informal Discovery Conference
                        Answer to Request for informal Discovery Conference
           2. Deadline for Court to decide on Request:                   onzwi up to calixdar days fellorAng Ming of
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           3. Deadline for Court to hold informal Discovery Conference:                                          (Insert dale TO cdendar
                days l'azudag rang of ihe Request).
           4. For a Request for Informal Discovery Conference, briefly describe the nature of the
              discovery dispute, Including the facts and legal arguments at issue. For an Answer to
              Request for Informal Discovery Conference, briefly describe why the Court should deny
              the requested discovery, Including the facts and legal arguments at 1554110.




          LAMY OSLI (rtm)
                                                  INFORMAL DISCOVERY CONFERENCE
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         EALAJL ACORES (OFENral):
           ATTCRNET FOR (N2nk31:
        SUPERIOR COURT OF CALIFORNIA, COUNTY OF LOS ANGELES
        cinikritouse A00gE15:

        PLAINTIFF:

        OGFENDAOT:

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                      STIPULATION AND ORDER — EMOTIONS IN IMMUNE


              This stipulation Is intended to provide as and informal resolution of evidentiary
              issues through diligent efforts Go define and discuss such Issues and limit paperwork.


              The parties agree that:

              1. At least       days before the final status conference, each party wM provide all other
                 parties with a list containing a one paragraph explanation of each proposed motion In
                 limine. Each one paragraph explanation must identify the substance of a single proposed
                 motion in limine and the grounds for the proposed motion.

              2. The parties thereafter will Meat and confer, either in person or via teleconference or
                  videoconference, concerning al/ proposed motions in limine. In that meet and confer, the
                  parties will determine:

                     a. Whether the parties can stipulate to any of the proposed motions. If the parties so
                        stipulate, they may file a stipulation and proposed order with the Court.

                     b. Whether any of the proposed motions can be briefed and submitted by means of a
                        short joint statement of issues. For each motion which can be addressed by a short
                        Joint statement of issues, a short joint statement of issues must be filed with the Court
                        10 days prior to the final status conference. Each side's portion of the short joint
                        statement of issues may not exceed three pages. The parties will meet and confer to
                        agree on a dale and manner for exchanging the parties' respective portions of the
                        short joint statement of issues and the process for tiling the short joint statement of
                        Issues.

              3. All proposed motions in limine that are not either the subject of a stipulation or briefed via
                  a short joint statement of issues will be briefed and filed in accordance with the California
                  Rules of Court and the Los Angeles Superior Court Rules.



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                  (TYPE OR PRINT NAME)                         (ATTORNEY FOR DEFENDANT)
         Date:
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                  (TYPE OR PRINT NAME)                         (ATTORNEY FOR DEFENDANT)
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         THE COURT SO ORDERS.

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What is ADR?
ADR helps people find solutions to their legal disputes without going to trial. The main types of ADR are negotiation,
mediation, arbitration, and settlement conferences. When ADR is done by phone, videoconference or computer, it may
be called Online Dispute Resolution (ODR). These alternatives to litigation and trial are described below.


Advantages of ADR
    •   Saves Time: ADR is faster than going to trial.
    •   Saves Money: Parties can save on court costs, attorney's fees, and witness fees.
    •   Keeps Control (with the parties): Parties choose their ADR process and provider for voluntary ADR.
    •   Reduces Stress/Protects Privacy: ADR is done outside the courtroom, in private offices, by phone or online.


Disadvantages of ADR
    •   Costs: If the parties do not resolve their dispute, they may have to pay for ADR and litigation and trial.
    •   No Public Trial: ADR does not provide a public trial or a decision by a judge or jury.


Main Types of ADR:

    1. Negotiation: Parties often talk with each other in person, or by phone or online about resolving their case with a
       settlement agreement instead of a trial. If the parties have lawyers, they will negotiate for their clients.

    2. Mediation: In mediation, a neutral mediator listens to each person's concerns, helps them evaluate the
       strengths and weaknesses of their case, and works with them to try to create a settlement agreement that is
       acceptable to all. Mediators do not decide the outcome. Parties may go to trial if they decide not to settle.

                  Mediation may be appropriate when the parties
                     • want to work out a solution but need help from a neutral person.
                     • have communication problems or strong emotions that interfere with resolution.
                  Mediation may not be appropriate when the parties
                     • want a public trial and want a judge or jury to decide the outcome.
                     • lack equal bargaining power or have a history of physical/emotional abuse.




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                   Mediators and APR and Bar organizations that provide niediatibn may be found on the Internet.
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    3. Arbitration: Arbitration is less formal than trial, but like trial, the parties present evidence and arguments to the
       person who decides the outcome. In "binding" arbitration, the arbitrator's decision is final; there is no right to
       trial. In "nonbinding" arbitration, any party can request a trial after the arbitrator's decision. For more
       information about arbitration, visit http://www.courts.ca.Rov/programs-adr.htm

    4. Mandatory Settlement Conferences (MSC}: MSCs are ordered by the Court and are often held close to the trial
       date or on the day of trial. The parties and their attorneys meet with a judge or settlement officer who does not
       make a decision but assists the parties in evaluating the strengths and weaknesses of the case and in negotiating
       a settlement. For information about the Court's MSC programs for civil cases, visit
       httpl/www.lacourt.oredivision/civil/C10047.aspx



Los Angeles Superior Court ADR website: http://www.lacourtorg/divisionicivil/C10109.aspx
For general information and videos about ADR, visit http://www.courts.ca.gov/programs-adr.htm




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         RTATE OF CAI IFORNIA I EktsInfrk.a Cannamer Sal-Oral and MrnmInn Aunnev             GAVIN NEWSOM GOVERN0a
                                                                                                 KEVIN KISH, DIRECTOR
          DEPARTMENT OF FAIR EMPLOYMENT & HOUSING
          2218 Kausen Drive, Suite 100 I Elk Grove I CA I 95758
          (BOO) 684-1684 (Voice) 1(800) 700-2320 (ITY) I California's Relay Service at 711
          http://www.dieh.ca.gov I Email: contaacenter©cfleh,ca.gov
                       •
   May 7, 2020

   Ramin R. Younessi
   3435 Wilshire Blvd, Suite 2200
   Los Angeles, California 90010

   RE:   Notice to Complainant's Attorney
         DFEH Matter Number: 202004-09869509
         Right to Sue: Ochoa Astudillo / GREYHOUND LINES, INC.

   Dear Ramin R. Younessi:

   Attached is a copy of your amended complaint of discrimination filed with the
   Department of Fair Employment and Housing (DFEH) pursuant to the California Fair
   Employment and Housing Act, Government Code section 12900 et seq.

   Pursuant to Government Code section 12962, DFEH will not serve these documents on
   the employer. You or your client must serve the complaint.

   The amended complaint is deemed to have the same filing date of the original
   complaint. This is not a new Right to Sue letter. The original Notice of Case Closure
   and Right to Sue issued in this case remains the only such notice provided by the
   DFEH. (Cal. Code Regs., tit. 2, § 10022.)

  Be advised that the DFEH does not review or edit the complaint form to ensure that it
  meets procedural or statutory requirements.

   Sincerely,


   Department of Fair Employment and Housing -




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 1                     COMPLAINT OF EMPLOYMENT DISCRIMINATION
                             BEFORE THE STATE OF CALIFORNIA
 2                   DEPARTMENT OF FAIR EMPLOYMENT AND HOUSING
                     Under the California Fair Employment and Housing Act
 3
                                  (Gov. Code, § 12900 et seq.)
 4
     In the Matter of the Complaint of
 5    Fernando Alfonso Ochoa Astudillo                          DFEH No. 202004-09869509
 6                               Cornplainant,
 7 VS.

 8    GREYHOUND LINES, INC.
      600 VINE STREET, SUITE 1400
 9    CINCINNATI OH 45202, Ohio 45202
10
      Claudio Arriola
11    1716 E. 7th Street
      Los Angeles, California 90021
12
                           Respondents
13

14
   1. Respondent GREYHOUND LINES, INC. is an employer subject to suit under the
15 California Fair Employment and Housing Act (FEHA) (Gov. Code, § 12900 et seq.).
16 2. Complainant Fernando Alfonso Ochoa Astudillo, resides in the City of Los
   Angeles State of California.
17

18 3. Complainant alleges that on or about April 15, 2019, respondent took the
   following adverse actions:
19
   Complainant was harassed because of complainant's disability (physical or
20 mental), medical condition (cancer or genetic characteristic), age (40 and over),
   other.
21
22 Complainant was discriminated against because of complainant's disability
   (physical or mental), medical condition (cancer or genetic characteristic), age (40
23 and over), other and as a result of the discrimination was terminated, laid off, denied
   hire or promotion, reprimanded, demoted, asked impermissible non-job-related
24 questions, denied any employment benefit or privilege, denied reasonable
   accommodation for a disability, other, denied work opportunities or assignments.
25

26

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                                 Complaint — DFEH No. 202004-09869509
28 Date Filed: April 9, 2020
     Date Amended: May 7, 2020
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 1 Complainant experienced retaliation because complainant reported or resisted
   any form of discrimination or harassment, requested or used a disability-related
 2 accommodation and as a result was terminated, denied hire or promotion,
 3 reprimanded, suspended, demoted, asked impermissible non-job-related questions,
   denied any employment benefit or privilege, denied reasonable accommodation for a
 4 disability, other, denied or forced to transfer.

 5
   Additional Complaint Details: Fernando Alfonso Ochoa Astudillo ("Mr. Ochoa")
 6 was hired by Greyhound Lines, Inc. (hereinafter "Employer") as a driver on or about

 7 April 16, 2013. Mr. Ochoa performed his job duties satisfactorily until the date of his
   wrongful termination of April 15, 2019. Mr. Ochoa was 71 years old at the time of his
 8 termination.
   In or around January 2019, Mr. Ochoa developed pain in his knees due to the
 9 repetitive nature of his duties. This pain impaired Mr. Ochoa's major life activity of
   working, thus constituting a disability. Mr. Ochoa reported his disability to his driving
10
   manager, Claudio Arriola (hereinafter "Mr. Arriola") (together with Employer,
11 "Respondents"), and asked to be sent to the clinic. Mr. Arriola rejected Mr. Ochoa's
   request. Mr. Ochoa then informed another supervisor, Terrance Ford, of his
12 disability and requested to be sent to the clinic. Mr. Ford directed Mr. Ochoa back to
   Mr. Arriola, who again rejected Mr. Ochoa's request. Due to Respondent's refusal to
13 send Mr. Ochoa to a clinic, Mr. Ochoa had no choice but to file a workers'
   compensation claim.
14
   In or around early-March 2019, Mr. Ochoa finally obtained medical treatment and
15 was   informed that that he needed surgery to replace both his knees and was placed
   on medical leave. Mr. Ochoa promptly informed Defendant of his medical leave.
16 Shortly thereafter, and while on medical leave, Employer terminated Mr. Ochoa on
   or about April 15, 2019.
17 In the event that Employer claims that Mr. Ochoa was not terminated, then it has
18 failed and continued to fail to engage in a good faith interactive process to provide
   reasonable accommodations and return Mr. Ochoa to his employment.
19 Respondents discriminated, harassed, retaliated against, and terminated Mr. Ochoa
   because of his age, disability, perceived disability, medical condition, perceived
20 medical condition, engagement in protected activities and request for a good faith,
   genuine interactive process and accommodations. Respondents failed and refused
21 to engage in any good faith interactive process to discuss and/or arrange for
22 accommodations. Respondents and refused to stop and prevent discrimination and
   retaliation and return Mr. Ochoa to his employment.
23

24

25

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1 VERIFICATION

2 I, Ramin Younessi, am the Attorney in the above-entitled complaint. I have read the
  foregoing complaint and know the contents thereof. The matters alleged are based
3
  on information and belief, which I believe to be true.
4
  On May 7, 2020, I declare under penalty of perjury under the laws of the State of
5 California that the foregoing is true and correct.

6                                                                       Los Angeles, CA
7

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     Ramin R. Younessi, Esq. (SBN 175020)
     Samantha L. Ortiz, Esq. (SBN 312503)
     LAW OFFICES OF RAMIN R. YOUNESSI
     A PROFESSIONAL LAW CORPORATION
     3435 Wilshire Boulevard, Suite 2200
     Los Angeles, California 90010
     Telephone: (213) 480-6200
     Facsimile: (213) 480-6201

     Attorney for Plaintiff,
     FERNANDO OCHOA ASTUDILLO




                          SUPERIOR COURT OF THE STATE OF CALIFORNIA
                      FOR THE COUNTY OF LOS ANGELES, CENTRAL DISTRICT

     FERNANDO OCHOA ASTUDILLO, an                        Case No.: 20STCV17492
     individual.
                                                         Assigned to the Honorable Judge Daniel S. Murphy,
                                  Plaintiff,             Dept. 32
            V.                                           STATEMENT OF DAMAGES
     GREYHOUND LINES, INC., a Delaware
     corporation; CLAUDIO ARRIOLA, an                    [Code Civ. Proc. § 425A15]
     individual; and DOES 1 through 20, inclusive,
                                  Defendants.

                                                        Action Filed: May 7, 2020
                                                        Trial Date: None Set Yet

            NOTICE TO DEFENDANT GREYHOUND LINES, INC.:
            PLEASE TAKE NOTICE that Plaintiff FERNANDO OCHOA ASTUDILLO seeks judgment
     against you, in an amount according to proof but estimated to be no less than $500,000.00, in a money

     judgment representing compensatory damages including lost wages, earnings, commissions, retirement
     benefits, and other employee benefits, and all other sums of money, together with interest on these
     amounts; for other special damages; and for general damages for mental pain and anguish and

     emotional distress and loss of earning capacity;
            PLEASE TAKE FURTHER NOTICE that Plaintiff FERNANDO OCHOA ASTUDILLO
     reserves the right to seek $1,000,000 in punitive damages when Plaintiff seeks a judgment in the suit

     filed against you.


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     DATED: May 28, 2020                        LAW OFFICES OF RAIVIIN R. YOUNESSI
                                                A PROFESSIONAL LAW CORPORATION


                                                               IP
                                                By:
                                                          in R. You si, Esq.
                                                      S. antha L. Ortiz, Esq.
                                                      Attorney for Plaintiff
                                                      FERNANDO OCHOA ASTUDILLO




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   ATTORNEY OR PARTY WITHOUT ATTORNEY (Name, Safe Bar number, and edtkess):                                                      FOR COURT USE ONLY

   Ramin R. Younessi, Esq. (SBN 175020)
   Samamha L. Ortiz, Esq. (SBN 312503)
   Law Offices of Ramin R. Younessi, A.P.L.C
    3435 Wiishire Blvd., Suite 2200, Los Angeles, CA 90012
                TELEPHONE NO.: (213) 480-6200                        FAX NO. (Optional): (213) 480-620 1

    e-mail address (Optional): sortiz@younessiIaw.eom

        ATTORNEY FOR (Name):
                                   Plaintiff, Fernando Ochoa Astudillo

   SUPERIOR COURT OF CALIFORNIA COUNTY OfLos Angeles
              stoeet address: 1 1 1 North Hill Street
             MAILING ADDRESS;

            city AND ZIP CODE: Los Angeles 90012
                  branch           Central District




         PLAINTIFF/PETITIONER: Fernando Ochoa Astudillo

    DEFENDANT/RESPONDENT: Greyhound Lines, Tnc., et al.

                                                                                                                        CASE NUMBER;
                        NOTICE AND ACKNOWLEDGMENT OF RECEIPT—CIVIL                                                                20STCV 17492



TO (insert name of party being sen/ed)-GRBYHOUND LINES. INC., a Delaware corporation



                                                                              NOTICE
    The summons and other documents identified below are being served pursuant to section 41 5.30 of the California Code of Civil
    Procedure. Your failure to complete this form and return it within 20 days from the date of mailing shown below may subject you
    (or the party on whose behalf you are being served) to liability for the payment of any expenses incurred in serving a summons
    on you in any other manner permitted by law.

    If you are being served on behalf of a corporation, an unincorporated association (including a partnership), or other entity, this
    form must be signed by you in the name of such entity or by a person authorized to receive service of process on behalf of such
    entity. In all other cases, this form must be signed by you personally or by a person authorized by you to acknowledge receipt of
    summons. If you return this form to the sender, service of a summons is deemed complete on the day you sign the
    acknowledgment of receipt below.

     Date of mailing:May 28, 2020

   Samantha L. Ortiz, Esq.
                                         CTYPE OR PRINT NAME)                                                          i-MUST NOT BE A PARTY IN THIS CASE)


                                                                ACKNOWLEDGMENT OF RECEIPT

    This acknowledges receipt of (to be completed by sender before mailing):
     1 . I <r l      A copy of the summons and of the complaint
     2. I * I         Other (specify):
                     Notice of Case Assignment; Civil Case Cover Sheets; First Amended General Order; Statement of
                     Damages; Notice of Case Management Conference; and Amended Complaint of Employment
                      Discrimination before the State of California Department of Fair Employment and Housing

    (To be completed by recipient):


     Date this form is signed: £=>//"?/2TD
           \3ol v/T                Cj   CjvJO



           GreyVvo^cX Lines
                  (TYPE OR PRINT YOUR NAME AND NAME OF ENTITY. IF ANY,                          (SIGNATURE OF PERSON ACKNOWLEDGING RECEIPT, WITH TITLE IF
                            ON WHOSE BEHALF THIS FORM IS SIGNED)                             ACKNOWLEDGMENT IS MADE ON BEHALF OF ANOTHER PERSON OR ENTITY)




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Foim Adopted for Mandatory Use                                                                                                               Code of Civil Procedure.
  Judicial Council of California                NOTICE AND ACKNOWLEDGMENT OF RECEIPT — CIVIL                                                      §§4*5,30. 4*7.10
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Electronically FILED by Superior Court of California, County of Los Angeles on 07/17/2020 11:47 AM Sherri R. Carter, Executive Officer/Clerk of Court, by R. Yanez,Deputy Clerk


                        1      DAVID J. DOW, Bar No. 179407
                               LITTLER MENDELSON, P.C.
                        2      501 W. Broadway
                               Suite 900
                        3      San Diego, CA 92101.3577
                               Telephone: 619.232.0441
                        4      Fax No.:     619.232.4302
                               ddow@littler.com
                        5
                               JOHN A. (DREW) SCHAFFER, Bar No. 320905
                        6      LITTLER MENDELSON, P.C.
                               18565 Jamboree Rd.
                        7      Suite 800
                               Irvine, CA 92612
                        8      Telephone: 949-705-3000
                               Fax No.:     949-724.1201
                        9      dschaffer@littler.com

                     10        Attorneys for Defendant
                               GREYHOUND LINES, INC.
                     11
                                                         SUPERIOR COURT OF THE STATE OF CALIFORNIA
                     12
                                                                              COUNTY OF LOS ANGELES
                     13

                     14        FERNANDO OCHOA ASTUDILLO, an                                        Case No. 20STCV17492
                               individual,                                                         ASSIGNED FOR ALL PURPOSES TO
                     15                                                                            THE HON. DANIEL MURPHY,
                                                     Plaintiff,                                    DEPT. 32
                     16
                                     v.                                                            DEFENDANT GREYHOUND LINES,
                     17                                                                            INC.’S ANSWER TO PLAINTIFF’S
                               GREYHOUND LINES,INC., a Delaware                                    COMPLAINT
                     18        corporation; CLAUDIO ARRIOLA, an
                               individual; and DOES 1 through 20,                                  Complaint Filed: May 7, 2020
                     19        inclusive,                                                          Trial Date:      N/A
                     20                              Defendants.
                     21

                     22

                     23

                     24

                     25

                     26

                     27

                     28
LITTLE R MEND ELSO N, P .C .
                                                                                                  1.
       501 W. Broadway
           Suite 900
   San Diego, CA 92101. 3577                                  DEFENDANT GREYHOUND LINES, INC.’S ANSWER
         619.232.0441
                                                                     TO PLAINTIFF’S COMPLAINT                                                                      189
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                        1                Defendant Greyhound Lines, Inc. (“Defendant”) hereby answers the unverified Complaint

                        2      (“Complaint”) of Plaintiff Fernando Ochoa Astudillo (“Plaintiff”) as follows:

                        3                                             GENERAL DENIAL

                        4                Defendant Greyhound Lines, Inc. generally denies each and every allegation contained in

                        5      Plaintiff’s Complaint pursuant to section 431.30 of the California Code of Civil Procedure, and

                        6      further denies that Plaintiff is entitled to equitable or injunctive relief, compensatory damages,

                        7      restitution, attorneys’ fees, prejudgment interest, costs of suit, or any other relief of any kind

                        8      whatsoever.

                        9                                         AFFIRMATIVE DEFENSES

                     10               Defendant Greyhound Lines, Inc. asserts the following affirmative defenses. In so doing,

                     11        Defendant does not concede that Defendant has the burden of production or proof as to any

                     12        affirmative defense asserted below.     Further, Defendant does not presently know all the facts

                     13        concerning the conduct of Plaintiff in order to be able to state all affirmative defenses at this time.

                     14        Accordingly, Defendant will seek leave of this Court to amend this Answer should it later discover

                     15        facts demonstrating the existence of additional affirmative defenses.

                     16                                        FIRST AFFIRMATIVE DEFENSE

                     17                                        (FAILURE TO STATE A CLAIM)

                     18                  1.    As a separate and distinct affirmative defense, Defendant Greyhound Lines, Inc.

                     19        alleges that the Complaint and each cause of action set forth therein fail to state facts sufficient to

                     20        constitute a cause of action upon which relief may be granted.

                     21                                      SECOND AFFIRMATIVE DEFENSE

                     22                                                     (WAIVER)

                     23                  2.    As a separate and distinct affirmative defense, Defendant Greyhound Lines, Inc. is

                     24        informed and believes that further investigation and discovery will reveal and, on that basis allege,

                     25        that the Complaint and each cause of action set forth therein are barred by the equitable doctrine of

                     26        waiver.

                     27

                     28
LITTLE R MEND ELSO N, P .C .
                                                                                2.
       501 W. Broadway
           Suite 900
   San Diego, CA 92101. 3577                            DEFENDANT GREYHOUND LINES, INC.’S ANSWER
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                        1                                      THIRD AFFIRMATIVE DEFENSE

                        2                                                  (ESTOPPEL)

                        3             3.        As a separate and distinct affirmative defense, Defendant Greyhound Lines, Inc. is

                        4      informed and believes that further investigation and discovery will reveal and, on that basis allege,

                        5      that the Complaint and each cause of action set forth therein are barred by the equitable doctrine of

                        6      estoppel.

                        7                                     FOURTH AFFIRMATIVE DEFENSE

                        8                                              (UNCLEAN HANDS)

                        9             4.        As a separate and distinct affirmative defense, Defendant Greyhound Lines, Inc. is

                     10        informed and believes that further investigation and discovery will reveal and, on that basis allege,

                     11        that the Complaint and each cause of action set forth therein are barred by the equitable doctrine of

                     12        unclean hands.

                     13                                        FIFTH AFFIRMATIVE DEFENSE

                     14                                                     (CONSENT)

                     15               5.        As a separate and distinct affirmative defense, Defendant Greyhound Lines, Inc. is

                     16        informed and believes that further investigation and discovery will reveal and, on that basis allege,

                     17        that the Complaint and each cause of action set forth therein, or some of them, are barred, in whole

                     18        or in part, by Plaintiff’s express or implied consent to the conduct attributed to Defendant.

                     19                                        SIXTH AFFIRMATIVE DEFENSE

                     20                                          (STATUTE OF LIMITATIONS)

                     21               6.        As a separate and distinct affirmative defense, Defendant Greyhound Lines, Inc.

                     22        alleges that the Complaint and each cause of action alleged therein are barred by the applicable

                     23        statute of limitations, including but not limited to those under California Government Code sections

                     24        12960(d) & 12965(b), California Code of Civil Procedure sections 335.1, 338, & 340, California

                     25        Labor Code Section 203, and/or California Business and Professions Code section 17208.

                     26                                          SEVENTH AFFIRMATIVE DEFENSE

                     27                           (FAILURE TO EXHAUST ADMINISTRATIVE REMEDIES)

                     28               7.        As a separate and distinct affirmative defense, Defendant Greyhound Lines, Inc.
LITTLE R MEND ELSO N, P .C .
                                                                                3.
       501 W. Broadway
           Suite 900
   San Diego, CA 92101. 3577                             DEFENDANT GREYHOUND LINES, INC.’S ANSWER
         619.232.0441
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                        1      alleges that Plaintiff failed to exhaust administrative remedies. Insofar as Plaintiff seeks to recover

                        2      under the California Fair Employment and Housing Act (“FEHA”) for any alleged incident not

                        3      contained in any charge filed with the Department of Fair Employment and Housing (“DFEH”), for

                        4      any incident that allegedly occurred more than one year prior to filing the DFEH charge, or for any

                        5      conduct against a party not named in the DFEH charge, Plaintiff is not entitled to relief for such

                        6      incident.

                        7                                     EIGHTH AFFIRMATIVE DEFENSE

                        8                                    (PLAINTIFF’S BREACH OF DUTIES)

                        9             8.      As a separate and distinct affirmative defense, Defendant Greyhound Lines, Inc. is

                     10        informed and believes that further investigation and discovery will reveal and, on that basis allege,

                     11        that Plaintiff’s claims are barred by his own breach of the duties owed to Defendant Greyhound

                     12        Lines, Inc. pursuant to California Labor Code sections 2854-2859.

                     13                                        NINTH AFFIRMATIVE DEFENSE

                     14                                            (FAILURE TO MITIGATE)

                     15               9.      As a separate and distinct affirmative defense, Defendant Greyhound Lines, Inc. is

                     16        informed and believes that further investigation and discovery will reveal and, on that basis allege,

                     17        that Plaintiff failed to take reasonable actions to mitigate his damages, if any, and any recovery to

                     18        which Plaintiff might be entitled must be reduced by reason of his failure to mitigate his damages, if

                     19        any.

                     20                                       TENTH AFFIRMATIVE DEFENSE

                     21                                                (OFFSET/SET OFF)

                     22               10.     As a separate and distinct affirmative defense, Defendant Greyhound Lines, Inc.

                     23        asserts that the Complaint and each cause of action set forth therein is subject to the doctrines of set

                     24        off, offset and/or recoupment on the part of Defendant.

                     25                                     ELEVENTH AFFIRMATIVE DEFENSE

                     26                                 (AVOIDABLE CONSEQUENCES DOCTRINE)

                     27               11.     As a separate and distinct affirmative defense, Defendant Greyhound Lines, Inc.

                     28        alleges that all or portions of Plaintiff’s claims are barred by the doctrine of avoidable consequences
LITTLE R MEND ELSO N, P .C .
                                                                                  4.
       501 W. Broadway
           Suite 900
   San Diego, CA 92101. 3577                            DEFENDANT GREYHOUND LINES, INC.’S ANSWER
         619.232.0441
                                                               TO PLAINTIFF’S COMPLAINT                                     192
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                        1      because it took reasonable steps to comply with the law, but Plaintiff unreasonably failed to follow

                        2      his employer’s policies and practices and failed to use the preventative and corrective opportunities

                        3      provided to his, and the reasonable adherence to or use of such procedures would have prevented at

                        4      least some, if not all, of the harm Plaintiff allegedly suffered.

                        5                                    TWELFTH AFFIRMATIVE DEFENSE

                        6                                       (AFTER-ACQUIRED EVIDENCE)

                        7             12.     As a separate and affirmative defense, Defendant Greyhound Lines, Inc. is informed

                        8      and believes that further investigation and discovery will reveal and, on that basis allege, that any

                        9      recovery on Plaintiff’s Complaint or any cause of action alleged therein is barred due to after-

                     10        acquired evidence, which independently justified the termination of Plaintiff’s employment.

                     11                                    THIRTEENTH AFFIRMATIVE DEFENSE

                     12                                                  (MIXED MOTIVE)

                     13               13.     As a separate and distinct affirmative defense, Plaintiff’s Complaint and each

                     14        purported cause of action therein, or some of them, cannot be maintained against Defendant because,

                     15        if any unlawful motive existed in connection with any employment decision involving Plaintiff,

                     16        which Defendant denies, any and all claims are nevertheless barred because such employment

                     17        decision would have been the same without such alleged unlawful motive.

                     18                                    FOURTEENTH AFFIRMATIVE DEFENSE

                     19               (FAILURE TO EXERCISE REASONABLE PREVENTIVE OR CORRECTIVE

                     20                                                  OPPORTUNITIES)

                     21               14.     As a separate and distinct affirmative defense, Defendant Greyhound Lines, Inc.

                     22        alleges that t exercised reasonable care to prevent any unlawfully harassing, discriminatory,

                     23        retaliatory, and/or otherwise unlawful workplace conduct allegedly experienced by Plaintiff.

                     24        Plaintiff unreasonably failed to take advantage of any preventive or corrective opportunities

                     25        provided by Defendant or to otherwise notify Defendant or take any other steps to avoid the harms

                     26        alleged in his Complaint, and thus Plaintiff’s claims are barred.

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LITTLE R MEND ELSO N, P .C .
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       501 W. Broadway
           Suite 900
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                        1                                   FIFTEENTH AFFIRMATIVE DEFENSE

                        2        (LACK OF PROXIMATE CAUSE AND FAILURE TO EXERCISE ORDINARY CARE)

                        3             15.     As a separate and distinct affirmative defense, if any loss, injury, damage or detriment

                        4      occurred as alleged in the Complaint, the loss, injury, damage or detriment was caused and

                        5      contributed to by the actions of Plaintiff, and, as Plaintiff did not exercise ordinary care, his own acts

                        6      and omissions proximately caused and contributed to the loss, injury, damage or detriment alleged

                        7      by Plaintiff. Plaintiff’s recovery from Defendant, if any, should be barred entirely or, at a minimum,

                        8      reduced in proportion to the percentage of Plaintiff’s negligence or fault.

                        9                                   SIXTEENTH AFFIRMATIVE DEFENSE

                     10                  (LEGITIMATE BUSINESS REASONS FOR EMPLOYMENT DECISION)

                     11               16.     As a separate and distinct affirmative defense, Defendant Greyhound Lines, Inc.

                     12        alleges that the Complaint and each cause of action set forth therein are barred, in whole or in part,

                     13        because the employment decisions about which Plaintiff complains were based upon legitimate, non-

                     14        discriminatory, and non-retaliatory business reasons.

                     15                                   SEVENTEENTH AFFIRMATIVE DEFENSE

                     16                           (NO KNOWLEDGE JUSTIFYING PUNITIVE DAMAGES)

                     17               17.     As a separate and distinct affirmative defense, Defendant Greyhound Lines, Inc.

                     18        alleges that without admitting to any of the acts, conduct or statements attributed to Defendant by

                     19        Plaintiff’s Complaint, Plaintiff’s claims for punitive damages are barred because the acts, conduct or

                     20        statements contained in Plaintiff’s Complaint were not taken with the advance knowledge, conscious

                     21        disregard, authorization, ratification or act of oppression, fraud or malice on the part of an officer,

                     22        director or managing agent of Defendant.

                     23                                    EIGHTEENTH AFFIRMATIVE DEFENSE

                     24                                        (PUNITIVE DAMAGES BARRED)

                     25               18.     As a separate and affirmative defense, Defendant Greyhound Lines, Inc. alleges that

                     26        its good faith efforts to prevent discrimination, retaliation, and any other unlawful acts bars any

                     27        award for punitive damages or exemplary damages as set forth in Kolstad v. Am. Dental Assn., 527

                     28        U.S. 526 (1999).
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                        1                                 NINETEENTH AFFIRMATIVE DEFENSE

                        2                (FAILURE TO STATE A CLAIM UPON WHICH PUNITIVE DAMAGES

                        3                                             CAN BE AWARDED)

                        4             19.     Plaintiff’s Complaint, and each purported cause of action alleged against Defendant

                        5      Greyhound Lines, Inc. therein, fails to state a claim upon which an award of punitive and exemplary

                        6      damages can be granted.

                        7                                  TWENTIETH AFFIRMATIVE DEFENSE

                        8                                             (ACTS OF OTHERS)

                        9             20.     Any damages allegedly incurred by Plaintiff are the results of acts, omissions,

                     10        conduct, negligence, or fraud by Plaintiff and/or persons other than Defendant.

                     11                                  TWENTY-FIRST AFFIRMATIVE DEFENSE

                     12                                                   (NO INJURY)

                     13               21.     As a separate and distinct affirmative defense, Defendant Greyhound Lines, Inc.

                     14        alleges that Plaintiff sustained no injury, as defined in Labor Code section 226(e)(2), from any

                     15        alleged failure to provide wage statements in conformity with Labor Code section 226(a) or from

                     16        any other alleged violation of the California Labor Code.

                     17                                TWENTY-SECOND AFFIRMATIVE DEFENSE

                     18                       (ALTERNATIVE CAUSATION FOR EMOTIONAL DISTRESS)

                     19               22.     As a separate and distinct affirmative defense, Defendant Greyhound Lines, Inc.

                     20        alleges that if Plaintiff suffered any emotional distress, his emotional distress was caused by factors

                     21        other than Plaintiff’s employment, the actions of Defendant, or anyone acting on its behalf.

                     22                                  TWENTY-THIRD AFFIRMATIVE DEFENSE

                     23                                  (COLLATERAL ESTOPPEL/RES JUDICATA)

                     24               23.     Plaintiff’s claims are barred, in whole or in part, by the doctrines of res judicata

                     25        and/or collateral estoppel, including based on the settlement and Judgment entered in Scott v.

                     26        Greyhound Lines, Inc., Sacramento County Superior Court Case No. Case No. 34-2017-00219188.

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                        1                              TWENTY-FOURTH AFFIRMATIVE DEFENSE

                        2                                                (GOOD FAITH)

                        3             24.     Defendant Greyhound Lines, Inc. acted reasonably, lawfully, and in good faith at all

                        4      times material herein based on all relevant facts and circumstances known to it.

                        5                                TWENTY-FIFTH AFFIRMATIVE DEFENSE

                        6                            (MEAL PERIODS AND REST PERIODS– WAIVER)

                        7             25.     Defendant Greyhound Lines, Inc. alleges that it reasonably and in good faith provided

                        8      Plaintiff with meal and rest periods, and that any failure by Plaintiff to take meal and/or rest breaks

                        9      constituted a waiver by Plaintiff to take such meal and/or rest periods, including by an intentional

                     10        decision not to take a meal or rest period and/or to the extent that Plaintiff’s failure to take meal

                     11        and/or rest breaks was the result of a failure by Plaintiff to follow Defendant Greyhound Lines,

                     12        Inc.’s reasonable instructions.

                     13                                 TWENTY-SIXTH AFFIRMATIVE DEFENSE

                     14                        (MEAL PERIODS AND REST PERIODS – NO HINDRANCE)

                     15               26.     Plaintiff’s meal and rest period-related claims are barred, in whole or in part, because

                     16        Defendant Greyhound Lines, Inc. did not prevent Plaintiff from taking such breaks.

                     17                                TWENTY-SEVENTH AFFIRMATIVE DEFENSE

                     18                                          (MEAL PERIODS – WAIVER)

                     19               27.     The meal period claims fail to the extent that Plaintiff waived his meal period on days

                     20        in which the total work period was no more than six hours and waived his meal periods on days in

                     21        which the total work period was between ten and twelve hours and in which he waived his second

                     22        meal period and did not waive his first meal period.

                     23                                 TWENTY-EIGHTH AFFIRMATIVE DEFENSE

                     24                                (MEAL PERIODS – ON-DUTY MEAL PERIOD)

                     25               28.     Plaintiff’s meal period-related claims are barred, in whole or in part, to the extent that

                     26        he has entered into on-duty meal period agreement.

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                        1                               TWENTY-NINTH AFFIRMATIVE DEFENSE

                        2             (WAGE STATEMENTS – NO “KNOWING AND INTENTIONAL FAILURE”)

                        3             29.     Any alleged non-compliance with California Labor Code section 226 was not

                        4      “knowing and intentional.”

                        5                                   THIRTIETH AFFIRMATIVE DEFENSE

                        6                                           (BONA FIDE DISPUTE)

                        7             30.     Plaintiff’s claims for penalties are barred, in whole or in part, because there is a bona

                        8      fide good faith dispute as to whether and in what amount any compensation is due to Plaintiff.

                        9                                THIRTY-FIRST AFFIRMATIVE DEFENSE

                     10                          (MEAL AND REST BREAK PROVISIONS PREEMPTED)

                     11               31.     Defendant Greyhound Lines, Inc. alleges that California’s meal and rest break

                     12        statutes and provisions are preempted as to passenger-carrying bus drivers pursuant to 49 U.S.C.

                     13        31141 as applied by the Department of Transportation Federal Motor Carrier Safety Administration

                     14        in Docket No. FMCSA-2019-0048.

                     15                                 THIRTY-SECOND AFFIRMATIVE DEFENSE

                     16                      (CAL. BUS. & PROF. § 17200 ET SEQ. – UNCONSTITUTIONAL)

                     17               32.     California Business and Professions Code section 17200 et seq. is vague and

                     18        overbroad, such that prosecution of a representative action under this statute, as applied to the facts

                     19        and circumstances of this case, would constitute a denial of Defendant Greyhound Lines, Inc.’s

                     20        substantive and procedural due process rights in violation of the Fourteenth Amendment to the

                     21        United States Constitution and the California Constitution, and right to equal protection.

                     22                                  THIRTY-THIRD AFFIRMATIVE DEFENSE

                     23                                     (PENALTIES UNCONSTITUTIONAL)

                     24               33.     Defendant Greyhound Lines, Inc. alleges that to the extent Plaintiff seeks civil or

                     25        statutory penalties, such claims violate the Fifth, Eighth and Fourteenth Amendments of the United

                     26        States Constitution and also violate Article 1, sections 7 and 8 of the California Constitution,

                     27        including the prohibition against excessive fines and State Farm Mutual Insurance Company v.

                     28        Campbell, 538 U.S. 408 (2003).
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                        1                                 THIRTY-FOURTH AFFIRMATIVE DEFENSE

                        2                             (CAL. BUS. & PROF. § 17200 ET SEQ. – NO INJURY)

                        3             34.       Defendant Greyhound Lines, Inc. provided Plaintiff with proper compensation,

                        4      California-compliant meal periods, and California-compliant wage statements. Accordingly, because

                        5      no injury resulted, Plaintiff lacks standing to bring a cause of action under California Business and

                        6      Professions Code section 17200 et seq.

                        7                                  THIRTY-FIFTH AFFIRMATIVE DEFENSE

                        8           (ADEQUATE REMEDY AT LAW – NO DECLARATORY/INJUNCTIVE RELIEF)

                        9             35.       Plaintiff is not entitled to equitable relief insofar as he has an adequate remedy at law.

                     10                                    THIRTY-SIXTH AFFIRMATIVE DEFENSE

                     11                                             (AT WILL EMPLOYMENT)

                     12                   36.   As a separate and distinct affirmative defense, Defendant Greyhound Lines, Inc.

                     13        alleges that the Complaint and each cause of action set forth therein are barred to the extent that

                     14        Plaintiff’s employment was at-will and terminable with or without cause, at any time, by Plaintiff

                     15        and/or Defendant.

                     16                                  THIRTY-SEVENTH AFFIRMATIVE DEFENSE

                     17                     (FAILURE TO ENGAGE IN GOOD FAITH INTERACTIVE PROCESS)

                     18                   37.   As a separate and affirmative defense, Defendant Greyhound Lines, Inc. alleges,

                     19        without admitting that Defendant had a duty to initiate an interactive process, that Plaintiff failed to

                     20        engage in a good faith interactive process and/or was responsible for a breakdown in the interactive

                     21        process.

                     22                                   THIRTY-EIGHTH AFFIRMATIVE DEFENSE

                     23                                 (WORKERS’ COMPENSATION EXCLUSIVITY)

                     24               38.       As a separate and distinct affirmative defense, to the extent that Plaintiff is seeking

                     25        damages for emotional and/or physical injury, his claims are preempted and barred by the exclusive

                     26        remedy provisions of the California Workers’ Compensation Act, California Labor Code section

                     27        3600, et seq., in that: (1) the injuries complained of allegedly occurred when both Plaintiff and

                     28        Defendant were subject to California Labor Code sections 3600 to 3601; (2) at the time of the
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                        1      alleged injuries, Plaintiff was performing services in the course and scope of his employment; (3)

                        2      Plaintiff allege that the injuries were caused by his employment; (4) Plaintiff’s employment was

                        3      covered by workers’ compensation; and (5) Defendant paid the entire costs for that coverage.

                        4      Accordingly, this Court lacks subject matter jurisdiction over said claims.

                        5                                THIRTY-NINTH AFFIRMATIVE DEFENSE

                        6                                               (SAME RESULT)

                        7             39.     As a separate and distinct affirmative defense, Defendant Greyhound Lines, Inc.

                        8      alleges that the Complaint and each cause of action set forth therein cannot be maintained against

                        9      Defendant because, if any unlawful discriminatory or retaliatory motive existed in connection with

                     10        any employment decision involving Plaintiff, which Defendant denies, any and all claims for

                     11        damages are nevertheless barred because such employment decision would have been the same even

                     12        without any such unlawful discriminatory motive.

                     13                                       FORTIETH AFFIRMATIVE DEFENSE

                     14                                      (NO VIOLATION OF PUBLIC POLICY)

                     15                40.    As a separate and distinct affirmative defense, Defendant Greyhound Lines, Inc.

                     16        alleges that the Complaint and each cause of action set forth therein cannot be maintained as Plaintiff

                     17        never experienced any wrongful employment action by Defendant, and Defendant committed no

                     18        violation of public policy.

                     19                                      FORTY-FIRST AFFIRMATIVE DEFENSE

                     20                                       (REQUISITE CAUSAL CONNECTION)

                     21                41.    As a separate and distinct affirmative defense, Defendant Greyhound Lines, Inc.

                     22        alleges that the Complaint and each cause of action set forth therein cannot be maintained against

                     23        Defendant because Plaintiff has failed to allege the requisite causal connection between alleged

                     24        protected activities and the alleged adverse employment action.

                     25                                  FORTY-SECOND AFFIRMATIVE DEFENSE

                     26                                            (VOLUNTARY RELEASE)

                     27                42.    As a separate and distinct affirmative defense, Defendant Greyhound Lines, Inc.

                     28        alleges that Plaintiff has voluntarily settled and/or released some or all of his purported claims set
LITTLE R MEND ELSO N, P .C .
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                        1      forth in his Complaint, specifically as a class member in Scott v. Greyhound Lines, Inc., Sacramento

                        2      County Superior Court Case No. Case No. 34-2017-00219188, a class from which Plaintiff did not

                        3      opt out. Therefore, Plaintiff is, under the terms of the settlement and/or release, barred from

                        4      pursuing some or all of his purported causes of action for some or all of his employment.

                        5                                FORTY-THIRD AFFIRMATIVE DEFENSE

                        6                             (FAILURE TO REQUEST ACCOMMODATION)

                        7              43.    Defendant Greyhound Lines, Inc. alleges that Plaintiff’s claims are barred because

                        8      Plaintiff failed to request any reasonable accommodation for his avowed disability.

                        9                               FORTY-FOURTH AFFIRMATIVE DEFENSE

                     10                                               (UNDUE HARDSHIP)

                     11                44.    Plaintiff’s claims are barred because any alleged accommodations that Plaintiff

                     12        purportedly sought or now claims should have been offered are above and beyond what Defendant

                     13        was reasonably able to provide, and would have caused Defendant an undue hardship.

                     14                                   FORTY-FIFTH AFFIRMATIVE DEFENSE

                     15                                   (NO REASONABLE ACCOMMODATION)

                     16                45.    Plaintiff’s claims are barred because no reasonable accommodation existed which

                     17        would have permitted Plaintiff to perform the essential functions of his position.

                     18                                   FORTY-SIXTH AFFIRMATIVE DEFENSE

                     19                                  (ADDITIONAL AFFIRMATIVE DEFENSES)

                     20                46.    As a separate and distinct affirmative defense, Defendant Greyhound Lines, Inc.

                     21        alleges that the Complaint does not describe the claims or facts being alleged with sufficient

                     22        particularity to permit Defendant to ascertain what other defenses may exist. Defendant will rely on

                     23        any and all further defenses that become available or appear during discovery in this action and

                     24        specifically reserve the right to amend this Answer for purposes of asserting such additional

                     25        defenses.

                     26                                              PRAYER FOR RELIEF

                     27                       WHEREFORE, Defendant prays that:

                     28               1.      Plaintiff’s Complaint be dismissed in its entirety with prejudice;
LITTLE R MEND ELSO N, P .C .
                                                                              12.
       501 W. Broadway
           Suite 900
   San Diego, CA 92101. 3577                            DEFENDANT GREYHOUND LINES, INC.’S ANSWER
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                        1                2.    Plaintiff takes nothing by his action against Defendant;

                        2                3.    Defendant be awarded its attorneys’ fees and costs; and

                        3                4.    Defendant be awarded such other and further relief as this Court deems just and

                        4      proper.

                        5

                        6      Dated:         July 17, 2020
                        7

                        8
                                                                                  DAVID J. DOW
                        9                                                         JOHN A. (DREW) SCHAFFER
                                                                                  LITTLER MENDELSON, P.C.
                     10                                                           Attorneys for Defendant
                                                                                  GREYHOUND LINES, INC.
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                        1                                                  PROOF OF SERVICE
                                                              Fernando Ochoa Astudillo v. Greyhound Lines, Inc.
                        2                                     Los Angeles Superior Court Case No 20STCV17492
                        3                     I am employed in the County of Orange, State of California. I am over the age of 18,
                               and not a party to the within action. My business address is 18565 Jamboree Rd., Suite 800, Irvine,
                        4      California 92612.
                        5                         On July 17, 2020, I served the within documents described as:

                        6                         DEFENDANT GREYHOUND LINES, INC.’S ANSWER TO PLAINTIFF’S
                                                  COMPLAINT
                        7      on the interested parties by placing a true and correct original/copy thereof in a sealed envelope(s)
                        8      addressed as follows:
                               LAW OFFICES OF                                     ATTORNEYS FOR PLAINITIFF
                        9      RAMIN R. YOUNESSI
                               A Professional Law Corporation                     Telephone     (323) 777-7777
                     10        3435 Wilshire Boulevard. Suite 2200                Facsimile:     (213) 480-6201
                               Los Angeles, California 90010
                     11                                                           Email:        Ryounessi@lyounessilaw.com

                     12        as follows:
                     13
                                                 BY ELECTRONIC SERVICE. Based on a court order (California Rules of
                     14                           Court, Rule 12) or an agreement of the parties to accept electronic service, I
                                                  caused the documents to be sent to the persons at the electronic service
                     15                           addresses listed above.
                     16

                     17                       I declare under penalty of perjury under the laws of the State of California that the
                               above is true and correct.
                     18
                                                  Executed on July 17, 2020, at Irvine, California.
                     19

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                     22                                                              Valerie Moreno

                     23

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     FERNANDO OCHOA ASTUDILLO vs

       Unlimited Civil- Ans.non-Plaintiff    435.00
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       GC70612,70602.5,70602.6
       Court Transaction Fee                   2.25
                          Case Total:        437.25




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   ATTORNEY OR PARTY WITHOUT ATTORNEY (Name, State Bar number, and address):                                                FOR
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                                                                                                                                  DRAFT !
   E-MAIL ADDRESS (Optional):
       ATTORNEY FOR (Name):

                                                                                                                                  01/29/04
  SUPERIOR COURT OF CALIFORNIA, COUNTY OF
            STREET ADDRESS:
            MAILING ADDRESS:
           CITY AND ZIP CODE:
                BRANCH NAME:



         PLAINTIFF/PETITIONER:

   DEFENDANT/RESPONDENT:
                                                                                                                   CASE NUMBER:
                      NOTICE AND ACKNOWLEDGMENT OF RECEIPT—CIVIL


TO (insert name of party being served):


                                                                               NOTICE
    The summons and other documents identified below are being served pursuant to section 415.30 of the California Code of Civil
    Procedure. Your failure to complete this form and return it within 20 days from the date of mailing shown below may subject you
    (or the party on whose behalf you are being served) to liability for the payment of any expenses incurred in serving a summons
    on you in any other manner permitted by law.
    If you are being served on behalf of a corporation, an unincorporated association (including a partnership), or other entity, this
    form must be signed by you in the name of such entity or by a person authorized to receive service of process on behalf of such
    entity. In all other cases, this form must be signed by you personally or by a person authorized by you to acknowledge receipt of
    summons. If you return this form to the sender, service of a summons is deemed complete on the day you sign the
    acknowledgment of receipt below.

     Date of mailing:                  7

                                   (TYPE OR PRINT NAME)                                       (SIGNATURE OF SENDER—MUST NOT BE A PARTY IN THIS CASE)


                                                          ACKNOWLEDGMENT OF RECEIPT
    This acknowledges receipt of (to be completed by sender before mailing):
    1.        A copy of the summons and of the complaint.
    2.              Other (specify):




    (To be completed by recipient):

    Date this form is signed: 9/25/20
                          John (Drew) Schaffer
                          Counsel for Greyhound Lines
                 (TYPE OR PRINT YOUR NAME AND NAME OF ENTITY, IF ANY,                      (SIGNATURE OF PERSON ACKNOWLEDGING RECEIPT, WITH TITLE IF
                        ON WHOSE BEHALF THIS FORM IS SIGNED)                            ACKNOWLEDGMENT IS MADE ON BEHALF OF ANOTHER PERSON OR ENTITY)




                                                                                                                                                     Page 1 of 1
Form Adopted for Mandatory Use                                                                                                           Code of Civil Procedure,
  Judicial Council of California           NOTICE AND ACKNOWLEDGMENT OF RECEIPT — CIVIL                                                       §§ 415.30, 417.10
POS-015 [Rev. January 1, 2005]                                                                                                             www.courtinfo.ca.gov
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Case
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                      Exhibit “F”
                                                                                  206
      Case
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                                                                                      ID #:99
                                                                                         #:207
                                                                                                                                                            CIV-110
ATTORNEY OR PARTY WITHOUT ATTORNEY:                            STATE BAR NO:                                                  FOR COURT USE ONLY
NAME:  Ramin R. Younessi, Esq. (SBN 175020); Samantha L. Ortiz, Esq. (SBN 312503)
FIRM NAME: Law Offices of Ramin R. Younessi, A.P.L.C.
STREET ADDRESS: 3435 Wilshire Boulevard, Suite 2200
CITY: Los Angeles                                   STATE: CA       ZIP CODE: 90010
TELEPHONE NO.: (213) 480-6200                      FAX NO. : (213) 480-6201

E-MAIL ADDRESS: sortiz@younessilaw.com

ATTORNEY FOR (Name): Plaintiff, Fernando Ochoa Astudillo

SUPERIOR COURT OF CALIFORNIA, COUNTY OF Los Angeles
 STREET ADDRESS: 111 North Hill Street
 MAILING ADDRESS:
CITY AND ZIP CODE:   Los Angeles 90012
     BRANCH NAME:    Central District
     Plaintiff/Petitioner: Fernando Ochoa Astudillo
Defendant/Respondent: Greyhound Lines, Inc., et al.
                                                                                                              CASE NUMBER:
                                       REQUEST FOR DISMISSAL                                                 20STCV17492

 A conformed copy will not be returned by the clerk unless a method of return is provided with the document.
 This form may not be used for dismissal of a derivative action or a class action or of any party or cause of action in a class
 action. (Cal. Rules of Court, rules 3.760 and 3.770.)
1. TO THE CLERK: Please dismiss this action as follows:
   a. (1)     With prejudice    (2)        Without prejudice
   b. (1)     Complaint         (2)        Petition
          (3)           Cross-complaint filed by (name):                                                         on (date):
          (4)           Cross-complaint filed by (name):                                                         on (date):
          (5)           Entire action of all parties and all causes of action
       (6)          Other (specify):* only as to cause of actions 1, 3-13 as to Defendant Claudio Arriola only.
2. (Complete in all cases except family law cases.)
   The court          did        did not waive court fees and costs for a party in this case. (This information may be obtained from the
   clerk. If court fees and costs were waived, the declaration on the back of this form must be completed).
Date: November 11, 2020
Samantha L. Ortiz
(TYPE OR PRINT NAME OF              ATTORNEY             PARTY WITHOUT ATTORNEY)                                     (SIGNATURE)
*If dismissal requested is of specified parties only of specified causes of action only,   Attorney or party without attorney for:
or of specified cross-complaints only, so state and identify the parties, causes of
                                                                                                 Plaintiff/Petitioner         Defendant/Respondent
action, or cross-complaints to be dismissed.
                                                                                                 Cross Complainant
3. TO THE CLERK: Consent to the above dismissal is hereby given.**
Date:

(TYPE OR PRINT NAME OF             ATTORNEY               PARTY WITHOUT ATTORNEY)                                    (SIGNATURE)

** If a cross-complaint – or Response (Family Law) seeking affirmative                     Attorney or party without attorney for:
relief – is on file, the attorney for cross-complainant (respondent) must sign
this consent if required by Code of Civil Procedure section 581 (i) or (j).
                                                                                                 Plaintiff/Petitioner         Defendant/Respondent
                                                                                                 Cross Complainant

(To be completed by clerk)
4.       Dismissal entered as requested on (date):
5            Dismissal entered on (date):                             as to only (name):
6.           Dismissal not entered as requested for the following reasons (specify):


7. a.            Attorney or party without attorney notified on (date):
   b.            Attorney or party without attorney not notified. Filing party failed to provide
                       a copy to be conformed               means to return conformed copy
Date:                                               Clerk, by                                                                           , Deputy              Page 1 of 2

Form Adopted for Mandatory Use                                                                                          Code of Civil Procedure, § 581 et seq.; Gov. Code,
Judicial Council of California                                       REQUEST FOR DISMISSAL                                    § 68637(c); Cal. Rules of Court, rule 3.1390
CIV-110 [Rev. Jan. 1, 2013]                                                                                                                            www.courts.ca.gov
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      Case
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                                                                                                                                     CIV-110
                                                                                                 CASE NUMBER:
     Plaintiff/Petitioner: Fernando Ochoa Astudillo
Defendant/Respondent: Greyhound Lines, Inc., et al.                                              RIC1905551




                                     COURT'S RECOVERY OF WAIVED COURT FEES AND COSTS
                    If a party whose court fees and costs were initially waived has recovered or will recover $10,000 or more in
                    value by way of settlement, compromise, arbitration award, mediation settlement, or other means, the
                    court has a statutory lien on that recovery. The court may refuse to dismiss the case until the lien is
                    satisfied. (Gov. Code, § 68637.)


                                             Declaration Concerning Waived Court Fees
1. The court waived court fees and costs in this action for (name): Not Applicable. No fees waived.

2. The person named in item 1 is (check one below):
     a.            not recovering anything of value by this action.
     b.            recovering less than $10,000 in value by this action.
     c.            recovering $10,000 or more in value by this action. (If item 2c is checked, item 3 must be completed.)
3.           All court fees and court costs that were waived in this action have been paid to the court (check one):         Yes            No

I declare under penalty of perjury under the laws of the State of California that the information above is true and correct.

Date:


(TYPE OR PRINT NAME OF           ATTORNEY        PARTY MAKING DECLARATION)                              (SIGNATURE)




CIV-110 [Rev. January 1, 2013]                            REQUEST FOR DISMISSAL                                                          Page 2 of 2

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Case
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                                                                  97 Page
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                                                                           ID#:101
                                                                              #:209




 1                                               PROOF OF SERVICE
 2           STATE OF CALIFORNIA, COUNTY OF LOS ANGELES
             I am employed in the County of Los Angeles, State of California. I am over the age of 18 and
 3   not a party to the within action. My business address is 3435 Wilshire Boulevard, Suite 2200, Los
     Angeles, California 90010.
 4
              On November 11, 2020, I served the foregoing document described as REQUEST FOR
 5   DISMISSAL on the interested parties in this action as follows:
 6                     By emailing true copies addressed to each addressee as follows:
 7
 8      Drew Schaffer, Esq.                                       Attorney for Defendant
        David J. Dow, Esq.                                        GREYHOUND LINES, INC.
 9      LITTLER MENDELON PC.
        DSchaffer@littler.com
10
        DDow@littler.com
11
12
                     ONLY BY ELECTRONIC TRANSMISSION. Only by e-mailing the document(s) to the
13   persons at the e-mail address(es) listed based on notice provided on March 18, 2020 that, during the
     Coronavirus (COVID-19) pandemic, this office will be working remotely, not able to send physical mail
14   as usual, and is therefore using only electronic mail. No electronic message or other indication that the
     transmission was unsuccessful was received within a reasonable time after the transmission.
15
16
            Executed on November 11, 2020, at Los Angeles, California.
17
                       STATE           I declare under penalty of perjury under the laws of the State of California
18                     that the foregoing is true and correct.

19                     FEDERAL       I declare that I am employed in the office of a member of the bar of this
                       Court at whose direction the service was made.
20
21   Christian Ortiz
22
23
24
25
26
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28



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                                                   PROOF OF SERVICE
Case
 Case2:21-cv-02038-SB-PVC
      2:21-cv-00177-PA-PD Document
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                    Exhibit “G”
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      Case
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                                                                        97 Page
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                                                                                 ID#:103
                                                                                    #:211
                                                                                                                                                            CIV-110
ATTORNEY OR PARTY WITHOUT ATTORNEY:                            STATE BAR NO:                                                  FOR COURT USE ONLY
NAME:  Ramin R. Younessi, Esq. (SBN 175020); Samantha L. Ortiz, Esq. (SBN 312503)
FIRM NAME: Law Offices of Ramin R. Younessi, A.P.L.C.
STREET ADDRESS: 3435 Wilshire Boulevard, Suite 2200
CITY: Los Angeles                                   STATE: CA       ZIP CODE: 90010
TELEPHONE NO.: (213) 480-6200                      FAX NO. : (213) 480-6201

E-MAIL ADDRESS: sortiz@younessilaw.com

ATTORNEY FOR (Name): Plaintiff, Fernando Ochoa Astudillo

SUPERIOR COURT OF CALIFORNIA, COUNTY OF Los Angeles
 STREET ADDRESS: 111 North Hill Street
 MAILING ADDRESS:
CITY AND ZIP CODE:   Los Angeles 90012
     BRANCH NAME:    Central District
     Plaintiff/Petitioner: Fernando Ochoa Astudillo
Defendant/Respondent: Greyhound Lines, Inc., et al.
                                                                                                              CASE NUMBER:
                                       REQUEST FOR DISMISSAL                                                 20STCV17492

 A conformed copy will not be returned by the clerk unless a method of return is provided with the document.
 This form may not be used for dismissal of a derivative action or a class action or of any party or cause of action in a class
 action. (Cal. Rules of Court, rules 3.760 and 3.770.)
1. TO THE CLERK: Please dismiss this action as follows:
   a. (1)     With prejudice    (2)        Without prejudice
   b. (1)     Complaint         (2)        Petition
          (3)           Cross-complaint filed by (name):                                                         on (date):
          (4)           Cross-complaint filed by (name):                                                         on (date):
          (5)           Entire action of all parties and all causes of action
       (6)          Other (specify):* only as to cause of action 2, as to Defendant Claudio Arriola only.
2. (Complete in all cases except family law cases.)
   The court          did        did not waive court fees and costs for a party in this case. (This information may be obtained from the
   clerk. If court fees and costs were waived, the declaration on the back of this form must be completed).
Date: December 11, 2020
Samantha L. Ortiz
(TYPE OR PRINT NAME OF              ATTORNEY             PARTY WITHOUT ATTORNEY)                                     (SIGNATURE)
*If dismissal requested is of specified parties only of specified causes of action only,   Attorney or party without attorney for:
or of specified cross-complaints only, so state and identify the parties, causes of
                                                                                                 Plaintiff/Petitioner         Defendant/Respondent
action, or cross-complaints to be dismissed.
                                                                                                 Cross Complainant
3. TO THE CLERK: Consent to the above dismissal is hereby given.**
Date:

(TYPE OR PRINT NAME OF             ATTORNEY               PARTY WITHOUT ATTORNEY)                                    (SIGNATURE)

** If a cross-complaint – or Response (Family Law) seeking affirmative                     Attorney or party without attorney for:
relief – is on file, the attorney for cross-complainant (respondent) must sign
this consent if required by Code of Civil Procedure section 581 (i) or (j).
                                                                                                 Plaintiff/Petitioner         Defendant/Respondent
                                                                                                 Cross Complainant

(To be completed by clerk)
4.       Dismissal entered as requested on (date):
5            Dismissal entered on (date):                             as to only (name):
6.           Dismissal not entered as requested for the following reasons (specify):


7. a.            Attorney or party without attorney notified on (date):
   b.            Attorney or party without attorney not notified. Filing party failed to provide
                       a copy to be conformed               means to return conformed copy
Date:                                               Clerk, by                                                                           , Deputy              Page 1 of 2

Form Adopted for Mandatory Use                                                                                          Code of Civil Procedure, § 581 et seq.; Gov. Code,
Judicial Council of California                                       REQUEST FOR DISMISSAL                                    § 68637(c); Cal. Rules of Court, rule 3.1390
CIV-110 [Rev. Jan. 1, 2013]                                                                                                                            www.courts.ca.gov
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                                                                                                                                     CIV-110
                                                                                                 CASE NUMBER:
     Plaintiff/Petitioner: Fernando Ochoa Astudillo
Defendant/Respondent: Greyhound Lines, Inc., et al.                                              20STCV17492




                                     COURT'S RECOVERY OF WAIVED COURT FEES AND COSTS
                    If a party whose court fees and costs were initially waived has recovered or will recover $10,000 or more in
                    value by way of settlement, compromise, arbitration award, mediation settlement, or other means, the
                    court has a statutory lien on that recovery. The court may refuse to dismiss the case until the lien is
                    satisfied. (Gov. Code, § 68637.)


                                             Declaration Concerning Waived Court Fees
1. The court waived court fees and costs in this action for (name): Not Applicable. No fees waived.

2. The person named in item 1 is (check one below):
     a.            not recovering anything of value by this action.
     b.            recovering less than $10,000 in value by this action.
     c.            recovering $10,000 or more in value by this action. (If item 2c is checked, item 3 must be completed.)
3.           All court fees and court costs that were waived in this action have been paid to the court (check one):         Yes            No

I declare under penalty of perjury under the laws of the State of California that the information above is true and correct.

Date:


(TYPE OR PRINT NAME OF           ATTORNEY        PARTY MAKING DECLARATION)                              (SIGNATURE)




CIV-110 [Rev. January 1, 2013]                            REQUEST FOR DISMISSAL                                                          Page 2 of 2

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                                                                  97 Page
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                                                                           ID#:105
                                                                              #:213




 1                                               PROOF OF SERVICE
 2           STATE OF CALIFORNIA, COUNTY OF LOS ANGELES
             I am employed in the County of Los Angeles, State of California. I am over the age of 18 and
 3   not a party to the within action. My business address is 3435 Wilshire Boulevard, Suite 2200, Los
     Angeles, California 90010.
 4
              On December 11, 2020, I served the foregoing document described as REQUEST FOR
 5   DISMISSAL on the interested parties in this action as follows:
 6                     By emailing true copies addressed to each addressee as follows:
 7
 8      Drew Schaffer, Esq.                                       Attorney for Defendant
        David J. Dow, Esq.                                        GREYHOUND LINES, INC.
 9      LITTLER MENDELON PC.
        DSchaffer@littler.com
10
        DDow@littler.com
11
12
                     ONLY BY ELECTRONIC TRANSMISSION. Only by e-mailing the document(s) to the
13   persons at the e-mail address(es) listed based on notice provided on March 18, 2020 that, during the
     Coronavirus (COVID-19) pandemic, this office will be working remotely, not able to send physical mail
14   as usual, and is therefore using only electronic mail. No electronic message or other indication that the
     transmission was unsuccessful was received within a reasonable time after the transmission.
15
16
            Executed on December 11, 2020, at Los Angeles, California.
17
                       STATE           I declare under penalty of perjury under the laws of the State of California
18                     that the foregoing is true and correct.

19                     FEDERAL       I declare that I am employed in the office of a member of the bar of this
                       Court at whose direction the service was made.
20
21   Christian Ortiz
22
23
24
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                                                                                                      213
                                                   PROOF OF SERVICE
Case 2:21-cv-02038-SB-PVC Document 1 Filed 03/05/21 Page 214 of 231 Page ID #:214




                          EXHIBIT I
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                       UNITED STATES DISTRICT COURT
                      CENTRAL DISTRICT OF CALIFORNIA
                      NOTICE OF ASSIGNMENT TO UNITED STATES JUDGES



  This case has been assigned to:
                  District Judge Percy Anderson
                  Magistrate Judge Patricia Donahue


  The case number on all documents filed with the Court should read as follows:
                                     2:21−cv−00177 PA (PDx)
  District judges in the Central District of California refer all discovery-related motions to the
  assigned magistrate judge pursuant to General Order No. 05-07. Discovery-related motions
  should be noticed for hearing before the assigned magistrate judge. Please refer to the assigned
  judges' Procedures and Schedules, available on the Court's website at www.cacd.uscourts.
  gov/judges-requirements, for additional information.




                                                              Clerk, U.S. District Court

   January 8, 2021                                            By /s/ Edwin Sambrano
      Date                                                       Deputy Clerk




                                            ATTENTION
  The party that filed the case-initiating document in this case (for example, the complaint or the
  notice of removal) must serve a copy of this Notice on all parties served with the case-initiating
   document. In addition, if the case-initiating document in this case was electronically filed, the
     party that filed it must, upon receipt of this Notice, promptly deliver mandatory chambers
   copies of all previously filed documents to the newly assigned-district judge. See L.R. 5-4.5. A
   copy of this Notice should be attached to the first page of the mandatory chambers copy of the
                                       case-initiating document.



  CV-18 (08/19)              NOTICE OF ASSIGNMENT TO UNITED STATES JUDGES



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Case 2:21-cv-02038-SB-PVC Document 1 Filed 03/05/21 Page 216 of 231 Page ID #:216




                         EXHIBIT J
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                                   UNITED STATES DISTRICT COURT
                                  CENTRAL DISTRICT OF CALIFORNIA

                                         CIVIL MINUTES - GENERAL
 Case No.         CV 21-177 PA (PDx)                                            Date    January 12, 2021
 Title            Fernando Ochoa Astudillo v. Greyhound Lines, Inc., et al.



 Present: The Honorable           PERCY ANDERSON, UNITED STATES DISTRICT JUDGE
                Gabriela Garcia                            Not Reported                         N/A
                 Deputy Clerk                             Court Reporter                      Tape No.
                Attorneys Present for Plaintiff:                    Attorneys Present for Defendants:
                             None                                                None
 Proceedings:                 IN CHAMBERS - COURT ORDER

        The Court is in receipt of a Notice of Removal filed by defendant Greyhound Lines, Inc.
(“Defendant”). (Dkt. 1 (“Removal”).) The Notice of Removal alleges the Court possesses diversity
jurisdiction over this action pursuant to 28 U.S.C. § 1332. (Id. at 2.)

        Federal courts are courts of limited jurisdiction, having subject matter jurisdiction only over
matters authorized by the Constitution and Congress. See Kokkonen v. Guardian Life Ins. Co., 511 U.S.
375, 377 (1994). A suit filed in state court may be removed to federal court if the federal court would
have had original jurisdiction over the suit. 28 U.S.C. § 1441(a). “The removal statute is strictly
construed against removal jurisdiction, and the burden of establishing federal jurisdiction falls to the
party invoking the statute.” California ex rel. Lockyer v. Dynegy, Inc., 375 F.3d 831, 838 (9th Cir.
2004) (citing Ethridge v. Harbor House Rest., 861 F.2d 1389, 1393 (9th Cir. 1988)). “Federal
jurisdiction must be rejected if there is any doubt as to the right of removal in the first instance.” Gaus v.
Miles, Inc., 980 F.2d 564, 566 (9th Cir. 1992).

        To establish citizenship for diversity purposes, a natural person must be a citizen of the United
States and be domiciled in a particular state. Kantor v. Wellesley Galleries, Ltd., 704 F.2d 1088, 1090
(9th Cir. 1983). Persons are domiciled in the places they reside with the intent to remain or to which
they intend to return. See Kanter v. Warner-Lambert Co., 265 F.3d 853, 857 (9th Cir. 2001). The
Notice of Removal states, “Plaintiff alleges that he is a resident of the County of Los Angeles, State of
California. (Complaint ¶ 2.) Thus, Plaintiff is a citizen of California.” (Removal ¶15.) But residence is
not necessarily the same as domicile. Kanter, 265 F.3d at 857 (“A person residing in a given state is not
necessarily domiciled there, and thus is not necessarily a citizen of that state.”). Without more,
Defendant has not adequately alleged Plaintiff’s citizenship. Id. (“Absent unusual circumstances, a party
seeking to invoke diversity jurisdiction should be able to allege affirmatively the actual citizenship of the
relevant parties.”).

       For these reasons, the Court concludes that Defendant has not met the burden of showing this
Court has subject matter jurisdiction over Plaintiff’s claims. This action is therefore remanded to the


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CV-90 (06/04)                                  CIVIL MINUTES - GENERAL                                  Page 1 of 2
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                                                                              ID #:117
                                                                                 ID #:218

                              UNITED STATES DISTRICT COURT
                             CENTRAL DISTRICT OF CALIFORNIA

                                     CIVIL MINUTES - GENERAL
 Case No.       CV 21-177 PA (PDx)                                          Date   January 12, 2021
 Title          Fernando Ochoa Astudillo v. Greyhound Lines, Inc., et al.

Superior Court of California for the County of Los Angeles, Case No. 20STCV17492, for lack of subject
matter jurisdiction. See 28 U.S.C. § 1447(c).

         IT IS SO ORDERED.




                                                                                                 218
CV-90 (06/04)                              CIVIL MINUTES - GENERAL                              Page 2 of 2
Case 2:21-cv-02038-SB-PVC Document 1 Filed 03/05/21 Page 219 of 231 Page ID #:219




                         EXHIBIT K
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Case
  Case
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                                                                              ID #:118
                                                                                 ID #:220

                                                 United States District Court
                                                    Central District of California           Cristina M. Squieri Bullock
                                                     Office of the Clerk                    Chief Deputy of Administration
                                                                                            350 West 1st Street, Suite 4311
                                                                                               Los Angeles, CA 90012

                  Kiry K. Gray                                                                     Sara Tse Soo Hoo
     District Court Executive / Clerk of Court                                                Chief Deputy of Operations
          350 West 1st Street, Suite 4311                                                 255 East Temple Street, Suite TS-134
              Los Angeles, CA 90012                                                             Los Angeles, CA 90012



                                                     January 13, 2021

          Los Angeles Superior Court
          111 North Hill Street
          Los Angeles, CA 90012

   Re: Case Number:       2:21−cv−00177−PA−PD
       Previously Superior Court Case No.    20STCV17492
       Case Name:       Fernando Ochoa Astudillo v. Greyhound Lines, Inc., et al

   Dear Sir/Madam:

         Pursuant to this Court’s ORDER OF REMAND issued on                   1/12/2021        , the above−referenced
   case is hereby remanded to your jurisdiction.

          Attached is a certified copy of the ORDER OF REMAND and a copy of the docket sheet from this Court.

         Please acknowledge receipt of the above by signing the enclosed copy of this letter and returning it to the
   location shown below. Thank you for your cooperation.

   United States Courthouse
   255 East Temple Street, Suite TS-134
   Los Angeles, CA 90012


                                                                     Respectfully,

                                                                     Clerk, U.S. District Court

                                                                     By: /s/ Margo Mead
                                                                        Deputy Clerk
                                                                        margo_mead@cacd.uscourts.gov
   Encls.
   cc: Counsel of record

   Receipt is acknowledged of the documents described above.



                                                                     Clerk, Superior Court


                                                                     By:
   Date                                                                    Deputy Clerk




                                                                                                                 220
    CV−103 (05/18)          LETTER OF TRANSMITTAL − REMAND TO SUPERIOR COURT (CIVIL)
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                         EXHIBIT L
                                                                            221
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                      1      David J. Dow, Bar No. 179407
                             ddow@littler.com
                      2      Shelley L. Murray, Bar No, 327300
                             smurray@littler.com
                      3      LITTLER MENDELSON, P.C.
                             501 W. Broadway, Suite 900
                      4      San Diego, CA 92101.3577
                             Telephone: 619.232.0441
                      5      Fax No.:     619.232.4302

                      6
                             Attorneys for Defendant
                      7      GREYHOUND LINES, INC.

                      8
                                                        SUPERIOR COURT OF THE STATE OF CALIFORNIA
                      9
                                                                   COUNTY OF LOS ANGELES
                   10
                             FERNANDO OCHOA ASTUDILLO, an                   Case No. 20STCV17492
                   11        individual,
                                                                            ASSIGNED FOR ALL PURPOSES TO
                   12                                Plaintiff,             THE HON. DANIEL MURPHY,
                                                                            DEPT. 32
                   13                 v.
                                                                            DEFENDANT GREYHOUND LINES,
                   14        GREYHOUND LINES,INC., a Delaware               INC.'S REQUEST FOR ADMISSIONS TO
                             corporation; CLAUDIO ARRIOLA, an               PLAINTIFF FERNANDO OCHOA
                   15        individual; and DOES 1 through 20,             ASTUDILLO (SET ONE)
                             inclusive,
                   16
                                                     Defendants.
                   17                                                       Complaint Filed: May 7, 2020

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LITTLER MENDELSON, P.C.
      501 W. Broadway
          Suite 900
                             4837-1433-4422.1 070992.1089                  1.
  San Diego, CA 92101.3577
        619.232.0441
                                            DEFENDANT GREYHOUND LINES, INC.'S REQUEST FOR ADMISSIONS, SET ONE   222
                 Case 2:21-cv-02038-SB-PVC Document 1 Filed 03/05/21 Page 223 of 231 Page ID #:223



                      1
                             PROPOUNDING PARTY:                     Defendant GREYHOUND LINES, INC.
                      2
                             RESPONDING PARTY:                      Plaintiff FERNANDO OCHOA ASTUDILLO
                      3
                             SET NO.:                               One (1)
                      4
                                      Pursuant to California Code of Civil Procedure section 2033.010 et seq., Defendant
                      5
                             GREYHOUND LINES, INC. (“Defendant”) hereby requests that Plaintiff FERNANDO OCHOA
                      6
                             ASTUDILLO (“Plaintiff”) provide and serve a verified, written response to this Request for
                      7
                             Admission (Set One) within thirty (30) days from the date of service hereof, at the Law Offices of
                      8
                             Littler Mendelson, P.C., located at 501 West Broadway, Suite 900, San Diego, CA 92101 (with
                      9
                             copies emailed to ddow@littler.com and smurray@littler.com).
                   10
                                                                        DEFINITIONS
                   11
                                      1.        “PLAINTIFF,” “YOU,” or “YOUR” shall refer to Plaintiff Fernando Ochoa
                   12
                             Astudillo.
                   13
                                      2.        “DEFENDANTS” or “Defendants” refers to Defendant Greyhound Lines, Inc.
                   14
                                      3.        The terms “COMPLAINT,” “LAWSUIT,” and “ACTION” means the Complaint
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                             (and any prior or subsequent versions of YOUR Complaint) filed by YOU in the Superior Court for
                   16
                             the State of California, County of Los Angeles, Case No. 20STCV17492.
                   17
                             REQUEST FOR ADMISSION NO. 1:
                   18
                             Admit that YOU are a citizen of the state of California.
                   19
                             REQUEST FOR ADMISSION NO. 2:
                   20
                             Admit that YOU are a citizen of the state of California for purposes of 28 U.S.C. § 1332(a)(2).
                   21
                             REQUEST FOR ADMISSION NO. 3:
                   22
                             Admit that YOU are a citizen of the United States of America.
                   23
                             REQUEST FOR ADMISSION NO. 4:
                   24
                             Admit that YOU currently reside in the state of California.
                   25
                             REQUEST FOR ADMISSION NO. 5:
                   26
                             Admit that YOU currently have no plans to permanently relocate outside the state of California.
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                   28
LITTLER MENDELSON, P.C.
                             4837-1433-4422.1 070992.1089                     2.
      501 W. Broadway
          Suite 900
  San Diego, CA 92101.3577
        619.232.0441                        DEFENDANT GREYHOUND LINES, INC.'S REQUEST FOR ADMISSIONS, SET ONE
                                                                                                                        223
                 Case 2:21-cv-02038-SB-PVC Document 1 Filed 03/05/21 Page 224 of 231 Page ID #:224



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                             Dated: January 14, 2021                        David J. Dow
                      4                                                     Shelley L. Murray
                                                                            LITTLER MENDELSON, P.C.
                      5                                                     Attorneys for Defendant
                                                                            GREYHOUND LINES, INC.
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LITTLER MENDELSON, P.C.
                             4837-1433-4422.1 070992.1089                  3.
      501 W. Broadway
          Suite 900
  San Diego, CA 92101.3577
        619.232.0441                        DEFENDANT GREYHOUND LINES, INC.'S REQUEST FOR ADMISSIONS, SET ONE
                                                                                                                224
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                        EXHIBIT M
                                                                            225
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 1   Ramin R. Younessi, Esq. (SBN 175020)
     Samantha L. Ortiz, Esq. (SBN 312503)
 2   Samvel Setyan, Esq. (SBN 325831)
     LAW OFFICES OF RAMIN R. YOUNESSI
 3   A PROFESSIONAL LAW CORPORATION
     3435 Wilshire Boulevard, Suite 2200
 4   Los Angeles, California 90010
     Telephone: (213) 480-6200
 5   Facsimile: (213) 480-6201
 6   Attorney for Plaintiff,
     FERNANDO OCHOA ASTUDILLO
 7
 8                           SUPERIOR COURT OF THE STATE OF CALIFORNIA
 9                      FOR THE COUNTY OF LOS ANGELES, CENTRAL DISTRICT
10
11   FERNANDO OCHOA ASTUDILLO, an                         Case No.: 20STCV17492
     individual,
12                                                        Assigned to the Honorable Judge Daniel S. Murphy,
                                    Plaintiff,            Dept. 32
13
               v.                                         PLAINTIFF FERNANDO OCHOA
14                                                        ASTUDILLO’S RESPONSES TO REQUEST
     GREYHOUND LINES, INC., a Delaware                    FOR ADMISSIONS (SET ONE) PROPOUNDED
15   corporation; and DOES 1 through 20,                  BY DEFENDANT GREYHOUND LINES, INC.
     inclusive,
16                                                        Action Filed: May 7, 2020
                                    Defendants.           Trial date: August 10, 2021
17
18   PROPOUNDING PARTY: Defendant, GREYHOUND LINES, INC.

19   RESPONDING PARTY:               PLAINTIFF, FERNANDO OCHOA ASTUDILLO

20   SET NUMBER:                     One (1)

21             Pursuant to the provisions of Code of Civil Procedure section 2033.210, et seq., Plaintiff

22   provides the following responses to the Requests for Admission (Set One) propounded by Defendant

23   without prejudice to further discovery. Each of the following responses are rendered and based upon

24   information in the possession of the responding party at the time of preparation of these responses.

25   Discovery will continue as long as permitted by statute or by stipulation of the parties, and the

26   investigation of the responding party’s attorneys and agents will continue throughout the trial of this

27   action.

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                                                           -1-
        PLAINTIFF FERNANDO OCHOA ASTUDILLO’S RESPONSES TO REQUEST FOR ADMISSIONS (SET ONE)
                                                                                 226
                         PROPOUNDED BY DEFENDANT GREYHOUND LINES, INC.
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 1          The responding party therefore specifically reserves the right at the time of trial to introduce any
 2   evidence from any source whose identity may hereinafter be discovered.
 3          If any information has unintentionally been omitted from these responses, the responding party
 4   reserves the right, pursuant to file an amended response.
 5          These responses are accurate as of the date of responding to these requests. However, the
 6   responding party’s investigation is continuing and, hence, the responding party cannot exclude the
 7   possibility that more complete information may be obtained, or even information that indicates that a
 8   response being supplied herein is incorrect.
 9          These introductory comments shall apply to each and every response provided herein, and shall
10   be incorporated by reference as though fully set forth in each of the following responses to these
11   requests.
12                                          GENERAL OBJECTIONS
13          Plaintiff objects generally to each and every one of Defendant’s Request on the grounds set forth

14   herein. Each of these objections is hereby incorporated by this reference into each of Plaintiff’s separate

15   objections herein.

16          1.      Plaintiff objects to each and every request to the extent that it seeks information that is

17   neither relevant to the subject matter of the litigation nor reasonably calculated to lead to the discovery

18   of admissible evidence.

19          2.      Plaintiff objects to each and every request to the extent that it seeks information protected

20   from disclosure by the attorney-client privilege, the attorney-work product privilege, or any other

21   applicable privilege or protection recognized in case law or conferred by statute. Plaintiff will not

22   disclose protected information in response to these requests for admissions. Nothing in these responses

23   is intended to be, or should be construed as a waiver of the attorney-client privilege or the attorney-work

24   product doctrine.

25          3.      Plaintiff to each and every request to the extent that is unintelligible, vague, ambiguous,

26   uncertain, overly broad, unduly burdensome, or purports to impose on Plaintiff duties different from or

27   in addition to those imposed by the California Code of Civil Procedure and other applicable law.

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                                                          -2-
        PLAINTIFF FERNANDO OCHOA ASTUDILLO’S RESPONSES TO REQUEST FOR ADMISSIONS (SET ONE)
                                                                                 227
                         PROPOUNDED BY DEFENDANT GREYHOUND LINES, INC.
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 1            4.      Plaintiff objects to each and every request to the extent that it calls for admission of “any”
 2   or “all” documents that exist in Plaintiff’s possession, custody, or control, or for documents on a given
 3   subject in Plaintiff’s possession, custody, or control. As a practical matter it is impossible to ever be
 4   certain that “all” documents on a given subject have been located and produced. Accordingly, Plaintiff
 5   will search the files that appear likely to contain responsive non-privileged documents, and will produce
 6   all non-privileged documents from such files that Plaintiff believes are responsive to the request and
 7   relevant to the subject matter of the action. Such documents will be produced at the deposition for
 8   inspection and copying, at Defendants’ expense.
 9            5.      Plaintiff objects to each and every request to the extent that it is interpreted to require
10   greater of further response than that provided in this response on the ground that the request is
11   overbroad, unreasonable, oppressive, and the cost and burden of such further response would
12   substantially outweigh the value of the additional information elicited either as admissible evidence or as
13   leading to admissible evidence.

14            6.      Plaintiff objects to each and every request to the extent that it seeks confidential and

15   sensitive private information. Plaintiff will not provide sensitive, private, proprietary, or otherwise

16   confidential non-privileged private information without an appropriately framed protective order that

17   maintains the confidentiality of the information, its disclosure and dissemination and limits its use

18   appropriately.

19            7.      Plaintiff objects to each and every request to the extent that the information it seeks, or

20   any information in addition to that provided in this response, is equally available to the propounding

21   party.

22            8.      Plaintiff objects to all definitions, instructions and each request for admission to the

23   extent that they call for the admission of materials containing communications or other matters protected

24   by the attorney-client privilege, the attorney-work-product privilege, and/or similar privileges or

25   immunities, and Plaintiff and his counsel hereby assert such privileges and immunities. Any inadvertent

26   disclosure of such information shall not be deemed a waiver of the attorney-client privilege, the

27   attorney-work-product privilege, or any other applicable privilege or immunity recognized by statute or

28   case law.


                                                            -3-
        PLAINTIFF FERNANDO OCHOA ASTUDILLO’S RESPONSES TO REQUEST FOR ADMISSIONS (SET ONE)
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                         PROPOUNDED BY DEFENDANT GREYHOUND LINES, INC.
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 1          9.       Plaintiff objects to each request for admission to the extent they purport to require more
 2   than is required under the discovery provisions of the Code of Civil Procedure and would impose upon
 3   Plaintiff an unreasonable burden or expense.
 4                                                  RESPONSES
 5   REQUEST FOR ADMISSION NO. 1:
 6          Admit that YOU are a citizen of the state of California.
 7   RESPONSE TO REQUEST FOR ADMISSION NO. 1:
 8          Objection. This request seeks information that is not relevant to any issue in this case nor
 9   reasonably calculated to lead to the discovery of admissible evidence and, thus, is outside the scope of
10   permissible discovery. Subject to and without waiving the foregoing objections and to the extent
11   Plaintiff understands this request, Plaintiff responds as follows.
12          Admit.
13   REQUEST FOR ADMISSION NO. 2:

14          Admit that YOU are a citizen of the state of California for purposes of 28 U.S.C. § 1332(a)(2)

15   RESPONSE TO REQUEST FOR ADMISSION NO. 2:

16          Objection. This request calls for a legal conclusion. This request requires reference to outside

17   materials in order to respond and is, thus, not full and complete in and of itself in violation of Code of

18   Civil Procedure section 2033.060(d).

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20   REQUEST FOR ADMISSION NO. 3:

21          Admit that YOU are a citizen of the United States of America.

22   RESPONSE TO REQUEST FOR ADMISSION NO. 3:

23          Objection. This request seeks information that is not relevant to any issue in this case nor

24   reasonably calculated to lead to the discovery of admissible evidence and, thus, is outside the scope of

25   permissible discovery.

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        PLAINTIFF FERNANDO OCHOA ASTUDILLO’S RESPONSES TO REQUEST FOR ADMISSIONS (SET ONE)
                                                                                 229
                         PROPOUNDED BY DEFENDANT GREYHOUND LINES, INC.
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 2   REQUEST FOR ADMISSION NO. 4:
 3          Admit that YOU currently reside in the state of California.
 4   RESPONSE TO REQUEST FOR ADMISSION NO. 4:
 5          Objection. This request seeks information that is not relevant to any issue in this case nor
 6   reasonably calculated to lead to the discovery of admissible evidence and, thus, is outside the scope of
 7   permissible discovery. Subject to and without waiving the foregoing objections and to the extent
 8   Plaintiff understands this request, Plaintiff responds as follows.
 9          Admit.
10
11   REQUEST FOR ADMISSION NO. 5:
12          Admit that YOU currently have no plans to permanently relocate outside the state of
13   California.

14   RESPONSE TO REQUEST FOR ADMISSION NO. 5:

15          Objection. This request seeks information that is not relevant to any issue in this case nor

16   reasonably calculated to lead to the discovery of admissible evidence and, thus, is outside the scope of

17   permissible discovery.

18
     DATED: February 17, 2021                            LAW OFFICES OF RAMIN R. YOUNESSI
19                                                       A PROFESSIONAL LAW CORPORATION
20
21                                                       By:
                                                                Ramin R. Younessi, Esq.
22                                                              Samantha L. Ortiz, Esq.
                                                                Samvel Setyan, Esq.
23                                                              Attorneys for Plaintiff
                                                                FERNANDO OCHOA ASTUDILLO
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        PLAINTIFF FERNANDO OCHOA ASTUDILLO’S RESPONSES TO REQUEST FOR ADMISSIONS (SET ONE)
                                                                                 230
                         PROPOUNDED BY DEFENDANT GREYHOUND LINES, INC.
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     02/17/2021




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